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                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                                       )
MICHAEL MARCENELLE, on behalf of                                      )
themselves and all others similarly situated,                         )
                                                                      )         Case No. 4:22-cv-00825-P
                              Plaintiffs,                             )
v.                                                                    )
                                                                      )
ALEJANDRO N. MAYORKAS, in his official                                )
capacity as Secretary of Homeland Security, et al.                    )
                                                                      )
                              Defendants.                             )


     APPENDIX OF MATERIALS IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO
                   DEFENDANTS’ MOTION TO DISMISS


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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                     )
MICHAEL MARCENELLE, on behalf of                    )
themselves and all others similarly situated,       )
                                                    )      Case No. 4:22-cv-00825-P
                       Plaintiffs,                  )
v.                                                  )
                                                    )
ALEJANDRO N. MAYORKAS, in his official              )
capacity as Secretary of Homeland Security, et al., )
                                                    )
                       Defendants.                  )


  THIRD SUPPLEMENTAL DECLARATION OF BOATSWAIN’S MATE 1ST CLASS
                         ERIC JACKSON

       Pursuant to 28 U.S.C. § 1746, I, Eric Jackson, under penalty of perjury declare as

follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am still enduring adverse action due to my decision to not receive the COVID-19

vaccinations, despite the Coast Guard having removed many restrictions on unvaccinated

personnel.

       3.      The Coast Guard stores career records for review in the Coast Guard’s Personal

Data Records system (PDR). The Coast Guard uses PDR to make personnel records readily

available to anyone with viewing privileges. It is my experience that commanders routinely access

these records as well in the normal course of supervising and rating their subordinates. I

understand that personnel specialists, selection boards, and promotion boards also have viewing

privileges.



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       4.      I have confirmed that the Coast Guard has removed the CG-3307s documenting

that I was ordered to receive the COVID-19 vaccination on May 11, 2022 (ECF No. 5-40), and

claiming that I had violated the Uniform Code of Military Justice (UCMJ) on June 30, 2022 (ECF

No. 5-41).

       5.      However, PDR still reveals that I did not immediately comply with the COVID-19

vaccine mandate. Specifically, PDR currently records a CG-3307 dated September 9, 2021, (Ex.

1) on which my commander recorded that I was not vaccinated and that I would be seeking a

religious accommodation.

       6.      When my current or future commander reviews my records in preparation for an

annual performance review, this CG-3307 from September 9, 2021, will clearly reveal my status

as someone who objected to the now-rescinded vaccine mandate. Given the high publicity of the

COVID-19 mandate and standardized procedures for issuing CG-3307s to document a claimed

violation of a “lawful order,” any reviewing commander will know that I likely received an adverse

CG-3307, even though my adverse CG-3307s themselves are no longer in PDA.

       7.      Additionally, I also was unable to test for promotion this year due to my vaccination

status. This is the second consecutive year the Coast Guard denied me an opportunity to test.

       8.      The Coast Guard issued rescission guidance late on January 25, 2023, which stated

that unvaccinated servicemembers could participate in the Service Wide Exams for promotion.

ECF No. 67-3 at 2. The due date to submit for testing was February 1, 2023. Id.

       9.      I had no notice that the restriction on testing would be lifted. Applying to

participate in the Service Wide Exams is a complex process involving records review,

qualifications review, making any necessary corrections or updates, studying, and meeting with



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                                                                       Exhibit 1
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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                     )
MICHAEL MARCENELLE, on behalf of                    )
themselves and all others similarly situated,       )
                                                    )        Case No. 4:22-cv-00825-P
                       Plaintiffs,                  )
v.                                                  )
                                                    )
ALEJANDRO N. MAYORKAS, in his official              )
capacity as Secretary of Homeland Security, et al., )
                                                    )
                       Defendants.                  )


 THIRD SUPPLEMENTAL DECLARATION OF LIEUTENANT JUNIOR GRADE ALARIC
                             STONE

       Pursuant to 28 U.S.C. § 1746, I, Alaric Stone, under penalty of perjury declare as follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am still enduring adverse action due to my decision to not receive the COVID-19

vaccinations, despite the Coast Guard having removed many restrictions on unvaccinated personnel.

       3.      For example, on my previous Officer Evaluation Report for last year, my supervisor

rated me an average of 6.72 out of 7 possible points across eighteen performance areas. ECF No. 5-8.

I was also ranked as “one of few distinguished officers” in my grade. Id. This evaluation was

completed on June 20, 2022 (id.), one month before I was ordered to receive the COVID-19 vaccine.

ECF No 5-19.

       4.      My Coast Guard supervisor has completed my current evaluation report documenting

my performance during a period including when I was reprimanded for allegedly violating a lawful

order and the pendency of this lawsuit. In contrast to my last report, I was rated an average of 5.72 out



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of 7. Additionally, I am no longer considered “one of few distinguished officers,” but rather, a “center

of mass” officer. Ex. 1.

       5.      During my performance counseling, my supervisor informed me that my scores were

lowered in part because I had not attended a training course for my current position, even though my

orders to attend that course were canceled solely due to my unvaccinated status. At the time my orders

were cancelled, updated Coast Guard policy had been promulgated allowing unvaccinated personnel to

attend training “specifically required for their assignment.” Despite reminding my supervisor that I

needed the training at the time my orders were cancelled and providing my command the appropriate

policy references, my orders were cancelled two weeks prior to the course convening date. My

supervisor is aware of my vaccination status and this case and is aware of the circumstances under

which my orders were cancelled.

       6.      The next offering of the training course will not occur until after my next evaluation.

As a result, I will have another evaluation wherein my performance may be downgraded due to not

attending the course.

       7.      Although the Coast Guard has removed adverse CG-3307s explicitly documenting my

decision to remain unvaccinated from my career records, this evaluation report will be included. As a

result, future promotion, command, and other special selection boards, as well as commanders, will be

presented with a record illustrating inconsistent performance. Additionally, my career records now

contain a memorandum from CG-1 (a copy of which is filed in this case as ECF No. 68-4). This

memorandum was added to my records concurrent with a decline in my performance ratings.

       8.      Although the Coast Guard has removed adverse CG-3307s explicitly documenting my

decision to remain unvaccinated from my career records, the Coast Guard continues to track my

COVID-19 vaccination status as “non-compliant (unvaccinated and no valid deferral listed)” in its

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personnel readiness tracking application, Coast Guard Business Intelligence (CGBI). Other non-

mandatory vaccines tracked in CGBI (Smallpox, Anthrax, etc.) are clearly marked as not-applicable in

CGBI for me. As a result of my vaccination status still being tracked in CGBI, commanders and

administrative representatives for every unit are capable of viewing COVID-19 vaccination statuses for

personnel Coast Guard wide.

       9.      Moreover, future boards and commanders will have sufficient information from a

routine review of my records and readiness metrics to reasonably and correctly conclude that I did not

comply with the now-rescinded vaccination mandate, even though my records do not include

documentation explicitly recording these events. Because the Coast Guard still states that the

vaccination mandate was a “lawful order,” those boards and commanders will have a basis to conclude

that I violated the Uniform Code of Military Justice (UCMJ).

       10.     Finally, the Coast Guard continues to enforce COVID-19 health protection protocols

that have not been updated in over 8 months. Just this month (March, 2023), I attended the Coast

Guard’s 1-week Assistant Safety Officer (ASO) course as part of my duties. Assistant Safety Officers

have largely been responsible for enforcing Coast Guard health protocols since the pandemic began.

During the ASO course, trainees were provided comprehensive instruction on current Coast Guard

pandemic response policies which have received no updates since August 4, 2022. The course

instructed trainees that the COVID-19 vaccine was mandated for all Coast Guard servicemembers

and detailed now-rescinded punitive administrative measures for non-compliant personnel. The

course also instructed trainees to follow outdated COVID-19 prevention and response guidance that

fails to align with current guidance issued by the CDC and remains official Coast Guard policy. For

example, the Coast Guard still instructs ASOs to quarantine unvaccinated personnel, and take



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no action for vaccinated personnel, if a unit member is exposed to another COVID-19 positive

member.

       11.    Additionally, in my capacity as ASO, I learned that the current Shore-unit Safety

Assessment Checklist, which all Coast Guard shore-units are required to complete annually,

includes an inspection item verifying that military members and others comply with

ACLOAST 078/22 mandating COVID-19 vaccination. Failure to comply with these requirements

will result in an unsatisfactory mark on the unit's inspection summary. Unsatisfactory

inspection items are entered into the Coast Guards Hazardous Conditions Management System

(HCMS) for tracking and oversight until the discrepancy is cleared

       I declare UI:der penalty of perjury that the foregoing is true and correct. Executed on

March 31
      _, 2023.



                                           �½-
                                            Alaric Stone




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                                                                           Exhibit 1
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                     )
MICHAEL MARCENELLE, on behalf of                    )
themselves and all others similarly situated,       )
                                                    )        Case No. 4:22-cv-00825-P
                       Plaintiffs,                  )
v.                                                  )
                                                    )
ALEJANDRO N. MAYORKAS, in his official              )
capacity as Secretary of Homeland Security, et al., )
                                                    )
                       Defendants.                  )


   THIRD SUPPLEMENTAL DECLARATION OF LIEUTENANT JUNIOR GRADE
                     MICHAEL MARCENELLE

       Pursuant to 28 U.S.C. § 1746, I, Michael Marcenelle, under penalty of perjury declare as

follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am still enduring adverse action due to my decision to not receive the COVID-19

vaccinations, despite the Coast Guard having removed many restrictions on unvaccinated

personnel.

       3.      Specifically, I was eligible to be selected for promotion from Lieutenant Junior

Grade (LTJG) to Lieutenant (LT) while the Coast Guard’s vaccination mandate was in effect,

including its restrictive policies prohibiting unvaccinated servicemembers from traveling,

accepting new assignments, training, and promoting, among other restrictions.

       4.      In the Coast Guard, when an officer is eligible for promotion, his or her records are

considered by a promotion board of senior officers. The promotion board selects officers for

promotion based on the provided records, the Commandant’s Guidance to Boards and Panels, as

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well as internal and confidential criteria set by the individual board/panel that is not releasable to

anyone outside of the board/panel.

       5.      Promotion from LTJG to LT is not highly competitive. In my experience, LTJGs

are typically only passed over for promotion due to serious crimes, such as sexual assault or driving

under the influence, or due to a pending request to separate from the Coast Guard. Additionally,

promotions from LTJG to LT occur “in place,” such that the promotee’s assignment and duties do

not change upon promotion. In other words, no other LTJGs competed against me for my position.

       6.      I was not selected for this promotion when I was up for consideration in 2022.

       7.      The CG-3307 forms documenting my choice to remain unvaccinated are the sole

derogatory information in my records. I had no other derogatory material in my record and I had

not requested to separate from the Coast Guard.

       8.      A member of my promotion board informed me that the board was instructed to

automatically deny promotion for anyone having a recorded CG-3307 documenting

noncompliance with the Coast Guard’s vaccine mandate.

       9.      I know two other unvaccinated LTJGs who were nonetheless selected for

promotion. Although their commanders issued CG-3307s for noncompliance with the vaccine

mandate, their commanders chose not to file the CG-3307s in their respective records. As a result,

the promotion board was unaware that these LTJGs were unvaccinated, and selected them for

promotion.

       10.     Unlike these two other unvaccinated LTJGs, my commander did file my CG-3307s

in my record; the board was informed of my noncompliance with the vaccine mandate; and, as a

result, I was not selected for promotion.



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       11.     Had I been selected for promotion, I would promote to LT effective April 29, 2023.

I understand the Coast Guard could still choose to grant me the promotion effective April 29,

2023—it is not too late, at least as of today.

       12.     Promotion to LT brings a substantial pay raise. I currently earn $97,595.76 annually

($8,132.98 per month) as a LTJG. Had I been selected for promotion to LT, my pay would increase

on April 29 to $121,323.36 annually ($10,110.28 per month).

       13.     Because I followed my faith and conscience and remained unvaccinated, I was

passed over for promotion, and will earn $1,977.30 less per month than I would have earned had

I contravened my faith and conscience by complying with the vaccine mandate.

       14.     I believe the only reason I was passed over for promotion was because I followed

my faith and conscience and remained unvaccinated.

       15.     I understand that on January 25, 2023, the Coast Guard rescinded a policy

preventing unvaccinated enlisted servicemembers from testing for promotion, and gave them a one

week window to register for testing. ECF No. 67-3 at 2.

       16.     However, the Coast Guard has issued no guidance addressing the needs of officers

like me who had been denied a promotion due to their vaccination status. I am unaware of any

rescission guidance regarding unvaccinated officers other than policies ending involuntary

separations, assignment restrictions, and training restrictions (ECF No. 67-2), and removing

adverse CG-3307s from personnel data records (ECF No. 68-4).

       17.     Separate from any vaccine-related guidance, Coast Guard regulation COMDTINST

M1000.3A allows officers to request a Special Selection Board (SSB) to Commander (CG PSC-

OPM) when “an officer [was] considered but not selected for promotion to the next higher grade

because of a material error in their record.” Ex. 1 at 6.B.13.a.

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       18.     COMDTINST M1000.3A does not impose a time requirement on when the

Commander (PSC-OPM) must decide whether or not to convene a SSB. However, COMDTINST

M1000.3A states that “SSBs may be convened . . . when one or more of the following occur: . . .

a federal court directs a SSB be convened.” Id. at 6.B.13.e.

       19.     Although an officer who has been recommended for promotion by an SSB “shall

have, upon such promotion, the same date of rank, the same effective date for pay and allowances

of that grade, and the same position on the active duty promotion list had they been selected by

the prior selection board,” (id. at 6.B.13.n (2)), I am unaware of any provision for recouping pay

lost while waiting for the SSB.

       20.     I requested an SSB through my commander on March 22, 2023. An officer in

Officer Personnel Management (PSC-OPM) indicated to me that that the request may be futile but

I nevertheless submitted it in accordance with the process set forth in the regulations to remedy

the previous errors in passing over my promotion.

       21.     On March 29, 2023, I was told by an officer in OPM that there is no published or

standard processing timeline for an SSB request. If OPM approves the request, the SSB has 120

days to convene. If the SSB selects me for promotion, the Secretary of the Department of

Homeland Security still reviews the selection for final approval, meaning that the Coast Guard

would not have control of when I would promote, or when my deflated pay increases.

       22.     If I am not selected for promotion through an SSB, my next opportunity to be

considered for promotion will be the general promotion board held in approximately September

2023. Given the notional SSB timeline provided to me by OPM, the standard September promotion

board will likely occur before any OPM-directed SSB would, even assuming that OPM does grant



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an SSB. Additionally, if I am selected, I would not promote until approximately April 2024, at the

earliest.

        23.        I will be an “above zone” promotion candidate (i.e., candidates who would promote

more than four years after commissioning) for the next general promotion board. My missed

promotion this year will weigh against my selection in the next promotion cycle. In fact, “above

zone” candidates for promotion have a significantly lower promotion rate than “in zone”

candidates (i.e., candidates who would promote four years after commissioning). For example, in

2022, 91% of in zone candidates were selected for promotion from O-2 to O-3, while only 54% of

above zone candidates were selected. Ex. 2 at 10. Moreover, a board will know that I am an “above

zone” candidate simply by virtue of my record containing an additional annual evaluations than

“in zone” candidates.

        24.        Additionally, although my personnel file no longer includes any CG-3307s

recording adverse actions or my vaccination status, my records do include a memorandum from

CG-1 stating that CG-3307s referencing the vaccine requirement shall be removed. The

memorandum in my record is the same as the memorandum filed in this case at ECF No. 68-4.

        25.        To my knowledge, no vaccinated Coast Guard personnel have this memorandum

in their record.

        26.        As I stated above, when an officer is eligible for promotion, his or her records are

considered by a promotion board of senior officers. The CG-1 memorandum is stored in the same

system as my annual performance reports, awards, and other documents reviewed by a promotion

or selection board. I am unaware of who has direct access to view the CG-1 memorandum,

therefore I believe it could still be used to identify me as an unvaccinated servicemember to

boards/panels, or to those who may provide guidance to the boards/panels. I assume that, at the

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                                                                                      Exhibit 1

Note: November 2022.

This Directive may no longer be current. Please check with the program office responsible
for this Directive to determine if there are any updates or if the Directive is no longer in use.




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     Officer Accessions,
      Evaluations, and
        Promotions




  COMDTINST M1000.3
  July 2020
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                                                 Commandant                               US Coast Guard Stop 7907
                                                 United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                          Washington, DC 20593-7907
                                                                                          Staff Symbol: CG-1331
                                                                                          Phone: (202) 475-5372
                                                                                          Fax: (202) 372-8473




                                                                                     COMDTCHANGENOTE 1000
                                                                                     6 JUL 2020
COMMANDANT CHANGE NOTICE 1000

Subj: CH-11 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
      COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A, is updated.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES.

      a. Chapter 1, Article 1.B.8.b. Composition of Interview Boards.

      b. Chapter 1, Article 1.E.4.h. Involuntary Termination of Cadet Appointment and Appeal
         Authority.

      c. Chapter 3, Article 3.B.10.i. Waivers.

      d. Chapter 5, Article 5.I.1. Prohibited Comments.

      e. Chapter 6, Article 6.B.15. Aviator Evaluation Board.

    DISTRIBUTION – SDL No. 170
      a   b   c    d   e    f    g   h   I   j     k    l    m    n   o      p   q    r   s    t    u   v    w    x    y      z
A    X    X   X   X    X   X     X   X   X   X          X   X    X    X      X   X        X        X    X
B         X   X   X    X   X     X   X   X   X     X    X   X    X    X      X   X   X    X   X    X    X    X    X    X      X
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D    X    X   X   X    X   X     X   X   X   X     X    X   X    X    X      X   X   X    X   X    X    X    X    X    X      X
E    X    X   X   X    X   X     X   X   X   X     X    X   X    X    X      X   X   X    X   X    X    X    X    X
F                                                                                X   X    X
G         X   X   X    X
H    X    X   X   X    X   X     X
    NON-STANDARD DISTRIBUTION:


                                                                                                                           19
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COMDTCHANGENOTE 1000

   f. Chapter 7, Article 7.D. Reserve Program Administrator (RPA).

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Manual and the general policies contained within it have been
      thoroughly reviewed by the originating office in conjunction with the Office of
      Environmental Management, Commandant (CG-47). This Manual is categorically
      excluded under current Department of Homeland Security (DHS) categorical exclusion
      DHS (CATEX) A3 from further environmental analysis in accordance with the U.S.
      Coast Guard Environmental Planning Policy, COMDTINST 5090.1 and the
      Environmental Planning (EP) Implementing Procedures (IP).

   b. This Manual will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policy in this Manual must be individually evaluated for
      compliance with the National Environmental Policy Act (NEPA) and Environmental
      Effects Abroad of Major Federal Actions, Executive Order 12114, Department of
      Homeland Security (DHS) NEPA policy, Coast Guard Environmental Planning policy,
      and compliance with all other applicable environmental mandates.

7. DISTRIBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.dcms.uscg.mil/Directives/, and CGPortal:
   https://cg.portal.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following Sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents                    Table of Contents
              1-31 – 1-32                          1-31 – 1-32
              1-91 – 1-92                          1-91 – 1-92
              3-39 – 3-40                          3-39 – 3-40
              5-13 – 5-16                          5-13 – 5-16
              6-37 – 6-38                          6-37 – 6-42
              7-1 – 7-4                            7-1 – 7-4

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the Directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.




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                                                              COMDTCHANGENOTE 1000


10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    https://dcms.uscg.afpims.mil/Our-Organization/Assistant-Commandant-for-C4IT-CG-6/The-
    Office-of-Information-Management-CG-61/Forms-Management/; and CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx. Department of Defense
    (DoD) Forms may be found here: https://www.esd.whs.mil/directives/forms/.

11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                          A. W. WILLIAMS /s/
                                          Captain, U.S. Coast Guard
                                          Acting Director of Military Personnel




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                                             Commandant                               US Coast Guard Stop 7907
                                             United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                      Washington, DC 20593-7907
                                                                                      Staff Symbol: CG-1331
                                                                                      Phone: (202) 475-5372
                                                                                      Fax: (202) 372-8473




                                                                                 COMDTCHANGENOTE 1000
                                                                                 04 JAN 2018

COMMANDANT CHANGE NOTICE 1000

Subj: CH-10 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
      COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A, is updated.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES.

    a. Chapter 1, Article 1.G.4.a. Approved Appointment to the Same Grade has been updated.

    b. Sections in Chapter 5 updated to clarify Officer Evaluation System.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

    a. The development of this Commandant Change Notice and the general policies contained
       within it have been thoroughly reviewed by the originating office in conjunction with the
       Office of Environmental Management, and are categorically excluded (CE) under current
       USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
DISTRIBUTION – SDL No. 168
    a   b   c   d   e    f   g   h   i   j      k    l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X   X   X    X   X   X       X   X           X   X    X    X     X   X         X        X
B       X   X   X    X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X   X   X    X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X   X   X    X           X   X   X      X    X   X    X    X     X   X    X    X   X    X    X
E   X   X   X   X    X   X   X   X   X   X      X    X   X    X    X         X         X   X              X    X
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G       X   X   X    X
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NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

       and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
       Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This Directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRIBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.dcms.uscg.mil/Directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/Directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following Sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents (i – iv)           Table of Contents (i – iv)
              1-97 to 1-98                         1-97 to 1-98
              5-1 – 5-20                           5-1 – 5-20

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the Directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    https://dcms.uscg.afpims.mil/Our-Organization/Assistant-Commandant-for-C4IT-CG-6/The-
    Office-of-Information-Management-CG-61/Forms-Management/; and CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx




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11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                       /A. S. MCKINLEY/
                                       Rear Admiral, U.S. Coast Guard Reserve
                                       Director of Reserve and Military Personnel




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                                       Commandant                               US Coast Guard Stop 7907
                                       United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                Washington, DC 20593-7907
                                                                                Staff Symbol: CG-1331
                                                                                Phone: (202) 475-5372
                                                                                Fax: (202) 372-8473




                                                                           COMDTCHANGENOTE 1000
                                                                           22 August 2017

COMMANDANT CHANGE NOTICE 1000

Subj: CH-9 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
      COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A is updated.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. A new chief warrant officer to Reserve Program Administrator (CWO
   to RPA) program has been created in Chapter 7. Prohibited comments in for relief from
   primary duties (RPD) officer evaluations reports (OERs) have been clarified in Article 5.I.1.
   of this Manual.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.

DISTRIBUTION – SDL No. 168
    a   b   c   d   e    f g   h   i   j   k   l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X   X   X   X    X X       X   X       X   X    X    X     X   X         X        X
B       X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X   X   X   X          X   X   X   X   X   X    X    X     X   X    X    X   X    X    X
E   X   X   X   X   X    X X   X   X   X   X   X   X    X    X         X         X   X              X    X
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G       X   X   X   X
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NON-STANDARD DISTRIBUTION:


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       and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
       Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This Directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRIBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: https://www.uscg.mil/Directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/Directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents, CH-8              Table of Contents, CH-9
              5-13 to 5-14                         5-13 to 5-14
              Chapter 7                            Chapter 7

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the Directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; and CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx




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11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                       A. S. MCKINLEY /s/
                                       Rear Admiral, U.S. Coast Guard Reserve
                                       Acting Director of Reserve and Military Personnel




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                                       Commandant                               US Coast Guard Stop 7907
                                       United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                Washington, DC 20593-7907
                                                                                Staff Symbol: CG-1331
                                                                                Phone: (202) 475-5372
                                                                                Fax: (202) 372-8473




                                                                           COMDTCHANGENOTE 1000
                                                                           19 June 2017

COMMANDANT CHANGE NOTICE 1000

Subj: CH-8 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
      COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A is updated.

   a. Policy and standards for appointment of warrant officers, formerly Articles 1.D.1. to
      1.D.15. of this Manual, have moved to a new Directive, Appointing Warrant Officers,
      COMDTINST M1420.1 (series).

   b. Policy and standards for assignment Specialty Force Managers (SFM), formerly Article
      1.D.16. of this Manual, will be moved to Military Assignments and Authorized Absences,
      COMDTINST M1000.8 (series).

   c. Policy and standards for conducting the Selective Early Retirement Board (SERB) for
      warrant officers will be moved to Military Separations, COMDTINST M1000.4 (series).

4. DISCUSSION. This Change incorporates two separate initiatives: removing overlap with
   Coast Guard Recruiting Manual, COMDTINST M1100.2 (series) and updating policies and
   standards for appointing warrant officers.


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    a   b   c   d   e    f g   h   i   j   k   l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X   X   X   X    X X       X   X       X   X    X    X     X   X         X        X
B       X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X   X   X   X          X   X   X   X   X   X    X    X     X   X    X    X   X    X    X
E   X   X   X   X   X    X X   X   X   X   X   X   X    X    X         X         X   X              X    X
F                                                                      X    X    X
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   a. Commandant (CG-13) continues to review, update, and centralize Service accession
      policies and standards into a single directive, currently Coast Guard Recruiting Manual,
      COMDTINST M1100.2 (series). This Change removes content from this Manual that
      was redundant with Coast Guard Recruiting Manual, COMDTINST M1100.2 (series),
      which was re-promulgated last year. This change does not impact any policy or standard

   b. Appointing warrant officers is not a Service wide accession policy, because the vast
      majority of warrant officer appointees are enlisted members of the Coast Guard and
      Coast Guard Reserve. In addition, this policy is complex and unique enough to justify its
      own Directive. Changes to policies and standards for appointing warrant officers are
      stated in Appointing Warrant Officers, COMDTINST M1420.1 (series).

5. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

6. MAJOR CHANGES.

   a. Policies in Chapter 1 that were redundant with Reference (a) have been removed,
      specifically Articles 1.A.5 for Licensed U.S. Merchant Marine Officers, 1.A.7. for
      Physicaian Assistants, Article 1.B.1. for Reserve Officers on Active Duty, Article 1.B.9.
      for Officer Programs inverviewing Guidelines, and Article 1.C. Selected Reserve
      Commission Officer Program.

   b. Article 1.D., Appointment of as Warrant Officer, has been moved to other Directives, per
      paragraphs 3 and 4 of this Commandant Change Notice. Assignment policy for specialty
      force managers has been removed and will be added in a later revision to Military
      Assignments and Authorized Absences, COMDTINST M1000.8 (series).

   c. Article 2.A.2. – Two specialities, Diver (DIV) and Marine Safety Specialist Response
      (MSSR) have been added to the warrantofficer specialties and to the warrant to
      temporary lieutenant lists.

   d. Sections in Chapter 3 that were redundant with Article 1.D. of this Manual have also
      been removed.

   e. Article 3.AB.3.b. has been updated. Warrant officers promotion zones will be based on
      15 December of each promotion year, instead of when the selection board convenes.

   f. The Selective Early Retirement Board (SERB) in Article 3.B.8. of this Manual has been
      deleted and will be moved to a new Chapter in Reference (c) in a future update to that
      Manual.

7. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the


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       Office of Environmental Management, and are categorically excluded (CE) under current
       USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
       and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
       Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

8. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: https://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

9. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                                Replace
              Table of Contents, CH-7               Table of Contents, CH-8
              1-3 to 1-6                            1-3 to 1-6
              1-13 to 1-16                          1-13 to 1-16
              1-29 to 1-82                          1-29 to 1-82
              2-1 to 2-4                            2-1 to 2-4
              3-25 to 3-28                          3-25 to 3-28
              3-33 to 3-36                          3-33 to 3-36
              3-39 to 3-40                          3-39 to 3-40

10. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
    been evaluated for potential records management impacts. The development of this
    Commandant Change Notice has been thoroughly reviewed during the directives clearance
    process, and it has been determined there are no further records scheduling requirements, in
    accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
    Records Administration (NARA) requirements, and the Information and Life Cycle
    Management Manual, COMDTINST M5212.12 (series). This policy does not have any
    significant or substantial change to existing records management requirements.

11. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; and CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx




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11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                       A. S. MCKINLEY /s/
                                       Rear Admiral, U.S. Coast Guard Reserve
                                       Acting Director of Reserve and Military Personnel




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                                             Commandant                               US Coast Guard Stop 7907
                                             United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                      Washington, DC 20593-7907
                                                                                      Staff Symbol: CG-1331
                                                                                      Phone: (202) 475-5178
                                                                                      Fax: (202) 372-8473




                                                                                 COMDTCHANGENOTE 1000
                                                                                 21 APR 2017

COMMANDANT CHANGE NOTICE 1000

Subj: CH-7 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
      COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A is updated.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. This Change updates policies and standards applicable to Reserve
   Program Administators (RPA).

    a. Policies and standards for the designation for provisional and permanent RPA in Articles
       1.B.3., 1.B.4., and 3.A.6.a. have been revised and placed in a new Chapter 7. To increase
       the number of applicants and improve the overall health of the RPA corps, the eligibility
       standards and protection from non-selection for promotion have been updated.

    b. The Opportunity for Selection calculation in Article 3.A.6.e.(3) is cancelled and Article
       3.A.6.e.(2) is amended to apply whenever Article 3.A.6.e.(1) does not apply. ADM Allen
       approved this change in the 2006 and Commandant (CG-12A) has ensured correct

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A   X   X   X   X    X   X   X       X   X           X   X    X    X     X   X         X        X
B       X   X   X    X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X   X   X    X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
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       numbers of RPAs to select for promotion, but the change was not incorporated into
       COMDTINST until now.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents                    Table of Contents
              1-17 to 1-20                         1-17 to 1-20
              3-9 to 3-14                          3-9 to 3-14
                                                   Chapter 7

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.




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                                                              COMDTCHANGENOTE 1000

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; and CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx

11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                       K. B. HINRICHS /s/
                                       Rear Admiral, U.S. Coast Guard Reserve
                                       Director of Reserve and Military Personnel




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                                          Commandant                               US Coast Guard Stop 7801
                                          United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                   Washington, DC 20593-7801
                                                                                   Staff Symbol: CG-1331
                                                                                   Phone: (202) 475-5382
                                                                                   Fax: (202) 475-5927


                                                                              COMDTCHANGENOTE 1000
                                                                              28 Nov 2016

COMMANDANT CHANGE NOTICE 1000

Subj: CH-6 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officers-in-charge,
   deputy/assistant commandants, and chiefs of Headquarters staff elements shall comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. Officer Accessions, Evaluations, and Promotions,
   COMDTINST M1000.3A, is updated.

4. DISCLAIMER. This guidance is not a substitute for applicable legal requirements, nor is it
   itself a rule. It is intended to provide operational guidance for Coast Guard personnel and is
   not intended to nor does it impose legally-binding requirements on any party outside the
   Coast Guard.

5. MAJOR CHANGES. This Change updates the Officer Evaluation System (OES) policies and
   standards in Chapter 5 of this Manual.

   a. Delegated additional authorities to Commander (CG PSC):

        (1) Submission dates for biennial, annual, and semiannual OERs,
        (2) Determination of which officers follow the DUINS schedule,
        (3) Designation and responsibilities of the rating chain, and
        (4) Ability to grant exceptions to policy and standards for this Chapter.


 DISTRIBUTION – SDL No. 168
        a  b    c   d    e    f   g   h   i   j   k    l   m    n     o   p    q    r    s    t    u    v   w    x     y   z
    A   X X    X   X    X     X X   X         X       X    X    X     X   X    X      X   X
    B     X    X   X    X     X X X X         X   X   X    X    X     X   X    X    X X X X X X X X X
        X X    X   X    X     X X X X         X   X   X    X    X     X   X    X    X X X X X X X X X
    D   X X    X   X    X         X X         X   X   X    X    X     X   X    X    X X X X X
    E   X X    X   X    X     X X X X         X   X   X    X    X     X        X      X X     X X
    F                                                                          X    X X
    G      X X X X
    H
 NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

   b. Removed “Special” OER terminology. The word “Special” was used due to limited space
      on the OER form. Each occasion of report is now listed and OER’s are categorized as
      “Regular” and “Non-regular” on all OER forms in accordance with this policy.

   c. Comments with 4, 5, or 6 no longer require written support. This change will allow rating
      chains the flexibility to comment on significant performance factors during the marking
      period.

   d. All reported on officers must receive mid-period counseling, which will be documented
      on the OER form.

   e. All Inactive Duty Promotion List (IDPL) officers who are subject to a retention board
      must submit an OER.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).
      Because this Commandant Change Notice contains guidance on, and provisions for,
      compliance with applicable environmental mandates, Coast Guard categorical exclusion
      #33 is appropriate.

   b. This Commandant Change Notice will not have any of the following: significant
      cumulative impacts on the human environment; substantial controversy or substantial
      change to existing environmental conditions; or inconsistencies with any Federal, State,
      or local laws or administrative determinations relating to the environment. All future
      specific actions resulting from the general policies in this Commandant Change Notice
      must be individually evaluated for compliance with the National Environmental Policy
      Act (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice. An
   electronic version will be located on the following Commandant (CG-612) web sites. Internet:
   http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. Remove and replace the following sections of Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A

              Remove                               Replace
              Table of Contents, CH-5              Table of Contents, CH-6
              Chapter 5                            Chapter 5




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                                                               COMDTCHANGENOTE 1000



9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been thoroughly reviewed during the directives clearance process, and it has been determined
   there are records scheduling requirements, in accordance with Federal Records Act, 44
   U.S.C. 3101 et seq., NARA requirements, and Information and Life Cycle Management
   Manual, COMDTINST M5212.12 (series).

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/ and CG Portal
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx;

11. REQUEST FOR CHANGES. Units and individuals may recommend changes via the chain
    of command to HQS-PolicyandStandards@uscg.mil.




                                           K. B. HINRICHS /s/
                                           Rear Admiral, U.S. Coast Guard Reserve
                                           Director of Reserve and Military Personnel




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COMDTCHANGENOTE 1000




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                                       Commandant                               US Coast Guard Stop 7907
                                       United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                Washington, DC 20593-7907
                                                                                Staff Symbol: CG-1331
                                                                                Phone: (202) 475-5372
                                                                                Fax: (202) 372-8473




                                                                           COMDTCHANGENOTE 1000
                                                                           21 Nov 2016

COMMANDANT CHANGE NOTICE 1000

Subj:   CH-5 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
        COMDTINST M1000.3A

Ref:    (a)   Coast Guard Recruiting Manual, COMDTINST M1100.2 (series)
        (b)   Coast Guard Medical Manual, COMDTINST M6000.1 (series)
        (c)   Military Separations, COMDTINST M1000.4 (series)
        (d)   Manual for Courts-Martial (MCM) (series)
        (e)   Coast Guard Investigations Manual, COMDTINST M5527.1 (series)
        (f)   Coast Guard Weight and Body Fat Standards Program Manual, COMDTINST
              M1020.8 (series)
        (g)   Coast Guard Pay Manual, COMDTINST M7220.29 (series)
        (h)   Schedule of Active Duty Promotion List (ADPL) and Inactive Duty Promotion List
              (IDPL) Officer Personnel Boards and Panels, PSCNOTE 1401.5 (series)
        (i)   Enlisted Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series)
        (j)   Performance, Training and Education Manual, COMDTINST M1500.10 (series)
        (k)   Personnel Security and Suitability Program, COMDTINST M5520.12 (series)
        (l)   Coast Guard Air Operations Manual, COMDTINST M3710.1 (series)
        (m)   Uniform Regulations, COMDTINST M1020.6 (series)
        (n)   Coast Guard Diving Policies and Procedures Manual, Volume 1, COMDTINST
              M3150.1 (series)
        (o)   Marine Safety Manual, Volume I, Administration and Management, COMDTINST
              M16000.6 (series)
        (p)   Information and Life Cycle Management Manual, COMDTINST M5212.12 (series)
        (q)   Military Assignments and Authorized Absences, COMDTINST M1000.8 (series)
        (r)   Discipline and Conduct, COMDTINST M1600.2 (series)

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

DISTRIBUTION – SDL No. 168
    a   b   c   d   e    f g   h   i   j   k   l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X   X   X   X    X X       X   X       X   X    X    X     X   X         X        X
B       X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X   X   X   X    X X   X   X   X   X   X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X   X   X   X          X   X   X   X   X   X    X    X     X   X    X    X   X    X    X
E   X   X   X   X   X    X X   X   X   X   X   X   X    X    X         X         X   X              X    X
F                                                                      X    X    X
G       X   X   X   X
H
NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A is updated.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. This Commandant Change Notice establishes the following major
   change: Article 6.B.14. Specialty Considered Selections (SCS) has been added.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents, CH-4              Table of Contents, CH-5
              Pages 6-35 – 6-36                    Page 6-35 – 6-38




                                                                                               44
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                                                                  COMDTCHANGENOTE 1000
9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and Intranet at
    http://cgweb.comdt.uscg.mil/CGForms.

11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                        K. B. HINRICHS /s/
                                        Rear Admiral, U.S. Coast Guard Reserve
                                        Director of Reserve and Military Personnel




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                                               Commandant                               US Coast Guard Stop 7907
                                               United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                        Washington, DC 20593-7907
                                                                                        Staff Symbol: CG-1331
                                                                                        Phone: (202) 475-5372
                                                                                        Fax: (202) 372-8473




                                                                                   COMDTCHANGENOTE 1000
                                                                                   13 Jun 2016

COMMANDANT CHANGE NOTICE 1000

Subj:       CH-4 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
            COMDTINST M1000.3A

Ref:        (a)   Coast Guard Recruiting Manual, COMDTINST M1100.2 (series)
            (b)   Coast Guard Medical Manual, COMDTINST M6000.1 (series)
            (c)   Military Separations, COMDTINST M1000.4 (series)
            (d)   Manual for Courts-Martial (MCM) (series)
            (e)   Coast Guard Investigations Manual, COMDTINST M5527.1 (series)
            (f)   Coast Guard Weight and Body Fat Standards Program Manual, COMDTINST
                  M1020.8 (series)
            (g)   Coast Guard Pay Manual, COMDTINST M7220.29 (series)
            (h)   Schedule of Active Duty Promotion List (ADPL) and Inactive Duty Promotion List
                  (IDPL) Officer Personnel Boards and Panels, PSCNOTE 1401.5 (series)
            (i)   Enlisted Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series)
            (j)   Performance, Training and Education Manual, COMDTINST M1500.10 (series)
            (k)   Personnel Security and Suitability Program, COMDTINST M5520.12 (series)
            (l)   Coast Guard Air Operations Manual, COMDTINST M3710.1 (series)
            (m)   Uniform Regulations, COMDTINST M1020.6 (series)
            (n)   Coast Guard Diving Policies and Procedures Manual, Volume 1, COMDTINST
                  M3150.1 (series)
            (o)   Marine Safety Manual, Volume I, Administration and Management, COMDTINST
                  M16000.6 (series)
            (p)   Information and Life Cycle Management Manual, COMDTINST M5212.12 (series)
            (q)   Military Assignments and Authorized Absences, COMDTINST M1000.8 (series)
            (r)   Discipline and Conduct, COMDTINST M1600.2 (series)

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

DISTRIBUTION – SDL No. 167
    a   b   c   d   e    f     g   h   i   j      k    l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X     X    X   X   X   X       X   X           X   X    X    X     X   X         X        X
B       X     X    X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X     X    X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X     X    X   X           X   X   X      X    X   X    X    X     X   X    X    X   X    X    X
E   X   X     X    X   X   X   X   X   X   X      X    X   X    X    X         X         X   X              X    X
F                                                                              X    X    X
G       X     X    X   X
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NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. This Commandant Change Notice establishes the following major
   changes:

   a. Removes Article 1.F. regarding information for appointments to U.S. Department of
      Defense Service Academies.

   b. Clarifies Article 1.G. regarding appointing current and former regular commissioned
      officers of the Coast Guard and Navy as Coast Guard Reserve Officers.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.




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                                                             COMDTCHANGENOTE 1000
8. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents, CH-3              Table of Contents, CH-4
              Page 1-95 – 1-99                     Pages 1-95 – 1-100

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and Intranet at
    http://cgweb.comdt.uscg.mil/CGForms.

11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.




                                        K. B. HINRICHS /s/
                                        Rear Admiral, U.S. Coast Guard Reserve
                                        Director of Reserve and Military Personnel




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COMDTCHANGENOTE 1000




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                                               Commandant                               US Coast Guard Stop 7907
                                               United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                        Washington, DC 20593-7907
                                                                                        Staff Symbol: CG-1331
                                                                                        Phone: (202) 475-5372
                                                                                        Fax: (202) 372-8473




                                                                                   COMDTCHANGENOTE 1000
                                                                                   29 FEB 2016

COMMANDANT CHANGE NOTICE 1000

Subj:       CH-3 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
            COMDTINST M1000.3A

Ref:        (a)   Coast Guard Recruiting Manual, COMDTINST M1100.2 (series)
            (b)   Coast Guard Medical Manual, COMDTINST M6000.1 (series)
            (c)   Military Separations, COMDTINST M1000.4 (series)
            (d)   Manual for Courts-Martial (MCM) (series)
            (e)   Coast Guard Investigations Manual, COMDTINST M5527.1 (series)
            (f)   Coast Guard Weight and Body Fat Standards Program Manual, COMDTINST
                  M1020.8 (series)
            (g)   Coast Guard Pay Manual, COMDTINST M7220.29 (series)
            (h)   Schedule of Active Duty Promotion List (ADPL) and Inactive Duty Promotion List
                  (IDPL) Officer Personnel Boards and Panels, PSCNOTE 1401.5 (series)
            (i)   Enlisted Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series)
            (j)   Performance, Training and Education Manual, COMDTINST M1500.10 (series)
            (k)   Personnel Security and Suitability Program, COMDTINST M5520.12 (series)
            (l)   Coast Guard Air Operations Manual, COMDTINST M3710.1 (series)
            (m)   Uniform Regulations, COMDTINST M1020.6 (series)
            (n)   Coast Guard Diving Policies and Procedures Manual, Volume 1, COMDTINST
                  M3150.1 (series)
            (o)   Marine Safety Manual, Volume I, Administration and Management, COMDTINST
                  M16000.6 (series)
            (p)   Information and Life Cycle Management Manual, COMDTINST M5212.12 (series)
            (q)   Military Assignments and Authorized Absences, COMDTINST M1000.8 (series)
            (r)   Discipline and Conduct, COMDTINST M1600.2 (series)

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

DISTRIBUTION – SDL No. 167
    a   b   c   d   e    f     g   h   i   j      k    l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X     X    X   X   X   X       X   X           X   X    X    X     X   X         X        X
B       X     X    X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X     X    X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X     X    X   X           X   X   X      X    X   X    X    X     X   X    X    X   X    X    X
E   X   X     X    X   X   X   X   X   X   X      X    X   X    X    X         X         X   X              X    X
F                                                                              X    X    X
G       X     X    X   X
H
NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. This Commandant Change Notice adds Article 6.B.13. to authorize the
   use of special selection boards to address potentional errors in selection certain ADPL
   officers for promotion as a result of possible material or adminstriative error.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.

7. DISTRUBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   the Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                               Replace
              Table of Contents, CH-2              Table of Contents, CH-3
              Page 6-31                            Pages 6-31 – 6-36




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                                                                  COMDTCHANGENOTE 1000
9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and Intranet at
    http://cgweb.comdt.uscg.mil/CGForms.

11. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.



                                        K. B. HINRICHS /s/
                                        Rear Admiral, U.S. Coast Guard Reserve
                                        Director of Reserve and Military Personnel




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COMDTCHANGENOTE 1000




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                                         Commandant                      US Coast Guard Stop 7907
                                         United States Coast Guard       2703 Martin Luther King Jr Ave SE
                                                                         Washington, DC 20593-7907
                                                                         Staff Symbol: CG-1331
                                                                         Phone: (202) 475-5372
                                                                         Fax: (202) 475-5927
                                                                         Email: HQS-PolicyandStandards@uscg.mil




                                                                          COMDTCHANGENOTE 1000
                                                                          17 DEC 15

COMMANDANT CHANGE NOTICE 1000

Subj:       CH-2 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
            COMDTINST M1000.3A

1. PURPOSE. This Commandant Change Notice publishes a change to Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officers-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements shall comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A, is updated.

4. DISCLAIMER. This guidance is not a substitute for applicable legal requirements, nor is it
   itself a rule. It is intended to provide guidance for Coast Guard personnel and is not intended
   to nor does it impose legally-binding requirements on any party outside the Coast Guard.

5. MAJOR CHANGES. The entire content in Chapter 4 (Officer Qualifications) of Officer
   Accessions, Evaluations, and Promotions, COMDTINST M1000.3A, has been removed,
   integrated with the content regarding enlisted qualifications previously included in Enlisted
   Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series), and
   promulgated separately in a new directive, Military Qualifications and Insignia,
   COMDTINST M1200.1 (series). As a result of the removal of Chapter 4 (Officer
   Qualifications), references (m) through (o) in the list of references in Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A, are no longer applicable.

6. IMPACT ASSESSMENT. None.

DISTRIBUTION – SDL No. 167
    a   b    c   d   e   f   g   h   i   j   k    l    m   n    o    p   q   r   s   t   u    v   w    x   y      z
A   X   X    X   X   X   X   X       X   X        X    X   X    X    X   X       X       X
B       X    X   X   X   X   X   X   X   X   X    X    X   X    X    X   X   X   X   X   X    X   X    X   X      X
    X   X    X   X   X   X   X   X   X   X   X    X    X   X    X    X   X   X   X   X   X    X   X    X   X      X
D   X   X    X   X   X           X   X   X   X    X    X   X    X    X   X   X   X   X   X    X
E   X   X    X   X   X   X   X   X   X   X   X    X    X   X    X        X       X   X            X    X
F                                                                        X   X   X
G       X    X   X   X
H
NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000


7. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office and are categorically
      excluded under current Coast Guard categorical exclusion #1 from further environmental
      analysis, in accordance with Section 2.B.2. and Figure 2-1 of the National Environmental
      Policy Act Implementing Procedures and Policy for Considering Environmental Impacts,
      COMDTINST M16475.1 (series).

   b. This Commandant Change Notice will not have any of the following: significant
      cumulative impacts on the human environment; substantial controversy or substantial
      change to existing environmental conditions; or inconsistencies with any Federal, State,
      or local laws or administrative determinations relating to the environment. All future
      specific actions resulting from the general policies in this Commandant Change Notice
      must be individually evaluated for compliance with the National Environmental Policy
      Act (NEPA), Council on Environmental Policy NEPA regulations at 40 Code of Federal
      Regulations Parts 1500-1508, Department of Homeland Security and Coast Guard NEPA
      policy, and compliance with all other environmental mandates.

8. DISTRIBUTION. No paper distribution will be made of this Commandant Change Notice.
   An electronic version will be located on the following Commandant (CG-612) web sites.
   Internet: http://www.uscg.mil/directives/, and
   CGPortal: https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

9. PROCEDURE. If maintaining a paper library, remove and replace the following sections of
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

           Remove                                        Replace

           Table of Contents, CH-1                       Table of Contents, CH-2
           Chapter 4, pages 4-1 – 4-25                   Chapter 4, pages 4-1 – 4-2, CH-2
10. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
    been thoroughly reviewed during the directives clearance process, and it has been determined
    there are no further records scheduling requirements, in accordance with Federal Records
    Act, 44 U.S.C. 3101 et seq., National Archives and Records Administration (NARA)
    requirements, and Information and Life Cycle Management Manual, COMDTINST
    M5212.12 (series). This policy does not have any significant or substantial change to
    existing records management requirements.

11. FORMS/REPORTS. With the removal of Chapter 4 by this Commandant Change Notice, all
    of the forms referenced in Officer Accessions, Evaluations, and Promotions, COMDTINST
    M1000.3A, are available in USCG Electronic Forms on the Standard Workstation or on the
    Internet at http://www.uscg.mil/forms/;
    CG Portal at https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and
    Intranet at http://cgweb.comdt.uscg.mil/CGForms.




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                                                              COMDTCHANGENOTE 1000


12. REQUEST FOR CHANGES. Recommendations for changes or improvements to Officer
    Accessions, Evaluations, and Promotions, COMDTINST M1000.3 (series), are welcome and
    should be submitted via the chain of command to the Office of Military Personnel, Policy
    and Standards Division, Commandant (CG-1331), at HQS-PolicyandStandards@uscg.mil.



                                            Kurt B. Hinrichs /s/
                                            Rear Admiral, U.S. Coast Guard
                                            Director of Reserve and Military Personnel




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                                              Commandant                               US Coast Guard Stop 7907
                                              United States Coast Guard                2703 Martin Luther King Jr Ave SE
                                                                                       Washington, DC 20593-7907
                                                                                       Staff Symbol: CG-1331
                                                                                       Phone: (202) 475-5372
                                                                                       Fax: (202) 372-8473




                                                                                  COMDTCHANGENOTE 1000
                                                                                  30 SEP 2015

COMMANDANT CHANGE NOTICE 1000

Subj:       CH-1 TO OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS,
            COMDTINST M1000.3A

Ref:        (a) Coast Guard Recruiting Manual, COMDTINST M1100.2 (series)
            (b) Coast Guard Medical Manual, COMDTINST M6000.1 (series)
            (c) Military Separations, COMDTINST M1000.4 (series)
            (d) Manual for Courts-Martial (MCM) (series)
            (e) Coast Guard Investigations Manual, COMDTINST M5527.1 (series)
            (f) Coast Guard Weight and Body Fat Standards Program Manual, COMDTINST M1020.8
                 (series)
            (g) Coast Guard Pay Manual, COMDTINST M7220.29 (series)
            (h) Schedule of Active Duty Promotion List (ADPL) and Inactive Duty Promotion List
                 (IDPL) Officer Personnel Boards and Panels, PSCNOTE 1401.5 (series)
            (i) Enlisted Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series)
            (j) Performance, Training and Education Manual, COMDTINST M1500.10 (series)
            (k) Personnel Security and Suitability Program, COMDTINST M5520.12 (series)
            (l) Coast Guard Air Operations Manual, COMDTINST M3710.1 (series)
            (m)Uniform Regulations, COMDTINST M1020.6 (series)
            (n) Coast Guard Diving Policies and Procedures Manual, Volume 1, COMDTINST
                 M3150.1 (series)
            (o) Marine Safety Manual, Volume I, Administration and Management, COMDTINST
                 M16000.6 (series)
            (p) Information and Life Cycle Management Manual, COMDTINST M5212.12 (series)
            (q) Military Assignments and Authorized Absences, COMDTINST M1000.8 (series)
            (r) Discipline and Conduct, COMDTINST M1600.2 (series)




DISTRIBUTION – SDL No. 166
    a   b     c   d   e   f   g   h   i   j      k    l   m    n    o     p   q    r    s   t    u    v    w    x    y     z
A   X   X         X   X   X   X       X   X      X    X   X    X    X     X   X         X        X    X
B   X   X     X   X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
    X   X     X   X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X    X    X     X
D   X   X     X   X   X   X   X   X   X   X      X    X   X    X    X     X   X    X    X   X    X    X    X         X     X
E   X   X     X   X   X   X   X   X   X   X      X    X   X    X          X   X    X    X   X    X    X    X    X
F                                                                             X    X    X
G       X     X   X   X
H   X   X     X   X   X   X   X   X       X      X
NON-STANDARD DISTRIBUTION:


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COMDTCHANGENOTE 1000

1. PURPOSE. This Commandant Change Notice publishes a change to the Officer Accessions,
   Evaluations, and Promotions, COMDTINST M1000.3A.

2. ACTION. All Coast Guard unit commanders, commanding officers, officer-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements must comply with
   the provisions of this Commandant Change Notice. Internet release is authorized.

3. DIRECTIVES AFFECTED. With the addition of this Commandant Change Notice, the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast
   Guard personnel and is not intended to nor does it impose legally-binding requirements on
   any party outside the Coast Guard.

5. MAJOR CHANGES. This Commandant Change Notice establishes the following major
   changes:

   a. Provides clarification and adds detail to policy regarding the Service Obligation of cadets
      in Chapter 1.E.4.f.

   b.   Changes 1.E.4.i. to detail paths to recouping government costs in accordance with newly
        promulgated instruction, Recoupment of Advanced Education Costs in the Event of
        Separation Before Completion of Obligated Service, COMDTISNT 1560.3(series).

   c. Changes 1.E.4.j. to capture all transitions from cadet to enlisted service. Changes
      accession points of entry for disenrolled cadets entering enlisted service.

6. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Commandant Change Notice and the general policies contained
      within it have been thoroughly reviewed by the originating office in conjunction with the
      Office of Environmental Management, and are categorically excluded (CE) under current
      USCG CE # 33 from further environmental analysis, in accordance with Section 2.B.2.
      and Figure 2-1 of the National Environmental Policy Act Implementing Procedures and
      Policy for Considering Environmental Impacts, COMDTINST M16475.1 (series).

   b. This directive will not have any of the following: significant cumulative impacts on the
      human environment; substantial controversy or substantial change to existing
      environmental conditions; or inconsistencies with any Federal, State, or local laws or
      administrative determinations relating to the environment. All future specific actions
      resulting from the general policies in this Commandant Change Notice must be
      individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-
      1508, DHS and Coast Guard NEPA policy, and compliance with all other environmental
      mandates.




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                                                                COMDTCHANGENOTE 1000

7. DISTRUBUTION. No paper distribution will be made of this Manual. An electronic version
   will be located on the following Commandant (CG-612) web sites. Internet:
   http://www.uscg.mil/directives/, and CGPortal:
   https://cgportal2.uscg.mil/library/directives/SitePages/Home.aspx.

8. PROCEDURE. If maintain a paper library, remove and replace the following sections of the
   Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3A:

              Remove                                Replace
              Pages v-vi                            Pages v-vi
              Pages 1-90 – 1-97                     Pages 1-90 – 1-99

9. RECORDS MANAGEMENT CONSIDERATIONS. This Commandant Change Notice has
   been evaluated for potential records management impacts. The development of this
   Commandant Change Notice has been thoroughly reviewed during the directives clearance
   process, and it has been determined there are no further records scheduling requirements, in
   accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives and
   Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any
   significant or substantial change to existing records management requirements.

10. FORMS/REPORTS. The forms referenced in this Commandant Change Notice are available
    in USCG Electronic Forms on the Standard Workstation or on the Internet:
    http://www.uscg.mil/forms/; CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and Intranet at
    http://cgweb.comdt.uscg.mil/CGForms.

11. REQUEST FOR CHANGES. Submit changes to Commandant (CG-1331).



                                        K. B. HINRICHS /s/
                                        Rear Admiral, U.S. Coast Guard Reserve
                                        Acting Director of Reserve and Military Personnel




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                                          Commandant                              2703 Martin Luther King Jr Avenue SE
                                          United States Coast Guard               Washington, DC 20593-7907
                                                                                  Staff Symbol: CG-1331
                                                                                  Phone: (202) 475-5372
                                                                                  Fax: (202) 475-5927
                                                                                  Email: HQS-PolicyandStandards@uscg.mil


                                                                                  COMDTINST M1000.3A
                                                                                  13 SEP 2013

COMMANDANT INSTRUCTION M1000.3A

Subj:     OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS

Ref:      (a)   Coast Guard Recruiting Manual, COMDTINST M1100.2 (series)
          (b)   Coast Guard Medical Manual, COMDTINST M6000.1 (series)
          (c)   Military Separations, COMDTINST M1000.4 (series)
          (d)   Manual for Courts-Martial (MCM) (series)
          (e)   Coast Guard Investigations Manual, COMDTINST M5527.1 (series)
          (f)   Coast Guard Weight and Body Fat Standards Program Manual, COMDTINST M1020.8
                (series)
          (g)   Coast Guard Pay Manual, COMDTINST M7220.29 (series)
          (h)   Schedule of Active Duty Promotion List (ADPL) and Inactive Duty Promotion List (IDPL)
                Officer Personnel Boards and Panels, PSCNOTE 1401.5 (series)
          (i)   Enlisted Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series)
          (j)   Performance, Training and Education Manual, COMDTINST M1500.10 (series)
          (k)   Personnel Security and Suitability Program, COMDTINST M5520.12 (series)
          (l)   Coast Guard Air Operations Manual, COMDTINST M3710.1 (series)
          (m)   Uniform Regulations, COMDTINST M1020.6 (series)
          (n)   Coast Guard Diving Policies and Procedures Manual, Volume 1, COMDTINST M3150.1
                (series)
          (o)   Marine Safety Manual, Volume I, Administration and Management, COMDTINST
                M16000.6 (series)
          (p)   Information and Life Cycle Management Manual, COMDTINST M5212.12 (series)
          (q)   Military Assignments and Authorized Absences, COMDTINST M1000.8 (series)
          (r)   Discipline and Conduct, COMDTINST M1600.2 (series)

1. PURPOSE. This Manual establishes Coast Guard policy and procedures concerning the accessions,
   evaluations, personnel boards, and promotions for the Coast Guard officer corps.

 DISTRIBUTION – SDL No. 162
        a  b    c   d    e    f   g   h   i   j   k    l   m    n     o   p   q    r   s    t   u    v   w    x   y     z
   A     X X     X   X   X    X X   X         X       X    X    X     X   X   X     X   X
   B       X     X   X   X    X X X X         X   X   X    X    X     X   X   X   X X X X X X X X X
         X X     X   X   X    X X X X         X   X   X    X    X     X   X   X   X X X X X X X X X
   D     X X     X   X   X        X X         X   X   X    X    X     X   X   X   X X X X X
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   F                                                                          X   X X
   G        X X X X
   H
 NON-STANDARD DISTRIBUTION:




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COMDTINST M1000.3A


2. ACTION. All Coast Guard unit commanders, commanding officers, officers-in-charge,
   deputy/assistant commandants, and chiefs of headquarters staff elements shall comply with the
   provisions of this Manual. Internet release is authorized.

3. DIRECTIVES AFFECTED. Officer Accessions, Evaluations, and Promotions, COMDTINST
   M1000.3, is hereby cancelled.

4. DISCLAIMER. This document is intended to provide operational requirements for Coast Guard
   personnel and is not intended to nor does it impose legally-binding requirements on any party
   outside the Coast Guard.

5. DISTRIBUTION. No paper distribution will be made of this Manual. Official distribution will be
   via the Coast Guard Directives (CGDS) DVD. An electronic version will be located on the
   following Commandant (CG-612) web sites. Intranet:
   http://cgweb.comdt.uscg.mil/CGDirectives/Welcome.htm, Internet: http://www.uscg.mil/directives/,
   and CGPortal: https://cgportal2.uscg.mil/library/directives/SitePages/home/aspx.

6. MAJOR CHANGES. Changes to this Manual exist primarily in Chapter 5 and include the removal
   of all execution processes related to officer evaluation reports. This information has been relocated
   to a Personnel Service Center procedures directive.

7. DISCUSSION. Citation of the word ‘article’ as used in this Manual is in general terms of reference,
   (e.g., to denote paragraph or section), and is not citing CFR, USC, UCMJ, etc. except where so
   noted.

8. RECORDS MANAGEMENT CONSIDERATIONS. This Manual has been evaluated for potential
   records management impacts. The development of this Manual has been thoroughly reviewed during
   the directives clearance process, and it has been determined there are no further records scheduling
   requirements, in accordance with Federal Records Act, 44 U.S.C. 3101 et seq., National Archives
   and Records Administration (NARA) requirements, and the Information and Life Cycle
   Management Manual, COMDTINST M5212.12 (series). This policy does not have any significant or
   substantial change to existing records management requirements.

9. ENVIRONMENTAL ASPECT AND IMPACT CONSIDERATIONS.

   a. The development of this Manual and the general policies contained within it have been
      thoroughly reviewed by the originating office in conjunction with the Office of Environmental
      Management, and are categorically excluded (CE) under current USCG CE # 33 from further
      environmental analysis, in accordance with Section 2.B.2. and Figure 2-1 of the National
      Environmental Policy Act Implementing Procedures and Policy for Considering Environmental
      Impacts, COMDTINST M16475.1 (series). Because this Manual contains guidance on, and
      provisions for, compliance with applicable environmental mandates, Coast Guard categorical
      exclusion #33 is appropriate.

   b. This directive will not have any of the following: significant cumulative impacts on the human
      environment; substantial controversy or substantial change to existing environmental conditions;

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                                                                            COMDTINST M1000.3A


      or inconsistencies with any Federal, State, or local laws or administrative determinations relating
      to the environment. All future specific actions resulting from the general policies in this Manual
      must be individually evaluated for compliance with the National Environmental Policy Act
      (NEPA), Council on Environmental Policy NEPA regulations at 40 CFR Parts 1500-1508, DHS
      and Coast Guard NEPA policy, and compliance with all other environmental mandates.

10. FORMS/REPORTS. The forms referenced in this Manual with the exception of the Command
    Ashore Certificate, Form CG-5257, are available in USCG Electronic Forms on the Standard
    Workstation or on the Internet: http://www.uscg.mil/forms/; CG Portal at
    https://cgportal2.uscg.mil/library/forms/SitePages/Home.aspx; and Intranet at
    http://cgweb.comdt.uscg.mil/CGForms.



                                                   D. A. NEPTUN /s/
                                                   Rear Admiral, U.S. Coast Guard
                                                   Assistant Commandant for Human Resources




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                   RECORD OF CHANGES
    CHANGE            DATE OF            DATE             BY WHOM
    NUMBER            CHANGE            ENTERED           ENTERED
  CH-1              30SEP2015         30SEP2015          LTJG Ethan Prol
  CH-2              17DEC2015         17DEC2015          LTJG Ethan Prol
  CH-3              29FEB2016         29FEB2016          LTJG Ethan Prol
  CH-4              13JUN2016         13JUN2016          LCDR Russ Mayer
  CH-5              21NOV2016         21NOV2016          LCDR Russ Mayer
  CH-6              28NOV2016         28NOV2016          LCDR Russ Mayer
  CH-7              21APR2017         21APR2017          LCDR Russ Mayer
  CH-8              19JUN2017         19JUN2017          LCDR Russ Mayer
  CH-9              22AUG2017         22AUG2017          LCDR Yanira Soto
  CH-10             04JAN2018         04JAN2018          LCDR Yanira Soto
  CH-11             06JUL2020         06JUL2020          PERS3 Windi Sims




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CHAPTER 1                 PROCUREMENTS AND APPOINTMENTS

1.A.
6B                 Appointing Regular Commissioned Officers

1.A.1.
23B                General
                   a. Presidential Appointment. The President may appoint permanent commissioned
                      regular Coast Guard officers in the grades of ensign and above according to their
                      qualifications, experience, and length of service as service needs require from these
                      categories:

                      (1) Coast Guard Academy graduates.

                      (2) Regular Coast Guard chief warrant officers and enlisted members.

                      (3) Coast Guard reserve members who have served at least two years on continuous
                      active duty.

                      (4) Licensed United States Merchant Marine officers who have served two or more
                      years aboard a United States vessel as a licensed officer.

                   b. Fitness to Perform. No member can serve as a commissioned officer until their
                      mental, moral, physical, and professional fitness to perform the duties of a
                      commissioned officer has been established under regulations the Secretary prescribes
                      (14 U.S.C. § 211).

1.A.2
24B                Statutory Authority to Appoint U.S. Coast Guard Academy Graduates
                   The President may appoint as Coast Guard ensigns all cadets who have graduated from
                   the Academy (14 U.S.C. § 185).

1.A.3.
25B                Statutory Authority to Appoint Temporary Officers
1.A.3.a.
148B               Presidential Appointment

                   The President may appoint Coast Guard chief warrant officers, enlisted members, and
                   United States Merchant Marine licensed officers as temporary commissioned regular
                   Coast Guard officers in a grade up to lieutenant according to their qualifications,
                   experience, and length of service as service needs require.

149B   1.A.3.b.    Effect on Permanent Status

                   Appointment under this Article does not change these temporary officers’ permanent,
                   probationary, or acting status; prejudice their promotion or appointment opportunities; or
                   abridge their rights or benefits. A temporary officer may not lose any rightful pay and



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                  allowances due to their permanent status when appointed.

       1.A.3.c.   Vacating an Appointment

                  A temporary commissioned officer may request to vacate their temporary appointment at
                  any time, as needs of the service permit. Requests for reversion, along with command
                  endorsement, should be submitted in memo format to Commander (CG PSC-OPM-1). If
                  an officer’s appointment is so vacated, they revert to their permanent status (14 U.S.C. §
                  214).

1.A.4.
26B               Appointing Officer Candidate School Graduates

1.A.4.a.
15B               Qualifications for Appointment as Temporary Officers

                  Chief warrant officers and enlisted members who meet the requirements of Article 1.B.5.
                  of this Manual who are selected as candidates for a temporary regular commission and
                  then successfully complete Officer Candidate School (OCS) may be appointed temporary
                  regular commissioned officers. Chief warrant officers may be appointed to the grade of
                  lieutenant (junior grade), and enlisted members may be appointed to the grade of ensign.
                  Upon OCS graduation and original appointment as temporary regular commissioned
                  officers, such officers incur a three-year active duty commissioned service obligation.

152B   1.A.4.b.   Permanent Appointment

                  (1) General. Enlisted members and chief warrant officers commissioned as temporary
                      officers after OCS graduation perform duties and enjoy the privileges of regular
                      commissioned officers. They serve in a probationary period of about four years to
                      ensure a fair, accurate appraisal of their capabilities over two or more types of duty.
                      Probation expires about the time they are considered for promotion to lieutenant, and
                      selection under the “best qualified” system amply indicates their qualification for
                      permanent status. Therefore, their dual status as enlisted or chief warrant officer OCS
                      graduates and temporary officers terminates when they are integrated as permanent
                      officers.

                  (2) Procedure.

                     (a) PSC Notification. Temporary regular lieutenants (junior grade) selected for
                         promotion to the next higher grade will be contacted by Commander (CG PSC-
                         OPM-1) as outlined in Article 1.A.8.c. of this Manual.

                     (b) Discharge of Temporary Officers. Temporary officers accepting permanent
                         appointment shall be discharged from their permanent (chief warrant officer or
                         enlisted) status as outlined in Article 3.A.11. of this Manual.

                     (c) Declining Permanent Appointment. Any temporary officer who declines a
                         permanent appointment shall send a memo to Commander (CG PSC-OPM)



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                          declining the appointment. The Commandant then makes one of the
                          determinations listed below. To enable the Commandant to do so, it is extremely
                          important to send a full, complete report containing a detailed explanation of the
                          member’s reason(s) for declining permanent status.

                          [1] The officer’s temporary appointment shall be vacated. The officer will revert
                              to their permanent (chief warrant officer or enlisted) status and be separated.

                          [2] The officer’s temporary appointment shall be vacated. The officer will revert
                              to their permanent (chief warrant officer or enlisted) status and remain on
                              active duty.

                          [3] The officer remains on active duty in their temporary commissioned status.


1.A.5.             Reserved
                   Policies and Standards for Appointing Licensed U.S. Merchant Marine Officers can
                   be found in the Coast Guard Recruiting Manual, COMDTINST M1100.2 (series).


1.A.6.             Appointing the Coast Guard Band Director

1.A.6.a.
153B               Secretary of Homeland Security Designation

                   Under the authority of 14 U.S.C. § 336, the Secretary designates the U.S. Coast Guard
                   Band Director from among a pool of candidates who possess the necessary qualifications.
                   Then, by and with the Senate’s advice and consent, the President appoints that member to
                   a regular Coast Guard commissioned grade.

154B   1.A.6.b.    Initial Appointment

                   The band director’s initial appointment is to a commissioned grade not to exceed captain.

1.A.6.c.
15B                Promotion to the Next Higher Grade

                   A member designated and commissioned under this Article is not included on the active
                   duty promotion list. The Commandant prescribes the regulations governing the band
                   director’s promotion; however, the grade of the director may not be higher than captain.
                   (See Article 3.A.9. of this Manual.)

1.A.6.d.
156B               General Requirements

                   Each applicant must
                   :
                   (1) Be a United States citizen.


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                  (2) Be of good moral character.

                  (3) Meet the physical standards for commissioning listed in reference (b), Coast Guard
                      Medical Manual, COMDTINST M6000.1 (series), Section 3-C.

                  (4) Be a versatile musician.

                  (5) Have six years of professional musical experience. Military or civilian musical
                      experience may be combined with college-level musical education to meet this
                      requirement.

                  (6) Possess the leadership and professional qualities expected of a Coast Guard officer.

                  (7) Be able to fulfill time in grade and commission requirements for retirement before
                      mandatory retirement age.

157B   1.A.6.e.   Application Procedures

                  As service needs require, a board will be convened to consider applicants for appointment
                  to the position of band director. Commander (CG PSC-OPM) will solicit applications
                  through an ALCGPSC message and other publications deemed necessary to broaden the
                  pool of qualified candidates. All applications received will be processed by Commander
                  (CG PSC-OPM) to ensure each applicant has submitted all required information. The
                  following completed forms and documents constitute the application file.

                  (1) A letter of application using standard memo format that includes a comprehensive
                      resume of personal, professional, and military history and experience, giving specific
                      attention to musical education and experience.

                  (2) Optional recommendation letters.

                  (3) For enlisted members: commanding officer's endorsement, including the average
                      proficiency, leadership, and conduct marks for the 12-month period ending 30 June
                      1983, the average factor marks after 30 June 1983, the latest set of factor marks
                      awarded, and other Personnel Data Record (PDR) information of interest to the board.

                  (4) Record of satisfactory service or discharge from other military service (if any).

                  (5) Transcript of scholastic record.

158B   1.A.6.f.   Selection Method

                  (1) On receiving the applications, Commander (CG PSC-OPM) convenes a selection
                      panel to evaluate all qualified applicants. The panel shall consist of a captain as
                      senior member, the incumbent band director, if available, and three additional officers
                      (commanders or higher). To provide supplementary expertise, another service’s band




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                  director may replace one of the additional members. Except for the latter, all board
                  members must be regular Coast Guard officers, with at least one recently or currently
                  assigned to Commandant (CG-092). Commander (CG PSC-OPM) may name other
                  appropriate panel members.

               (2) Convening at the Coast Guard Band location, the selection panel acts as follows:

                  (a) Evaluates each applicant's professional qualifications, personal characteristics,
                      and other pertinent data within the applicant’s CG PSC Electronically Imaged-
                      Personnel Data Record, EI-PDR, and application package to determine whether
                      the applicant is fully qualified.

                  (b) Interviews each applicant to assess personal attributes that must necessarily
                      complement technical qualifications for service as a commissioned Coast Guard
                      officer. For this unique position, the selection panel should focus on the
                      applicant's potential for leadership and management.

                  (c) Rates each applicant’s performance in a 15-minute audition, during which they
                      will conduct the Coast Guard Band in a program they prepare. Each applicant
                      will have 30 minutes to rehearse.

                  (d) Evaluates each applicant’s performance in rehearsing the band with unfamiliar
                      music as designated by panel members with musical expertise.

                  (e) Nominates in order of preference those applicants considered qualified in all
                      respects for appointment and fully capable of discharging the duties of the Coast
                      Guard Band Director, noting in the record whether qualified and recommended
                      for a commissioned grade, not to exceed captain, based on individual
                      qualifications and experience.

1.A.7.
29B            Reserved
159B




               Policies and Standards for Appointing Physician Assistants can be found in the
               Coast Guard Recruiting Manual, COMDTINST M1100.2 (series).




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1.A.8.     Integrating Reserve and Temporary Regular Officers

1.A.8.a.
16B        General

           (1) General. When reserve officers, except Reserve Program Administrators, remain on
               active duty for an extended period to meet routine service needs, they lose
               identification as trained officers held in reserve for an emergency. Similarly,
               temporary regular officers, except chief warrant officers appointed as temporary
               lieutenants, hold a probationary commission for three years while retaining
               permanent status as enlisted members or warrant officers. Once an active duty
               promotion list (ADPL) best-qualified promotion board selects reserve and temporary
               regular officers, the service expects them to possess the potential and skills for long-
               term active service and they become eligible to integrate as permanent regular
               officers.

              (a) Maximum Active Duty Service Upon Integration. Integrating to permanent
                  regular officer status allows a member to remain on active duty for up to 30 years
                  commissioned service (as opposed to 30 years active service) unless:

                  [1]   They are twice non-selected by a future promotion board,

                  [2]   They reach age 62 prior to completing 30 years commissioned service, or

                  [3]   They are separated under some other provision of law.

              (b) Eligibility to Revert. Once a temporary officer is integrated, they no longer hold a
                  temporary commission and therefore lose the option to revert back to a previously
                  held CWO or enlisted status.

           (2) Integration Policy. The integration policy for reserve officers and temporary regular



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                      officers is as follows:

                      (a) Integration Mandatory. Reserve and temporary regular officers appointed from
                          OCS and direct commission reserve officers, who have been selected by a best-
                          qualified ADPL promotion board, must integrate as permanent regular officers.

                      (b) Integration Not Mandatory. Temporary regular officers who receive their
                          commission either through the CWO to LT program, a Direct Commission
                          Officer (DCO) program, or the Physician’s Assistant (PA) program, have the
                          option to integrate upon selection by a best-qualified ADPL promotion board in
                          their temporary status. For temporary LTs who are permanent CWOs, this does
                          not include selection by an ADPL CWO promotion board. If they do not accept
                          integration, that option will not be available again until they are selected by their
                          next best-qualified ADPL promotion board.

                   (3) Notifying PSC of Disqualifying Actions. Notwithstanding any procedure outlined
                       below, between the time the officer is selected by a best-qualified ADPL promotion
                       board and the administration of the oath of office for permanent regular appointment,
                       Commander (CG PSC-OPM) must be advised of any action that would disqualify an
                       applicant for integration.

1.A.8.b.
162B               Integration Requirements

                   To qualify for integration, a reserve or temporary regular officer must meet these
                   integration requirements. Normally, no waivers will be granted. The officer must:

                   (1) Comply with the service’s maximum allowable weight standards at the time of the
                       administration of the oath of office for integration.

                   (2) At the time of the administration of the oath of office for integration, not be subject of
                       or party to a pending investigation which could result in adverse action against the
                       officer, nor accused pending proceedings under the Uniform Code of Military Justice,
                       nor the subject of a pending administrative board for possible separation.

                   (3) Have completed two years’ continuous active Coast Guard duty (as of 1 March
                       following selection by the best-qualified promotion board) during the current active
                       duty period.

                   (4) Have been selected for promotion by any ADPL board under the best-qualified
                       selection system.

163B   1.A.8.c.    Integration Process

                   (1) Commander (CG PSC) Responsibility. Once a reserve or temporary regular officer
                       has been selected by their first best-qualified ADPL selection board as discussed
                       above:




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                     (a) Request for Appointment Authority. Correspondence requesting appointment
                         authority and Senate confirmation of all officers eligible for permanent status as
                         permanent regular officers will be initiated by Commander (CG PSC); and,

                     (b) Notification of Eligibility to Integrate. A general message will be released
                         advising the officers of their eligibility to integrate. The message will stipulate
                         that officers who are required to integrate but elect not to must notify Commander
                         (CG PSC-OPM) of their intention and these officers should expect release from
                         active commissioned service in accordance with Article 1.A.9. of this Manual.

                     (c) Records Review. After receiving appointment authority and Senate confirmation,
                         Commander (CG PSC-OPM) will conduct an internal records review of materials
                         received about the officers to confirm they have not disqualified themselves since
                         selection for promotion. If record material casting doubt on an officer’s
                         qualifications for permanent status is received, Commander (CG PSC-OPM) will
                         convene a special panel to evaluate the officer for continued service.

                     (d) Appointment Letter. Once the review is complete, an appointment letter will be
                         mailed to eligible officers via their immediate chain of command. It will direct
                         the command to administer the oath of office.

                  (2) Commanding Officer Responsibility.

                     (a) Confirm Eligibility. Before administering the oath of office, commanding
                         officers shall confirm that the officer still meets the requirements of Articles
                         1.A.8.b.(1) and 1.A.8.b.(2) of this Manual.

                     (b) Actions upon Non-Integration of Officer. If an officer fails to meet the
                         requirements above, or the command determines that the officer does not possess
                         the qualities of a permanent regular officer, or the officer has elected not to
                         integrate, the command will notify Commander (CG PSC-OPM) with an
                         explanation. Further action will be guided by the provisions of Articles 1.A.9. or
                         1.A.14. of reference (c), Military Separations, COMDTINST M1000.4 (series), as
                         applicable.

164B   1.A.8.d.   Appointment Process

                  Article 3.A.11. of this Manual outlines the procedures to appoint reserve and temporary
                  regular officers selected for integration as permanent regular commissioned officers.

165B   1.A.8.e.   Security Investigation

                  If the officer has satisfactorily completed a National Agency Check during their current
                  tour of active duty, one is not required for integration.
31B




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1.A.9.         Processing Officers Who Do Not Integrate

                                       Reserve Officers                 Temporary Regular Officers
Officers required to           The service releases reserve           With the exception of officers who
integrate who decline          officers from active duty effective    received their appointment from
appointment as permanent       the date their extended active duty    OCS, they remain on active duty
regular officers               agreement or other obligated           in their temporary officer status
                               service expires, as needs of the       unless separated or integrated at a
                               service allow. This includes           later date. Officers who received
                               officers who receive their             an appointment from OCS are
                               appointment from OCS and direct        released from active duty six
                               commission reserve officers.           months after they receive
                                                                      notification to integrate.
Failure of selection for       They may apply for an extension        They are eligible to be seen a
promotion on a best-           in accordance with Article 1.B.2.d.    second time by a best-qualified
qualified basis the first      of this Manual which will make         promotion board.
time                           them eligible to be seen a second
                               time by the best-qualified
                               promotion board.
Subject of, or a party to, a   If they request, the service may       They retain their temporary
pending investigation,         grant these officers an                commissioned status while
accused pending UCMJ           administrative extension for up to     awaiting the outcome of the
proceedings, or the subject    one year while awaiting the            pending proceeding. After the
of a pending administrative    outcome of the pending                 pending action is final, unless
board for possible             proceeding, unless previous            otherwise separated, they may
separation                     contractual or obligated service so    integrate if selected by their next
                               provides. After the pending action     best-qualified promotion board. In
                               is final, unless otherwise             determining whether proceedings
                               separated, these officers may          of pending actions are final, the
                               (EAD officers)/will (all others)       service uses the controlling
                               (see Article 1.A.8.a. of this          directives governing the
                               Manual) request to integrate if        proceeding (for example, reference
                               selected by their next best-           (d), Manual for Courts-Martial
                               qualified promotion board. In          (MCM), for UCMJ proceedings,
                               determining whether proceedings        reference (e), Coast Guard
                               of pending actions are final, the      Investigations Manual,
                               service uses the controlling           COMDTINST M5527.1 (series)
                               directives governing the               for administrative investigations).
                               proceeding (for example, reference
                               (d), Manual for Courts-Martial
                               (MCM), for UCMJ proceedings,
                               reference (e), Coast Guard
                               Investigations Manual,
                               COMDTINST M5527.1 (series),
                               for administrative investigations).




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                                              Reserve Officers                Temporary Regular Officers
        Failure to meet weight       They may request an                    They retain their temporary
        standards                    administrative extension until the     commissioned status until the end
                                     end of the weight loss                 of their weight loss probationary
                                     probationary period unless             period. Administrative
                                     previous contractual or other          procedures for failure to maintain
                                     obligated service so provides.         weight standards are addressed in
                                     Administrative procedures for          reference (f), Coast Guard Weight
                                     failure to maintain weight             and Body Fat Standards Program
                                     standards are addressed in             Manual, COMDTINST M1020.8
                                     reference (f), Coast Guard Weight      (series).
                                     and Body Fat Standards Program
                                     Manual, COMDTINST M1020.8
                                     (series).


1.A.10.
32B                  Recalling Retired Regular Officers

1.A.10.a.
16B                  General

                     If service needs require, the Commandant may recall a retired regular officer to active
                     duty for a specified time in accordance with Articles 1.A.10.b. and 1.A.10.c. below.

167B   1.A.10.b.     In War or National Emergency

                     In time of war or national emergency, the Commandant may order any regular officer on
                     the retired list to active duty pursuant to 14 U.S.C. § 331.

168B   1.A.10.c.     Recall with Officer’s Consent

                     (1) Assignment of Retired Regular Officers. The service may assign any retired regular
                         officer, with their consent, to duties they are able to perform pursuant to 14 U.S.C. §
                         332(a).

                     (2) Maximum Allowance of Retired Regular Officers. The number of retired lieutenant
                         commanders, commanders, or captains on active duty shall not exceed two percent of
                         the authorized number of officers on active duty in each grade. This limit does not
                         apply to retired officers in these grades recalled to serve as members of courts,
                         boards, panels, surveys, or special projects for periods as long as one year pursuant to
                         14 U.S.C. § 332(b).

                     (3) Retired Recall Application. The following application procedures will be followed:

                         (a) Letter Request. Officers desiring recall to active duty from retirement should
                             apply by submitting a letter to Commander (CG PSC-OPM-1) via their current



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              commanding officer or directorate if on active duty, or directly to Commander
              (CG PSC-OPM-1) if already retired. The request will constitute consent to recall.

           (b) Letter Contents. The letter request should specify:

              [1]   The duration of the recall agreement desired,

              [2]   The desired date recall should commence,

              [3]   Whether they are available for worldwide assignment. If not, indicate the
                    specific assignment criteria desired (whether a specific unit, geographic area
                    or job position number),

              [4]   Other useful information or a resume describing such things as
                    qualifications and experience which may meet a service need, and

              [5]   Contact information including mailing address, e-mail address and daytime
                    telephone number.

           (c) Commanding Officer Recommendation. If an officer is on active duty when they
               apply, the commanding officer's endorsement should provide a specific
               recommendation concerning how this officer's recall will meet a service need and
               why the recall is in the best interest of the service.

           (d) Promotion of Retired Officers. Retired officers recalled to active duty are not
               normally authorized for promotion to the next higher grade except as outlined in
               Article 3.A.8.a. of this Manual.

           (e) Physical Examination. An approved physical examination is required per
               reference (b), Coast Guard Medical Manual, COMDTINST M6000.1 (series),
               Article 3.A.7.g. prior to executing orders for recall to active duty.

           (f) Requests for Early Release from Retired Recall Status. The decision to be
               recalled to active duty is a serious one as it affects assignment actions which, if
               reversed, could cause hardship to other officers. Officers accepting recall to
               active duty incur obligated service for the period of the agreement and should
               expect to fulfill that service. A hardship arising after a recall agreement has
               begun which causes an officer to request early release from their agreement will
               be evaluated on their individual merit.

           (g) Performing Temporary Duty (TDY) in a Retired Recall Status. Personnel in a
               retired recall status shall not be sent to other commands TDY for longer than five
               business days without permission from Commander (CG PSC-OPM). The
               following exceptions apply:

              [1]   TDY for training required for the current billet,




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                          [2]   TDY that is a normal aspect of the current billet (training teams, inspectors,
                                etc.), and

                          [3]   TDY related to the attendance of professional seminars.

1.A.11.
3B                 Appointing or Re-appointing Regular Officers from the Temporary
                   Disability Retired List
1.A.11.a.
169B               General

                   Permanent regular commissioned officers and chief warrant officers on the Temporary
                   Disability Retired List (TDRL) subsequently found fit for duty shall be ordered to active
                   duty as retired officers. As soon as possible, they shall be reappointed as commissioned
                   officers or chief warrant officers, as appropriate, with an adjusted date of rank under
                   Article 1.A.11.b. of this Manual pursuant to 10 U.S.C. § 1211.

170B   1.A.11.b.   Appointment

                   Placement on the ADPL and Constructed Date of Rank are as follows:

                   (1) Lieutenant (Junior Grade) or Above. Commissioned officers placed on the TDRL in
                       the grade of lieutenant (junior grade) or above not previously selected to the next
                       higher grade and later found fit for duty shall be re-appointed to the same grade they
                       last held on active duty. These officers are assigned a new date of rank on the active
                       duty promotion list (ADPL) which reflects a loss of one month’s seniority in their
                       original date of rank for each month served on the TDRL.

                   (2) Ensigns. Commissioned officers placed on the TDRL in the grade of ensign not
                       previously selected for lieutenant (junior grade) and subsequently found fit for duty
                       shall be reappointed as ensigns. They will be assigned a new ADPL date of rank
                       reflecting one month’s loss of seniority in their original date of rank for each month
                       served on the TDRL. A panel of officers shall consider promoting to lieutenant
                       (junior grade) ensigns whose contemporaries have been considered on a fully-
                       qualified basis for promotion. If that panel selects those ensigns for lieutenant (junior
                       grade), their date of rank is the date they transfer from the TDRL; however, that date
                       cannot be earlier than the date of rank which would have occurred had they remained
                       on continuous active duty.

                   (3) Chief Warrant Officers. Chief warrant officers placed on the TDRL not previously
                       selected to the next higher grade and subsequently found fit for duty shall be
                       reappointed to that same grade. They shall be assigned a new date of rank which
                       reflects one month’s loss of seniority in their original date of rank for each month
                       they served on the TDRL.

                   (4) Officers Selected for Promotion. Commissioned officers and chief warrant officers
                       on a list of selectees for promotion to the next higher grade when placed on the TDRL



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                  and whose promotion date has passed when they return to active duty shall be
                  assigned a date of rank as of the date they return. If they return to active duty before
                  their promotion date, they shall be re-appointed to that grade with the date of rank
                  they last held on active duty and promoted on schedule.

               (5) Officers on the TDRL in a Higher Grade. Regular commissioned officers and chief
                   warrant officers placed on the TDRL in a grade higher than the grade last held on
                   active duty shall be re-appointed to the permanent grade they last held on active duty
                   or, in the discretion of the Commandant, to the next higher permanent grade pursuant
                   to 10 U.S.C. § 1211.

               (6) Temporary Officers. Regular temporary commissioned officers placed on the TDRL
                   in a higher temporary grade shall be re-appointed to the permanent grade they last
                   held on active duty or, in the discretion of the Commandant, to the next higher
                   permanent grade. Re-appointment to the higher temporary grade last held on active
                   duty will be based on needs of the service, as authorized by the President pursuant to
                   14 U.S.C. § 214.

1.A.12.
34B            Security Investigations for Officers’ Original Appointment

1.A.12.a.
17B            Academy Cadets

               U.S. Coast Guard Academy cadets shall have a National Agency Check (NAC)
               completed by April 30 during the second class year.

1.A.12.b.
172B           Merchant Marine Officers

               Licensed U.S. Merchant Marine officers shall initiate an NAC before commissioning.

1.A.12.c.
173B           Officer Candidate School Graduates

               OCS graduates may be commissioned before a satisfactory NAC is complete. If the
               NAC is incomplete when the candidate graduates from OCS, they must sign the
               following Statement of Understanding before commissioning:

                      “I understand a National Agency Check will be conducted to determine
                      my qualification for commissioning as a United States Coast Guard officer.
                      I understand my commission may be revoked and I may be separated in
                      accordance with 10 U.S.C. § 12681 or 14 U.S.C. § 281 if it is determined I
                      am not eligible for a secret security clearance.”




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1.B. Reserve Officers on Active Duty
16B




1.B.1.
35B        Initial Active Duty and Recall to Active Duty

1.B.1.a.
174B       Reserved

1.B.1.b.
175B       Reserved

1.B.1.c.
176B       Recalling Reserve Officers to Extended Active Duty

           (1) Qualifications for Recall. With their consent and as its needs require, the service
               occasionally recalls to extended active duty inactive duty reserve officers who meet
               these qualifications:

           (a) They possess unique skills and abilities or professional qualifications in areas where
               there is a definite service need,

           (b) They are in grades up to lieutenant, and

           (c) They have fewer than 11 years total active service or if they have no previous active
               service, fewer than 11 years commissioned service as a reserve officer. Waivers for
               commissioned service length can be approved by Commander (CG PSC-OPM) on a
               case-by-case basis for officers needed to fill critical skill set vacancies (e.g., CG
               Aviators). EAD contract durations will be determined by Commander (CG PSC-
               OPM).

           (2) Actions upon Approval of Recall. If the service approves a recall request,
               Commander (CG PSC-OPM-1) issues orders recalling the reserve officer to extended
               active duty for at least one to a maximum of five years. Commander (CG PSC-OPM)
               determines the length of the recall based on the service’s and the officer’s needs.
               When practical, the active duty will last long enough to involve the officer in at least
               one active duty promotion list (ADPL) selection board.


1.B.2.
36B        Retention on Extended Active Duty

1.B.2.a.
17B        General

           Reserve officers presently serving on initial active duty periods (i.e., OCS graduates
           serving as regular officers) or inactive duty reserve officers fulfilling an active duty
           agreement may request new active duty agreements or extensions of their contracts. See
           Article 1.B.2.e. of this Manual.




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1.B.2.b.
178B           Authority

               To provide terms of active duty (other than for training) for reserves with their consent,
               10 U.S.C. § 12311 authorizes the Secretary to enter into a written, renewable agreement
               with any reserve member to serve on active duty (other than for training) for at least one
               and at most five years. The Secretary has delegated this authority to the Commandant
               under 14 U.S.C. § 631 and Department of Homeland Security Delegation number 0170.
               In addition, the officer and Coast Guard jointly may agree to extend an active duty
               agreement written for less than five years for periods of up to 12 months.

1.B.2.c.
179B           Orders Issuing Authority

               The authority to approve agreements for active duty periods under the conditions of this
               Article is delegated to Commander (CG PSC-OPM). This authority may not be further
               delegated. Commander (CG PSC-OPM-1) will furnish the agreement forms for each
               reserve officer selected for recall to or retention on active duty.

1.B.2.d.
180B           Reserve Officer Retention Standards

               (1) Extending Active Duty Agreements. Commander (CG PSC) may extend current
                   active duty agreements or grant new ones so an officer has sufficient time to complete
                   the requirements to integrate into the regular Coast Guard or satisfy service needs.

               (2) Successive Active Duty Agreements. In special cases if service needs require, the
                   Commandant may allow reserve officers to continue under successive active duty
                   agreements until they complete up to 11 years’ total active service.

               (3) Duration of Extension of Active Duty Agreement. Commander (CG PSC) will not
                   extend a contract for fewer than 12 months except in unusual circumstances or if the
                   service urgently needs the officer’s services. If reassigned to another unit, the officer
                   normally must enter a new active duty agreement to cover a full-length tour at the
                   new unit. Commander (CG PSC-OPM-1) may grant interim extensions while official
                   action is pending on either integration into the regular Coast Guard or requests for
                   new active duty agreements.

               (4) Extension of Active Duty Contract after Failed Selection for Promotion. Reserve
                   officers who have once failed selection for promotion may request an extension on
                   active duty. If granted, this extension terminates by the end of the promotion year
                   when a second board will consider the officer for promotion.

               (5) Ineligible for Promotion or Retention on Active Duty. Reserve officers with fewer
                   than 18 years active duty service who twice fail selection for promotion to a given
                   grade are ineligible for further promotion or retention on active duty. The service
                   discharges or releases them from active duty at the end of the promotion year in
                   which the second failure occurs or when they complete their current active duty
                   agreement, whichever is earlier. The service considers these separations involuntary.



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                     Reserve officers with 18 or more years active duty service may remain on active duty
                     until they complete 20 years of service. Extensions beyond 20 years active duty
                     service may be considered based on needs of the service.

                  (6) Terminations of Active Duty Contract. All extensions and agreements are subject to
                      termination for changes in service requirements and other factors affecting the
                      retention of reserve officers on active duty (10 U.S.C. § 12313).

18B    1.B.2.e.   Submitting Applications to Remain on Active Duty

                  Reserve officers serving initial active duty periods or fulfilling active duty agreements
                  may apply to remain on active duty. Amplifying guidance will be released by
                  Commander (CG PSC-OPM) via an ALCGPSC message.

182B   1.B.2.f.   Selection

                  (1) Board Actions. Boards normally meet in January and July to recommend reserve
                      officers for new active duty agreements or extensions of their current agreements.
                      Special boards may be convened occasionally to meet service needs. The boards
                      normally recommend officers they consider best-qualified for retention on active
                      duty. As service needs dictate, boards may be convened on a fully-qualified basis or
                      not at all. If no board is convened, Commander (CG PSC-OPM) will consider all
                      extensions and requests for new agreements. When a board is convened to consider
                      officers on a fully-qualified basis, the board shall apply the procedures delineated in
                      Article 6.A.5. of this Manual, with the following exception: In developing the fully
                      qualified standards, the records of officers who hold the same grade as the applicant
                      shall be used. The board’s focus should be on reviewing the records for retention of
                      the officers in the current grade, not for promotion purposes.

                  (2) Board Considerations. The board considers each officer for retention based on the
                      officer’s performance record, special qualifications, educational accomplishments,
                      potential for future development as a regular officer, command endorsement, and
                      service needs.

                  (3) Release of Officers Not Selected for Retention. The service releases to inactive duty
                      on their scheduled release date those officers whose agreements expire or whose
                      requests for retention have not been approved.

1.B.2.g.
183B              Active Duty Agreements

                  (1) Deadline for Submission of Active Duty Agreement. Officers selected for retention
                      must return active duty agreements to Commander (CG PSC-OPM-1) within five




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                   (2) working days after receipt, unless Commander (CG PSC-OPM-1) specifically
                       approved a delay of return.

                   (3) Actions for Officers Not Desiring to Execute the Active Duty Agreement. Officers
                       who do not desire to execute the agreement shall endorse the memo declining
                       appointment per Article 1.A.4.b.2.(c) of this Manual to that effect and return it to
                       Commander (CG PSC-OPM-1) within five working days of receipt. The officer will
                       be RELAD no later than when their agreement expires.

185B   1.B.2.h.    Pay Entitlements on Involuntary Release from Active Duty

                   Reserve officers involuntarily released from active duty may be entitled to separation pay
                   under 10 U.S.C. § 1174 and/or a termination payment for the remaining part of an active
                   duty contract under 10 U.S.C. § 12312. Reference (g), Coast Guard Pay Manual,
                   COMDTINST M7220.29 (series), explains conditions and procedures on separation pay
                   or pay on release without the member’s consent before an active duty agreement expires.


1.B.3.             Reserved

                   Policies and Standards for appointing Reserve Program Administrators (RPAs) has
                   been moved to Chapter 7 of this Manual. Pages 1-18 to 19 are reserved.




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1.B.4.
37B        Reserved

           Policies and Standards for Reserve Program Administrator’s Voluntary Transfer to
           ADPL has been moved to Chapter 7 of this Manual.

1.B.5.
39B        Officer Candidate School

1.B.5.a.
19B        General

           (1) General Information. Officer Candidate School (OCS) is a major source of newly
               commissioned Coast Guard officers. The service selects candidates based on a
               competitive system. Upon satisfactorily completing 17 weeks of training, graduates
               are appointed as commissioned Coast Guard ensigns or lieutenants (junior grade)
               under the provisions of Article 1.A.3. of this Manual or commissioned Coast Guard
               Reserve ensigns under this Article’s provisions. Classes convene according to a
               schedule published by a general message.

           (2) Board Convening. At least twice annually Commanding Officer (CGRC) convenes
               boards to select reserve and temporary commission applicants to OCS. A general
               message announces application deadlines, cutoff dates for eligibility requirements,
               and any other information of concern to applicants.




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1.B.5.b.    Eligibility Requirements

            (1) Age. Applicants must be between 21 and 26 years of age before the actual class
                convening date published for each selection period except:

               (a) OCS Temporary Commission: Applicants applying for a temporary commission
                   must have reached their 21st birthday but not their 35th birthday as of
                   30 September of the fiscal year in which the panel convenes.

               (b) OCS Reserve Commission: Applicants applying for a reserve commission must
                   have reached their 21st birthday but not their 31st birthday as of 30 September of
                   the fiscal year in which the panel convenes.

               (c) Chief Warrant Officers. Regular Coast Guard chief warrant officers are eligible
                   until they reach their 40th birthday.

            (2) Military Status.

               (a) College Seniors. Commanding Officer (CGRC) accepts applications from college
                   seniors currently enrolled in any ROTC program. However, the student must
                   present a statement signed by an authorized official of the losing service that it
                   releases the student from any contractual obligation for military duty incurred
                   through membership in that service.

               (b) Reserve Members. Any Armed Forces reserve member (other than Coast Guard)
                   must include in the application file the following documents:

                   [1]   A conditional release from the reserve component which states that service
                         will discharge them upon enlistment in the Coast Guard Reserve preparatory
                         to assignment to OCS.

                   [2]   A signed statement they understand these conditions and will inform
                         Commanding Officer (CGRC) immediately of any change in their military
                         status, including receiving orders to report for active duty.

               (c) Active Duty Members. Any member currently on active duty in an Armed Force,
                   other than the Coast Guard, must include in the application file a statement from
                   their service that it will discharge them if selected to attend OCS. This statement
                   is not necessary if their enlistment expires before the convening date of the first
                   class for which selections are made.

               (d) Requirement for Temporary Regular Commissions. Applicants for temporary
                   regular commissions must be on active duty in the Coast Guard.

               (e) Ineligible Members. An applicant who has six or more years of previous active
                   duty creditable service for retirement, other than in the Coast Guard or Coast




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                  Guard Reserve, is not eligible.

           (3) Physical. Applicants must meet the requirements listed in reference (b), Coast Guard
               Medical Manual, COMDTINST M6000.1 (series), Section 3.E.3.

           (4) Citizenship. The applicant must be a United States citizen with no questionable
               foreign connections.

           (5) Officer Screening Tests. OCS screening tools and their minimum required scores are
               listed below. Applicants to all selection boards must include in their application
               package a qualifying score on the SAT, ACT, or ASVAB. No waivers will be
               considered. The most recent score is valid for this program with no limitation on
               what year the test was taken.

                                                        Minimum
                            Test                                             Required Proof
                                                     Qualifying Score
            Scholastic Aptitude Test (SAT)          Combined 1000 on
                                                                            Copy of the score
                                                    verbal and math or
                                                                                 report
                                                    1100 on the SAT 1
            American College Test (ACT)                                     Copy of the score
                                                            21
                                                                                 report
            Armed Services Vocational Aptitude
            Battery (ASVAB) General
            Technical (GT) Aptitude Area,
            which combines Arithmetic                                    ASVAB test scores
            Reasoning (AR) Test and Verbal                 110           printed from Direct
            Ability (VE) standard score,                                 Access.
            obtained by adding the Word
            Knowledge (WK) and Paragraph
            Comprehension (PC) Test scores.

           (6) Interview. A board of commissioned officers interviews each applicant in accordance
               with Article 1.B.8. of this Manual. Applicants not selected for OCS may reapply and
               be interviewed again.

           (7) Educational Qualifications.

              (a) Reserve Commission Applicants. Reserve commission applicants must be in their
                  senior year at or hold a baccalaureate or higher degree from an accredited college
                  or university
.
              (b) Temporary Regular Commission. Temporary regular commission applicants
                  must:

                  [1]   Hold a baccalaureate or higher degree from an accredited college or
                        university prior to beginning the application process, or




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               [2]   Attain 25th-percentile scores (a general message will publish actual scores
                     required) on all parts of the DANTES General Examinations of the College
                     Level Examination Program, or

               [3]   Complete one year of study (30 semester hours or 45 quarter hours) at an
                     accredited, degree-granting college or university, and

               [4]   Satisfactorily complete one college-level mathematics course, or

               [5]   Pass the DANTES General Mathematics Examination of the College Level
                     Examination Program (CLEP).

           (c) Accredited College. An accredited college is one accredited by an accrediting
               body recognized by the Council on Post-Secondary Accreditation. Commanding
               Officer (CGRC) will consider waiving the accreditation requirement if the
               applicant presents written certification from the appropriate officials of three
               accredited colleges or universities stating their schools will accept their credits for
               transfer purposes as if the applicant had earned them at an accredited school or
               recognize their baccalaureate degree for purposes of graduate study.

           (d) Service Schools and Correspondence Courses. Service schools and
               correspondence courses are a possible source of college credits. Credits earned
               this way are acceptable for purposes of program qualification when awarded by
               accredited colleges or universities, or when reflected on the Coast Guard Institute
               certified transcript.

        (8) Coast Guard Personnel on Active Duty.

           (a) E-4 and Below. Members E-4 and below are ineligible for temporary regular
               commissions with the following exception: members reverted to E-4 due to a
               change in rate in accordance with Article 3.A.24.a.(2) of reference (i), Enlisted
               Accessions, Evaluations, and Advancements, COMDTINST M1000.2 (series),
               and who previously served satisfactorily as an E-5 in the Coast Guard, are eligible
               for temporary regular commissions. Aside from this exception, if otherwise
               eligible, they may apply for reserve commissions.

           (b) E-5 and Above. Enlisted members E-5 and above who meet the time in service
               requirement specified in Article 1.B.5.b.(9) below may be appointed temporary
               officers only in the grade of ensign. However, if they do not meet the time in
               service requirements, they may be appointed as reserve officers if they meet the
               criteria for a reserve commission.

           (c) Regular Chief Warrant Officers. Regular chief warrant officers with 21 or more
               months as a chief warrant officer on the published class convening date are
               eligible to apply for temporary commissions as lieutenants (junior grade). All
               chief warrant officers with fewer than 21 months on that date will be




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                  commissioned as ensigns. Officer candidates who apply as enlisted members, and
                  are appointed to warrant grade before OCS graduation, receive temporary
                  commissions as ensigns.

           (9) Time in Service. Temporary commission applicants must have at least four years of
               active duty in any Armed Forces branch by the published class convening date. They
               must have served at least two years of their active duty in the Coast Guard. They may
               not use active duty for training to fulfill this requirement.

           (10) Dependents. Applicants not on active duty in the Coast Guard may have a
              maximum of three dependents.

           (11) Flight Training. Applicants are not pre-selected for flight training, but may apply at
              OCS. They take the Aviation Selection Test and a flight physical examination during
              the OCS application process to determine their qualifications for flight training, but
              the board does not consider such information in the OCS selection process.
              Applicants considering flight training should be aware they must meet the
              requirements published in reference (j), Performance, Training and Education
              Manual, COMDTINST M1500.10 (series), including the age requirements.
              Applicants are not assigned to an earlier OCS class solely to enable them to meet
              flight training age requirements.

1.B.5.c.
201B       Applications

           All applicants should contact their local recruiting office, or if already in the Coast
           Guard, their unit’s Educational Services Officer (ESO). All enlisted and chief warrant
           officer applicants apply through their unit to Commanding Officer (CGRC).

1.B.5.d.
20B        Educational Services Officer Action

           The unit ESO assists the applicant with:

           (1) Arranging medical examinations and the Board of Interview.

           (2) Sending applications and required documents to Commanding Officer (CGRC). If
               travel for a physical examination is excessive, the government may bear the cost
               under provisions of the Joint Federal Travel Regulations, Vol. 1, paragraph U7025.
               In many cases, the ESO may schedule the interview during the same trip as the
               medical examination.

1.B.5.e.
203B       Coast Guard Recruiting Command (CGRC) Action

           Commanding Officer (CGRC) takes these actions:

           (1) Provides the requesting unit ESO with the Record of Military Processing—Armed
               Forces of the United States, DD Form 1966, instructions for submitting documents




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                  required.

               (2) Assists the unit in completing the requirements to submit OCS applications.

1.B.5.f.
204B           Required Documents

               (1) All Applicants. These documents must be submitted for all applicants:

                  (a) Report of Medical Examination, Form SF-88, and Report of Medical History, SF-
                      93, prepared in triplicate, with all copies signed.

                  (b) The complete set of the Aviation Selection Test Battery Answer Sheets. Return
                      the entire packet (AQT, MCT, SAT, BI) with answer sheets to Commanding
                      Officer (CGRC), including unused portions.

                  (c) Officer Programs Applicant Interview Form, Form CG-5527 (one combined form
                      from all board members).

                  (d) Report of Board of Interview. See Article 1.B.8. of this Manual.

                  (e) A brief narrative explaining the applicant's reasons for applying for OCS and
                      goals as a Coast Guard officer, if selected. As part of this narrative, the applicant
                      may specify which class they prefer to attend. The Coast Guard attempts to honor
                      that preference if the applicant is selected, but cannot give guarantees.

                  (f) Finger Print Card, FD-258 (two originals). This may be submitted after selection
                      as primary or alternate candidate.

                  (g) Questionnaire for National Security Positions, SF-86. Leave “Date Requested”
                      blank.

                  (h) Personnel Security Action Request, Form CG-5588, (one original). This may be
                      submitted after selection as primary or alternate candidate.

                  (i) Official transcripts of all college courses completed or other scholastic record, one
                      copy, submitted to Commanding Officer (CGRC) or recruiter directly from the
                      college.

               (2) Temporary Commission Application. In addition to the documents listed above,
                   temporary commission applicants must submit these documents:

                  (a) Evidence of completing the educational qualifications listed in Article 1.B.5.b. of
                      this Manual.

                  (b) Officer Candidate School Agreement, Form CG-3211C, one copy.




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              (c) A letter evaluation from the applicant’s commanding officer. Without the
                  commanding officer's endorsement, no applicant package will be forwarded for
                  further review. The letter evaluation shall include:

                  [1]   The commanding officer's evaluation of the applicant's potential value to the
                        Coast Guard as a commissioned officer.

                  [2]   Their evaluation of the applicant compared with other OCS graduates whom
                        they personally have known.

                  [3]   Any outstanding professional or other qualifications the applicant may
                        possess.

                  [4]   The commanding officer’s statement of knowledge about the applicant’s
                        ability and willingness to meet their financial obligations.

                  [5]   The applicant’s average marks during the current enlistment according to
                        Article 1.B.31. of reference (c), Military Separations, COMDTINST
                        M1000.4 (series), and their most recent marks for Performance, Leadership,
                        Military, and Professional Qualities Factor.

              (d) Questionnaire for National Security Positions, SF-86 (five copies with original
                  signature). Submit one copy with the application and the remaining copies after
                  selection as a primary or alternate candidate.

              (e) One copy of the current enlistment contract plus any extensions to it.

              (f) One copy of the member’s Enlisted Employee Review (EER).

              (g) Statement of Financial Obligation/Spouse’s Consent, Form CG-4891.

           (3) Reserve Commission Applicants. Reserve commission applicants who are Coast
               Guard or Coast Guard Reserve members must submit these documents:

              (a) Proof of baccalaureate or higher degree from an accredited college or university,
                  before the date published in the general message.

              (b) Items listed in Article 1.B.5.f.(2) of this Manual.

           (4) Civilians and Other Armed Forces or Their Reserves’ Members. In addition to the
               documents listed in subparagraph (3) above, civilian applicants and members of an
               Armed Force or its reserve component other than the Coast Guard must submit these
               documents, which will not be returned:

              (a) Record of Military Processing-Armed Forces of the United States, DD 1966,
                  original and one copy, completed in accordance with reference (a), Coast Guard




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               Recruiting Manual, COMDTINST M1100.2 (series).

           (b) Photocopies of Armed Forces of the United States Report of Transfer or
               Discharge, DD-214, or other separation papers, if applicable (one copy). If the
               applicant indicates they previously applied for officer candidate training in
               another service, they should state the current status of that application. If
               previous dismissal from such training is indicated, the applicant must give the
               reasons for dismissal.

           (c) Birth certificate (one certified or photocopy).

           (d) Evidence of change of name, when necessary (one copy).

           (e) Evidence of citizenship, when necessary (one copy).

           (f) A list of anticipated dates and places of residence until class convening date.

           (g) Questionnaire for National Security Positions, SF-86, (five copies with original
               signature). Submit one copy with the application package and the remaining
               copies on selection as a primary or alternate candidate.

           (h) The Statement of Financial Obligations/Spouse’s Consent, Form CG-4891.

           (i) Conditional release from another Armed Forces component, when necessary (one
               copy). See Article 1.B.5.b. of this Manual.

           (j) Officer Candidate School Agreement, Form CG-3211C, (one copy).

           (k) Former officers or reserve officers must submit copies of all fitness reports.

           (l) A list of five references to whom the recruiter will send a USCG Enlistee
               Reference Investigation Letter, Form CG-4445.

           (m)Proof of baccalaureate or higher degree earned from an accredited college or
              university, before the date published in the general message.

           (n) Police Record Checks, DD-369. Notify Commanding Officer (CGRC) of any
               derogatory information omitted from Record of Military Processing-Armed
               Forces of the United States, DD-1966 or Questionnaire for National Security
               Positions, SF-86.

        (5) Local Recruiting Office Action. Local recruiting offices may forward OCS
            applications to Commanding Officer (CGRC) before receiving these documents:

           (a) Evidence of a baccalaureate degree.




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                     (b) Discharge or separation papers.

                  (6) Incomplete Application. Incomplete applications must contain a list of the supporting
                      documents not included, and a statement that they will be forwarded as soon as
                      obtained. Commanding Officer (CGRC) will not authorize enlistments until
                      applications are complete.

                  (7) Disposing of Application Files. Commanding Officer (CGRC) retains non-selected
                      applicants’ application files. Applicants who want to reapply must request their file
                      be returned to them for updating and resubmission.

205B   1.B.5.g.   Notifying Civilian Candidates

                  (1) Notification of Selection. All applicants will be notified as soon as possible after
                      selections have been completed.

                  (2) Effecting Enlistment.

                     (a) Local recruiting offices shall effect the enlistment of selectees in their area only
                         when Commanding Officer (CGRC) specifically directs. Notification of selection
                         does not constitute authority to enlist.

                     (b) Selectees will be processed for enlistment in the Coast Guard Reserve as outlined
                         in reference (a), Coast Guard Recruiting Manual, COMDTINST M1100.2
                         (series).

                     (c) All selectees should reacquaint themselves with the Chapter, "General
                         Information-Before You Come," in the booklet Coast Guard OCS: A Preview for
                         Officer Candidates.

                     (d) Local recruiters will question all selectees before enlistment to determine if any
                         change in medical status has occurred since the date of their physical
                         examination. Immediately notify Commanding Officer (CGRC) of any change.

206B   1.B.5.h.   Notifying Coast Guard and Coast Guard Reserve Selectees

                  Commanding Officer, (CGRC) notifies selectees via general message traffic of their
                  selection to Officer Candidate School. Commander (CG PSC-EPM) issues orders to
                  OCS to enlisted personnel on active duty and Commander (CG PSC-OPM) to chief
                  warrant officers and reservists not on extended active duty.

207B   1.B.5.i.   Reconsidering an Applicant

                  Anyone who has applied for this program but was not selected may be reconsidered
                  during the succeeding selections if they remain qualified and resubmits an application
                  (See Article 1.B.5.b. and 1.B.5.c. of this Manual.)




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1.B.5.j.
208B           Rates for OCS Selectees

               (1) Those entering OCS who are not currently Coast Guard or reserve members receive
                   one of these designations:

                            Former Status                             OCS Enlisted Rate
                   No prior military service, active or
                                                             Seaman apprentice (officer candidate)
                                inactive
                 A former enlisted member of any other
                                                             Seaman apprentice (officer candidate)
                                 service
                  Former Coast Guard or Coast Guard
                                                               Rate held at time of last discharge
                           Reserve personnel

               (2) Coast Guard and Coast Guard Reserve enlisted personnel E-5 and above have the
                   designator officer candidate under instruction (OCUI) added to their pay grade for the
                   duration of the training course as follows:

                         Former Enlisted Rate                           OCS Designator
                                 E-9                                      OCUCM
                                 E-8                                       OCUCS
                                 E-7                                       OCUIC
                                 E-6                                       OCUI1
                                 E-5                                       OCUI2

               (3) All officer candidates who report to OCS serving in a pay grade up to E-4 temporarily
                   advance to OCUI2 (pay grade E-5) and hold this rate while they are officer candidates
                   undergoing instruction. If they do not successfully complete the course, they revert to
                   their former pay grade when they reported to OCS.

               (4) Former officers selected for OCS are enlisted as seaman apprentice (officer
                   candidate) and receive original O-1 commissions in the Coast Guard Reserve after
                   graduating from OCS, with previous service time creditable for pay and retirement
                   purposes but not for promotion.

               (5) Coast Guard chief warrant officers on active duty remain chief warrant officers while
                   attending OCS. Upon graduation, they receive temporary regular commissions as
                   either ensigns or lieutenants (junior grade); see Article 1.A.4. of this Manual.

1.B.5.k.
209B           Unsuccessful Candidates

               (1) Unsuccessful Completion of OCS. The service assigns candidates who do not
                   successfully complete OCS as follows:

                  (a) Active duty Coast Guard members to general duty to complete their enlistment or
                      other obligated service.



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              (b) Members of an inactive reserve component to inactive duty; they incur no
                  additional active duty obligation because they attended OCS.

              (c) The service normally discharges applicants with no service affiliation before
                  enlisting for OCS from the service.

           (2) Failure to Meet Commissioning Physical Requirements. The service normally
               discharges a candidate who fails to meet the physical requirements for
               commissioning.

1.B.6.
40B        Recalling Retired Reserve Officers
           The information in Article 1.A.10. of this Manual on recalling retired regular officers also
           applies to retired reserve officers except retired reserve officers are not eligible for
           promotion (10 U.S.C. § 12307).

1.B.7.
41B        Security Investigations for Original Appointment of Reserve Officers
           Selectees must initiate a National Agency Check and sign the following Statement of
           Understanding before commissioning:

                  “I understand a National Agency Check will be conducted to determine my
                  qualification for commissioning as a United States Coast Guard officer. I
                  understand my commission may be revoked and I may be separated in accordance
                  with 10 U.S.C. § 12681 or 14 U.S.C. § 281 if it is determined I am not eligible for
                  a secret security clearance.”

1.B.8.
42B        Interviewing Procedures for Officer Recruiting Programs

1.B.8.a.
210B       General

           OCS and the various direct commission programs are important sources of Coast Guard
           officers. Various selection boards evaluate applicants’ qualifications to determine those
           best qualified for a particular program. To do so properly, they must have adequate
           information. An important source is the interview, often the only significant personal
           contact with the applicant reported by a Coast Guard official. As such, the interview
           provides important subjective input on the applicant's poise, leadership potential, ability
           to communicate, motivation for service in the Coast Guard, etc. On the basis of this
           subjective report and other, more objective measures, the Coast Guard selects candidates.
           The accuracy of the selection process directly reflects the quality and uniformity of
           interviews. Consequently, effective interviewing procedures and careful attention to
           completing the Officer Programs Applicant Assessment, Form CG-5527, are extremely
           important to both the Coast Guard and the applicant.




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1.B.8.b.   Requirements

           (1) Composition of Interview Boards.

              (a) Commanding officers shall convene interview boards at places within their
                  jurisdiction. Boards shall consist of three officers, except when necessary to
                  interview an applicant at a location geographically remote from a larger Coast
                  Guard facility. In such cases, a two-member board may be authorized by CG
                  RC.

              (b)
                    members must have the rank of ensign or higher with more than one year of
                    Coast Guard service. Interview board members for chief warrant officer
                    applicants shall be lieutenant commanders or higher. All members must be equal
                    or senior to the grade for which they are considering the applicant.

              (c) Interview boards should be composed with applicant and program in mind. Thus,
                  when interviewing for OCS, the board should contain, if practical, an OCS
                  graduate; for an IDPL commission, will contain at least one reserve officer;
                  for a direct commission program, will contain a specialist in the same field. A
                  board considering an applicant for the Direct Commission Lawyer program
                  must contain at least one Coast Guard attorney. A board interviewing female
                  or minority applicants should contain, if practical, a female or respective minority
                  member. A board considering licensed officers in the Merchant Marine or
                  Maritime Academy graduates should include, if practical, one officer who is a
                  Maritime Academy Graduate or one with merchant marine safety experience.

              (d) At least one board member must be an active duty Coast Guard officer.

              (e) Since an unbiased, independent contribution is essential, officers in direct
                  personal or professional contact with the applicant may not be members of that

                    commanding officers may not be board members because they provide input
                    through the commanding officer's endorsement.

           (2) Interview Board Report. The interview board completes an Officer Programs
               Applicant Assessment, for each applicant. Board members should prepare this form
               jointly, with all board members reaching a consensus. Do not show applicants the
               completed forms from the interview. Submit these sheets with the cover sheet, signed
               by the senior board member, to the recruiter or educational services officer and
               provide this information:

              (a) The name of the program,

              (b) The applicant's name,




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              (c) The names and duty stations of the interview board members, and

              (d) Date or dates when members interviewed the applicant.

           (3) Applicant Recommendation. The interview board must state the applicant's
               suitability for commissioning in the program(s) in question in the first sentence of the




              for the Direct Commission Aviation progra




1.B.9.     Reserved

           Policies and Standards for Officer Programs Interviewing Guidelines can be found
           in the Coast Guard Recruiting Manual, COMDTINST M1100.2 (series).



1.C.       Reserved

           Policies and Standards for U.S. Coast Guard Selected Reserve Direct Commission
           Officer Program can be found in the Coast Guard Recruiting Manual,
           COMDTINST M1100.2 (series).


1.D.       Reserved

           Policies and Standards for appointing Coast Guard warrant officers has been
           updated and moved to a new Directive, Appointing Warrant Officers,
           COMDTINST M1420.1 (series).




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                      Pages 1-34 through 1-81 are reserved.




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1.E. Appointment as U.S. Coast Guard Cadet

1.E.1.
6          General

1.E.1.a.
298B       Statutory Authority

           By regulations appearing under 14 U.S.C. § 631 and Department of Homeland Security
           Delegation number 0170, the Secretary of the Department of Homeland Security has
           delegated statutory authority to the Commandant of the U.S. Coast Guard to prescribe
           regulations on cadet appointments (14 U.S.C. § 182). This section exercises that
           authority. To facilitate administering the appointment process, the following delegations
           of authority are made:

           (1) The Superintendent, U.S. Coast Guard Academy, is authorized to tender
               appointments as Cadet, U.S. Coast Guard; and

           (2) The Superintendent, U.S. Coast Guard Academy, is authorized to appoint a board of
               Coast Guard officers to be known as the Cadet Candidate Evaluation Board, whose
               duties are set forth in Article 1.E.4.b. of this Manual.

1.E.1.b.
29B        Coast Guard Academy

           Cadets are appointed in the Coast Guard for education and training to prepare them to
           become commissioned officers in the service. The Coast Guard Academy, located at
           New London, Connecticut, is maintained by the government for the practical training and
           theoretical education of young men and women to enable them to enter upon the duties of
           a junior officer in the U.S. Coast Guard.

1.E.1.c.
30B        Appointment as a Cadet

           The Academy tenders appointments solely on the basis of an annual nationwide
           competition. There are no congressional appointments or quotas for any state, district, or
           special category. The competition for appointment as a cadet is based on the candidate's
           high school rank, performance on either the College Board Scholastic Aptitude Test
           (SAT I) or the American College Testing Assessment (ACT), and leadership potential as
           demonstrated by participating in high school extracurricular activities, community affairs,
           or part-time employment. Any man or woman, civilian or military, who meets the
           requirements set forth in Article 1.E.2. of this Manual is eligible to apply for appointment
           as cadet, U.S. Coast Guard. No eligibility requirements may be waived, except as noted.

1.E.2.
6B         Eligibility Requirements

1.E.2.a.
301B       Age

           Must have reached the age of 17 but must not have reached the age of 23 by 1 July of the
           year admitted as a cadet.



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1.E.2.b.
302B              Citizenship

                  Must be a United States citizen at the time of entry to the Academy. (Citizens of foreign
                  countries authorized by law and nominated by mutual agreement between the United
                  States and their native country are exempt from this requirement.)

30B    1.E.2.c.   Marital Status

                  Must be unmarried and have no legal obligations resulting from any previous marriage.

304B   1.E.2.d.   Character

                  Personal background must demonstrate positive evidence of good moral character,
                  responsibility, trustworthiness, and emotional stability.

305B   1.E.2.e.   Height and Weight Requirement

                  Must be between five feet and six feet six inches with weight suitable to physique.
                  Maximum height is waiverable to six feet eight inches by the Commandant.

306B   1.E.2.f.   Physical Aptitude

                  (1) Fitness Standards. Life as a Coast Guard cadet and later as an officer is physically
                      demanding. It requires physical fitness and stamina that lead to a healthy lifestyle.
                      To ensure that cadets meet fitness standards, they take the physical fitness
                      examination (PFE) each semester. Cadets should prepare for this challenging aspect
                      of Academy life.

                  (2) Physical Fitness Examination (PFE). The PFE is a 500 point test with a minimum
                      passing score of 250. It consists of five elements worth 100 points each:

                     (a) Pull-ups for men and women or incline pull-ups for women,

                     (b) Two minute curl-ups or sit-ups,

                     (c) Standing long jump,

                     (d) 300 yard shuttle run, and

                     (e) 1.5 mile run.

                     Note: Pull-ups, curl-ups, long jump, and 300 yard shuttle run must be administered
                           in order with a maximum of five minutes rest period between events. The 1.5
                           mile run must be performed no sooner than one day and no longer than seven
                           days after the first four events.




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                  (3) Actions upon Failing the PFE. Cadets reporting to the Coast Guard Academy will
                      take the PFE during their first week and during the academic semester. At the first
                      administration, any cadet who receives a score of less than 200 points will be
                      recommended for immediate disenrollment. Cadets who initially score between 200
                      and 249 points will be assigned to a physical fitness advisor and be issued a specific
                      developmental exercise prescription. If they do not pass the PFE by the beginning of
                      their second academic term, they will be recommended for disenrollment. Later,
                      cadets who fail two consecutive PFEs; i.e., score below 250 points, will also be
                      recommended for disenrollment.

1.E.2.g.
307B              Scholastic Requirements

                  Must be a high school graduate or senior assured of graduation from an accredited high
                  school, preparatory school, or college. Except for courses completed by correspondence
                  for which an accredited school has granted a certificate, correspondence schools do not
                  meet this paragraph’s requirements and their certificates will not be accepted. Fifteen
                  units of study are required.

                  (1) Mandatory Courses. The courses listed below, comprised of six units, are mandatory:

                     (a) Three mathematics courses, including algebra and plane or coordinate geometry,
                         or their equivalent, and

                     (b) Three courses in English (I, II, and III).

                  (2) Course Credit. Both high school and college credits may be submitted. Because of
                      the great variation in academic standards and credit requirements among the schools,
                      the Superintendent reserves the right to evaluate each academic record submitted on
                      its individual merits. In general, college credits and high school credits from
                      accredited institutions will be given the same weights for the same amount of work,
                      and in no case will one semester of college work be considered equivalent to more
                      than one unit of high school work. The Superintendent reserves the right to reject any
                      applicant whose assigned grades create doubt as to ability to successfully pursue the
                      Academy course.

308B   1.E.2.h.   Medical Requirements

                  (1) Service Academy Medical Examination. Candidates must pass a Service Academy
                      Medical Examination before receiving an appointment. Medical examinations will be
                      authorized by the Academy to candidates as their records become more complete.
                      The Coast Guard Academy Medical Examination satisfies the requirement for all
                      Service Academies and four-year ROTC Scholarships. Medical examinations are
                      scheduled and coordinated by the Department of Defense Medical Examination
                      Review Board (DODMERB). The medical requirements or appointment as a cadet
                      are published in reference (b), Coast Guard Medical Manual, COMDTINST M6000.1
                      (series).




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                  (2) Waivers. No waivers of medical requirements are granted to applicants. Should
                      there be any questions regarding cause for disqualification, this information may be
                      obtained by writing to DODMERB, 8034 Edgerton Dr. Ste 132, USAF Academy, CO
                      80840-2200, Attn: USCG Representative. A cadet must pass a second medical
                      examination upon reporting to the Academy.

1.E.3.
67B               Application
1.E.3.a.
309B              Application for Testing

                  All candidates for admission to the Coast Guard Academy must take either the College
                  Board Scholastic Aptitude Test (SAT I) or the American College Testing Assessment
                  (ACT) and bear all expenses.

                  (1) Use of the SAT. To register for the SAT, obtain a current copy of the College Board
                      Admissions Testing Program either at PO Box 592, Princeton, NJ 08542-0592, or PO
                      Box 1025, Berkeley, CA 94701-1025. The SAT must be taken prior to or including
                      the December test date of the year in which application is made for the Academy.
                      Registration for the December SAT closes in late October of each year. The Coast
                      Guard Academy must be named as one of the colleges to receive the test scores. The
                      Academy’s code number for College Board is 5807.

                  (2) Use of the ACT. If an applicant desires to use the ACT, a registration packet should
                      be obtained from the Registration Department, American College Testing Program,
                      PO Box 168, Iowa City, IA 52243-0168. The ACT must be taken prior to or
                      including the December test date of the year in which application is made to the Coast
                      Guard Academy. Registration for the last acceptable ACT test closes in late October
                      of each year. The Coast Guard Academy must be named as one of the colleges to
                      receive the test scores. The Academy’s ACT code is 0600.

                  (3) Registration Timeline. Applicants must register prior to the deadline established by
                      either the College Board or American College Testing Assessment for the last
                      acceptable test administration. The scores from tests subsequent to the December
                      administration will not be accepted.

310B   1.E.3.b.   Application for Appointment

                  (1) Formal Application. Formal application must be made to the Coast Guard Academy.
                      Obtain the initial application for appointment by writing directly to Director of
                      Admissions, U.S. Coast Guard Academy, 31 Mohegan Avenue, New London, CT
                      06320- 8103, Commander (CG PSC), or Commanding Officer (CGRC). The
                      complete application must be postmarked by 15 December to receive consideration
                      for the class entering the following summer.

                  (2) Supplemental Forms. The Academy will mail these seven supplemental forms to




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              applicants in September; applicants must complete and return the forms to the
              Director of Admissions, U.S. Coast Guard Academy, by 15 January:

              (a) High school transcript,

              (b) Candidate activities,

              (c) English instructor evaluation,

              (d) Mathematics instructor evaluation,

              (e) Physical education instructor or coach evaluation,

              (f) Background information, and

              (g) Essay questions.

1.E.4.
68B        Selection
1.E.4.a.
31B        Purpose, Scope, and Form

           (1) Admissions Division’s Guiding Principals. In meeting the Academy’s goal of
               producing a graduating class which, taken as a whole, meets the program, diversity,
               and quality objectives of the Coast Guard, the Admissions Division follows
               procedural and philosophical directives in recruiting and admitting candidates to the
               Academy.

           (2) Characteristics Desired in Selection of Candidates. The Academy ultimately is
               responsible for selecting and developing commissioned officers to serve in the U.S.
               Coast Guard. In pursuing this mission, the Academy seeks applicants with a wide
               variety of desired characteristics, including the motivation and potential to complete
               the challenging four-year program. From the applicant pool, the Academy appoints
               well-rounded candidates who demonstrate the many qualities of successful cadets and
               officers. These appointees are also individuals who will enrich campus life with a
               variety of differing perspectives and backgrounds reflecting the diverse aspects of
               American society.

           (3) Academy Environment. Once enrolled, the cadet’s intellectual and professional
               development is supported and enhanced in an environment that stimulates a high level
               of integrity, commitment, respect, discipline, and camaraderie. They will experience
               a sound undergraduate education along with professional development that enables a
               graduate to assume duties immediately as a junior officer afloat.

           (4) Scope of Selection. The Academy’s broad program of intellectual, professional,
               physical, and character development prepares the Coast Guard’s and America’s future
               leaders. Thus, the Academy seeks to enroll students of high moral character with a



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              well-rounded background of academic, leadership, extra-curricular, and athletic
              preparation.

        (5) Admissions Process. The admissions process uses both objective and subjective
            criteria. Objective criteria include an applicant’s high school rank (HSR) and
            standardized test scores (SAT I or ACT). The subjective component is a score
            determined by the Cadet Candidate Evaluation Board (CCEB). Unlike the other
            military academies, Congressional nominations or appointments are not required.

        (6) Composition and Considerations of the CCEB. The CCEB is comprised of panels
            that include three Academy faculty and staff members. These panels individually
            evaluate a candidate’s total record, paying particular attention to strength of
            transcript, essays, demonstrated leadership, extracurricular activities, employment,
            community service, special talents, awards, recommendations, etc.

        (7) Candidate’s Principal Score. The combination of HSR, standardized test scores, and
            CCEB scores results in the candidate’s principal score (CPS).

        (8) Principle Appointment Score. Candidates who are medically qualified and meet or
            exceed the principal appointment score (PAS) receive an appointment. The PAS is a
            cut-off established each November by counting many variables, including historical
            data, societal trends, number of applications expected, size of entering class based on
            graduation projections, etc. If openings exist after the principal appointment list is
            exhausted, the CCEB considers candidates from the list of highly qualified alternates
            (those with scores within 250 points of the PAS).

        (9)    Recompeting upon Failure to Receive an Appointment. U.S. Coast Guard Cadet
               appointments are offered to candidates who meet or exceed the PAS established for
               that year’s entering class. A candidate who fails to receive an appointment may
               compete in subsequent years without prejudice, provided they meet age and
               physical qualifications. The Commandant annually re-evaluates the number of
               appointments tendered and adjusts it in accordance with service needs.

        (10) The Candidate’s Principal Score (CPS) and Its Function.

               (a) Purpose of the CPS. It is difficult to compare individuals effectively,
                   particularly in a highly selective environment, without some measurement
                   capability. Designed to represent a wide variety of a candidate’s aspects,
                   including standardized test scores, the CPS is carefully calculated to provide the
                   best numerical representation of an applicant.

               (b) Composition of the CPS. The CPS is comprised of the CCEB score,
                   representing 40%; the HSR, 30%; the SAT I or ACT mathematics portion, 20%;
                   and the verbal portion, the final 10%. To establish an accurate numerical
                   composite of scores, the CCEB evaluation converts HSR (adjusted if needed
                   depending on class size, school competitiveness, and strength of the student’s




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                           curriculum) and the ACT score to a numerical score corresponding to the SAT I
                           scale (200 to 800 points). Only the highest SAT I or ACT score is used for
                           candidate evaluation. The CCEB evaluation allows subjectivity to balance the
                           objectivity of the HSR and test scores; the latter cannot accurately measure a
                           candidate’s motivation, maturity, determination, and other objective qualities.

                       (c) Minimum Academic Qualifications. To be evaluated by the CCEB, a candidate
                           must meet minimum academic qualifications, i.e., they must have a combined
                           HSR and standardized test score minimum of 3350 points. A candidate who
                           meets or exceeds this standard is deemed a finalist.

                       (d) Sample Candidate: HSR = 5th out of 100 = 675 points; SAT scores: 670
                           Mathematics and 600 Verbal
                             30% HSR        = 3 x 675 = 2025
                             20% Mathematics= 2 x 670 = 1340
                             10% Verbal     = 1 x 600 = 600
                             Total          =           3965


                             This score qualifies the candidate as a finalist.

                             CCEB scores: 700, 650, 600
                             40% CCEB = 4 x (700 + 650 + 600)/3 = 2600

                             Finalist Score + CCEB Score = 6565, the candidate’s Principal Score.

                             If the Principal Appointment Score is set at 6550, for example, the Academy
                             would offer this candidate a full appointment.

                             A candidate scoring between 6300 and 6550, would place on the alternate list.

                       (e) Determining Potential Beyond the CCEB. It is important to note CCEB scores
                           are relatively subjective and the admissions process, though heavily numerical,
                           is not an exact science. Determining an individual’s potential capacity to
                           perform and become a leader is a most difficult responsibility. Therefore,
                           highly dedicated, experienced members using carefully chosen criteria
                           determine which candidates likely will best serve and meet the Coast Guard’s
                           needs. The admissions criteria are re-examined annually and compared with
                           available cadet performance and retention data as well as post-graduation
                           performance.

312B   1.E.4.b.   Selection Process

                  The selection process consists of these three parts:

                  (1) Academic Evaluation. The academic evaluation portion of the competition,




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           representing 60 percent of a candidate's total score, is determined by combining high
           school rank converted to a standard score with either the SAT or ACT scores using
           the following weighting factors:

                   If SAT Scores Are Higher:                 If ACT Scores Are Higher:

                          SAT Verbal x 1                           ACT English x 1

                      SAT Mathematics x 2                      ACT Natural Science x 2
                High School Class Rank Converted
                                                                 ACT Mathematics x 3
                            Score x 3
                                                          High School Class Rank Converted
                                                                      Score x 4

           The Academy accepts the best of either the SAT or ACT scores of any test taken
           before or including the December test date of the year in which applying for the
           Academy. Applicants with the highest scores in the academic evaluation are
           considered "finalists" in the competition and notified of their status in February. Each
           finalist's complete file is submitted to the CCEB.

        (2) Cadet Candidate Evaluation Board.

           (a) Board Considerations. The Academy Superintendent designates a board of Coast
               Guard officers who assign an evaluation mark to each candidate satisfying the
               minimum score requirements in the competitive examination. The evaluation
               includes all the factors known to influence success as a cadet and officer. The
               marks are based on the candidates’ relative merit as shown by tests,
               questionnaires, and documents in Article 1.E.3. of this Manual. The board’s
               decision is based on this factual objective information:

               [1] The candidates' attitude toward assigned tasks and willingness to work as
                   shown by the consistency and pattern of previous school work,

               [2] The candidates' previous extracurricular and athletic interests and experience
                   with particular attention to evidence of leadership and teamwork,

               [3] The candidates' personal qualities as shown by their reference questionnaire,
                   evaluations, and comments by their high school counselor, principal, teachers,
                   and similar officials, and

               [4] The candidates' score on one or more tests of emotional stability, social
                   adjustment, vocational interest, study habits, background, and personality
                   characteristics as may be administered for the purpose.

           (b) Board Duties and Considerations. The board has the duty to obtain the best




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                  possible cadets and officers for the Coast Guard. It is therefore in a candidate's
                  interest to cooperate fully in supplying the board with all relevant information on
                  the factors listed in this paragraph. The board's judgment is final and subject to
                  review only by the Commandant’s order. To establish a list of eligible candidates
                  and eliminate those markedly deficient in one or more phases of the examination,
                  the board will not consider candidates who fail to meet the minimum test
                  requirements. Candidates whose standard scores on required tests and measures
                  fall below the prescribed individual and/or combined test level are eliminated
                  from further consideration.

              (c) Computing the Final Mark. Each candidate’s final mark is computed by
                  averaging the standard weighted scores provided through the test marks and the
                  CCEB rating.

              (d) Waivers. NO WAIVERS OF EDUCATIONAL OR PHYSICAL
                  REQUIREMENTS ARE GRANTED TO APPLICANTS.

           (3) Medical Examination. A Service Academy Medical Examination is required before
               receiving an appointment. (See Article 1.E.2.h. of this Manual.)

1.E.4.c
31B        Required Deposit

           On appointment, each candidate may be required to pay an entrance fee to offset the cost
           of initial clothing, books and school supplies, computers, and equipment. Payment of
           some, or all, this amount may be deferred in cases of extreme need.

1.E.4.d.
314B       Subsequent Appointments

           All former cadets who request readmission, except those who voluntarily resigned due to
           hardship, must compete for admission in the same manner as those candidates who have
           not attended the Coast Guard Academy.

1.E.4.e.
315B       Hardship Readmission

           Former cadets who resigned due to unavoidable hardship which subsequently is resolved
           may be granted readmission. The Superintendent, Coast Guard Academy shall prescribe
           readmission requirements and procedures.

1.E.4.f.
316B       Service Obligation (14 U.S.C. 182)

           (1) Service Agreement.

              (a) All cadets are required to sign a Service Obligation Agreement in accordance
                  with 14 U.S.C. 182. Minors will sign only with the consent of their parent or
                  guardian.




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              (b) Upon signing a Service Obligation Agreement, a cadet commits to accepting
                  an appointment, if tendered, as a commissioned officer in the Coast Guard
                  and serving at least five years of Active Duty immediately after their
                  appointment.

              (c) Cadets who do not complete this obligation are subject to repayment of
                  advanced education benefits in accordance with Recoupment of Advanced
                  Education Costs in the Event of Separation Before Completion of Obligated
                  Service, COMDTINST 1560.3 (series).

           (2) Cadets Who Turn Down a Regular Commission When Tendered. If a cadet
               with no prior armed forces obligation completes their course of instruction at the
               Academy but declines to accept an appointment as a Regular commissioned
               officer that has been tendered by the Coast Guard, they are subject to
               repayment of advanced education benefits in accordance with Recoupment of
               Advanced Education Costs in the Event of Separation Before Completion of
               Obligated Service, COMDTINST 1560.3 (series). Repayment may include
               enlistment in the Coast Guard Reserve and receiving orders to active duty for
               four years.

           (3) Exception to Obligation Based on Needs of the Service (14 U.S.C. 182 (b) (3)).

              (a) If a Regular commission is not tendered to a cadet who completes their
                  course of instruction at the Academy, the cadet will accept a Reserve
                  commission, if tendered.

              (b) If a cadet accepts a Regular commission but is permitted to resign before
                  completion of the commissioned service obligation; the cadet will accept an
                  appointment as a commissioned officer in the Coast Guard Reserve, if
                  tendered.

1.E.4.g.   Voluntary Resignation of Appointment

           The Superintendent, Coast Guard Academy may accept the voluntary resignation of a
           cadet's appointment.

1.E.4.h.   Involuntary Termination of Cadet Appointment and Appeal Authority


           appointment on the recommendation of an Executive Board, the Dean of Academics, or
           the Commandant of Cadets. The decision by the Superintendent, Coast Guard
           Academy to dismiss a cadet may be appealed to DCMS-DPR. The decision on
           whether a disenrolled cadet who has incurred a service obligation fulfills that
           obligation through enlisted service or monetary recoupment shall be made by
           Commandant (CG-1). The Superintendent, Coast Guard Academy shall prescribe the
           appeal procedures.




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1.E.4.i.   After Terminating a Cadet Appointment

           When a cadet is disenrolled from the Academy, either by voluntary resignation or
           by involuntary termination of appointment, one of the following actions normally
           will be completed depending on the cadet's status before accepting an appointment
           and the length of time they held an appointment.

           (1) Fourth and Third Class Cadets with no Prior Armed Forces Obligation. A
               fourth or third class cadet with no prior armed forces obligation who is
               disenrolled will have no active duty obligation and is exempt from recoupment of
               advanced education expenses in accordance with Recoupment of Advanced
               Education Costs in the Event of Separation Before Completion of Obligated
               Service, COMDTINST 1560.3 (series).

           (2) Second or First Class Cadets with no Prior Armed Forces Obligation.

              (a) Second or first class cadets disenrolling after commencement of the second
                  class year, but before completing the course of instruction, are subject to
                  repayment of advanced education benefits in accordance with Recoupment
                  of Advanced Education Costs in the Event of Separation Before Completion
                  of Obligated Service, COMDTINST 1560.3 (series) which may include
                  transfer to the Coast Guard Reserve in an enlisted status. (See Article 1.E.4.j
                  of this Manual.)

              (b) Any second or first class cadet with no prior armed forces obligation who is
                  disenrolled because they are determined to have breached the service
                  obligation agreement and who is not recommended or is disqualified for
                  enlisted Military Service, is subject to repayment of advanced education
                  benefits in accordance with Recoupment of Advanced Education Costs in the
                  Event of Separation Before Completion of Obligated Service, COMDTINST
                  1560.3 (series).

           (3) Second Class Cadets Awaiting Disenrollment. A second class cadet, regardless of
               prior obligation, who is disenrolled for cause resulting from actions that
               occurred before the start of the second class year which is considered to
               commence on the first day following graduation day will be discharged as if
               they were a fourth or third class cadet.

           (4) Cadets with Prior Service Obligation (10 U.S.C. §516).

              (a) Except as described in (b) or (c), any cadet who enters the Academy from the
                  Regular or Reserve Coast Guard or from another armed force of the United
                  States but does not complete the course of instruction will revert to their
                  prior status and branch of service and complete the remainder of their duty
                  obligation. All time served in a cadet status is counted as service under any
                  preexisting enlistment or service obligation. Those individuals with less than
                  one year remaining in their original enlistment contract may be discharged
                  on approval of Commander, CG PSC.



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                  (b) Any cadet with a prior service obligation to the Coast Guard who is
                      disenrolled because they are determined to have breached the service
                      obligation agreement and who is disqualified for return to enlisted Military
                      Service, may be denied re-enlistment at the discretion of Commander, CG
                      PSC. Those former cadets are subject to repayment of advanced education
                      benefits in accordance with Recoupment of Advanced Education Costs in the
                      Event of Separation Before Completion of Obligated Service, COMDTINST
                      1560.3 (series).

                  (c) Any cadet who enters the Academy from another Service and is disenrolled
                      because they are determined to have breached the service obligation
                      agreement will return to that Service, unless denied re-enlistment by their
                      Service.

               (5) Exemptions from Recoupment. Cadets are exempt from recoupment of
                   advanced education benefits in accordance with the exceptions found in
                   Recoupment of Advanced Education Costs in the Event of Separation Before
                   Completion of Obligated Service, COMDTINST 1560.3 (series).

1.E.4.j.
320B           Transition from Cadet to Enlisted Service

               (1) Paths to Enlisted Service. Disenrolled cadets may either voluntarily become
                   enlisted or may become enlisted by operation of law in accordance with
                   Recoupment of Advanced Education Costs in the Event of Separation Before
                   Completion of Obligated Service, COMDTINST 1560.3 (series). Taking into
                   account the best interests of the Coast Guard and the Superintendent’s
                   recommendation, Commandant (CG-1) may authorize disenrolled cadets to
                   serve in the Coast Guard Reserve and order to active duty for up to four years in
                   accordance with 14 U.S.C. 182 (c)(1) and (2). This authority may be delegated in
                   writing pursuant to Recoupment of Advanced Education Costs in the Event of
                   Separation Before Completion of Obligated Service, COMDTINST 1560.3
                   (series).

               (2) Accession of Former Cadets. Cadets who enlist in either the Coast Guard or
                   Coast Guard Reserve upon disenrollment from the Academy will normally enter
                   in the following pay-grades:

                  (a) Fourth Class: non-rated E-2,

                  (b) Third Class: non-rated E-3, and

                  (c) Second and First Class Cadets: BM3, or non-rated E-3 with immediate
                      application for any A school.

               (3) Authority. Commander, CG PSC will be the final determining authority for the



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                     rank and rate of an enlisted member accessing from the Academy as a former
                     cadet and will issue orders as appropriate.

                  (4) Active Duty Base Date (ADBD) and Pay Entry Base Date (PEBD). The ADBD
                      and PEBD for members accessing from the Academy as a former cadet will
                      reflect all time served as a cadet. A new Reserve enlisted member accessing from
                      the Academy as a former cadet will sign an Administrative Remarks, Form CG-
                      3307 acknowledging this policy.

                  (5) Returning Officers. Cadet time will be removed from the member’s ADBD and
                      not count towards any retirement if the enlisted member who served as a cadet
                      subsequently becomes an officer (10 USC 971).


1.E.5.
69B               Responsibilities
                  The competition for appointment as Cadet, U.S. Coast Guard, is widely publicized for the
                  purpose of attracting a large well qualified applicant pool.

321B   1.E.5.a.   Commandant’s Responsibilities

                  The Commandant establishes Academy admissions policies and procedures.

32B    1.E.5.b.   District Commander’s Responsibilities

                  District commanders coordinate cadet recruiting and awareness activities in their districts
                  with the Coast Guard Academy Superintendent. They develop district programs and
                  support Academy programs to recruit a large, well qualified, career-motivated applicant
                  pool. Further, district commanders assist the Academy in appointees’ sponsor and
                  follow-up programs and by 15 June annually submit to the Superintendent a Report of
                  Cadet Recruiting and Awareness Programs, a report in letter form containing this
                  information:

                  (1) Schools Visited. List of high schools and preparatory schools visited for Academy
                      recruiting or awareness purposes. Suggested items are listed below:

                     (a) High school name,

                     (b) City and state,

                     (c) Contact personnel,

                     (d) Total attendees,

                     (e) Date visited,




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                 (f) Return visit recommended, and /or

                 (g) Remarks (significant minority population, name of outstanding candidate for
                     Academy follow up, etc.).

              (2) Recruiting and Awareness Programs Conducted. List of Academy recruiting and
                  awareness programs conducted (such as presentations to civic or youth groups,
                  television or radio appearances, special programs, and visits to Coast Guard units,
                  etc.).

              (3) Recommendations for Improvement. Recommendations for improving Academy and
                  district recruiting efforts.

              (4) Minority Efforts. Specific efforts in minority awareness.

1.E.5.c.
32B           Academy Superintendent’s Responsibilities

              (1) Recruiting Programs. Develop and initiate Academy recruiting programs in
                  cooperation with the district commander.

              (2) Information Distribution. Prepare and distribute necessary bulletins of information,
                  posters, television and radio spots, and other media releases to support the admissions
                  program.

              (3) Field Support. Encourage and support the district commanders and field units in
                  furthering cadet recruiting efforts and Academy awareness programs.

              (4) Cadet Specific Responsibilities. Process, evaluate, select, and appoint candidates as
                  Cadet, U.S. Coast Guard.




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1.F.
18B        Reserved




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1.G.
19B            Appointing Regular Coast Guard or Navy Officers to the Coast Guard
               Reserve

1.G.1.
73B            General
1.G.1.a.
324B           Authority

               The basis for this policy is 10 U.S.C. § 12201 (b)(2).

1.G.1.b.
324B           Board Recommendation

               A board of officers shall recommend to the Secretary concerned on the disposition of
               applicants for commissions in the U.S. Coast Guard Reserve.

1.G.2.
74B            Board Applicants
1.G.2.a.
324B           Who May Voluntarily Apply

               (1) Former Coast Guard or Navy officers. Former officers of the Coast Guard or Navy
                   who are within one year of the effective date of resignation of their commission. If
                   more than one year has passed since the effective date of resignation or discharge,
                   then the provisions of Article 1.C. of this Manual apply.

               (2) Current Coast Guard Officers Upon Resignation. Coast Guard officers who submit
                   an unqualified resignation in accordance with Article 1.A.5. of Reference (c),
                   Military Separations, COMDTINST M1000.4 (series).

               (3) Regular Officer Twice Non-Selected. Regular officers who have been twice non-
                   selected on the active duty promotion list (ADPL), who are not retirement eligible,
                   and are scheduled for discharge.

1.G.2.b.
325B           Who Shall Apply

               Officers with a military service obligation shall apply when resigning their regular
               commission (10 U.S.C. 651 (b)).

1.G.2.c.
326B           Exempt Officers

               The following officers are not required to be screened by this Board and may have their
               names sent to the Secretary concerned separately for a Reserve commission. This
               determination shall be made by Commander (CG PSC-RPM).

               (1) Officers approved for temporary separation through Temporary Separations,
                   COMDTINST M1040.6 (series), and




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           (2) Officers approved or selected for designation as a provisional Reserve Program
               Administrators (RPA).

1.G.2.d.
327B       Medical Standards

           Officers who do not meet retention standards described in reference (b), Coast Guard
           Medical Manual, COMDTINST M6000.1 (series) shall not be allowed to affiliate with
           the Reserve.

1.G.2.e.   Application Procedures

           Applicants shall follow guidance as directed by Commander (CG PSC).

1.G.3.
75B        Board Recommendations to the Secretary
           For each applicant, the board shall recommend to the Secretary concerned:

           a. Approve the request held at the same grade previously held,

           b. Approve the request at a lower grade than previously held, or

           c. Disapprove the request.

1.G.4.
75B        Date of Rank and Precedence Determination
1.G.4.a.
328B       Approved Appointment to the Same Grade

           (1) Applicants who apply for a Reserve commission within one year of resigning their
               Regular commission, including those who apply prior to their resignation or
               have multiple non-selections on the ADPL, and who are appointed in the same
               grade previously held in the Regular Navy or Coast Guard, shall be given the
               same date of rank and precedence in that grade as was previously assigned to the
               officer while a member of the Regular Navy or Coast Guard. (14 USC § 744).


1.G.4.b.
328B       Approved Appointment to a Lower Grade

           Applicants approved for appointment to a lower grade shall:

           (1) Have the same date of rank as the senior most officer in the Inactive Duty Promotion
               List in that grade who has not yet been considered for promotion to the next higher
               grade.

           (2)   Be senior in precedence to the senior most officer on the Inactive Duty Promotion
                 List in that grade who has not yet been considered for promotion to the next higher
                 grade.



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1.G.5.
75B               Appeals

1.G.5.a.
328B              Appeal Authority

                  Commander (CG PSC-RPM) serves as the appeal authority for this panel.

328B   1.G.5.b.   Nature of Appeal

                  Appeals can be made only for appointments to a lower grade.

328B   1.G.5.c.   Additional Information

                  The appeal must be based on additional information that is a matter of record but
                  not available to the panel making the original determination. Mere disagreement is
                  not sufficient justification for appeal.

328B   1.G.5.d.   Appeal Guidance

                  Applicants shall follow guidance as directed by Commander (CG PSC-RPM).




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CHAPTER 2            GRADES AND SPECIALTIES
                     1B




2.A.
9B            Grades of Officers

2.A.1.
76B           Commissioned and Chief Warrant Officers
              The grades of officers of the Coast Guard in order of seniority, with abbreviations and
              pay grades, are as follows:

                        Grade                   Abbreviation                     Pay Grade
                       Admiral                       ADM                            O-10
                     Vice Admiral                   VADM                             O-9
                     Rear Admiral                   RADM                             O-8
               Rear Admiral (Lower Half)            RDML                             O-7
                       Captain                      CAPT                             O-6
                     Commander                       CDR                             O-5
                Lieutenant Commander                LCDR                             O-4
                      Lieutenant                      LT                             O-3
               Lieutenant (Junior Grade)             LTJG                            O-2
                        Ensign                       ENS                             O-1
                 Chief Warrant Officer        CWO4, CWO3, CWO2                  W-4, W-3, W-2
                        Cadet                        CDT

2.A.2.        Chief Warrant Officer Specialties and Temporary Lieutenants

2.A.2.a.
32B           Chief Warrant Officer Specialties

              The titles and precedence of the specialties of chief warrant officers are as follows:

                          Specialty Name                                  Abbreviation
                             Boatswain                                      BOSN
                              Weapons                                       WEPS
                    Operations Systems Specialist                             OSS
                             Electronics                                     ELC
                         Naval Engineering                                   ENG
                        Aviation Engineering                                  AVI
                        Material Maintenance                                 MAT
                      Personnel Administration                               PERS
                         Public Information                                   INF
                         Finance & Supply                                    F&S
                       Medical Administration                                MED
                             Bandmaster                                     BNDM
                        Criminal Investigator                                 INV
                  Information Systems Management                              ISM


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                       Specialty Name                                Abbreviation
               Intelligence Systems Specialist                           ISS
                Marine Safety Specialist Deck                          MSSD
             Marine Safety Specialist Engineering                      MSSE
             Maritime Law Enforcement Specialist                       MLES
             Marine Safety Specialist Response                         MSSR
                            Diver                                       DIV

           Note: Appointees in the same warrant specialty shall take precedence with each other as
                 outlined in Article 2.B.2 of this Manual.

2.A.2.b.
32B        Permanent Chief Warrant Officers Appointed to Temporary Lieutenants

           The precedence of the specialties of permanent chief warrant officers appointed to
           temporary lieutenants are as follows:

                   Officer Specialty                         Warrant Specialty
                                                             Boatswain (BOSN)
                   Operations Afloat
                                                              Weapons (WEPS)
                                                             Boatswain (BOSN)
                                                Maritime Law Enforcement Specialist (MLES)
             Operations Ashore – Response           Operations Systems Specialist (OSS)
                                                Marine Safety Specialist Response (MSSR)
                                                                 Diver (DIV)
                                                              Electronics (ELC)
                         C4IT                     Information Systems Management (ISM)
                                                    Operations Systems Specialist (OSS)
                                                        Material Maintenance (MAT)
                      Engineering
                                                          Naval Engineering (ENG)
                      Aviation                           Aviation Engineering (AVI)
                   Human Resources                    Personnel Administration (PERS)
                     Management                            Public Information (INF)
                      Finance                             Finance and Supply (F&S)
                      Medical                          Medical Administration (MED)
                                                         Criminal Investigator (INV)
                      Intelligence
                                                    Intelligence Systems Specialist (ISS)
                                                   Marine Safety Specialist Deck (MSSD)
            Operations Ashore - Prevention
                                                Marine Safety Specialist Engineering (MSSE)

           (1) Temporary grade precedence (i.e., lieutenant) is determined by the officer specialty
               hierarchy listed above. Warrant specialty within the officer specialty does not affect
               precedence. Appointees in the same officer specialty shall take precedence with each
               other by the order of selection recommended at the Chief Warrant Officer to
               Lieutenant Selection Board.




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              (2) Permanent grade precedence will remain the same as listed in Article 2.A.2.a. of this
                  Manual.

              (3) If an officer integrates in accordance with Article 1.A.8 of this Manual, their
                  temporary grade will become their permanent grade and they shall take precedence
                  among themselves as they are listed on the active duty promotion list.

2.A.3.
7B            Manner of Addressing Officers
2.A.3.a.
3B            Commissioned Officers

              Commissioned officers shall be designated and addressed in official communications by
              the title of their grades. In oral communication, commissioned officers below the grade
              of commander may be addressed as "Mister," "Mrs.," "Miss," or "Ms.," as appropriate.
              Medical officers in the grade of captain and below may be addressed as "doctor."

2.A.3.b.
34B           Chief Warrant Officers

              Chief warrant officers shall be addressed by the title of their grades. The abbreviations
              CWO2, CWO3, and CWO4 shall be used in written form. The specialty name or
              abbreviation will not be used except when it is necessary to state the chief warrant
              officer's specialty. In oral communication, chief warrant officers may be addressed as
              "Mister," "Mrs.," "Miss," or "Ms," as appropriate.

2.A.4.
78B           Active Duty Promotion List and Lineal List
2.A.4.a.
35B           Active Duty Promotion List

              Commander (CG PSC) maintains a single active duty promotion list (ADPL) of officers
              of the Coast Guard on active duty in the grades of ensign and above in accordance with
              Article 3.A.2. of this Manual in the order of precedence as outlined in this section.

2.A.4.b.
36B           Lineal List

              Commander (CG PSC) maintains a lineal list of chief warrant officers in the order of
              precedence as outlined in this section.

2.A.5.
79B           Date of Rank
2.A.5.a.
37B           Appointment

              Upon original appointment in the Coast Guard, the date of rank of a commissioned
              officer or chief warrant officer shall be the date specified in the appointment letter, or, if
              there be no specified date, then the date the oath of office is taken.




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2.A.5.b.
38B        Promotion

           (1) Commissioned Officers. Upon promotion of a commissioned officer above the grade
               of ensign, the date of rank will be the date of appointment to that grade, except that
               the date of rank of an active duty officer not on the ADPL shall be the date of rank of
               their running mate.

           (2) Warrant Officers. Upon promotion of chief warrant officers, the date of rank will be
               as specified in Article 3.B. of this Manual.

2.A.6.
80B        Commencement of Pay and Allowances
           Pay and allowances for an original appointment or for a promotion appointment will
           accrue from the effective date specified in the appointment letter, but not before the date
           the oath of office is administered for an original appointment.




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2.B.
10B            Order of Precedence

2.B.1.
81B            Precedence of Coast Guard Commissioned Officers in the Grade of
               Ensign or Above
2.B.1.a.
39B            Seniority by Grade

               Commissioned officers in the grade of ensign or above shall take precedence on the
               active duty promotion list in order of seniority of the grades in which appointed.

2.B.1.b.
340B           Seniority by Date of Rank

               Officers serving in the same grade shall take precedence in the order of their date of rank
               in that grade, except for officers who have lost numbers in grade.

2.B.1.c.
341B           Seniority as Listed on the Active Duty Promotion List

               Officers serving in the same grade with the same date of rank shall take precedence
               among themselves as they are listed on the active duty promotion list and as Commander
               (CG PSC) shall determine in this section.

2.B.1.d.
342B           Precedence with Running Mate

               Active duty officers not on the active duty promotion list and "extra number" officers
               under 14 U.S.C. § 432 shall take precedence with, but after their running mates. Officers
               in this category with the same running mate shall take precedence with each other in the
               order determined by Commander (CG PSC).

2.B.1.e.
34B            Precedence on the Active Duty Promotion List

               Officers appointed in the same grade with the same date of rank shall take precedence on
               the active duty promotion list in the following order:

               (1) Officers Promoted from the Next Lower Grade. Officers promoted from the next
                   lower grade shall take precedence with each other in the order their names are listed
                   on the active duty promotion list in the lower grade giving due consideration to the
                   change in precedence which takes place upon the promotion of in-zone reordered
                   officers, deep selected officers, officers once passed over, and officers completing a
                   service requirement for promotion.

               (2) Coast Guard Academy Graduates Appointed as Regular Officers. Graduates of the
                   Coast Guard Academy appointed as regular officers shall take precedence with each
                   other in the order of their class standing upon graduation. (See 14 U.S.C. § 185.)

               (3) Coast Guard Academy Graduates Appointed as Reserve Officers. Graduates of the




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               Coast Guard Academy appointed as reserve officers shall take precedence with each
               other in the order of their class standing upon graduation.

           (4) U.S. Merchant Marines. Licensed officers of the U.S. Merchant Marine appointed as
               regular officers under 14 U.S.C. § 211 (PL 80-219) shall take precedence with each
               other by date of rank and as specified by Commander (CG PSC).

           (5) Enlisted Members. If graduates of Officer Candidate School, before enlisted
               appointees who are not Officer Candidate School graduates and in the order of their
               class standing on graduation; if not graduates of Officer Candidate School, in the
               order of precedence of the rating and time in grade of their permanent status as set
               forth in Article 2.B. of this Manual.

           (6) Chief Warrant Officers. Chief warrant officers receiving appointments as temporary
               commissioned officers in the rank of lieutenant shall take precedence with each other in
               the order of seniority of their officer specialty as listed in Table 3 of Article 2.A.2.b. of
               this Manual. Appointees in the same officer specialty shall take precedence with each
               other by the order of selection recommended at the Chief Warrant Officer to Lieutenant
               Selection Board. (See 14 U.S.C. § 214(d).)

           (7) Officer Candidate School and Aviation Cadet Program Graduates. Graduates of
               Officer Candidate School and the Aviation Cadet Program appointed as reserve
               officers shall take precedence with each other in the order of their class standing upon
               graduation.

           (8) Direct Commission Officers. Direct commission officers appointed in the reserve
               component shall take precedence with each other by date of rank and as specified by
               Commander (CG PSC).

2.B.2.
82B        Precedence of Chief Warrant Officers of the Coast Guard
2.B.2.a.
34B        Seniority of Chief Warrant Officers

           Chief warrant officers shall take precedence with each other in the order of seniority of
           the grades in which appointed.

2.B.2.b.
345B       Precedence by Date of Rank

           Chief warrant officers serving in the same grade shall take precedence in the order of
           their date of rank in that grade.

2.B.2.c.
346B       Precedence as Listed on the Lineal List

           Chief warrant officers serving in the same grade with the same date of rank shall take
           precedence among themselves as they are listed on the lineal list.




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2.B.2.d.
347B              Precedence Within the Same Grade

                  Chief warrant officers appointed in the same grade with the same date of rank shall take
                  precedence among themselves in the following order:

                  (1) Promoted from the Next Lower Grade. Appointees promoted from the next lower
                      grade shall take precedence with each other in the order their names are listed on the
                      lineal list.

                  (2) Original Appointments. Appointees receiving an original appointment shall take
                      precedence with each other in the order of the seniority of their specialty as listed in
                      Article 2.A.1. of this Manual. Appointees in the same specialty shall take precedence
                      with each other in the order recommended by the Warrant Officer Selection Board.

348B   2.B.2.e.   Retired Recalled Chief Warrant Officers

                  A retired-recalled chief warrant officer will take precedence with, but after their running
                  mate.

2.B.3.
83B               Precedence with Relation to Officers of Other Services

2.B.3.a.
349B              Rank of Commissioned Officers between Services

                  The commissioned officers of the Coast Guard rank as follows: admirals with admirals in
                  the Navy and generals in the Army, Air Force, and Marine Corps; vice admirals with vice
                  admirals in the Navy and lieutenant generals in the Army, Air Force, and Marine Corps;
                  rear admirals of the upper half with rear admirals of the upper half in the Navy and major
                  generals in the Army, Air Force, and Marine Corps; rear admirals of the lower half with
                  rear admirals of the lower half in the Navy and brigadier generals in the Army, Air Force,
                  and Marine Corps; captains with captains in the Navy and colonels in the Army, Air
                  Force, and Marine Corps; commanders with commanders in the Navy and lieutenant
                  colonels in the Army, Air Force, and Marine Corps; lieutenant commanders with
                  lieutenant commanders in the Navy and majors in the Army, Air Force, and Marine
                  Corps; lieutenants with lieutenants in the Navy and captains in the Army, Air Force,
                  Marine Corps; lieutenants (junior grade) with lieutenants (junior grade) in the Navy and
                  first lieutenants in the Army, Air Force, and Marine Corps; ensigns with ensigns in the
                  Navy and second lieutenants in the Army, Air Force, and Marine Corps.

350B   2.B.3.b.   Precedence between Services

                  The precedence of officers of the Coast Guard, Army, Navy, Air Force, Marine Corps,
                  and Public Health Service, when serving together, shall be:

                  (1) In accordance with their relative grade.

                  (2) In accordance with their date of rank when of the same relative grade.



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           (3) In accordance with the time each has served on active duty as a commissioned officer
               of the United States when of the same relative grade with the same date of rank.




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CHAPTER 3             PROMOTING COMMISSIONED OFFICERS
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3.A.
20B            Promoting Commissioned Officers

3.A.1.
84B            General

3.A.1.a.
351B           Statutory Authorities

               (1) The authority to promote all officers on the active duty promotion lists (ADPL) is
                   contained in 14 U.S.C. § 251 through § 275.

               (2) The regulations to promote officers serving as ensigns and those not included on the
                   ADPL are promulgated under 14 U.S.C. § 271(c) and § 276, respectively.

               (3) Pursuant to 14 U.S.C. § 728, reserve officers serving on extended active duty
                   agreements under 10 U.S.C. § 12311 agreement shall be considered for promotion by
                   the appropriate ADPL selection board.

               (4) Promotion year means the period beginning on 1 July of each year and ending on 30
                   June of the following year (14 U.S.C. § 256(a)).

3.A.1.b.
352B           Mandatory Screening of Officers Selected for Flag Promotion

               (1) Any appointment, promotion, continuation, or retention action above the grade of O-6
                   that requires Secretarial approval and/or advice and consent of the Senate, shall be
                   screened for potentially adverse information concurrent with the nomination process.
                   This includes, but is not limited, to:

                  (a) Appointment to the O-10 position (14 U.S.C § 44),

                  (b) Appointment to any O-9 position (14 U.S.C. § 47 and 14 U.S.C. § 50),

                  (c) Appointment to Director of the Coast Guard Reserve (14 U.S.C. § 53),

                  (d) Promotion to O-8 (14 U.S.C. § 271 (d)),

                  (e) Promotion to O-7 (14 U.S.C. § 271),

                  (f) Rear Admiral Continuation (14 U.S.C. § 290 (a) thru (e)), and/or

                  (g) Retention by Annual Action (14 U.S.C. § 290 (f)(1) thru (g)(2)).

               (2) Potentially adverse information is information that meets any of the following:

                  (a) Information concerning a violation of law or regulation, failure to adhere to
                      standards of conduct, or abuse of authority substantiated in a finding or



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                  conclusion of an officially documented investigation or inquiry to include all
                  substantiated incidents of discrimination, or official record or report.

              (b) Information which is the basis for a pending official investigation or inquiry.

              (c) Information that is minor in nature (except those resulting in personal harm or
                  significant property damage) or more than ten years old (other than substantiated
                  incidents of discrimination) are excluded.

           (3) Responsibilities:

              (a) COMDT (DCMS-34) shall coordinate the screenings using Coast Guard data
                  repositories for potentially adverse information which will be provided to the
                  Judge Advocate General (or Deputy).

              (b) The Judge Advocate General (or Deputy) is responsible for the following:

                  [1] In conjunction with COMDT (DCMS-34), determine if any potentially
                      adverse information received warrants further investigation, in which case the
                      potentially adverse information will be provided to the applicable selectee
                      who then has three days to provide comment. A five day extension will be
                      granted upon request; further extensions are within the discretion of VCG.

                  [2] Report potentially adverse information to VCG who makes final
                      determinations of adverse information with the assistance of the Judge
                      Advocate General or Deputy.

                  [3] Comply with the procedures mandated by Military Officer Actions Requiring
                      Approval of the Secretary of Defense or the Presidents, or Confirmation by
                      the Senate, DoDI 1320.4, when reporting adverse information.

3.A.2.
85B        Active Duty Promotion List (ADPL)
3.A.2.a.
35B        Discussion

           The Commandant shall maintain a single active duty promotion list (ADPL) of officers of
           the Coast Guard, regular and reserve, on active duty. The following officers are not
           included on the ADPL:

           (1) Retired officers recalled to active duty.

           (2) Officers of the Coast Guard Academy Permanent Commissioned Teaching Staff
               (PCTS).

           (3) Officers designated as Reserve Program Administrators (RPAs).




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                  (4) Reserve officers assigned to the Selective Service System.

354B   3.A.2.b.   ADPL Seniority

                  Officers appear on the ADPL in the order of seniority of the grades in which they serve.
                  Officers serving in the same grade appear in the order of their seniority in that grade.
                  Commander (CG PSC) may correct any erroneous position caused by administrative
                  error on the ADPL.

35B    3.A.2.c.   Ensigns’ Seniority on Promotion List

                  A member appointed in the grade of ensign or above in the regular Coast Guard shall be
                  placed on the ADPL in order of date of rank and seniority.

356B   3.A.2.d.   Reserve Officers Entering Extended Active Duty

                  Except for one excluded by Article 3.A.2.a. of this Manual, a reserve officer entering on
                  extended active duty appears on the ADPL in order of grade and seniority (14 U.S.C. §
                  41a). Commander (CG PSC) shall determine the position of such a reserve officer
                  among other active duty Coast Guard officers of the same date of rank (14 U.S.C. § 41d).


3.A.3.
86B               Number and Distribution of Commissioned Officers
3.A.3.a.
357B              Number of Officers

                  The total number of commissioned officers, excluding commissioned warrant officers, on
                  active duty in the Coast Guard shall not exceed the level specified in 14 U.S.C. § 42.

3.A.3.b.
358B              Officer Distribution

                  Commissioned officers on the ADPL shall be distributed in grade in percentages as
                  indicated below. If Coast Guard needs require, the Secretary may reduce the percentage
                  of any grade above lieutenant commander and, to compensate for such reduction,
                  increase correspondingly the percentage of any lower grade.

                                         Rank                                  Percentage
                  Rear Admiral                                                   0.375
                  Rear Admiral (Lower Half)                                      0.375
                  Captain                                                          6.0




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                                       Rank                                   Percentage
                  Commander                                                       12.0
                  Lieutenant Commander                                            18.0
                  Lieutenant, Lieutenant (Junior Grade), and            percentages the Secretary
                  Ensign                                                       prescribes

3.A.3.c.          Secretary’s Computation

                  At least annually, the Secretary shall determine the number of officers on the ADPL
                  authorized to serve in each grade by applying the applicable percentage to the total
                  number of such officers serving on active duty on the date the computation is made. For
                  this purpose, the nearest whole number is the authorized number in any case where the
                  resultant contains a fraction.

360B   3.A.3.d.   Authorized Number per Grade

                  For all purposes, the numbers resulting from these computations are the authorized
                  number in each grade. The authorized number for a grade may temporarily increase
                  between one computation period and the next computation period due to a promotion that
                  was previously delayed for any reason.

361B   3.A.3.e.   Exceptions to Authorized Numbers

                  Officers not on the active duty promotion list and officers serving with other departments
                  or agencies on a reimbursable basis will not be counted in determining authorized
                  strengths described in Article 3.A.3.c. of this Manual and will not count against those
                  strengths. The Secretary shall prescribe the number of officers authorized to serve on
                  active duty in each grade of the Coast Guard Academy’s Permanent Commissioned
                  Teaching Staff and of the reserve as RPAs (14 U.S.C. § 42).

3.A.4.
87B               Selecting and Promoting Officers on the Active Duty Promotion List
                  from Lieutenant (Junior Grade) Through Rear Admiral (Lower Half)

3.A.4.a.
362B              Eligibility for Consideration

                  An officer on the ADPL becomes eligible for consideration for promotion to the next
                  higher grade at the beginning of the promotion year in which they complete the following
                  amount of service computed from date of rank in the grade in which serving:

                           Grade In Which Serving                            Length of Service
                  Lieutenant (Junior Grade)                                      2 years
                  Lieutenant                                                     3 years
                  Lieutenant Commander                                           4 years



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                          Grade In Which Serving                              Length of Service
                  Commander                                                       4 years
                  Captain                                                           3 years

                  (1) Qualifying Service. For these purposes, service in a grade includes all qualifying
                      service in that or a higher grade under either a temporary or permanent appointment.
                      However, service in a grade under a temporary service appointment under Article
                      3.A.10. of this Manual is considered as service only in the grade the officer concerned
                      would have held had they not been so appointed.

                  (2) Eligible for Consideration. No officer is eligible for consideration for promotion until
                      all officers senior to them are so eligible.

                  (3) Duration of Eligibility. Except when on a list of selectees, each officer who becomes
                      eligible for consideration for promotion to the next higher grade remains eligible so
                      long as the officer continues on active duty and is not promoted to that grade (14
                      U.S.C. § 257).

36B    3.A.4.b.   Number of Officers to be Selected for Promotion

                  Before convening a selection board to recommend officers for promotion, the Secretary
                  shall determine the total number of officers to be selected for promotion to that grade.
                  This number shall be equal to the number of vacancies existing in that grade, plus the
                  number of additional vacancies estimated for the next 12 months, less the number of
                  officers on the selection list for the grade (14 U.S.C. § 255).

364B   3.A.4.c.   Promotion Zones

                  (1) Establishing Promotion Zone. Before convening a selection board to recommend
                      officers for promotion to any grade above lieutenant (junior grade) and below rear
                      admiral (lower half), the Secretary shall establish that grade’s promotion zone: The
                      promotion zone for each grade shall consist of that grade’s most senior officers on the
                      ADPL who are eligible for consideration for promotion to the next higher grade who
                      have not previously been placed in a promotion zone for selection for promotion to
                      the next higher grade. The number of officers in each zone shall be determined after
                      considering:

                     (a) The needs of the service, including the ability for military pay and benefit budgets
                         to support the proposed number of promotions,

                     (b) The estimated numbers of vacancies available in future years to provide
                         comparable opportunity to promote officers in successive year groups, and

                     (c) The extent to which current terms of service in that grade conform to a desirable
                         career promotion pattern. However, the number of officers in-zone shall not
                         exceed the number to be selected for promotion divided by six-tenths (0.6).



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                  (2) Establishing Promotion Zone for Rear Admiral (Lower Half). The Secretary shall
                      establish promotion zones from which officers will be selected for promotion to the
                      grade of rear admiral (lower half) as the needs of the service require pursuant to 14
                      U.S.C. § 256.

3.A.4.d.
365B              Selection Boards

                  Selection boards to recommend officers for promotion to the next higher grade shall be
                  convened as described in Article 6.A. of this Manual.

36B    3.A.4.e.   In-Zone Reordering for Promotion Boards

                  (1) Background and Authority. In-zone reordering is a tool that may be utilized by any
                      ADPL and RPA best qualified promotion board (O3 through O6). After selecting the
                      officers to be recommended for promotion, a selection board may recommend
                      officers of particular merit, from among those officers chosen for promotion, to be
                      placed at the top of the list of selectees. Officers displaced from the top of the list
                      shall retain their previous precedence immediately below those officers reordered and
                      inserted at the top of the promotion list pursuant to 14 U.S.C. § 259.

                  (2) Percentage That May be Reordered. The number of officers that a board may
                      recommend to be placed at the top of the list of selectees may not exceed the
                      percentages set forth in subsection (b) of 14 U.S.C. § 259 unless such a percentage is
                      a number less than one, in which case the board may recommend one officer for such
                      placement.

                  (3) Majority Recommendation. No officer may be recommended to be placed at the top
                      of the list of selectees unless they receive the recommendation of at least a majority
                      of the members of a board composed of five members, or at least two-thirds of the
                      members of a board composed of more than five members.

                  (4) Reordering is Optional. Promotion boards are under no obligation to select officers
                      for in-zone reordering. The tool will only be made available for use at the discretion
                      of the board. Officers above zone, in zone, and below zone are all eligible for
                      reordering if selected for promotion.

                  (5) Placement on Selection List. In order of original seniority, ADPL members that are
                      reordered within their respective promotion zone assume a position above the senior-
                      most selected member.

                  (6) Reordering and Placement of Reserve Program Administrators (RPAs). In order of
                      original seniority, RPAs reordered within their respective promotion zone are
                      assigned running mates equal to the most junior of the ADPL members that were
                      in-zone reordered during the same year. In the event no ADPL members were
                      reordered during the associated selection board, the senior most selected member on
                      the ADPL will be assigned as a running mate.




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3.A.4.f.
367B              Communicating with the Selection Board

                  (1) Background and Authority. Each officer eligible for consideration by a selection
                      board may communicate with the board through the officer’s chain of command by
                      letter, inviting attention to any matter in their Coast Guard record that will be before
                      the selection board. A letter sent under this paragraph may not criticize any officer or
                      reflect on any officer’s character, conduct, or motive. (See 14 U.S.C. § 253(b).) The
                      letter must arrive prior to the commencement of the board.

                  (2) Enclosures and Attachments. One OER chain endorsement is optional. Enclosures or
                      attachments are limited to copies of official records and materials allowed to be
                      submitted with Officer Evaluation Reports (OER), Form CG-5310 (series), under
                      Article 5.A.4.c.3. of this Manual. Letters from other officers will not be solicited or
                      submitted as enclosures. Officers requesting acknowledgement of receipt must
                      provide an e-mail address in their communication.

                  (3) Endorsements. Endorsements to letters submitted to selection boards shall not
                      include opinions whether an officer should be selected for promotion or opinions on
                      selection boards and their methods.

368B   3.A.4.g.   Failure of Selection for Promotion

                  (1) Commander and Below. Officers in the grade of commander and below in the
                      promotion zone established under Article 3.A.4.c. of this Manual fail selection for
                      promotion if they do not appear on the list of selectees recommended by the board
                      considering them or if the President subsequently removes them from the list of
                      selectees in the board's report (14 U.S.C. § 262(a)).

                  (2) Administrative Error. Officers do not fail selection if a selection board did not
                      consider them because of administrative error. If selected by the next succeeding
                      selection board, they receive the date of rank and position on the ADPL in the grade
                      to which selected they would have held had the first selection board recommended
                      them (14 U.S.C. § 262(b)).

369B   3.A.4.h.   Promotions

                  (1) List of Selectees. When the President approves a report of a board convened to
                      recommend officers for promotion, the Commandant will place the names of all
                      officers selected and approved on a list of selectees in the order of their seniority on
                      the ADPL (14 U.S.C. § 271(a)).

                  (2) Date of Promotion. Officers on the list of selectees may be promoted by appointment
                      to the next higher grade after officers on any previous list of selectees for that grade
                      have been promoted provided the maximum strength for that grade is not exceeded as
                      defined by Article 3.A.3. of this Manual. Officers will be promoted in the order they
                      appear on the list of selectees. The date of rank of an officer promoted under this




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                     paragraph is the date of appointment in that grade (14 U.S.C. § 271(b)).

                  (3) Promotions to Lieutenant Commander and Above. Officers selected for promotion to
                      lieutenant commander and above may be promoted to fill vacancies (14 U.S.C. §
                      271(b)).

                  (4) Promotions of Lieutenant. Promotions for officers selected for lieutenant will be
                      effected as follows:

                     (a) After Selection by First Board. A lieutenant (junior grade) eligible for promotion
                         may be promoted to the grade of lieutenant without regard to vacancies on the day
                         after completing 30 months of service in grade.

                     (b) After Selection by First Board from Below the Zone. Any lieutenant (junior
                         grade) eligible for promotion selected from below the established promotion zone
                         shall be placed on the new list of selectees prepared by the board in order of
                         existing seniority. They shall be tendered appointment to lieutenant on the same
                         date as the most junior lieutenant (junior grade) on the list of selectees who was in
                         the published promotion zone.

                     (c) After Selection by Second Board. Any lieutenant (junior grade) selected for
                         promotion to lieutenant by the second board to consider them shall be placed at
                         the top of the new list of selectees prepared by the board in order of existing
                         seniority. They shall be tendered appointment to lieutenant on the same date as
                         the most senior lieutenant (junior grade) on the approved list of selectees who has
                         not previously failed of selection to the grade or whose record has not been
                         corrected by the Personnel Records Review Board or Board for Correction of
                         Military Records to remove a previous non-selected status to that grade.

370B   3.A.4.i.   Removing Officer from List of Selectees for Promotion

                  (1) Presidential Authority. The President may remove any officer from a list of selectees
                      established under Article 3.A.4.g. of this Manual.

                  (2) Senatorial Authority. If the Senate does not consent to appoint an officer whose
                      name is on a list of selectees established under Article 3.A.4.g. of this Manual, that
                      officer's name shall be removed from this list.

                  (3) Eligibility for Further Consideration. An officer whose name is removed from a list
                      under this Article remains eligible for consideration for promotion. If promoted as a
                      result of selection by the next selection board, they hold the date of rank and position
                      on the ADPL in the grade to which promoted which they would have held if their
                      name had not been removed. If the next selection board does not select the officer or
                      if their name again is removed from the list of selectees, the officer shall be
                      considered for all purposes as having twice failed of selection for promotion (14
                      U.S.C. § 272).




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                      U.S.C. § 272).
                  (4) Removal from Selection List. The name of an officer who declines a promotion shall
                      be removed from the list of selectees, as provided in Article 3.A.4.i.(3) above.

3.A.5.
8B                Selecting and Promoting Ensigns to Lieutenant (Junior Grade)

3.A.5.a.
371B              Eligibility for Promotion

                  An ensign on the ADPL is eligible for promotion to lieutenant (junior grade) after:

                  (1) Completing 12 months of active service as defined in 10 U.S.C. § 101, computed
                      from date of rank as an ensign on the ADPL,

                  (2) A board recommends them as fully qualified for promotion, and

                  (3) The Commandant has approved the board’s recommendation.

372B   3.A.5.b.   Selection Boards

                  Selection boards to recommend ensigns for promotion to lieutenant (junior grade) shall
                  be convened as Article 6.A. of this Manual describes.

37B    3.A.5.c.   Communicating with the Selection Board

                  Each officer eligible for consideration by a selection board may communicate directly
                  with the board as prescribed in Article 3.A.4.e. of this Manual.

374B   3.A.5.d.   Failure of Selection for Promotion

                  (1) Out of Line of Promotion. Ensigns whom a board does not recommend and whose
                      commissions are not revoked under Article 3.A.5.d.(2) of this Manual shall be placed
                      out of the line of promotion for at least nine months, beginning on the date the board
                      report, which did not recommend them for promotion, is approved. The out-of-line
                      period provides these officers with the opportunity to improve their performance
                      before a second board considers them for promotion.

                  (2) Finding of Unsatisfactory in Grade. In accordance with 14 U.S.C. § 214(c) or 14
                      U.S.C. § 281, as applicable, the Commandant may revoke the commissions or vacate
                      the temporary appointments of ensigns who, in their first five years of commissioned
                      service, fail selection for promotion to lieutenant (junior grade) and whom the
                      selection board determines are performing unsatisfactorily in grade, irrespective of
                      Articles 1.A.8. and 1.A.10. of reference (c), Military Separations, COMDTINST
                      M1000.4 (series).

                  (3) Consideration by Second Board. A second board convened as described in Article
                      6.A. shall consider an ensign placed out of line of promotion.

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                  (4) Failure of Selection by Second Board. If a second board finds an ensign is not fully
                      qualified, the Commandant will revoke their regular or reserve commission or vacate
                      their temporary appointment irrespective of Articles 1.A.8. and 1.A.10. of reference
                      (c), Military Separations, COMDTINST M1000.4 (series).

3.A.5.e.
375B              Non-Consideration Due to Administrative Error

                  An ensign does not fail selection for promotion if a board does not consider them because
                  of administrative error. If the next succeeding board considering ensigns for promotion
                  recommends that ensign for promotion, they hold the date of rank and position on the
                  ADPL as a lieutenant (junior grade) which they would have held had the first board
                  recommended them.

3.A.5.f.
376B              Promotion

                  (1) After Selection by First Board. An ensign eligible for promotion may be promoted to
                      lieutenant (junior grade) without regard to vacancies on the day after they complete
                      18 months of active service.

                  (2) After Selection by Second Board. The board shall place ensigns found fully qualified
                      for promotion at the top of the new list in order of existing seniority. They shall be
                      tendered appointment to lieutenant (junior grade) without regard to vacancies on the
                      day the board report is approved, as long as they have completed 18 months of active
                      commissioned service. An ensign whose record only appeared before a second board
                      due to an administrative error will be assigned a date of rank based upon time in
                      grade and prior seniority in the register of officers. Such an ensign will not be
                      considered the “most senior ensign on the approved list of selectees” for the purpose
                      of ranking others in precedence order.

37B    3.A.5.g.   Separations

                  Effective not later than three months from the date the selection board report is approved
                  but not later than the day before the three-year anniversary of commissioned service,
                  ensigns whose commissions are revoked or vacated shall be honorably discharged.

3.A.6.
89B               Selecting and Promoting U.S. Coast Guard Reserve Officers on Active
                  Duty as Reserve Program Administrators (RPAs)

3.A.6.a.
378B              Reserved




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3.A.6.b.
379B           Running Mates

               Each RPA shall be assigned a running mate as prescribed in 14 U.S.C. § 726.

3.A.6.c.
380B           Eligibility for Selection for Promotion

               An RPA is eligible for consideration for selection for promotion when their running mate
               first enters a promotion zone and remains eligible as long as they:

               (1) Continue on active duty, and

               (2) Are not promoted to that grade (14 U.S.C. § 257).

3.A.6.d.
381B           RPA Promotion Zone

               The size of the promotion zone for each grade of lieutenant and above equals the number
               of officers eligible for selection for promotion as described in Article 3.A.6.c. of this
               Manual.

3.A.6.e.       Opportunity of Selection

               When feasible a best-qualified selection process shall be used to promote RPAs to the
               next higher grade. The opportunity of selection at each grade will compare to that grade’s
               opportunity during the most recent ADPL selection board. The computed opportunity of
               selection for each grade, lieutenant and above, shall be determined as follows:

               (1) If RPAs going before the selection board include only first-time candidates for the
                   grade being considered, the percentage will be the total number of ADPL officers
                   who were selected for promotion, divided by the total number of ADPL officers
                   considered for promotion to that grade in the ADPL zone. Fractions of a percentage
                   shall be rounded to the next higher number.

               (2) If Article 3.A.6.e.(1) of this Manual does not apply, the percentage is the total number
                   of ADPL officers selected for promotion, divided by the total number of ADPL
                   officers considered for promotion to that grade in the ADPL zone plus the number of
                   officers above the ADPL zone who have been once not selected. Fractions of a
                   percentage shall be rounded to the next higher number.

3.A.6.f.
38B            Number Selected for Promotion

               Before convening a board to recommend RPAs for promotion to any grade, the
               Commandant will determine the total number of RPAs who may be selected for that
               grade by multiplying the computed opportunity of selection by the number of RPAs in
               the promotion zone. In applying the computed percentage, a fraction of five-tenths or
               greater shall be counted as a whole number. If the number of officers to be selected
               equals the number of officers in the promotion zone, a fully qualified promotion board

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                  shall be convened to select officers on a fully-qualified basis using the criteria established
                  in Article 6.B.3. of this Manual.

384B   3.A.6.g.   Selection Boards

                  Selection boards to recommend RPAs for promotion to all grades of captain and below
                  shall be convened as Article 6.B.3. of this Manual describes.

385B   3.A.6.h.   Communicating with the Selection Board

                  RPAs may communicate with a selection board in the same manner as described in
                  Article 3.A.4.f. of this Manual.


386B   3.A.6.i.   Failure of Selection for Continuation or Promotion

                  The following officers shall be released to inactive duty, continued on active duty, or
                  retired in accordance with Chapter 5 of reference (c), Military Separations,
                  COMDTINST M1000.4 (series):

                  (1) An RPA captain not recommended for continuation, and

                  (2) Any RPA who has failed selection for promotion to the next higher grade.

                     (a) Other than one serving as captain, an officer fails selection if the board that
                         considered them did not select that officer for promotion or, if the Commandant
                         later removes the officer's name from the board’s report or the list of selectees
                         after the board recommended them for promotion.

                     (b) An officer does not fail selection if a board does not consider them due to
                         administrative error. If the next succeeding board selects them and they are
                         promoted, the officer holds the date of rank and precedence they would have held
                         if the first selection board recommended them.

387B   3.A.6.j.   Promotions

                  (1) List of Selectees. When the Commandant has approved the promotion board’s report,
                      all RPAs selected and approved will appear in the order of their current relative
                      seniority.

                  (2) Promotion. An RPA on the list of selectees shall be promoted effective on the date
                      their running mate is promoted and assigned the same date of rank as their running
                      mate under the procedures of Article 3.A.12. of this Manual. (14 U.S.C. § 276)

                  (3) Delay of Promotion. The promotion of any RPA may be delayed if they have
                      disqualified themselves under the conditions set forth in Article 3.A.12. of this

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              (4) Removal of Name by Commandant. Subject to the Secretary’s approval, the
                  Commandant may remove any officer recommended for promotion from the report of
                  the board convened under Article 6.B.3. of this Manual.




3.A.7.
90B           Promotion of Officers on the Permanent Commissioned Teaching Staff
              (PCTS) of the Coast Guard Academy

3.A.7.a.
38B           Running Mates

              (1) Assignment of Rank, Date of Rank, and Running Mate of Member Upon Completion
                  of Probationary Period. An officer selected for PCTS, after successful completion of

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              the probationary period discussed in Article 6.B.12.j. of this Manual, shall be sworn
              into the PCTS and assigned a running mate on the ADPL. If an officer has
              successfully served at the Coast Guard Academy for two years or more, the
              Superintendent may recommend that the probationary period be waived. In such a
              case the officer will be assigned a running mate on the ADPL immediately following
              appointment. If the officer is appointed directly from the ADPL, the running mate
              shall be the officer of the same grade who was one person senior on the lineal list as
              of the date of permanent appointment to the PCTS. If the PCTS appointee happens to
              be the most senior officer of that grade, then the officer one person junior on the
              ADPL becomes the running mate.

           (2) Assignment of Rank, Date of Rank, and Running Mate of Member in a Probationary
               Status. When an individual is appointed to the PCTS in probationary status from a
               source other than active duty Coast Guard commissioned officer status, a rank and
               date of rank are assigned on the basis of their educational qualifications and
               professional experience. If the appointee is already a commissioned officer in good
               standing in the Coast Guard inactive reserve or in another service component, the
               current equivalent rank and date of rank will normally be retained. When such an
               appointee subsequently receives a permanent appointment to the PCTS, then the
               junior officer of the same grade and date of rank on the ADPL becomes the running
               mate. In case there is no one on the ADPL with the same date of rank, then the next
               senior officer of the same grade becomes the running mate.

           (3) Running Mate Changes. If a PCTS officer's running mate is removed from the ADPL
               or changes position, then the new running mate is the officer next most senior on the
               list.

           (4) Assigning a New Running Mate Upon Non-Selection for Promotion. A member of
               the PCTS who fails selection for promotion for the first time shall be assigned as a
               new running mate the first ADPL officer who meets one of the following criteria (to
               be taken in order):

              (a) The officer of the same grade on the ADPL who has also failed selection for the
                  first time and is one person senior;

              (b) The senior officer of that grade who has failed selection;

              (c) The senior officer of that grade who has not previously been in the primary
                  promotion zone. If the current running mate is selected for promotion or
                  promoted while the PCTS member is out of line of promotion, a new running
                  mate shall be assigned in accordance with the procedure described in this
                  paragraph.

           (5) Assigning a New Running Mate Upon Selection for Promotion. If a member of the
               PCTS is selected for promotion but their running mate was not, then the new running
           (6) mate is the officer one person senior on the lineal ADPL list who was selected.

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                     mate is the officer one person senior on the lineal ADPL list who was selected.

389B   3.A.7.b.   Eligibility for Promotion

                  (1) Members of the PCTS shall not be promoted to a grade above that of captain.

                  (2) A member of the PCTS who is serving in a grade below captain becomes eligible for
                      consideration for promotion when their running mate is in the promotion zone
                      established for that grade.

390B   3.A.7.c.   Selection Boards

                  Selection boards to recommend members of the PCTS for promotion to the next higher
                  grade shall be convened as described in Article 6.A. of this Manual.

391B   3.A.7.d.   Promotion

                  (1) List of Selectees. When the report of a board convened to recommend members of
                      the PCTS for promotion has been approved, the names of those recommended shall
                      be placed on a list of selectees in the order of their present seniority.

                  (2) Appointment. The appointment of a member of the PCTS to a higher grade shall be
                      made in the same manner as an appointment of a regular officer on the active duty
                      promotion list. (See Article 3.A.12. of this Manual.)

                  (3) Promotion. A member of the PCTS recommended for promotion shall be promoted
                      on the date their running mate is promoted or as soon thereafter as the Senate
                      confirms the appointment. The procedures outlined in Article 3.A.12. of this Manual
                      apply.

                  (4) Removal from List of Selectees for Promotion. The name of a member of the PCTS
                      may be removed from a list of selectees by the Secretary in the same manner as the
                      President may remove the name of an officer on the active duty promotion list and the
                      effect upon their status and continued eligibility for promotion shall be the same.
                      (See Article 3.A.4.g. of this Manual.)

                  (5) Member of PCTS Appointed as Dean of Academics. A member of the PCTS who is
                      appointed to the position of Dean of Academics at the Coast Guard Academy shall be
                      appointed in the grade of captain without regard to Articles 3.A.7.c. and 3.A.7.d. of
                      this Manual. If the individual is not already serving in the grade of captain, the date
                      of rank will normally be the effective date of the appointment as Dean. In such a
                      case, the running mate will be the junior ADPL captain with the same or earlier date
                      of rank. If there is no officer who meets this criterion, then the next senior ADPL
                      captain will be the running mate.




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3.A.7.e.
392B       Failure of Recommendation for Promotion

           (1) Placed Out of Line of Promotion. A PCTS member not recommended for promotion
               is out of line for promotion for one year from the date the Secretary approves the
               board.

           (2) Consideration by Second Board. A second board convened as described in Article
               6.A. of this Manual considers a PCTS member out of line for promotion.

           (3) Promotion after Selection by Second Board. A member of the PCTS who has once
               failed selection and is recommended for promotion by a subsequent board shall be
               promoted on the same day as the new running mate defined in Article 3.A.7.a. of this
               Manual.

           (4) Members of the PCTS who Fail Selection for Promotion Two Times. A member of
               the PCTS who fails selection for promotion two times shall fall under the guidelines
               of ADPL officers who fail selection for promotion two times as described in Article
               1.A.12. of reference (c), Military Separations, COMDTINST M1000.4 (series).

3.A.8.
91B        Selecting and Promoting Retired Officers Recalled to Active Duty
3.A.8.a.
39B        Eligibility for Selection for Promotion

           (1) Exceptions for Promoting Retired Recalled Officers. Except in extraordinary
               circumstances, such as wartime recall or urgent service need, retired officers recalled
               to active duty normally are not eligible for promotion to the next higher grade, an
               exclusion the recall order will note.

           (2) Maximum Grade to Which Retired Recalled Officers Can Be Promoted. In all cases
               the highest grade to which retired officers recalled to active duty are eligible for
               promotion is captain.

           (3) Promotion of Retired Recalled Officer Twice Non-Selected for Promotion Prior to
               Retirement. A retired officer who at retirement had once or twice failed selection for
               promotion to the next higher grade is not eligible for promotion if recalled to active
               duty.

           (4) Date of Eligibility of Promotion of a Retired Recalled Officer. If a retired officer
               recalled to active duty is eligible for promotion, they are eligible when their running
               mate is in the promotion zone established for the next higher grade.

3.A.8.b.
394B       Running Mates

           (1) Assigning a Running Mate for a Retired Recalled Officer on the ADPL at Time of
               Retirement. Each retired, recalled officer who at retirement was on the active duty
               promotion list (ADPL) is assigned as a running mate an officer on the ADPL,



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            excluding extra numbers, who occupies the same relative position in grade the retired
            officer did when they retired. The running mate is determined as follows:

            (a) At retirement, count down from the most senior officer in their grade, excluding
                extra numbers, to and including the retiring officer. The number so determined is
                the relative position in grade.

            (b) At recall to active duty, from the most senior officer in the same grade the
                recalled officer held at retirement, count down the same number of officers,
                excluding extra numbers, as determined in Article 3.A.8.b.(1)(a) above. The
                officer so located is the assigned running mate.

        (2) Assigning a Running Mate for a Retired Recalled Officer Not on the ADPL at Time
            of Retirement. Each recalled, retired officer who was not included on the ADPL at
            retirement is assigned as a running mate an officer on the ADPL, excluding extra
            numbers, who occupies the same relative position in grade the retired officer’s
            running mate did when they retired. The running mate is determined in this manner:

            (a) At retirement, from the most senior officer in their grade, excluding extra
                numbers, countdown to and including the retiring officer’s running mate. The
                number so determined is the relative position in grade.

            (b) At recall to active duty, from the most senior officer in the same grade the
                recalled officer held at retirement, count down the same number of officers,
                excluding extra numbers, as determined in Article 3.A.8.b.(2)(a) above. The
                officer so located is the assigned running mate.

        (3) Assigning a New Running Mate. A recalled, retired officer whose running mate
            changes their relative position or is removed from the active duty promotion list for
            any reason is assigned as a new running mate the ADPL officer next senior to the old
            running mate; however, if the former running mate was the senior officer in their
            grade, the new running mate is that grade’s new senior officer.

        (4) Assigning a New Running Mate Upon Non-Selection for Promotion. A recalled,
            retired officer who fails selection for promotion the first time is assigned as a new
            running mate the next senior officer in the same grade on the ADPL who failed
            selection for promotion to the next higher grade the first time. If no officer senior to
            them has failed selection for the first time, they are assigned as a running mate that
            grade’s senior officer on the ADPL who has so failed; if no officer in that grade has
            failed selection for the first time, the recalled officer takes as a running mate that
            grade’s senior officer on the ADPL who has not previously been in a Promotion zone
            until an officer fails selection for the first time. If their current running mate also has
            failed selection for the first time, a recalled, retired officer who fails selection for the
            first time retains that officer as running mate. If their current running mate is selected
            promoted while a recalled, retired officer is out of the line of promotion, they are
            assigned a new running mate under the procedure described here.




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                  (5) Assigning a New Running Mate Upon Selection for Promotion by a Second Board.
                      A recalled, retired officer who fails selection once and whom a second board
                      recommends for promotion on being promoted under Article 3.A.8.e. of this Manual
                      is assigned a new running mate who is that grade’s junior officer on the ADPL on the
                      promotion date.

3.A.8.c.
395B              Selection Boards

                  Article 6.A. of this Manual describes the convening process for selection boards to
                  recommend recalled, retired officers for promotion to the next higher grade.

3.A.8.d.
396B              Failure of Recommendation for Promotion

                  (1) Out of Line of Promotion. A recalled, retired officer not recommended for promotion
                      is out of the line of promotion for one year from the date the Secretary approves the
                      board report.

                  (2) Second Board’s Consideration. A second board, convened as Article 6.A. of this
                      Manual describes, shall consider recalled, retired officers placed out of line of
                      promotion.

                  (3) Failure of Selection by Second Board. A recalled, retired officer whom a second
                      board does not recommend for promotion then has failed selection twice, is not
                      thereafter eligible for promotion, and returns to retired status not later than 30 June of
                      the promotion year in which their second failure of selection occurs.

397B   3.A.8.e.   Promotion

                  (1) List of selectees. When the report of a board convened to recommend recalled,
                      retired officers for promotion has been approved, the officers so selected shall be
                      placed on a list of selectees in the order of their seniority.

                  (2) After Selection by First Board. A recalled, retired regular officer recommended for
                      promotion is promoted on the date their running mate is promoted or as soon after as
                      the Senate consents to their appointment under the procedures of Article 3.A.12. of
                      this Manual.

                  (3) After Selection by Second Board. One year after the Secretary approves the first
                      board that considered them, a recalled, retired officer whom a second board
                      recommends for promotion shall be promoted to the next higher grade, or, if a retired
                      regular officer, as soon after as the Senate consents to their appointment.

                  (4) Removal from List of Selectees. The Secretary may remove a recalled, retired officer
                      from a list of selectees in the same manner as the President may remove an officer on
                      the ADPL; the effect on their status and continued eligibility for promotion is the
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                      same. (See Article 3.A.4. of this Manual.)




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3.A.9.         Selecting and Promoting the Coast Guard Band Director

3.A.9.a.
398B           Running Mate

               The Director of the Coast Guard Band shall be assigned a running mate similarly as
               prescribed in 14 U.S.C. § 726 for reserve officers.

3.A.9.b.
39B            Eligibility for Promotion

               The highest grade to which the band director can be promoted is captain (14 U.S.C. §
               336). The band director is eligible for selection for promotion to the next higher grade
               when their running mate is in that grade’s established promotion zone.

3.A.9.c.
40B            Selection Board

               A selection board to recommend the band director for promotion to the next higher grade
               shall be convened as Article 6.B.7. of this Manual describes.

3.A.9.d.
401B           Promotion

               When a board recommends the band director for promotion, they shall be promoted on
               the date their running mate is promoted or as soon after as the Senate consents to their
               appointment. (See Article 3.A.12. of this Manual.)

3.A.9.e.
402B           Failing Recommendation for Promotion

               (1) Not Recommended for Promotion by First Board. If the board does not recommend
                   the band director for promotion, they are out of line of promotion for one year from
                   the date the Commandant approves the board.

               (2) Convening a Second Board. A second board convened, as Article 6.A. of this Manual
                   describes, will consider the band director for promotion.

               (3) Recommended for Promotion by Second Board. If the second board recommends the
                   band director for promotion and the Commandant approves the board, they shall be
                   promoted to the next higher grade one year from the date of approval of their first
                   board or as soon after as the Senate consents to their appointment.

3.A.10.
93B            Wartime Temporary Service Promotions

3.A.10.a.
403B           Presidential Suspension

               In time of war or national emergency declared by the President or Congress, the President
               may suspend any provision in this Article governing selecting and promoting officers.
               Such a suspension may continue up to six months after the war or national emergency
               concludes.



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3.A.10.b.
40B                Presidential Authority

                   If any provisions on selecting and promoting officers are so suspended and service needs
                   require, the President may prescribe regulations and under them promote to a higher
                   grade any active duty Coast Guard officer serving as ensign or higher.

3.A.10.c.
405B               Promotion to Lieutenant Commander and Above

                   A promotion under this Article to lieutenant commander and above may be made only on
                   the recommendation of a board of officers convened for that purpose.

3.A.10.d.
406B               Scope of Presidential Authority

                   Any promotion under this Article is an appointment for temporary service. Under this
                   Article, the President, by and with the advice and consent of the Senate, makes any
                   appointment to a grade above captain. Any other appointments under this Article shall be
                   made by the President alone.

3.A.10.e.
407B               Terms of Acceptance

                   Unless expressly declined, an appointment under this Article is regarded as accepted and
                   the officer so promoted entitled to the appointed grade’s pay and allowances on the date
                   the Secretary specifies as the appointment date.

3.A.10.f.
408B               Scope of Appointment

                   An appointment under this Article does not terminate any other appointment an officer
                   holds under any other provisions of 14 U.S.C. The President may terminate temporary
                   appointments made under this Article at any time. An appointment made under this
                   Article is effective for as long as the President determines. However, the appointment
                   may not be effective later than six months after the war or national emergency ends.
                   When the officer's temporary appointment under this Article is terminated or expires,
                   they revert to their former grade.

409B   3.A.10.g.   Reestablishing the Active Duty Promotion List

                   Within six months after the war or national emergency ends, the President shall prescribe
                   regulations to reestablish the ADPL with adjustments and additions appropriate to the
                   conditions of original appointment and wartime service of all officers included on it. By
                   and with the Senate’s advice and consent, the President may appoint officers on the
                   reestablished ADPL to fill vacancies in each grade’s authorized active duty strength.
                   Such appointments shall be considered to have been made under Article 3.A.4. of this
                   Manual. (14 U.S.C. § 275).
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3.A.11.            Procedures to Permanently Appoint Reserve and Temporary Officers

3.A.11.a.
410B               Appointments

                   With the advice and consent of the Senate, the President shall appoint temporary officers
                   (except those appointed under the chief warrant officer to lieutenant program) and reserve
                   officers selected for integration as permanent regular officers. Commander (CG PSC-
                   OPM-1) will transmit appointment letters via the chain of command for delivery to the
                   officer concerned (14 U.S.C. § 211).

3.A.11.b.
41B                Acceptance

                   An appointment as a permanent commissioned officer becomes effective only when the
                   officer concerned accepts the appointment by completing the Acceptance and Oath of
                   Office, Form CG-9556, to indicate acceptance; an additional letter is not required.

412B   3.A.11.c.   Oath of Office

                   An oath of office is required; for this purpose, Commander (CG PSC-OPM-1) transmits
                   the Acceptance and Oath of Office, Form CG-9556, with the appointment letter. The
                   officer shall not execute the oath of office before the date of rank specified in the
                   appointment letter. After completing the oath, the officer forwards the original to their
                   Administration Office and one copy to Commander (CG PSC-OPM-1).

413B   3.A.11.d.   Pay and Allowances

                   The pay and allowances of officers appointed under this Article remain unchanged since
                   the appointments are in the grade in which the officers are serving or a lower grade.

41B    3.A.11.e.   Physical Examination

                   A physical examination is not required for officers serving on active duty.

415B   3.A.11.f.   Delaying Appointment

                   An officer’s records, available at Commander (CG PSC-BOPS-C-MR), are complete
                   only up to the date of the latest officer evaluation report; more than six months may
                   elapse between that date and when an appointment letter is issued. Therefore, each
                   officer in the chain of command is responsible for delaying an appointment letter if, in
                   their knowledge, the appointee has disqualified themselves in the elapsed interval.
                   Delaying an appointment letter consists of returning it to Commander (CG PSC-OPM-1)
                   together with a succinct explanation of the circumstances which prompted the action. A
                   disqualification here means any circumstance which casts serious doubt on the moral or
                   professional qualifications of the officer concerned for appointment as a permanent Coast
                   Guard officer.




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3.A.11.g.
416B               Discharge from Warrant, Enlisted, or Reserve Status

                   Members holding chief warrant officer, enlisted, or reserve status who accept permanent
                   appointment are discharged from their permanent status on accepting the appointment
                   effective as of the day preceding that on which they execute the oath of office. See
                   Article 1.A.2. of reference (c), Military Separations, COMDTINST M1000.4 (series).


3.A.12.
95B                Procedures to Promote Officers

3.A.12.a.
417B               Promotions

                   Under this Article, the President, by and with the advice of the Senate, promotes all
                   regular officers to the grades of lieutenant commander and above and all integrated
                   reserve officers to the grades of commander and above. The President alone promotes
                   regular officers to lieutenant and below and integrated reserve officers to lieutenant
                   commander and below. Promotions are authorized in this manner. Commander (CG
                   PSC-OPM-1) publishes the Officer Promotion Authorization Listing (OPAL) monthly by
                   general message. The OPAL authorizes commanding officers or officers exercising
                   administrative control to promote commissioned officers, ensign through captain, and
                   chief warrant officers to the next higher grade. A letter from the Commandant authorizes
                   flag officer promotions; the OPAL announces them. In all cases, either a copy of the
                   OPAL or the letter authorizing the promotion shall be delivered to the officer concerned.

418B   3.A.12.b.   Acceptance

                   Unless they expressly decline the promotion within five days after receipt, an officer
                   promoted under this Article is considered to have accepted the promotion on its effective
                   date.

419B   3.A.12.c.   Oath of Office

                   An officer who has served continuously since they subscribed to the oath of office
                   prescribed in 5 U.S.C. § 3331 is not required to take a new oath on promotion to a higher
                   grade (14 U.S.C. 273).

420B   3.A.12.d.   Pay and Allowances

                   An officer promoted under this Article is entitled to the pay and allowances of the grade
                   to which promoted as of the effective date listed in a promotion letter or the OPAL
                    (14 U.S.C. § 274).

421B   3.A.12.e.   Physical Examination

                   A physical examination is not required in promoting an officer to the next higher
                   commissioned grade.




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3.A.12.f.
42B            Delaying Promotion

               Each officer in the chain of command or Commander (CG PSC-OPM) is responsible for
               delaying a promotion if they know the appointee has disqualified themselves after being
               placed on a promotion list. Disqualification here means any circumstance which casts
               doubt on the moral or professional qualifications of the officer concerned, including
               pending action by a board of officers, courts-martial, or investigative proceedings (14
               U.S.C. § 271(f)). The following actions will take place in this event:

               (1) Reporting Requirement. A complete report of the circumstances recommending
                   removing the selectee from the promotion list under Article 3.A.4. of this Manual
                   shall be sent to Commander (CG PSC-OPM). If the promotion letter is used for
                   notification, include it if received; a copy of the OPAL need not be included. The
                   selectee shall be furnished a copy of the report and required to acknowledge receipt.
                   Attach a signed copy of the acknowledgment as an enclosure to the report.

               (2) Notification Requirement if Initiated by CG PSC. If Commander (CG PSC-OPM)
                   initiates delaying a promotion, they shall advise the officer concerned in writing of
                   the reasons for so doing and require acknowledgment of receipt.

               (3) Board of Officers. The Commandant shall refer the case to a board of officers to
                   recommend to the President whether to remove the selectee from the promotion list.
                   The officer concerned will be afforded 10 calendar days notice of the proceedings,
                   and may communicate by memorandum to the board via Commander (CG PSC-
                   OPM-1) in accordance with Article 3.A.6.h. of this Manual.

               (4) Board Findings and Subsequent Actions. The president of the board will forward a
                   report of the board proceedings containing a recommendation to the Commandant on
                   whether or not the officer should be promoted, along with reasons for the
                   recommendation. If the Commandant finds removal from the promotion list
                   appropriate, they will forward the report with endorsements to the Secretary of
                   Homeland Security (acting as the alter ego of the president), who is the final
                   reviewing authority. If the Commandant determines that removal is inappropriate,
                   the case is closed, and the promotion delay cancelled.


3.A.13.
96B            Frocking Officers Selected for the Next Higher Grade

3.A.13.a.
423B           Conditions for Frocking

               Under the authority of 10 U.S.C. § 777, the Commandant may frock Coast Guard
               officers; i.e., authorize a brevet to the grade to which selected but not yet promoted.
               These officers may be considered for "frocking" under these circumstances:

               (1) Assignment to Another Agency or Service. The higher grade is necessary to clearly
                   establish the officer's position when they report to another agency or service for duty.




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                   (2) To Attain Government Quarters. The higher grade is necessary to ensure the officer
                       is assigned government quarters commensurate with the grade in which they will
                       serve.

                   (3) To Maintain Coast Guard Image. In selected instances in which the officer is ordered
                       to a command billet of the higher grade for which they have been selected and the
                       higher grade is desired to maintain the Coast Guard's image in an area where they are
                       the senior Coast Guard officer.

                   (4) Essential to Carrying Out Duties. In selected instances when the higher rank is a
                       significant factor in establishing the officer’s stature and enhances their ability to
                       successfully carry out their duties.

42B    3.A.13.b.   Commands Authorized to Request Frocking

                   Flag officers, SESs, and commanding officers of Headquarters units may request
                   authority from Commander (CG PSC-OPM) or (CG PSC-RPM) to frock officers under
                   their cognizance who meet any one of these requirements.

425B   3.A.13.c.   Frocking Procedure

                   Captain and commander assignment panels recommend to Commander (CG PSC) those
                   officers who, in the panel’s opinion, should be frocked to the next higher grade in
                   conjunction with their future assignments. The general message announcing the panel
                   results will note frockings approved in conjunction with assignment panels. Approved
                   frockings generally are effective when the officer detaches from their current assignment;
                   however, the official transfer orders issued by Commander (CG PSC-OPM-2) or (CG
                   PSC-RPM-2) will contain actual authority.

426B   3.A.13.d.   Effective Dates

                   Officers selected for promotion who will be entitled to dates of rank earlier than the date
                   the particular board is approved, either due to action of the Board for Correction of
                   Military Records or to correct administrative error (14 U.S.C. § 262), will be frocked to
                   the grade for which selected effective 10 days after Commander (CG PSC-OPM) or (CG
                   PSC-RPM), as applicable, receives Senate confirmation (lieutenant commander and
                   above) or Presidential appointment authority (below lieutenant commander). Also,
                   regular ensigns selected to lieutenant (junior grade) will be frocked, if required, when
                   they complete the necessary time in grade. Commander (CG PSC-OPM-1) will perform
                   these actions; they need not be separately requested.

427B   3.A.13.e.   Benefits

                   (1) General. Frocked officers are authorized to:

                      (a) Assume the title and wear the insignia of the grade to which frocked.




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           (b) Housing commensurate with the grade to which frocked.

           (c) A new Armed Forces Identification Card, , to reflect the higher grade, as outlined
               in Personnel and Pay Procedures Manual, PPCINST M1000.2 (series).

        (2) Pay, Allowances, and Travel Entitlements. Pay, allowances, and travel entitlements
            accrue at the lower permanent grade. The higher grade’s pay and allowances accrue
            from the effective date listed in the promotion letter or the OPAL as outlined in
            Article 3.A.12. of this Manual.

        (3) Officer Evaluation Reports (OER). Officer evaluation reports continue to be
            submitted in the lower permanent grade as outlined in Article 5.A. of this Manual.

        (4) Disciplinary Powers. Frocking does not authorize increased disciplinary powers
            under Article 15, Uniform Code of Military Justice (UCMJ).

        (5) Time in Grade. Time in grade for determining retirement eligibility is computed from
            the appointment date, not the frocking date.




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3.B.
1B            Promoting Chief Warrant Officers

3.B.1
97B           Reserved
The content of this section has been relocated to a new Directive, Appointing Warrant Officers,
COMDTINST M1420.1.


3.B.2
98B           Reserved
The content of this section has been relocated to a new Directive, Appointing Warrant Officers,
COMDTINST M1420.1.




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3.B.3
9B                Selection Process
3.B.3.a
432B              Reserved

                  The content of this section has been relocated to a new Directive, Appointing
                  Warrant Officers, COMDTINST M1420.1 (series).

3.B.3.b.
43B               Promotion Zone (10 U.S.C. § 574)

                  The promotion zone for the next higher grade will include all warrant officers who will
                  have completed three years time in grade by 15 December of the promotion year in
                  which the selection board convenes. Commander (CG PSC) will announce promotion
                  zones via message.

3.B.3.c.
43B               Communication with Selection Boards (10 U.S.C. § 573(f))

                  (1) General. Individuals eligible for consideration by a selection board may
                      communicate directly with the board by letter arriving by the date the board
                      convenes, inviting attention to any matter in their Armed Forces record. A letter sent
                      under this paragraph may not criticize any officer or reflect on any officer’s character,
                      conduct, or motive (10 U.S.C. § 573(f)).

                  (2) Correspondence Contents. Correspondence to the board shall be in care of
                      Commander (CG PSC-OPM-1). Chain of command endorsements are optional. The
                      only enclosures or attachments permitted are copies of official records and materials
                      allowed to be submitted with officer evaluation reports under Article 5.A.4.c.(3) of
                      this Manual. Do not solicit or submit as enclosures letters from other officers. To
                      receive an acknowledgment, submit a completed, self-addressed Interim Response,
                      Form CG-4217, with the letter.

                  (3) Composition of Endorsements. Endorsements to letters submitted to selection boards
                      shall not include opinions whether an individual should be selected for promotion or
                      opinions on selection boards and their methods.

435B   3.B.3.d.   Convening of Selection Boards (10 U.S.C. § 573)

                  When service needs dictate, the Commandant shall convene a selection board to
                  recommend eligible active duty warrant officers for promotion. The schedule of board
                  convening dates shall be published annually in reference (h), Schedule of Active Duty
                  Promotion List (ADPL) and Inactive Duty Promotion List (IDPL) Officer Personnel
                  Boards and Panels, PSCNOTE 1401.5 (series).




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3.B.3.e.
436B       Composition of Boards (10 U.S.C. § 573)

           The board shall consist of at least five officers on the active duty promotion list above the
           permanent grade of lieutenant commander. Warrant officers, senior in grade to those
           under consideration, may be assigned as additional members of the selection board. No
           officer may serve on two consecutive boards if the second board considers any warrant
           officer who was considered by the first board. When reserve warrant officers are to be
           considered by the selection board, the membership of the board shall, if feasible, include
           at least one reserve officer.

3.B.3.f.
437B       Oath of Members of the Board (10 U.S.C. § 573)

           Members of the selection board shall swear that they will, without prejudice or partiality
           and having in view both the special fitness of officers and the efficiency of the Coast
           Guard, perform the duties imposed upon them.

3.B.3.g.
438B       Information to be Furnished to Boards (10 U.S.C. § 576)

           Commander (CG PSC) shall furnish the selection board with a precept containing:

           (1) The maximum number of officers that the board may recommend for promotion to
               the next higher grade,

           (2) The names and records of all chief warrant officers who are eligible for consideration
               for promotion to the grade to which the board will recommend chief warrant officers
               for promotion, and

           (3) Such information and guidelines relating to the needs of the Coast Guard for chief
               warrant officers having particular skills.

3.B.3.h.
439B       Number to be Selected (10 U.S.C. § 576)

           (1) The maximum number of warrant officers who may be selected for promotion to W-3
               or W-4 shall be prescribed by the Commandant.

           (2) If a board is unable to select the number of warrant officers established by the
               Commandant because an insufficient number are determined to be fully qualified,
               only those officers who are found fully qualified for promotion may be recommended
               for promotion.

3.B.3.i.
40B        Finding Unfit or Unsatisfactory Performance (10 U.S.C. § 576)

           The selection board shall report the names of those chief warrant officers considered by
           it, whose records and reports establish, in its opinion, their unfitness or unsatisfactory
           performance in their permanent regular grade. The selection board will fulfill the
           requirements of a special board as outlined in Article 1.A.20.b. of reference (c), Military




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                  Separations, COMDTINST M1000.4 (series). Warrant officers found unfit or
                  unsatisfactory in their performance of duty by the selection board shall be referred to an
                  evaluation board convened under the guidelines of Article 1.A.20.c. of reference (c),
                  Military Separations, COMDTINST M1000.4 (series).

41B   3.B.3.j.    Procedures for Boards Considering Chief Warrant Officers on Both a Fully
                  Qualified and a Best Qualified Basis (10 U.S.C. § 575)

                  (1) Board Guidance. Boards convened to consider chief warrant officers on a fully and
                      best qualified basis for promotion shall refer to the guidelines in Article 6.A.7. of this
                      Manual and may not recommend more than the number specified in the precept.

                  (2) Findings of Not Fully-Qualified. In addition to the names and reasons for those
                      found unsatisfactory pursuant to Article 3.B.3.i. of this Manual, the names of those
                      officers found not fully-qualified, as well as the reasons for the findings, shall be
                      included if less than the number specified in the precept are selected. In arriving at
                      these recommendations, the criteria in Article 6.A.7. of this Manual shall be followed.

                  (3) Board Report. The board shall submit a report as provided in Article 6.A.7. of this
                      Manual.

42B   3.B.3.k.    Selection Board Reports

                  (1) Commandant’s Authority. The Commandant may approve or disapprove all or part
                      of the report. The Commandant shall determine whether the board acted contrary to
                      law or regulation. If the Commandant determines that the board acted contrary to law
                      or regulation, the Commandant shall return the report to the board for further
                      proceedings, together with a written explanation of the determination. The selection
                      board shall then conduct such proceedings as may be necessary to comply with the
                      law and regulations, and shall submit a revised report to the Commandant (10 U.S.C.
                      § 576).

                  (2) Appointment Process. When the Commandant approves the selection board report,
                      the Commandant shall place the names of the chief warrant officers approved for
                      promotion on a single promotion list for each grade in order of their seniority and
                      submit the list to the Secretary for their appointment by the President (10 U.S.C. §
                      578).

43B   3.B.3.l.    Failure of Selection (10 U.S.C. § 577)

                  A warrant officer who is not recommended for promotion is considered to have failed of
                  selection. The date of failure of selection for promotion is the date the Commandant
                  approves the report of a selection board not recommending the promotion or the date the
                  name of the officer concerned is removed from a promotion list.




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3.B.3.m.
4B               Effective Date of Promotion

                 Except in the case of a previous failure of selection for promotion, the date of
                 appointment and the date of rank for promotion to W-3 or W-4 is as follows:

                 (1) W-2 to W-3. Four years from date of appointment as W-2. For example, a W-2
                     appointed on 1 June 2001 would be promoted to W-3 on 1 June 2005.

                 (2) W-3 to W-4. Four years from date of appointment as W-3. For example, a W-3
                     appointed on 1 June 2004 would be promoted to W-4 on 1 June 2008.

                 Note: Determining the date of rank of a chief warrant officer who has previously failed
                       selection is outlined in Article 3.B.4. of this Manual.

3.B.4.
10B              Consideration by the Next Annual Selection Board
3.B.4.a.
45B              General (10 U.S.C. § 577)

                 Warrant officers who once fail of selection shall be considered by each later selection
                 board that considers chief warrant officers in their grade until they are retired, separated,
                 or selected for promotion. Unless retained under the provisions of 10 U.S.C. § 580(a) or
                 10 U.S.C. § 580(e), a warrant officer who twice fails selection for promotion is not
                 eligible for further consideration for promotion.

46B   3.B.4.b.   Selection by Subsequent Board (10 U.S.C. § 578)

                 The name of each warrant officer who failed selection while in the zone, and who is
                 selected by a subsequent selection board, shall be placed on the new list prepared by the
                 current board in order of existing seniority. Officers in this category shall be tendered
                 appointment either one year after the date they would have been appointed had they been
                 selected by the board immediately preceding the current board or the earliest date on
                 which any warrant officer who has not failed selection and whose name follows theirs on
                 the approved promotion list is promoted to the higher grade, whichever is earlier. The
                 member’s date of rank shall be the date of their promotion to the higher grade. A warrant
                 officer not in the zone who is considered in accordance with Article 1.A.2.b. of reference
                 (c), Military Separations, COMDTINST M1000.4 (series) shall not lose numbers until
                 they enter the zone.

47B   3.B.4.c.   Failure of Selection by Subsequent Board (10 U.S.C. § 580)

                 (1) Retirement Eligible. Unless continued, retired, or separated under some other
                     provisions of law, a retirement eligible chief warrant officer who has twice failed
                     selection for promotion to the next higher chief warrant officer grade shall be retired
                     not later than the first day of the seventh month after approval of the findings of the
                     board. Mandatory retirement will be effected under the provisions of 10 U.S.C. §
                     580, unless the officer concerned requests voluntary retirement under 10 U.S.C. §




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           1293. At the request of the member, the Commandant may defer the retirement of a
           warrant officer who twice fails selection for promotion to the next higher grade if the
           officer is serving in a temporary grade above chief warrant officer. When the warrant
           officer is retired or separated, the officer's commission in the temporary grade above
           chief warrant officer shall be terminated on the date the officer is retired or separated.
           In accordance with the provisions of 14 U.S.C. § 334, the officer shall be retired with
           the highest commissioned grade above chief warrant officer, W-4, held by them for
           not less than six months in which, as determined by the Coast Guard, the officer's
           performance of duty was satisfactory.

        (2) 18 Years Service. Unless continued, retired, promoted, or separated under another
            provision of law, a regular chief warrant officer who twice fails selection for
            promotion to the next higher grade and who has 18 years of service:

           (a) On the date the Secretary approves the report of the board that did not select the
               officer for promotion to the next higher grade a second time,

           (b) The date the officer's name is removed from the list of officers recommended for
               promotion by the selection board,

           (c) The date the officer's name is removed from the promotion list, or

           (d) Pursuant to 10 U.S.C. § 580(a)(4)(C), the date on which the officer would
               otherwise be separated 10 U.S.C. § 580(a)(4)(A), shall be retired on the first day
               of the month immediately following the month in which the officer completes 20
               years of active service creditable for retirement. Such a warrant officer remains
               eligible to be considered for promotion by subsequent selection boards, and shall
               not be retired if the officer is selected for promotion prior to the retirement date.

        (3) Fewer Than 18 Years Service. Unless promoted, continued, discharged, or retired
            under another provision of law, a warrant officer who has fewer than 18 years service
            creditable for retirement, shall be discharged for twice failing of selection to the next
            higher grade on the first day of the seventh month following the date on which the
            report of the board is approved, the date on which the officer's name is removed from
            the recommended list of selectees, or the date on which the officer's name is removed
            from the promotion list, whichever applies.

        (4) Selected for Continuation. A regular warrant officer who twice fails selection for
            promotion may be continued on active duty if selected for continuation by a selection
            board. The Commandant will determine whether a service need exists for warrant
            officers who twice fail of selection for promotion, and provide authority for their
            retention in the precept convening a selection board. The precept shall fix the
            maximum number of such officers that may be recommended for retention, and the
            period of retention. Officers continued on active duty pursuant to the
            recommendation of a selection board continue to be eligible for consideration for
            promotion. If not sooner retired or discharged under another provision of law, an




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                     officer who is continued shall be discharged, or retired if eligible, upon the expiration
                     of the period of continued service, unless promoted, on an approved list of selectees
                     for promotion, continued pursuant to the recommendation of a subsequent selection
                     board approved by the Commandant, or is within two years of qualifying for
                     retirement under 10 U.S.C. § 1293.

3.B.5.
10B               Removal from a Promotion List

3.B.5.a.
48B               General (10 U.S.C. § 576(d))

                  When information of an adverse nature is received concerning a warrant officer
                  subsequent to having been recommended for promotion by a selection board, but before
                  an appointment letter has been tendered, or when an appointment letter is returned by an
                  officer in the chain of command who deems the officer unqualified for the appointment,
                  the name of the warrant officer shall be referred to a board in accordance with Article
                  1.A.20.b. of reference (c), Military Separations, COMDTINST M1000.4 (series). If the
                  officer is found unfit or unsatisfactory, the warrant officer's name will also be referred to
                  an evaluation board in accordance with Article 1.A.20.c. of reference (c), Military
                  Separations, COMDTINST M1000.4 (series) unless the officer has fewer than three years
                  as a commissioned warrant officer, then Article 1.A.19. of reference (c), Military
                  Separations, COMDTINST M1000.4 (series) applies.

49B    3.B.5.b.   Consideration by the Next Board (10 U.S.C. § 579)

                  A warrant officer whose name has been removed from the list of selectees pursuant to
                  Article 3.B.5.a. of this Manual shall be considered for promotion by the next regularly
                  scheduled selection board. If selected by this board, the warrant officer's name shall be
                  replaced without prejudice on the list from which it was removed. The date of rank is the
                  date it would have been had the member's name not been removed; pay and allowances
                  accrue from the date of rank. If the warrant officer is not selected for promotion by this
                  board, the officer shall be considered to have twice failed selection for promotion, and
                  shall be retired or separated as outlined in Article 3.B.4. of this Manual.

3.B.6.
102B              Procedures for Effecting Promotion of Warrant Officers

3.B.6.a.
450B              Promotions

                  The Officer Promotion Authorization Listing (OPAL) will be used to promote chief
                  warrant officers to the next higher permanent grade (W-3 and W-4).

3.B.6.b.
451B              Withholding Promotion

                  It is the responsibility of each officer in the chain of command or Commander (CG PSC),
                  to withhold the promotion of a chief warrant officer if there is knowledge that they have
                  disqualified themselves after being placed on a promotion list. Disqualification, as used
                  herein, is deemed to be any circumstance which casts doubt on the moral or professional



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                  qualifications of the warrant officer concerned. This includes pending action by a board
                  of officers, courts-martial, or investigative proceedings. The withholding of a promotion
                  by the command shall consist of the following action:

                  (1) Contact Commander (CG PSC-OPM-1) by the most rapid means available to execute
                      the appropriate pay action.

                  (2) Return the appointment letter to Commander (CG PSC-OPM-1).

                  (3) Provide a complete written report of the reason for withholding the promotion to
                      Commander (CG PSC-OPM-1). The warrant officer concerned shall be furnished a
                      copy of the report and shall be required to acknowledge receipt. A signed copy of the
                      acknowledgment shall be attached as an enclosure to the report.

                  Note: If Commander (CG PSC) initiates withholding a promotion, the chief warrant
                        officer shall be notified in writing of the reason(s) thereof and be required to
                        acknowledge receipt. Upon completion of the notification action, the board
                        action outlined in Article 3.B.5. of this Manual will be initiated.

452B   3.B.6.c.   Acceptance

                  Acceptance of promotion to the next higher grade is considered accomplished unless
                  specifically declined within five days after receipt. A new oath shall not be administered.

3.B.6.d.
453B              Physical Examinations

                  A physical examination is not required for promotion of chief warrant officers serving on
                  active duty.

3.B.7.
103B              Selection and Promoting Retired Warrant Officers Recalled to Active Duty

3.B.7.a.
45B               Eligibility for Selection for Promotion

                  (1) Exceptions for Promoting Retired Recalled Warrant Officers. Except in
                      circumstances such as wartime recall or cases of urgent service need, retired warrant
                      officers recalled to active duty shall not normally be eligible for promotion to the next
                      higher grade. This exclusion will be noted in the recall order.

                  (2) Promotion of Retired Recalled Warrant Officer who was Twice Non-Selected for
                      Promotion Prior to Retirement. A retired warrant officer who at the time of
                      retirement had once or twice failed selection for promotion to the next higher grade
                      shall in no case be eligible for promotion if recalled to active duty.




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3.B.7.b.
45B        Selection

           Under the circumstances noted above, when a board is convened, eligible retired warrant
           officers recalled to active duty will be considered for promotion by the warrant selection
           board consisting of five or more officers in the grade of commander or above convened
           for that purpose. Warrant officers, senior in grade to those under consideration, may be
           assigned as additional members of the selection board. Consideration for promotion will
           be on a fully qualified basis.

3.B.7.c.
456B       Failure of Selection

           Any retired warrant officer recalled to active duty who fails selection for promotion shall
           be returned to the retired list not later than the first day of the seventh month after the
           date the selection board is approved by the Commandant.

3.B.7.d.
457B       Promotion

           Promotion of retired warrant officers will be per the provisions of Article 3.B.6. of this
           Manual.

3.B.8.     Reserved

           Policies and Standards for conducting the Selective Early Retirement Boards
           (SERB) for warrant officers have been moved to Reference (c).




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3.B.9.
105B        Lateral Change in Warrant Specialty
            A request for lateral change in warrant officer specialty will be considered on its own
            merits, and a lateral change in specialty will be authorized only in those unique cases
            where it is clearly in the best interests of the service to do so.

3.B.10.
106B        Appointing Chief Warrant Officers as Temporary Officers (              107B   14 U.S.C. §
            214)

3.B.10.a.
46B         General

            The primary objective of this program is to improve the inventory of officers in the
            middle grades in certain occupational fields where the special skills and experience of
            warrant officers are needed to round out the experience of the total officer population. A
            secondary objective is to provide a limited opportunity for upward mobility for deserving
            senior members of the warrant officer corps.

            (1) Appointments Based on Needs of the Service. The program will be responsive to the
                needs of the service, limited in scope, and highly selective. Appointments will not
                necessarily be apportioned among all warrant officer specialties. The exact numbers
                and specialties will be determined annually based on projected service needs and after
                considering the impact on critical enlisted ratings, officer promotion rates, and
                Officer Candidate School inputs.

            (2) Temporary Appointment. Selected applicants will be offered appointments as
                temporary regular officers and placed on the active duty promotion list in accordance
                with the provisions of Article 3.A.2. of this Manual. Permanent appointments will
                not be tendered to officers appointed under this program until the officer is selected
                by their first best-qualified promotion board and subsequently requests integration in




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                  accordance with Article 1.A.8. of this manual. Selectees who do not integrate will
                  continue to be eligible for promotion in their permanent warrant officer grade as set
                  forth in Article 3.B.3. of this Manual.

3.B.10.b.
467B           Obligated Service

               Appointees are obligated by acceptance of the appointment to serve as temporary officers
               for three years from date of appointment.

3.B.10.c.
468B           Assignments

               Officers appointed as temporary lieutenants will be assigned to duty within the primary
               occupational field for which they were selected and will not normally be rotated out of
               such duty.

3.B.10.d.
469B           Reversion

               Requests to revert from a temporary grade to a permanent warrant grade will normally be
               disapproved unless unique needs of the service support the reversion. Warrant officers
               who accept temporary appointments to lieutenant may revert to their warrant grade if
               twice non-selected for promotion; however, those officers approved for reversion to their
               former warrant officer grade, who were appointed to a higher warrant grade subsequent
               to their appointment to lieutenant, must serve two years time in grade as required by
               Article 1.C.9. of reference (c), Military Separations, COMDTINST M1000.4 (series).

3.B.10.e.
470B           Retirement

               (1) Upon 30 Years Service. Upon completion of 30 years service, officers appointed
                   under this program who do not integrate, as outlined in Article 1.A.8.a. of this
                   Manual, shall be retired pursuant to 10 U.S.C. § 1305, in the highest grade
                   satisfactorily held as outlined in 14 U.S.C. § 334 and 10 U.S.C. § 1371.

               (2) Twice Fail Selection. Lieutenants who twice fail selection for lieutenant commander
                   will be retired, or if they request, reverted to their chief warrant officer grade.

3.B.10.f.
471B           Original Appointment of Temporary Officers (14 U.S.C. § 214)

               At such times as the needs of the service dictate, the Commandant shall convene an
               appointment board to recommend eligible warrant officers for appointment to temporary
               lieutenant. Reference (h), Schedule of Active Duty Promotion List (ADPL) and Inactive
               Duty Promotion List (IDPL) Officer Personnel Boards and Panels, PSCNOTE 1401.5
               (series), will publish the convening date of the board. The occupational fields and
               specialties needed for that promotion year will be announced by message.




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3.B.10.g.   Eligibility

            Applications will be considered from chief warrant officers, W-3, W-4, or W-2, who will
            be considered by the W-3 selection board in the same promotion year. However,
            appointments of chief warrant officers W-2 to lieutenant, shall be offered only to those
            whose name appears on a promotion list to W-3. All applicants must have completed at
            least 13 years but not more than 26 years of active duty for retirement, computed to 30
            June following the board. In addition to this active duty service requirement, applicants
            must possess normal color perception, a requirement for all commissioned officers. In
            addition, applicants for the MMS (Deck) and MMS (Engineering) specialties must hold
            qualification (hull inspector and/or machinery inspector) for the specific occupational
            field(s) requested. Qualification letters must be appended to the application/resume.

3.B.10.h.
473B        Application

            Applications may be made for only the occupational field which is related to the warrant
            officer specialty listed in Article 3.B.10.h.(3) of this Manual. If the applicant is serving
            in a warrant specialty which is related to more than one of the occupational fields offered,
            the officer may request consideration for more than one; however, the officer must
            specify the order of preference (i.e,, first and second choice).

            (1) Form and Content. Candidates shall apply via Direct Access e-Resume requesting
                consideration by the CWO to LT selection board. The e-Resume is used to populate
                Direct Access which informs Commander (CG PSC-OPM-1) of the members’
                candidacy. In addition, candidates must apply by memorandum to Commander (CG
                PSC-OPM-1) via their immediate command. The selection board will use the
                candidates’ memorandum as one of the selection criteria. No enclosures to the
                application are permitted with the exception of hull or machinery qualification letters.
                The application/resume shall be submitted in basic Coast Guard memorandum format
                (limited to a maximum of 2 pages, single-sided, single-spaced, 12 point text with 1
                inch margins) and in the following sequence:

               (a) Paragraph 1. The occupational field, or fields (specify preference) for which the
                   candidate is applying.

               (b) Paragraph 2. The historical summary of units assigned as a CWO with the
                   primary and collateral duties assumed for each (listed in chronological order with
                   the most recent first).

               (c) Paragraph 3. A summary of major professional accomplishments including
                   medals, awards, and academic achievements. (List only personal medals and
                   awards. Do not list all ribbons earned.)

               (d) Paragraph 4. A statement addressing the candidate’s reasons for desiring
                   appointment to the grade of lieutenant.




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            (2) Endorsement. The e-interview portion of the e-Resume shall not be completed.
                Endorsements are to be completed as attachments to the letter application. The
                commanding officer's endorsement shall address the applicant's potential to perform
                successfully in the grade of temporary lieutenant and shall include a computation of
                the applicant's total service computed to 30 June following the board. The command
                endorsement is limited to one page.

            (3) Specialties. Chief warrant officers who meet the eligibility requirements of this
                Article may apply to the occupational field or fields that are related to their specialty
                as indicated by Article 2.A.2.b. of this Manual.

3.B.10.i.   Waivers

            Eligibility requirements will not normally be granted. Candidates requesting a
            waiver to eligibility requirements in Article 3.B.10.g of this Manual, must apply by
            memorandum to Commander (CG PSC-OPM-1) as the waiver authority via their
            immediate command. CG-133 is the appeal authority.




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CHAPTER 4            (RESERVED)
                     3B




The content of this chapter, under the previous title of Officer Qualifications, has been relocated
to a new directive, Military Qualifications and Insignia, COMDTINST M1200.1 (series).




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Chapter 5         Officer Evaluation System (OES)
A. Overview. This Chapter states policies and standards for conducting performance evaluations
   for Coast Guard officers.
   1. Purpose. The Officer Evaluation System documents and drives officer performance and
      conduct in accordance with Service values and standards. This information is used to
      support personnel management; primarily selection boards and panels, retention, and
      assignments

   2. Applicability.

       a. All active duty officers in the grade of W-2 to O-6 must receive officer evaluation
          reports (OERs).

       b. All IDPL officers in the grade of W-2 to O-6 must receive officer evaluation reports
          (OERs).

       c. Retired officers recalled to active duty may receive OERs in accordance with Article
          5.M. of this Manual.

       d. Flag officers are managed under a separate system.

       e. Public Health Service (PHS) officers are evaluated under a separate system.

B. Roles and Responsibilities.
   1. Commandant (CG-133) must:

       a. Establish and maintain policy governing OERs.

       b. Provide policy guidance to Commander (CG PSC).

   2. Commander (CG PSC) has overall responsibilities for the OES. Administrative servicing
      of OERs is accomplished by Commander (CG PSC-OPM-3) or Commander (CG PSC-
      RPM-1). Servicing of an officer’s personnel record is accomplished by Commander (CG
      PSC-BOPS-C-MR).

   3. Commander (CG PSC-OPM-3) or Commander (CG PSC-RPM-1) must:

       a. Maintain all forms and issue procedural instructions to implement the policies and
          standards of this Chapter. Make policy recommendations to Commandant (CG-133).

       b. Review and validate OERs for administrative and substantive errors with attention
          given to inconsistencies between the numerical evaluations and written comments (if
          applicable).


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          (1) May return any OER requiring significant correction or redaction to the
              appropriate member of the rating chain.

          (2) Correct OERs containing minor administrative errors or as directed by judicial or
              administrative adjudications without return to the rating chain.

          (3) The review is not intended to question a rating official’s judgment about a
              subordinate’s performance, but to ensure OERs have been prepared in accordance
              with this Chapter’s policies and standards.

          (4) Provide final quality control review of OERs containing substantive errors,
              including “restricted” remarks as outlined in Article 5.I. of this Chapter. Certain
              corrective measures may be taken to expedite validation of OERs, reviewer
              comments, OER replies, and addenda.

        c. Serve as reviewer on an OER in unusual circumstances.

        d. Provide training and guidance:

          (1) on the OES, subject to resource availability.

          (2) to rating chains, both officer and civilian, as requested.

        e. Determine which officers, if any, must use the Office Support Form (OSF), Form CG
           5308.

        f. Grant or deny exceptions to policies and standards as permitted in this Chapter.

        g. Report annually on the health of the OES to Commander (CG PSC). Statistical trends
           and conclusions will be included in the report, plus recommended changes for the
           current year and identification of issues and/or changes under consideration.

        h. Publish Coast Guard Officer Evaluation System Procedures Manual, PSCINST
           M1611.1 (series) to discuss procedure and expanded guidance on OER completion and
           submission.

   4. Commander (CG PSC-BOPS-C-MR) must:

        a. Maintain the validated OER as a part of the Electronically Imaged Personnel Data
           Record (EI-PDR) in accordance with Military Personnel Data Records (PDR) System,
           COMDTINST M1080.10 (series).

        b. Respond to individual inquiries and requests related to those records, including
           missing copies of OERs and requests for copies of reported-on officer’s EI-PDR.



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   5. For this Chapter, commanding officers include area and district commanders, commanders
      of logistics/service centers, commanding officers of Headquarters units and subordinate
      units or organizations, sectors, and cutters. Commanding officers must:

       a. Ensure accurate, fair, and objective evaluations are provided to all officers under their
          command. In using the OER, strict and conscientious adherence to specific wording of
          the standards is essential to realizing the purpose of the evaluation system.

       b. Ensure members of the rating chain carry out their OES responsibilities.

       c. Implement the OES for all Coast Guard officers within their commands.

       d. Designate and publish the command’s rating chains.

       e. Establish procedures that ensure timely submission of OERs. Ensure OERs for officers
          eligible for promotion or panel action are not delayed.

       f. Provide local oversight and accountability for the proper preparation of OERs.
          Commanding officers are encouraged to monitor OERs submitted by the designated
          rating chain within their commands as a means of ensuring consistency.

       g. Require mid-period counseling.

       h. Encourage recurring training, for all officers and civilians with rating chain
          responsibilities within their commands, on OES policies, standards, procedures, and
          forms.

       i. Ensure performance in meeting requirements of the Coast Guard occupational
          health and safety program are documented appropriately and consistently with
          the reported-on officer’s assigned responsibilities and authority. (This Article
          complies with Article 1960.11 of 29 CFR XVII.)

C. OES Standards and Policies. The following standards and policies apply to the entire Chapter,
   unless explicitly amended by another article in this Chapter.
   1. The OES must document every day of an officer’s commissioned, unless they are:

       a. a flag officer,

       b. retired, or

       c. assigned to the Inactive Status List (ISL).

   2. All Reported-on Officers must be counseled on their performance during the reported
      period. The Reported-on Officer is responsible to ensure this session takes place and is
      documented.

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   3. OERs may only be submitted in accordance with, and for occasions listed in, Articles 5.E.
      and 5.F of this Manual.

   4. The period of report must not exceed:

        a. 30 months for officers on a biennial schedule,

        b. 18 months for officers on an annual schedule, and

        c. 12 months on a semiannual schedule.

   5. The only exceptions to Article 5.C.4. of this Manual are:

        a. Duty under instruction (DUINS) OERs (see Article 5.E.8. of this Manual), or

        b. Continuity OERs for the period an IDPL officer is in the Individual Ready Reserve
           (IRR) or Active Standby list (ASL) (see Article 5.E.9. of this Manual).

   6. Periodically, officers may experience circumstances due to a temporary condition which
      result in a limited opportunity to perform. These circumstances may involve specific
      performance restrictions (e.g., those imposed by a medical authority), which require
      restructuring or reassignment of duties. While preferential treatment must not be given,
      the rating chain must ensure these individuals do not receive substandard evaluations
      strictly as a consequence of these circumstances.

   7. The rating chain, in consultation with the health care providers, must establish a
      “reasonable expectation of performance” given the individual’s current circumstances. In
      particular, rating chain must determine whether or not an individual requires reassignment
      to a different work environment and/or restrictions on performing specific types of tasks.
      Additionally, reduced work hours may be necessary. When considering reassignment or
      restructuring of duties, the rating chain must identify service needs which complement the
      temporarily limited abilities of the officer.

   8. Officers who have been frocked (excluding captains serving as flag officers) must follow
      the schedule for their actual pay grade, not for the grade to which they have been frocked.

   9. Officers promoted during a reporting period must follow the submission schedule for the
      promoted pay grade to determine when their next OER is due. The reported-on officer’s
      grade on the occasion of the “promotion of officer” OER is the grade prior to promotion.

   10. Officers with both a temporary and a permanent commission (such as CWO to LT) will
      follow the higher commission’s schedule and standards.




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D. OER Rating Chain. The rating chain is the succession of individuals who are responsible for
   preparing, completing, and reviewing an officer’s OER. Commander (CG PSC) must
   promulgate designation and responsibilities for each member of the rating chain, taking into
   account the nature of the occasion the OER.
   1. For reported-on officers receiving a DUINS OER, rating chains will be individuals within
      the appropriate program managing office. Program managers will designate the rating
      chain for reported-on officers, including captains, assigned to DUINS programs.

   2. For captains receiving a DUINS OER, the reporting officer and reviewer must be a Coast
      Guard flag officer or Coast Guard Senior Executive Service member from the appropriate
      headquarters program managing office.

   3. For captains attending Senior Strategic Groups (SSG), the reporting officer and reviewer
      must be a Coast Guard flag officer, Coast Guard Senior Executive Service member, or
      service equivalent (e.g., Chief of Naval Operations for the CNOS SSG) unless the
      reporting officer is at least equivalent to a Coast Guard flag officer or SES (e.g., White
      House, DHS, other services).

   4. The Coast Guard Judge Advocate General shall be the Reviewer for those Reported-
      on Officers in legal billets without a Judge Advocate in the rating chain as designated
      by the unit commanding officer (e.g., District Staff Judge Advocates).

   5. As required by the Military Justice Act of 2016 to preserve the independent
      judiciary, for all Reported-on Officers who perform collateral duties as a military or
      appellate judge during the period of report, the Judge Advocate General shall
      provide additional comments on the Comments Form, CG-5315, to document
      judicial performance only. For Reported-on officers out of specialty who do not
      perform any collateral duties as a military judge during the period of report, the
      Judge Advocate General will not provide additional comments.

   6. In instances where a rating chain member is unavailable or disqualified to carry out their
      responsibilities and if not already determined by the commanding officer, it is incumbent
      on the reported-on officer to identify the next senior officer in the chain of command that
      an exception to the rating chain may exist and an appropriate substitute for evaluating the
      reported-on officer must be designated and properly documented as a rating chain
      exemption with CG PSC-OPM-3 or CG PSC-RPM-1. This issue should be raised by
      the reported-on officer during the reporting period or within 60 days after the end of the
      reporting period.




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E. Occasions for Regular OERs. A regular OER is a report that qualifies for continuous
   chronological coverage of the reported-on officer’s commissioned service. All OERs listed
   are Regular OERs.
   1. Amount of days. Multiple Articles within Article 5.E. of this Manual reference the
      following days.

        a. All IDPL schedule officers and Annual ADPL schedule officers. 184 days

        b. Semiannual ADPL schedule officers. 92 days

   2. Biennial, annual, or semiannual. Officers must receive biennial, annual, or semiannual
      OERs unless exempted by a policy in Article 5.E. of this Manual.

        a. Submission Schedule. Commander (CG PSC) must promulgate when biennial, annual,
           or semiannual OERs must be submitted, making allowances for differences in pay-
           grade, promotion lists, active duty orders, and any other concerns.

        b. Required Submission. All officers above or in zone for consideration for
           promotion, as announced by Commander (CG PSC), may not delay a scheduled
           biennial, annual, or semiannual OER in favor of a later regular OER. This
           requirement also applies to officers separating from the ADPL competing on the
           IDPL promotion board.

        c. Optional submissions.

          (1) Any officer who received another regular OER, within the time frame specified in
              Article 5.E.1. of this Manual, prior to the required submission may choose not to
              submit a biennial, annual, or semiannual OER submission requirement. This
              includes officers above or in zone for consideration for promotion.

          (2) Officers who are not above or in zone for consideration for promotion and who
              expect to receive another type of regular OER within the time frame specified in
              Article 5.E.1. of this Manual after the biennial, annual, or semiannual OER is due
              may choose not to submit a biennial, annual, or semiannual OER.

          (3) Officers, regardless if the officer is above or in zone, with an approved retirement,
              separation, or resignation letter on file may choose to submit a Continuity OER in
              lieu of a biennial, annual, or semiannual OER in accordance with Article 5.E.9 of
              this Manual.

          (4) Newly commissioned officers who have been at their first unit less than 120 days
              may choose to not submit a biennial, annual, or semiannual OER, provided the
              next regular OER does not exceed the period of report limit in Article 5.C.4. of this
              Manual.

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  3. Change of the Reporting Officer (RO).

     a. Required Submission. Officers must receive this OER when their RO detaches or
        changes in the rating chain and more than the following number of days have elapsed
        since the ending date of the last regular OER:

        (1) Biennial. 365 days or 366 days if it is a leap year

        (2) ADPL and IDPL Annual.184 days

        (3) Semiannual. 92 days

     b. Optional submission. Article 5.E.3.a. of this Manual does not apply when the
        Reported-on Officer has an approved retirement, separation or discharge on file and is
        planning on submitting a continuity OER.

  4. Detachment on Permanent Change of Station (PCS) Orders or Separation from the Service
     of the Reported-on Officer.

     a. Officers must receive this OER when they execute a PCS and exceed the time limits
        specified in Article 5.E.1 of this Manual.

     b. All ADPL schedule officers must receive this OER when they leave active duty,
        regardless of the length of period for the report. The period of the report must end on
        the final day of active service, including days on terminal leave. Separations include:

        (1) retirement,

        (2) release from active duty of Reserve commissioned officers,

        (3) discharge of Regular commissioned officers regardless of accession into the
            Reserve.

        (4) Change of component for ADPL submission schedule to/from IDPL submission
            schedule or any change of category within the Reserve component.

     c. All IDPL schedule officers must receive this OER when they leave active status,
        regardless of the length of period for the report. The period of report must end on the
        final day of active status. Separations include:

        (1) retirement,

        (2) discharge,

        (3) transfer to the Inactive Status List (ISL),

        (4) transfer to the ADPL

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        d. For separating members, with the concurrence between the rating chain and the
           reported-on officer, a continuity OER is authorized instead of this OER in accordance
           with Article 5.E.9. of this Manual.

   5. Promotion or Appointment of Officers. Certain officers must submit this OER for
      promotion or appointment to a higher grade, with the period of report ending on the last
      day at the previous grade.

        a. Required Submission.

          (1) Captains promoted or frocked to flag grade must submit this OER. With the
              concurrence between the rating chain and the reported-on officer, a continuity
              OER is authorized instead of this OER in accordance with Article 5.E.8. of this
              Manual.

          (2) Commanders promoted to captain and CWO appointed to LT must submit this
              OER, if more than the 184 days have occurred since the last regular OER:

          (3) For all other promotions and appointments not explicitly listed in this Article, this
              OER must be submitted only if the next biennial, annual, or semiannual OER will
              result in a time period greater than the limits allowed in Article 5.C.4. of this
              Manual.

        b. Optional Submission. This OER is never optional and must not be submitted unless
           explicitly required under Article 5.E.5.a. of this Manual. If not required, one of the
           above regular OERs must be submitted.

   6. For Consideration by Selection Panels or Boards. This OER may be submitted for
      ADPL officers being considered by Coast Guard sponsored or officially advertised
      selection panels (e.g., flight school, command screening, NASA astronaut) or
      selection boards for promotion, extension, or continuation. The period of report must
      be at least the amount of time specified in Article 5.E.1. of this Manual.

   7. Removal from Primary Duty (RPD).
        a. This OER must be submitted when permanently removing an officer from their
           primary duties as a result of conduct or performance which is substandard or as
           directed by the permanent relief authority’s final action on a permanent relief for cause
           request in accordance with Reference (q), Military Assignments and Authorized
           Absences, COMDTINST M1000.8 (series).

        b. The OER will be defined as derogatory and must follow the policies and standards for
           derogatory OER stated in Article 5.H. of this Manual.



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     c. Reassignment not constituting RPD as provided in Reference (q), Military
        Assignments and Authorized Absences, COMDTINST M1000.8 (series), is not
        derogatory and therefore does not require a RPD OER.

  8. Duty Under Instruction (DUINS). A DUINS OER is not an occasion for report, and may
     only be submitted for a reason in Articles 5.E.2 to 5.E.7. of this Manual.

     a. Commander (CG PSC) must:

        (1) determine which officers, based on their assignment, will follow this schedule in
            lieu of Article 5.E.2. of this Manual.

        (2) promulgate when DUINS OERs must be submitted, making allowances for
            differences in pay-grade, promotion lists, active duty orders, and any other
            concerns.

     b. OER submission will be submitted once a year at a minimum. The period of report
        must not exceed 18 months; this includes ensign and lieutenant (junior grade)
        submissions. Officers in and above zone for promotion must follow the regular DUINS
        submission schedule.

     c. When a reported-on officer is assigned PCS duty under instruction to industry training,
        DUINS OERs must be submitted upon detachment of the officer or completion of the
        program.

     d. When a reported-on officer is assigned PCS duty under instruction to flight training,
        OERs must be submitted at the end of each training phase.

     e. Senior Strategic Group (SSG) students must not receive DUINS OERs.

  9. Continuity OER. This OER may be submitted in cases where full documentation is
     impractical, impossible to obtain, or does not meet OES goals. A continuity OER is not an
     occasion for report, and may only be submitted for a reason in Articles 5.E.2 to 5.E.7. of
     this Manual.

     a. Commander (CG PSC-OPM-3) or (CG PSC-RPM-1) may reject any continuity OER
        and require the rating chain to submit a regular or non-regular OER instead of the
        continuity OER.

     b. A continuity OER may be submitted in lieu of a biennial, annual, or semiannual if
        the officer was on leave or unobserved for the entire period of report.

     c. A continuity OER may be submitted in lieu of a Departure/Separation from the Service
        OER for any officer with approved separation within the time standards listed in
        Article 5.C.4 of this Manual of the last regular OER submission.

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        d. Officers requesting reserve commissions, temporary separation, or being released from
           active duty (RELAD) may not apply these criteria.

        e. Commander (CG PSC) may issue a continuity OER to implement judicial and
           administrative adjudications.

        f. A continuity OER may be submitted for captains selected for promotion or frocked to
           flag grade.

        g. Commander (CG PSC-RPM-1) must complete a continuity OER for non-drilling
           officers assigned to either the Individual Ready Reserve (IRR) or the Active Status List
           (ASL) and who are being considered for selection for promotion.

          (1) This OER may exceed the time standards listed in Article 5.C.4.

          (2) This OER must end on the date required by Article 5.E.2. for other officers
              receiving a biennial or annual OER and who are also being considered for
              selection for promotion.

          (3) Commander (CG PSC-RPM-1) may also complete this OER in accordance
              with the IDPL submission schedule for IDPL officers in the IRR or ASL.

F. Occasions for Non-Regular OERs. The OERs listed in this Article do not count for continuity.
   1. Concurrent. A concurrent OER is an OER submitted outside of the regular submission
      schedule in addition to a regular OER and thus does not count for continuity.

        a. The unit to which the reported-on officer is permanently attached is always responsible
           for ensuring that OER continuity is maintained with regular OERs. The permanent
           unit’s OER is never considered a concurrent report.

        b. Concurrent reports may be submitted only when the officer is:

          (1) On active duty and performing temporary duty (TDY) away from a permanent
              unit while being observed by a senior officer other than the regular reporting
              officer, (e.g., senior aviator deployed aboard a Coast Guard icebreaker). In this
              case, the concurrent report normally will be written upon the detachment of the
              TDY officer and cover only the period of temporary duty. This is an optional OER
              and will be submitted at the discretion of the TDY command. A TDY concurrent
              OER must be for a period of at least 60 days.

          (2) Performing an internship or training at a Coast Guard unit (e.g., Law student, legal
              staff intern) while in a DUINS status. In this case, the concurrent report normally
              will be written upon internship completion and cover only the internship period. A
              concurrent OER for an internship must be for a period of at least 14 days.

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        (3) For IDPL officers completing short-term Active Duty (180 days or less),
            performing active duty for greater than 30 days away from a permanent unit
            while being observed by a senior officer other than the regular reporting
            officer.

        (4) Filling separate or distinct billets or command functions under different
            commanding officers.

        (5) Filling a billet for which technical control and administrative control are separated,
            such as senior contracting officers.

        (6) Commanding a unit for which operational control and administrative control are
            separated, (e.g., units assigned to International Ice Patrol, Deep Freeze
            Operations).

        (7) Commanding a unit with divided operational control.

  2. Subsequent to Substandard Performance or Conduct. This OER may be completed to
     document performance or conduct that is substandard but not necessitating a removal from
     primary duties if deferring the report until the next regular report would preclude
     documentation to support adequate personnel management decisions, such as selection,
     retention, or reassignment.

  3. Subsequent to Disciplinary Action.

     a. This OER must be submitted when actions resulting in a civil court or criminal offense
        conviction bring discredit upon the Coast Guard and, except for minor traffic
        violations, must be reflected in the performance evaluation of officers. Therefore, this
        OER is required after an officer is found guilty of a civil or criminal offense with a
        detailed description of the conduct documented in the OER as required by Reference
        (r), Discipline and Conduct, COMDTINSTM1600.2 (series).

     b. This OER must be submitted when an officer receives non-judicial punishment which
        is not subject to appeal or when the final reviewing authority’s action on an
        investigation includes direction that an OER must be prepared. In courts martial cases,
        this OER must be initiated once the convening authority has taken action and the
        finding of guilty has not been disapproved.

     c. The reporting period for this report will be the day that the proceedings were
        completed. The report must clearly state:

        (1) The nature of the proceeding prompting the report and the result of the proceeding,
            (e.g., criminal conviction, non-judicial punishment, or final reviewing authority’s
            action directing a OER due to criminal culpability),

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          (2) Any punishment imposed as a result of criminal conviction or non-judicial
              punishment, and

        d. Other information as necessary to accurately reflect the performance being evaluated.
           Information about the proceeding may be included in the report even if the proceeding
           took place outside of the reporting period. The evaluation must be limited to those
           areas affected by such conduct, since all other dimensions will be evaluated in the
           regular OER. Any dimension which is not evaluated must be marked "not observed". A
           comparison or rating scale mark and comments on the officer’s potential are required.

        e. If the conduct resulting in the court-martial, non-judicial punishment, or investigation
           occurs during the current reporting period, a Subsequent to Disciplinary Action OER is
           not required if the process is completed, i.e., not subject to further review, by the time
           that the regular report is due to be submitted for the current period (within 30 days
           from the end of period of report). The basis for the court-martial, non-judicial
           punishment, or investigation must be reported in the regular report.

   4. To Document Significant Historical Performance. This OER may be submitted to
      document significant historical performance or behavior of substance and consequence
      which were unknown when a previous OER was prepared and submitted.

        a. This OER must not be used in lieu of a Subsequent to Disciplinary Action OER.

        b. The OER must address only the performance dimensions relevant to the OER since all
           other performance dimensions will have been addressed in the previously submitted
           OER.

        c. This OER must be initiated by the original rating chain unless they are unavailable or
           disqualified.

        d. The reviewer must be a flag officer. Commander (CG PSC) must promulgate
           additional rating chain standards in accordance with Article 5.D. of this Manual.

   5. Miscellaneous. When specifically directed by another article in this Manual. This OER
      may count for continuity, depending upon the circumstances which prompt its submission.

G. Exceptions from submitting an OER. The welfare of the reported-on officer must be
   considered along with system goals when determining the appropriate time to submit an OER.
   Exceptions to the normal submission schedule will not be granted without indicating
   extraordinary circumstances. Commander (CG PSC-OPM-3) or (CG PSC-RPM-1) may not
   issue an exception to policy that would violate OER period of report limits in Article 5.C.4. of
   this Manual.




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   1. Occasion for Exceptions. The reported-on officer may request an exception to policy to
      Commander (CG PSC-OPM-3) or (CG PSC-RPM-1) to the submission schedule,
      including deadlines for derogatory OER addenda and OER replies.

   2. Submitting a request for exception to policy. Commander (CG PSC-OPM-3) or (CG
      PSC-RPM-1) must promulgate procedures and be the contact for requesting an exception
      to policy.

H. Derogatory OERs. A derogatory OER is any regular or non-regular OER that indicate the
   Reported-on officer has failed in the accomplishment of assigned duties.

   1. Derogatory reports are only those OERs which:

       a. contain a numerical mark of one in any performance dimension, and/or

       b. contain a

       c. rating scale, and/or

       d. documents conduct or performance which is adverse or below standard and results in
          the removal of a member from their primary duty or position.

   2. The rating chain must provide an authenticated copy to the reported-on officer and
      counsel the reported-on officer of their option to prepare an addendum.

   3. The reported-on officer has the option to prepare an addendum limited to two pages with
      no enclosures.

   4. The supervisor and the reporting officer must be afforded the opportunity to address the
      reported-
      reported-

   5. The reporting officer will then forward the OER and attachments to the reviewer.

   6. The reported-
      of a record but provides the reported-on officer an opportunity to explain the failure or
      provide their views of the performance in question.

   7. Commenting or declining comment does not preclude the reported-on officer from an
      official request for correction of the record in accordance with Correcting Military
      Records, COMDTINST 1070.1 (series) or submitting an OER Reply under Article 5.K.
      of this Manual.

   8. If the reported-on officer declines to make an addendum, they must so indicate by




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   9. If the reported-on officer fails to provide either an addendum or statement declining an
      addendum within 14 days for ADPL schedule officers and 28 days for IDPL schedule
      officers, the reporting officer must forward the OER to the reviewer noting that an
      addendum was solicited and not received. In such cases, the reviewer must prepare a
      Reviewer addendum specifically stating that an addendum was solicited but not received.

   10. The reviewer must ensure that the evaluation of the reported-on officer is consistent and
       that the derogatory information is substantiated. If the reviewer finds otherwise, they
       must return the report to the reporting officer for additional information and/or clarifying
       comments. Substantive changes to the OER require its return to the reported-on officer to
       provide another 14-day opportunity for the reported-on officer to revise the addendum.

I. Prohibited Comments. The rating chain must not:

   1. Mention gender specific pronouns or first name in the narrative blocks of the OER.
      Alternative words such as ROO and/or ROM may be utilized.

   2. Mention a judicial, administrative, or investigative proceeding, including criminal and
      non-judicial punishment proceedings under the Uniform Code of Military Justice, civilian
      criminal proceedings, Personnel Records Review Board (PRRB), Coast Guard Board for
      Correction of Military Records (BCMR), or any other investigation (including
      discrimination investigations) except as required by a non-regular OER. Referring to the
      fact conduct was the subject of a proceeding of a type described above is permissible
      when necessary to respond to issues regarding that proceeding first raised by an officer in
      a reply under Article 5.K. of this Manual. These restrictions do not preclude comments
      on the conduct that is the subject of the proceeding. They only prohibit reference to the
      proceeding itself.

   3. Consider or evaluate the performance of any officer as a member of a court-martial, or
      give a less favorable evaluation to any defense counsel because of the zeal with which
      they represented an accused. Such evaluations are prohibited by Reference (d), Manual
      for Courts-Martial (MCM), 104 (b) (1). This is not intended to preclude the accurate

        organization, logical analysis, writing ability, oral advocacy, direct or cross examination,
        handling of evidence, or use of expert witnesses or demonstrative evidence, etc.)
        displayed in a court-martial setting. In commenting on such performance, however,
        whether favorable or unfavorable, no reference will be made to the name, case number,
        or final result (acquittal, conviction, or sentence).

   4. Mention or allude to the fact that the reported-on officer was not selected by a board or
      panel (e.g., references to non-voluntary retirement or non-voluntary separation).

   5. Mention any PRRB or BCMR application or decision.

   6. Mention any medical or psychological conditions, whether factual or speculative.
      Restriction applies to reported-on officer and family members. The mention of not fit for
      fully duty (NFFD) status is prohibited.

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   7. Mention pregnancy. Restriction applies to reported-on officer and family members.

   8. Expressly evaluate, compare, or emphasize gender, religion, color, race, sexual
      orientation, or ethnic background.

   9. Place emphasis upon a third party by gender, religion, color, race, sexual orientation, or
      ethnic background (e.g., Catholic lay minister wrote award recommendation for African-
      American civilian). Although there is no restriction on naming third parties, rating chains
      should realize it is much easier to reconcile titles with positions of authority rather than
      correlating performance with proper names

   10. Refer to the reported-on officer by first or last name in the comment blocks. Alternative
       words such as ROO and/or ROM may be utilized.

   11. Refer to reported-                         amily status.

   12. Discuss reported-
       reporting period except as provided in Article 5.F.3. of this Manual.

   13. Provide comments, attachments, or citations which include information subject to a
       security classification. Evaluations of officers in billets dealing with classified national
       security issues should characterize performance in a manner which captures the essence
       of actions and their impact as specifically as possible without raising the classification
       above the UNCLAS level.

   14. OERs must not comment on non-military Coast Guard paid employment, including IDPL
       scheduled officers who are employed as civilians with the Coast Guard.

J. Required Comments.

   1. The rating chain must support any mark of 1, 2, 3, and 7. Comments with 4, 5, or 6 do not
      require support.

      a. Forms CG-5310A and CG-5310C, the rating chain must support any mark of 1,
         2, 3, and 7. Comments are not required for marks of 4, 5, or 6.

      b. Form CG-5310B, the rating chain must support any mark of 1, 2, 3, and the
         selected performance dimension (three for W4/O1 and five for O2) that best
         characterizes the ROO. Comments of 4, 5, 6, or 7 do not require support.

   2. Actions resulting in a drug or alcohol incident (DI/AI) must be documented in the OER.
      Commanding officers must also follow policy and standards with accordance with the
      Coast Guard Drug and Alcohol Abuse Program, COMDTINST M1000.10 (series).

   3. Failure to comply with body fat standards must be documented in the OER. Commanding
      officers must also follow policy and standards in accordance with the Coast Guard
      Weight and Body Fat Standards Program Manual, COMDTINST M1020.8 (series).



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K. Replies to OERs. The reported-on officer may reply to any OER. Replies provide an
   opportunity for the reported-on officer to express a view of performance which may differ
   from that of a rating official.

   1. Content of Replies. Comments should be performance-oriented, either addressing
      performance not contained in the OER or amplifying the reported performance.
      Restrictions outlined in Article 5.I. of this Manual apply. Comments pertaining strictly to
      interpersonal relations or a personal opinion of the abilities or qualities of a rating chain
      member are not permitted.

   2. Corrections. Reported-on officer replies do not constitute a request to correct a record.
      An officer who believes their OER contains a major administrative or substantive error
      should follow the procedures to correct military records as outlined in Article 5.N. of this
      Manual. This includes requests to have the OER, or a part thereof, removed from the
      record. Members of the rating chain who, in their review of a reported-
      concur with the reported-on officer that an error may be present in the OER, must return
      the reply to the reported-on officer and assist that officer in following the procedures of
      Article 5.N. of this Manual.

L. IDPL schedule specific OERs. This Article determines when IDPL scheduled officers will
   follow the ADPL schedule.

   1. IDPL scheduled officers on active duty, including multiple sets of active duty orders with
      no break in service, 181 consecutive days or greater must follow the ADPL submission
      schedule and be treated as an ADPL schedule officer for as long as they remain on active
      duty. If Article 5.L.1. applies, no other Article in 5.L may apply.

   2. IDPL schedule officers performing active duty of any length at their permanent unit must
      have the performance documented in their regular OER and not a concurrent OER.

   3. IDPL schedule officers performing active duty for 30 days or less at a unit other than
      their permanent unit may have the performance documented in a concurrent OER or in
      their regular OER, with input the unit where active duty was completed.

   4. IDPL schedule officers performing active duty for over 30 day but less than 181 days at a
      unit other than their permanent unit must have the performance documented in a
      concurrent OER.

   5. Officers in the IRR and ASL who are authorized to drill for points only, including
      Individual Augementations Duty (IAD), must have the performance documented in a
      Regular OER according to the IDPL submission schedule.

   6. Officers in the IRR and ASL who do not have drill for points or IAD authorization must
      receive a Continuity OER according to the IDPL submission schedule.

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   7. Officers in the IRR and ASL, not authorized to drill for points only or IAD, performing
      active duty for 180 days or less must have the performance documented in a Concurrent
      OER.

M. Retired Officers Recalled to Active Duty.
   1. Background. Because the personnel management goals (promotion, assignment, career
      development) of the OES don’t apply to officers who are recalled to active duty from
      retired status, there is no mandatory requirement to submit an OER for these officers.

   2. When Significant Information Exists. Where any member of the rating chain, including the
      reported-on officer, has information deemed significant enough to report for the retired
      recall period, any OER may be submitted, including a non-regular derogatory OER. Such
      information may be useful for future retired recall decisions regarding the officer.

   3. Implications in the Event a Retired Recall Promotion Board is Convened. If service need
      requires that a retired recall promotion board be convened, eligible officers who declined
      to submit an optional OER for a previous retired recall period are not permitted to
      resurrect that exercised option to retroactively submit OERs for consideration by the
      board.

N. Correction of OERs and Military Records.

   1. Quality of Comments. Comments in the OER must be sufficiently specific to present a
      complete picture of the reported-on officer’s performance and qualities during the period.
      They should be both reasonably consistent with the numerical marks assigned. On those
      marks indicated by Commander (CG PSC-OPM-3) or (CG PSC-RPM-1) as not being
      supported, the rating chain must either provide additional narrative support reflecting
      specific performance observations or adjust the marks to the information already provided.

   2. Comments.

       a. Marks and comments may be changed only by the original supervisor and reporting
          officer.

       b. All changes to the original OER must be initialed.

       c. The signature dates must be adjusted to reflect the date that the necessary changes and
          reviews were actually made. Reported-on officers must be afforded an opportunity to
          review and sign the updated OER.




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   3. Correction of Military Records. Coast Guard officers are encouraged to review their record
      periodically. While Commander (CG PSC) attempts to ensure that OERs accurately reflect
      officers’ performance, the possibility of administrative or substantive error still exists.
      Accordingly, officers may seek correction of any OER, or any portion thereof, if in their
      opinion the report is in error.

        a. Those officers wishing to exercise this right should follow the procedures to correct
           military records contained in Correcting Military Records, COMDTINST 1070.1
           (series) for forwarding the application to the Personnel Records Review Board (PRRB)
           or Board for Correction of Military Records (BCMR), as appropriate.

        b. The application may be forwarded through the original rating chain at the officer’s
           option. If the whereabouts of the original members of the rating chain are unknown,
           officers should submit the application directly to the PRRB or BCMR. Additionally, an
           officer may forward their application via the officer’s current chain of command but is
           not required to do so and may send the application directly to the PRRB or BCMR.

O. Definitions. The following definitions apply only to this Chapter.
   1. ADPL schedule. All officers are considered Active Duty Promotion List (ADPL) schedule
      unless explicitly Inactive Duty Promotion List (IDPL) schedule. ADPL schedule includes
      all Regular officers, Reserve officers on extended active duty (EAD), and Reserve
      Program Administrators (RPA).

   2. Officer Evaluation System (OES). The Coast Guard system that addresses performance
      appraisal of its officers.

   3. Officer Evaluation Report (OER). A report for a specific Coast Guard officer used to
      document performance and potential.

   4. Rating Chain. The succession of individuals who are responsible for preparing,
      completing, and reviewing an officer’s OER as defined by the following roles:

        a. Reported-on Officer. The subject of the OES. All commissioned officers of the Coast
           Guard are evaluated periodically.

        b. Supervisor. Normally, the individual to who the reported-on officer reports to on a
           daily or frequent basis and from who the reported-on officer receives the majority of
           direction and requirements.

        c. Reporting Officer. Normally the supervisor’s supervisor.

        d. Reviewer. Normally the reporting officer’s supervisor.



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  5. Regular OER. A regular OER is a report that qualifies for continuous chronological
     coverage of the reported-on officer’s commissioned service.

  6. IDPL schedule. IDPL officers not on active duty to the extent required to follow the ADPL
     schedule. IDPL officers, per Reserve Policy Manual, COMDTINST M10001.28 (series) is
     made up of the Selected Reserve (SELRES), Individual Ready Reserve (IRR), and Active
     Status List (ASL).

  7. Unavailable. Includes illness, injury, death, prolonged absence, separation from the
     service, retirement, or any other situation which prevents or substantially hinders the
     supervisor, reporting officer, or reviewer from properly carrying out their rating chain
     responsibilities.

  8. Disqualified. Includes relief for cause due to misconduct or unsatisfactory performance,
     being an interested party to an investigation or court of inquiry, or any other situation in
     which a personal interest or conflict on the part of the supervisor, reporting officer, or
     reviewer raises a substantial question as to whether the reported-on officer will receive a
     fair, accurate evaluation.

  9. Non-regular OER. A non-regular OER is a report that does not qualify for continuous
     chronological coverage of the reported-on officer’s commissioned service.




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CHAPTER 6                PERSONNEL BOARDS
                         5B




6.A.
14B               Commissioned and Chief Warrant Officer Personnel Boards

6.A.1.
129B              General
6.A.1.a.
56B               Significance

                  Personnel boards are so significant every officer in the service should know board
                  procedure and the general criteria boards use, whether determining promotion,
                  continuation, retention, or appointment.

56B    6.A.1.b.   Guidelines

                  The criteria published here are furnished to boards solely to guide and do not limit the
                  scope of authority vested in them. Each board member must retain an impartial,
                  unbiased, unprejudiced attitude about all officers being considered and all groups and
                  Coast Guard specialized duties. Any limitation of choice arbitrarily imposed on
                  personnel boards by an outside authority would be unlawful and highly improper.

6.A.1.c.
567B              Type of Board

                  Personnel boards, such as those that select officers on the active duty promotion list
                  (ADPL) to grades above lieutenant (junior grade) and consider captains for continuation
                  on active duty, select on a best-qualified basis, in which the board is limited to a specific
                  number it may select. Other personnel boards, such as those selecting officers for
                  promotion to lieutenant (junior grade), select on a fully-qualified basis. Under this
                  selection process, system, or method, the board compares each officer to a standard and
                  recommends all who meet or exceed it. Accordingly, in addition to the fully-qualified
                  standard, a best-qualified board also must select by comparing each officer to all others
                  considered. This procedure enables the board to select from the entire group the limited
                  number whom it believes are the best-qualified.

6.A.2.
130B              Board Purposes
                  Personnel boards are convened for various purposes, including recommending officers
                  for:

                  (1) Promotion,

                  (2) Continuation on active duty,

                  (3) Retention in a particular occupational field, and

                  (4) Designation in a particular occupational field.




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6.A.3.
13B        Selection Criteria

6.A.3.a.
568B       General

           (1) Personnel boards recommend on either a best-qualified or fully-qualified basis as set
               forth in law and directed in the precept. All personnel boards consider fundamentally
               the same type of information. However, each board develops its own overall
               standards and selection criteria. The degree of significance a board assigns to each of
               the many factors it considers may vary according to the grade and type of selection
               the board is making A board selecting officers for lieutenant may emphasize
               different factors than would a Captain Continuation Board.

           (2) Promotion is not a reward for satisfactory service. It confirms an officer’s
               demonstrated potential to serve the Coast Guard in a higher grade.

6.A.3.b.
569B       Basic Criteria

           (1) Performance Evaluations. A significant selection criterion is performance in present
               and past assignments. Boards should adhere to the following interpretations and
               policies when evaluating performance.

              (a) Officer evaluation report forms define performance dimensions considered most
                  significant in assessing an officer’s performance and readiness for greater degrees
                  of responsibility.

              (b) Though the same performance dimensions seem important at every grade, areas of
                  emphasis at ensign level are quite different from that at the captain level, even
                  though leadership at each level shares many common elements.

           (2) Professionalism.

              (a) Professionalism is an essential element in selecting officers for promotion. Coast
                  Guard officers must provide quality service to the public while promoting a
                  positive image of the Coast Guard.

              (b) The diversity of officer assignments in the Coast Guard makes it impossible for
                  any officer to be qualified for all of them; the service expects each officer to have
                  true professional competence in one occupational field and, from assignments
                  outside it, experience in other fields. While technical specialization is essential in
                  certain lower grades and for certain assignments, in the higher grades emphasis
                  shifts to leadership skills.

              (c) Each officer must be familiar with Coast Guard general administration and
                  display interest in the immediate assignment, the rest of the service, the
                  surrounding community, and the world by improving their knowledge of service-
                  related subjects through study, activities, and associations. The capable




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               individual is highly adept at transferring talents from one task to another, which
               enables the service to fulfill its mission and objectives.

           (d) Until recently, most officers had frequent operational assignments throughout
               their careers and were competent mariners or aviators. However, Coast Guard
               missions have changed so much the present number of operational billets makes
               this impractical. In fact, to maintain professional competence, it is necessary to
               repeatedly assign certain officers to similar billets. This means the service may
               not assign many officers to operational duty, particularly lieutenant commanders
               and above. It thus follows that operational experience, by itself, cannot be a
               universal selection requirement.

        (3) Leadership. Officers selected demonstrate those leadership traits and values that
            allow them to serve in a series of assignments with increasing responsibility in the
            grade to which promoted. Officers must exemplify our core values of honor, respect,
            and devotion to duty in the highest degree.

           (a) A leader influences people to accomplish a purpose. Coast Guard leaders
               concentrate on “doing right things right,” integrating a leader’s focus on
               effectiveness with a manager’s focus on efficiency.

           (b) A successful leader inspires others by:

               [1] Convincing them they have the solution and acting decisively and confidently,

               [2] Sharing a vision of service, excellence, and achievement,

               [3] Demonstrating a commitment to innovation and quality team work, and,

               [4] Modeling strength of character in word and action.

        (4) Education. Another consideration is education. To maintain a high level of expertise
            in areas such as science, engineering, operations, and administration, many officers
            are detailed to postgraduate education or specialized training. It would be desirable to
            afford every officer such an opportunity, but this is impossible. Thus, a board should
            not disproportionately emphasize an officer’s postgraduate training. Commissioned
            officers participate in education programs voluntarily. Each board should consider
            these factors in evaluating education:

           (a) Whether an officer pursues educational courses commensurate with their previous
               training and experience, and/or

           (b) An officer’s accomplishments in the program, including the grades attained where
               applicable.




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6.A.4.
132B              General Procedures for All Boards

6.A.4.a.
570B              Responsibilities

                  Each personnel board member shall impartially and fairly evaluate the qualifications of
                  each officer whose name is submitted to the board to determine whether they meet the
                  overall criteria the board established considering the parameters outlined in Article 6.A.3.
                  of this Manual.

571B   6.A.4.b.   Compliance

                  Personnel board actions shall comply with applicable laws, regulations, and their precept.

6.A.4.c.
572B              Consistency

                  So successive personnel boards’ actions may be consistent, Commander (CG PSC-OPM)
                  and selected staff members shall appear before each personnel board to brief the
                  members on applicable laws, regulations, and service needs. Since the board is convened
                  solely to obtain its members’ opinion, it must act according to its own judgment and is
                  bound only by existing law and the oath its members take.

6.A.4.d.
573B              Material Furnished

                  Commander (CG PSC-OPM) furnishes personnel boards the names and personnel
                  records of all officers to be considered. The personnel record consists of general
                  administrative paperwork including such items as statements of service and sea service;
                  the record of emergency data; Administrative Remarks, Form CG-3307, entries;
                  documentation of alcohol incidents, and reports of civil arrests; performance evaluations;
                  education information; and awards and discipline documentation. A board must consider
                  an officer’s entire record; however, the following is considered the most significant
                  portion of the record evaluated:

                           Grade Considered                                  Service Period
                                                            Seven years of immediate previous service or
                  Rear Admiral (Lower Half), Captain,
                                                               all service in present grade, whichever is
                             Commander
                                                                                 greater.
                                                            Six years of immediate previous service or all
                         Lieutenant Commander
                                                            service in present grade, whichever is greater.
                     Lieutenant, Lieutenant (Junior
                                                                      All commissioned service.
                                 Grade)

574B   6.A.4.e.   Additional Information

                  If the board desires additional information or clarification, the board president shall
                  request it in writing from Commander (CG PSC-OPM).



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6.A.4.f.
57B               Fitness for Duty

                  Boards shall assume each officer it considers is fit for full duty unless otherwise advised.

6.A.4.g.
576B              Administrative Letters of Censure

                  Article 1.E. of reference (r), Discipline and Conduct, COMDTINST M1600.2 (series),
                  prohibits filing administrative letters of censure in officers’ personnel records. Since
                  non-punitive censures were previously filed in an officer’s official record, a board finding
                  one shall ignore it when evaluating performance. A board , however, may consider and
                  evaluate the facts on which an administrative letter is based if an officer evaluation report
                  or other documents refer to them.

57B    6.A.4.h.   Officer Education Reporting Program

                  The Officer Education Reporting Program is voluntary. Officers may report educational
                  achievement annually on a Record of Professional Development, Form CG-4082, for
                  board consideration.

578B   6.A.4.i.   Board Proceedings

                  Except for its Report of the Board, the board members shall not disclose proceedings or
                  deliberations to any person not a member of the board (14 U.S.C. § 261).

6.A.5.
13B               Procedure for Boards Considering Officers on a Fully-Qualified Basis

6.A.5.a.
579B              Board Recommendation

                  Boards convened to recommend officers for promotion on a fully-qualified basis should
                  recommend those whose records indicate they are qualified to perform all duties to which
                  they reasonably might be assigned in the grade for which they are being considered.
                  Each board shall definitely recommend whether each officer it considers is or is not
                  qualified, without any restrictions or qualifications.

6.A.5.b.
580B              Comparison

                  In recommending each officer it considers, the board should compare them to the present
                  grade and those in the next higher grade to determine how well the individual measures
                  up to such officers according to the overall criteria the board established. If the board
                  believes the officer has demonstrated by past performance, fitness, and potential to
                  perform creditably those duties to which they reasonably might be assigned, the board
                  should recommend them. If past performance indicates potential for increased
                  responsibilities and administrative assignments is doubtful or limited, the board should
                  not recommend the officer.




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6.A.5.c.
581B       Not Recommended

           If the board does not recommend an officer or finds an officer’s performance in their
           present grade is unsatisfactory, the board shall indicate its reasons.

6.A.5.d.
582B       Board Report

           Each board’s report shall contain:

           (1) A cover sheet,

           (2) A membership roster,

           (3) The convening, meeting, and adjourning dates,

           (4) A list of officers recommended,

           (5) A list of officers found not fully-qualified for promotion with the specific reason why
               each was not recommended for promotion,

           (6) A list of officers whose performance of duty in present grade the board considered
               unsatisfactory with the specific reason why each was found as such,

           (7) A certification that in the opinion of at least three members if the board has five, or
               two-thirds of the members if the board has six or more members, the officers
               recommended are fully-qualified for promotion, and

           (8) Each member’s signature.

6.A.6.
134B       Procedure for Boards Considering Officers on a Best-Qualified Basis

6.A.6.a.
583B       Number of Officers

           Boards convened to consider officers on a best-qualified basis for promotion,
           continuation on active duty, retention in a particular occupational field, or appointment in
           another status may recommend to promote, continue, retain, or appoint only the number
           specified in the precept.

           (1) In 1963, legislation amended Title 14, United States Code, to improve the quality and
               efficiency of the Coast Guard officer corps by replacing a system based on seniority
               with one which would select the best-qualified officers.

           (2) Fundamental to selecting for promotion on a best-qualified basis is the fact the
               number of officers to be selected is fewer than the number being considered.




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6.A.6.b.
584B           Comparison

               In recommending, a board shall compare all officers submitted for consideration and base
               its recommendations on the extent to which they compare among themselves in
               accomplishing past assignments and their potential for greater responsibility according to
               the overall criteria the board adopted; however, Article 6.B.1.f. of this Manual limits
               below zone promotion selections.

               (1) Selection on a best-qualified basis embodies three elements. The board:

                  (a) First, considers all officers impartially and equally.

                  (b) Second, applies the same criteria to all.

                  (c) Third, evaluates by comparison, with the most capable officers advancing to
                      positions of higher responsibility.

               (2) Best-qualified boards consider officers’ records, comparing past performance, their
                   capacity to undertake successfully tasks of progressively greater difficulty involving
                   broader responsibilities, their capability and inclination to study for further
                   professional growth, and their potential to perform creditably those duties to which
                   these officers might be assigned in the next higher grade.

6.A.6.c.
58B            Board Report

               The report of the board shall contain:

               (1) A cover sheet,

               (2) A membership roster,

               (3) The convening, meeting, and adjourning dates,

               (4) A list of the officers recommended for promotion, continuation, retention, or
                   appointment in the order of relative precedence they held before the current
                   consideration,

               (5) A certification that, in the opinion of at least three members if the board has five or
                   two-thirds of the members if the board has six or more, the officers recommended for
                   promotion, continuation on active duty, retention in a particular occupational field, or
                   appointment in another status are the best-qualified for promotion, continuation,
                   retention, or appointment of those officers whose names were furnished to the board
                   (14 U.S.C. § 260), and

               (6) Each member’s signature.




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6.A.7.
135B       Procedure for Boards Considering Officers on Both a Fully-Qualified
           and Best-Qualified Basis

6.A.7.a.
586B       Number of Officers

           Boards convened to consider officers on both a fully- and best-qualified basis for
           promotion, continuation on active duty, retention in a particular occupational field, or
           appointment in another status may recommend to promote, continue, retain, or appoint up
           to the number specified in the precept.

6.A.7.b.
587B       Comparison

           In recommending each officer it considers, the board must make two determinations,
           fully-qualified and best-qualified.

           (1) The Fully-qualified Determination. First, the board should compare each officer to
               those in the present grade and those in the next higher grade to determine how well
               the individual measures up to such officers according to the overall criteria the board
               established. If the board believes the officer has demonstrated by past performance,
               fitness, and potential to perform creditably those duties to which they reasonably
               might be assigned, the board should go to the second determination step. If past
               performance indicates the potential for increased responsibilities and administrative
               assignments is doubtful or limited, the board should not recommend the officer.

           (2) The Best-qualified Determination.

              (a) Those officers meeting the fully-qualified determination described above must
                  then be selected on a best-qualified basis, which embodies three elements; the
                  board:

                  [1] First, considers all those fully-qualified officers impartially and equally.

                  [2] Second, applies the same criteria to all.

                  [3] Third, evaluates by comparison, with the most capable officers advancing to
                      positions of higher responsibility.

              (b) In recommending, a board shall compare all officers submitted for consideration
                  and base its recommendations on the extent to which they compare among
                  themselves in accomplishing past assignments and potential for greater
                  responsibility according to the overall criteria the board adopted. Best-qualified
                  boards consider officers’ records comparing past performance, their capacity to
                  undertake successfully tasks of progressively greater difficulty involving broader
                  responsibilities, their capability for further professional growth, and their potential
                  to perform creditably those duties to which these officers might be assigned in the




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                     next higher grade. Only officers who have been found fully-qualified may be
                     selected.

                     [1] Normally, the number of officers found fully-qualified exceeds the number of
                         officers found best-qualified. There is no requirement to identify reasons for
                         those officers who were fully-qualified but not best-qualified. If an officer is
                         found to be performing in an unsatisfactory manner, however, the board shall
                         specify the reason for that finding.

                     [2] When the board is tasked with choosing up to a maximum number of best-
                         qualified candidates, they may choose less than that number only if there are
                         an insufficient number of fully-qualified officers. If the board selects less
                         than the maximum number, it is indicating that the officers not chosen were
                         either not fully-qualified or unsatisfactory in their performance and shall
                         specify in writing the reasons for each of these non-selections.

6.A.7.c.
58B           Board Report

              (1) Commander (CG PSC-OPM-1) may furnish boards with procedures and forms to
                  assist them in evaluating records. The determination to use such assistance in the
                  form provided or in modified form or not at all, rests solely with the board.

              (2) The board shall submit a report of its proceedings to the Commandant for Secretarial
                  approval under the delegation contained in 49 CFR 1.45(a)(1), to include:

                 (a) A cover sheet,

                 (b) A listing of membership,

                 (c) A listing of the convening, meeting, and adjourning dates,

                 (d) A listing of the names of officers recommended for promotion in the order of
                     relative precedence that they held prior to the current consideration,

                 (e) A certification that, in the opinion of at least a majority of the members of the
                     board, the officers recommended for promotion are fully qualified and the best
                     qualified of those officers whose names have been furnished to the board,

                 (f) The signature of each member, and

                 (g) The original precept, appended.




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6.B.
15B               Selection for Promotion

6.B.1.
136B              Selection Boards for Promotion from Lieutenant (Junior Grade)
                  Through Rear Admiral (Lower Half)
6.B.1.a.
589B              Convening a Board

                  At least annually and at other times when the needs of the service require, the Secretary
                  shall convene selection boards to recommend for promotion to the next higher grade
                  officers on the active duty promotion list (ADPL) in each grade from lieutenant (junior
                  grade) through captain, with separate boards for each grade. However, the Secretary
                  need not convene a board to recommend promotion to a grade if no vacancies exist in it
                  and estimates none will occur in the next 12 months (14 U.S.C. § 251).

590B   6.B.1.b.   Selection Board Composition

                  The selection board shall consist of five or more officers on the ADPL who serve in or
                  above the grade to which the board may recommend promoting officers. No officer may
                  serve on two successive boards convened to consider officers of the same grade for
                  promotion (14 U.S.C. § 252).

591B   6.B.1.c.   Board Convening Notice

                  Before convening the selection board, Commander (CG PSC) gives the service at large
                  notice of the convening date, the promotion zone considered, officers eligible for
                  consideration, and the number of officers the board may recommend for promotion (14
                  U.S.C. § 253(a)).

6.B.1.d.
592B              Selection Board Member's Oath

                  Each selection board member shall swear they will perform the duties imposed on them
                  without prejudice or partiality having in view both officers’ special fitness and the
                  efficiency of the Coast Guard (14 U.S.C. § 254).

6.B.1.e.
593B              Information Furnished to Selection Boards

                  Commander (CG PSC) shall furnish each selection board with this information:

                  (1) The number of officers the board may recommend for promotion to the next higher
                      grade; and

                  (2) The names and records of all officers eligible for consideration for promotion to the
                      grade to which the board will recommend officers for promotion (14 U.S.C. § 258).




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6.B.1.f.
594B           Number of Officers Recommended for Promotion from Below the Zone

               (1) The number of eligible officers the board may select from below the zone for rear
                   admiral (lower half) is unlimited. For all lower grades, the selection board shall
                   recommend those officers it considers best-qualified from among those eligible under
                   consideration in, above, and below the promotion zone in the limited numbers
                   prescribed below.

               (2) The number of officers the selection board may recommend for promotion to the
                   grade of captain or below from among eligible officers junior in rank to the junior
                   officer in the appropriate promotion zone may not exceed:

                  (a) Five percent of the total number of officers the board is authorized to recommend
                      for promotion to the grade of lieutenant or lieutenant commander.

                  (b) Seven and one half percent of the total number of officers the board is authorized
                      to recommend for promotion to commander, and

                  (c) Ten percent of the total number of officers the board is authorized to recommend
                      for promotion to captain.

               (3) However, if such percentage is a number less than one, the board may recommend
                   one officer for promotion (14 U.S.C. § 259).

6.B.1.g.
59B            Submitting Selection Board Reports

               (1) The selection board submits a report, as outlined in Article 6.A.6.c. of this Manual, to
                   the Secretary. If the board has acted contrary to law or regulation, the Secretary may
                   return the report for revision and resubmission. After final review, the Secretary
                   submits the board report to the President for approval, modification, or disapproval.

               (2) If any officer recommended for promotion is not acceptable to the President, they
                   may remove that officer from the board’s report.

               (3) When the President approves the report, Commander (CG PSC) promptly
                   disseminates the names of officers the board selected for promotion to the service at
                   large.

               (4) Except as this Article requires, no one shall disclose selection board proceedings to
                   any person not a member of the board (14 U.S.C. § 261).




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6.B.2.
137B              Selection Boards for Promotion from Ensign to Lieutenant (Junior
                  Grade)

6.B.2.a.
596B              Convening a Board

                  Approximately three months before the date an ensign completes 18 months of active
                  service, computed from their date of rank as an ensign on the active duty promotion list
                  (ADPL), Commander (CG PSC) shall convene a selection board to consider them for
                  promotion to the grade of lieutenant (junior grade).

597B   6.B.2.b.   Board Composition

                  The selection board shall consist of at least five officers on the ADPL serving as
                  lieutenants or above. If practical, boards considering reserve ensigns on extended active
                  duty shall include at least one reserve officer.

598B   6.B.2.c.   Board Members’ Oath

                  Selection board member shall comply with Article 6.B.1.d. of this Manual.

59B    6.B.2.d.   Selection Method

                  A board considering ensigns for promotion shall recommend those officers it considers
                  fully-qualified for promotion to lieutenant (junior grade). (See Article 6.A.5. of this
                  Manual.)

60B    6.B.2.e.   Submitting Reports

                  The board shall submit a report as outlined in Article 6.A.5.d. of this Manual to the
                  Commandant, through Commander (CG PSC) for approval, modification, or disapproval.
                  If the board has acted contrary to law or regulation, Commander (CG PSC) shall return
                  the report for revision and resubmission.

601B   6.B.2.f.   Consideration by Second Board

                  A second selection board will consider ensigns placed out of line for promotion whom
                  the first board previously judged to be performing satisfactorily in that grade. If the
                  second board selects the ensign, they shall be promoted under Article 3.A.5. of this
                  Manual. Article 6.B.2.b. of this Manual specifies the second board’s members; no one
                  who served on the first board may serve on the second. The board considers the officer’s
                  entire record, emphasizing particularly the period when the officer was out of the line of
                  promotion. The board should compare performance evaluation reports for that period
                  with previous reports to determine whether the officer’s performance has improved to the
                  extent they now warrant selection on a fully-qualified basis.




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6.B.2.g.
602B              Finding of Unsatisfactory in Grade

                  In accordance with 10 U.S.C. § 12681, 14 U.S.C. § 214(c), or 14 U.S.C. § 281, as
                  applicable, the Commandant will revoke the commissions or vacate the temporary
                  appointments of ensigns in their first three years of commissioned service who fail
                  selection for promotion to lieutenant (junior grade) and whom the selection board
                  determines are performing unsatisfactorily in grade, irrespective of Article 1.A.8. and
                  1.A.10. of reference (c), Military Separations, COMDTINST M1000.4 (series).

6.B.3.
138B              Selection Boards for Promoting RPAs

6.B.3.a.
603B              Convening a Board

                  At least annually or when service needs require, Commander (CG PSC) shall convene
                  selection boards to recommend for promotion to the next higher grade Reserve Program
                  Administrators (RPAs) in each grade from lieutenant (junior grade) through commander.
                  A board may consider officers in more than one grade.

6.B.3.b.
604B              Board Composition

                  A board convened to consider RPAs for promotion to the next higher grade shall consist
                  of five or more officers serving in or above the highest grade to which the board may
                  recommend officers for promotion. Three members shall be RPAs. If enough are not
                  available to satisfy this requirement, Commander (CG PSC-OPM) may reduce the
                  number of RPA members, but the board must have at least one RPA. If no reserve
                  officer serving on active duty is senior to all officers under consideration, Commander
                  (CG PSC-OPM) may recall to active duty a retired reserve officer or one serving on
                  inactive duty senior to all officers the board will consider to serve on the board.

605B   6.B.3.c.   Notice of Convening

                  Commander (CG PSC) shall give notice of convening a selection board in the same
                  manner as described in Article 6.B.1.c. of this Manual.

60B    6.B.3.d.   Members’ Oath

                  Selection board members shall comply with Article 6.B.1.d. of this Manual.

607B   6.B.3.e.   Information Furnished to Boards

                  Commander (CG PSC) shall furnish the appropriate selection boards with this
                  information:

                  (1) The number of officers the board may recommend for promotion to the next higher
                      grade, and




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           (2) The names and records of all officers eligible for the board to consider.

6.B.3.f.
608B       Selection Criteria

           (1) The board uses best-qualified criteria to consider RPAs for promotion to lieutenant
               and above. However, if the number of officers eligible for selection equals the
               number to be selected as determined in Article 3.A.6.a. of this Manual, the board uses
               fully-qualified criteria.

           (2) Under fully-qualified criteria, a board recommends for promotion only those RPAs
               who have demonstrated:

              (a) Competence in Reserve Program Administration and as an officer,

              (b) Desire for continued growth and development as an RPA. The board may
                  consider such factors as achievements as a reserve officer, educational
                  accomplishments, and demonstrated competence in a responsible position within
                  the reserve program, and

              (c) Potential for increased duties and responsibilities, additional growth, and
                  professional development needed to qualify them for assignments to duties and
                  responsibilities in the next higher grade.

6.B.3.g.
609B       Reports

           (1) Each board convened to select RPAs for promotion shall submit a written report
               signed by its members listing the officers recommended for promotion. If the board
               selects on a fully-qualified basis, its report shall contain detailed reasons for not
               recommending an officer for promotion.

           (2) The board shall certify that in the opinion of at least three members, if it has five, or
               two-thirds of the members, if the board has six or more, the RPAs recommended are
               fully qualified or the best-qualified for promotion, as applicable, of those Commander
               (CG PSC) furnished the board.

6.B.3.h.
610B       Submitting Reports

           (1) Each board shall submit its report to the Commandant, through Commander (CG
               PSC), for approval, modification, or disapproval. If the board has acted contrary to
               law or regulation, the Commandant or Commander (CG PSC) shall return the report
               for appropriate revision and resubmission.

           (2) When the Commandant approves the report, Commander (CG PSC) promptly
               disseminates the names of the officers selected to the service at large.




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               (3) Except as this Article requires, no one shall disclose selection board proceedings to
                   any person not a member of the board.

6.B.4.
139B           Selection Boards for Promotion of Officers on the Permanent
               Commissioned Teaching Staff (PCTS) of the Coast Guard Academy
6.B.4.a.
61B            Convening of Boards

               When one or more members of the PCTS are in the promotion zone, Commander (CG
               PSC) shall convene a selection board to consider them for promotion to the next higher
               grade. Separate boards may be convened for each grade if Commander (CG PSC) deems
               it appropriate; otherwise a single board shall act for all grades.

6.B.4.b.
612B           Composition of Boards

               A board convened to select members of the PCTS for promotion to the next higher grade
               shall consist of five officers of the regular Coast Guard who are serving in or above the
               highest grade to which the board may recommend members of the PCTS for promotion.
               An officer who has served as a member of a board that did not recommend an eligible
               PCTS officer for promotion may not serve on a later board that again considers the same
               officer for promotion to the failed grade. To the extent that qualified members of the
               PCTS are available, at least two members shall serve as members of the selection board.
               However, at least one member of the board must be appointed from the ADPL.

6.B.4.c.
613B           Oath of Members of Boards

               All members of the selection board shall swear that they will, having in view both the
               special fitness of members of the PCTS and the efficiency of the Coast Guard Academy
               in the accomplishment of its mission, perform the duties imposed upon them without
               prejudice or partiality. Further, that they will make their recommendations as to selection
               for promotion in accordance with the standards prescribed in Articles 6.B.4.e. and
               6.B.4.f. of this Manual to the best of their ability.

6.B.4.d.
614B           Required Documentation

               For each PCTS officer being considered for promotion, the officers' official personnel file
               will serve as the documentation on which the promotion decision will be based. The
               PCTS officer shall ensure that their Record of Professional Development, Form CG-
               4082, is updated and accurate.

6.B.4.e.
615B           Basis for Recommendation

               Each selection board shall recommend for promotion those eligible members of the PCTS
               whom it considers fully qualified.




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6.B.4.f.
61B        Performance Standards

           (1) Typically, faculties at an institution of higher learning are evaluated based on their
               contributions to teaching, service, and intellectual activities. At the Academy,
               however, the faculty have the additional responsibility of contributing to the
               development of cadets as Coast Guard officers. This responsibility is especially
               important to the role of PCTS. In addition, members of the PCTS are commissioned
               officers and thus are required to conduct themselves as such. Each performance
               dimension is discussed in general below.

              (a) Teaching and advising is the primary emphasis of all CGA faculty. Teaching
                  encompasses course design, project design and supervision, daily class
                  preparation, presentation of course material, assessment and evaluation of student
                  performance, and techniques for motivating students to learn. Successful teachers
                  have excellent skill in analysis and communication and are wholly committed to
                  students and student learning.

              (b) Service as in service to the Academy and the greater Coast Guard is expected;
                  opportunities to contribute in this regard are many and varied. Examples of this
                  performance standard include Academic Division leadership positions, major
                  project officer responsibilities, major committee assignments, and Academy Coast
                  Guard related work assignments.

              (c) Intellectual activity is a vital and necessary ingredient for a faculty at an
                  institution of higher learning. Expectations for scholarly activity and professional
                  growth depend upon rank and may vary somewhat with individual circumstances,
                  such as seniority at the time of initial appointment and the service commitment of
                  the PCTS member. Intellectual activity is to be interpreted broadly encompassing
                  basic research, applied scholarship, pedagogy, and professional development.

              (d) Cadet development is one of the Academy's two primary missions. Thus it is
                  expected that members of the PCTS contribute significantly to the development of
                  cadets as young adults, students, and future leaders. Examples of areas where
                  faculty may contribute include summer training programs, participation in cadet
                  social and musical activities, acting as a coach to a sporting team, or advisor to a
                  cadet club. Additionally, cadet development may manifest itself in the member's
                  teaching, service, and/or intellectual activity. Members of the PCTS are also role
                  models for cadets and junior military faculty. As role models and commissioned
                  officers, they must maintain a high standard of bearing, conduct, integrity, and
                  military professionalism.

           (2) These performance standards are meant to be flexible enough to capitalize on the
               strengths of individual members of the PCTS and meet the needs of the Academy as a
               whole while delineating the fully qualified standards for promotion. While each of
               the performance dimensions (teaching, service, intellectual activity, and cadet
               development and military professionalism) is important, it is neither expected nor




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                     desired that every member of the PCTS would focus their efforts in a like manner.
                     For example, a member of PCTS may serve in a variety of Academic Division
                     leadership positions, thus focusing on "service." Another member of the PCTS may
                     be conducting and publishing academic research and thus focusing on "intellectual
                     activity." A third member of the PCTS may provide a more balanced picture of
                     activity. As such, the three members will look very different to the promotion board.
                     All three PCTS officers, however, may be fully qualified for promotion, if there is
                     evidence of performance at or above the fully qualified level in each performance
                     dimension.

                  (3) A PCTS officer normally must be found to be performing at or above the fully
                      qualified level in each performance dimension in order to be selected for promotion
                      to the next grade. The fully qualified performance standards for promotion to each
                      rank are defined more specifically as follows.

6.B.4.g.
617B              Performance Standards for Lieutenant/Lieutenant Commander

                  (1) Teaching. Able to teach effectively any lower-level (i.e., introductory) course in the
                      academic specialty.

                  (2) Service. Has contributed to mission accomplishment at the Academy through
                      service. Has demonstrated leadership potential.

                  (3) Intellectual Activity (Lieutenant Commander only). Has demonstrated professional
                      knowledge through participation in a terminal degree program and produced high
                      quality work in that program. Has demonstrated that the quality of work in terminal
                      degree program to date has been of high quality. Has made progress toward the
                      doctoral degree as contemplated in initial course of study approved by Dean of
                      Academics as discussed in Article 6.B.12.i. of this Manual.

                  (4) Cadet Development and Military Professionalism. Has performed satisfactorily in
                      cadet leadership development and /or summer training activities. Has demonstrated
                      counseling and role modeling skills through academic advising or other mentoring
                      opportunities. Has maintained a high standard of bearing, conduct, and military
                      professionalism.

618B   6.B.4.h.   Performance Standards for Commander

                  (1) Teaching. Able to teach effectively any course in the primary academic specialty.
                      Has the ability to serve as course coordinator for multi-section courses. Has served as
                      an effective mentor for junior faculty members.

                  (2) Service. Has continued to contribute to the Academy through service. Has
                      demonstrated leadership potential through development and rational presentation of
                      original ideas for the improvement of the Academy.




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                  (3) Intellectual Activity. The PCTS officer has met the timetable for completion of the
                      terminal degree as approved by the Dean of Academics as set forth in Article
                      6.B.12.i. of this Manual. In addition, the PCTS officer is active in the academic
                      community. Examples of intellectual activity include but are not limited to
                      presentations at seminars, academic conferences, an approved dissertation proposal, a
                      completed dissertation, and publications in academic and/or practitioner journals.

                  (4) Cadet Development and Military Professionalism. Has participated in cadet
                      leadership development and/or summer training activities. Has demonstrated
                      counseling and role modeling skills through academic advising or other mentoring
                      opportunities. Has continued to maintain a high standard of bearing, conduct, and
                      military professionalism.

619B   6.B.4.i.   Performance Standards for Captain

                  For selection to captain, the member must satisfy the following performance standards.
                  In addition, the member should be recognized as outstanding in either teaching, service,
                  or intellectual activities in accordance with the criteria specified below.

                  (1) Teaching. Recognized as a teacher who promotes creative and active learning in
                      students by cultivating critical thinking and improving the overall quality of teaching
                      and learning at the Academy. Has a demonstrated record of success in guiding and
                      evaluating junior faculty members. Outstanding: Has demonstrated professional
                      knowledge through design of new courses and suggestions for curricula revision. Has
                      made a significant impact on other faculty by fostering the art of teaching.
                      Recognized by students as a superior teacher.

                  (2) Service. Has served successfully in significant leadership positions, such as section
                      chief, Assistant Dean, assistant department head, project officer for a major Academy
                      event, or chairperson of a major faculty committee. Has demonstrated potential for
                      future service as department head or equivalent position of academic leadership.
                      Outstanding: Has demonstrated clear potential for positions of the highest leadership
                      in the Academic Division through successful service in a significant service role.
                      Examples include but are not limited to serving as Assistant Dean, Director of
                      Academic Advising, and section chief.

                  (3) Intellectual Activity. Has earned a terminal degree. Has shown evidence of
                      continued and varied intellectual activity. Examples include but are not limited to
                      conference proceedings, conference presentations, conference participation, book
                      reviews, and intellectual service (e.g., journal editor/ reviewer). Outstanding: Has
                      demonstrated exceptional competence in academic specialty through publication of
                      original research. Examples include but are not limited to books, monographs, and
                      peer-reviewed journal articles. To merit outstanding, the intellectual activity must be
                      subject to external peer review.

                  (4) Cadet Development and Military Professionalism. Has continued to demonstrate




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                  support for cadet development programs through participation and/or supporting
                  actions. Has continued to maintain a high standard of bearing, conduct, and military
                  professionalism. It is expected, however, that as a member of the PCTS becomes
                  more senior, their cadet development activities will be more concentrated in
                  "teaching" and "service" versus specific cadet professional development programs.
                  Thus no "outstanding" criteria is specified for this performance dimension.

6.B.4.j.
620B           Submission of Reports of Boards

               (1) The selection board shall submit a report as outlined in Article 6.A.5.d. of this
                   Manual to Commandant via Commander (CG PSC) and the Assistant Commandant
                   for Human Resources for approval, modification, or disapproval. If the board has
                   acted contrary to law or regulation, Commander (CG PSC) shall return the report for
                   reconsideration, revisions, and resubmission.

               (2) After approval of the report by the Secretary, the officers concerned shall be promptly
                   notified of the board's action.

               (3) Except as required by this Article the proceedings of the selection board shall not be
                   disclosed to any person not a member of the board.

6.B.4.k.
621B           Consideration by Second Board

               A second board convened as described in Article 6.B.4.a. of this Manual shall consider a
               member of the PCTS who is out of the line of promotion. No officer who was a member
               of the first board may serve on the second board to consider the same officer.

6.B.5.
140B           Selection Boards for Promoting Retired Officers Recalled to Active
               Duty

6.B.5.a.
62B            Convening Boards

               When one or more retired officers recalled to active duty are eligible for promotion under
               Article 3.A.8. of this Manual, Commander (CG PSC) convenes a selection board to
               consider promoting them to the next higher grade. If Commander (CG PSC) deems this
               appropriate, they may convene separate boards for each grade; otherwise, a single board
               acts for all grades.

6.B.5.b.
623B           Composition of Boards

               The board consists of five active duty Coast Guard officers serving in or above the
               highest grade to which the board may recommend retired officers recalled to active duty
               for promotion. An officer who has served on a board that failed to recommend an
               eligible recalled retired officer for promotion may not serve on a later board that
               considers that same recalled retired officer for the same grade.




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6.B.5.c.
624B              Board Members' Oath

                  Each selection board member swears they will keep in mind both recalled retired
                  officers’ special fitness and Coast Guard efficiency and perform the duties imposed on
                  them without prejudice or partiality.

6.B.5.d.
625B              Selection

                  Each selection board shall recommend for promotion those eligible recalled retired
                  officers whom it considers fully-qualified for promotion.

6.B.5.e.
62B               Submitting Board Reports

                  (1) Each board submits a report as described in Article 6.A.5.d. of this Manual to the
                      Commandant, through Commander (CG PSC), for approval, modification, or
                      disapproval. If the board has acted contrary to law or regulation, Commander (CG
                      PSC) returns the report for revision and resubmission.

                  (2) After the Commandant approves the report, Commander (CG PSC) promptly notifies
                      the officers concerned of the board’s action.

                  (3) Except as this Article requires, no one shall disclose selection board proceedings to
                      any person not a member of the board.

627B   6.B.5.f.   Consideration by Second Board

                  A second board convened under Article 6.B.5.a. of this Manual considers a recalled
                  retired officer out of line of promotion. No officer who served on the first board can
                  serve on the second board to consider the same officer.

6.B.6.
14B               Selection Boards for Officers Recalled from the Temporary Disability
                  Retired List
6.B.6.a.
628B              Commissioned Officers

                  Commissioned officers recalled to active duty from the Temporary Disability Retired List
                  (TDRL) will be placed back on the ADPL and considered for promotion under the usual
                  procedures for officers of their status, except as otherwise defined in Article 1.A.12.b. of
                  this Manual.

6.B.6.b.
629B              Chief Warrant Officers

                  Chief warrant officers recalled to active duty from the TDRL will be considered for
                  promotion under the usual procedures for officers of that status, except as otherwise
                  defined in Article 1.A.12.b. of this Manual.




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6.B.7.
142B              Selection Boards for Promoting the Coast Guard Band Director

6.B.7.a.
630B              Convening a Board

                  When the band director is eligible for selection for promotion, Commander (CG PSC)
                  convenes a selection board to consider promoting this officer.

631B   6.B.7.b.   Composition of Board

                  A board convened to consider the band director for promotion to the next higher grade
                  shall consist of five regular Coast Guard officers serving in or above the grade to which
                  the board may recommend the director for promotion. No officer who served on a board
                  which failed to recommend the band director for promotion may serve on a later board
                  which again considers the same band director. If reasonably available, a Coast Guard
                  Academy PCTS member shall serve as a board member.

632B   6.B.7.c.   Members’ Oath

                  Each board member shall swear to the best of their ability to keep in view both the band
                  director’s special fitness and the efficiency of the Coast Guard Band; perform the duties
                  imposed without prejudice or partiality; and, further, recommend selection for promotion
                  under the standards prescribed in Article 6.B.7.d. of this Manual.

63B    6.B.7.d.   Performance Standards

                  The selection board shall recommend promoting the band director if it believes they are
                  fully qualified for promotion by meeting these standards:

                  (1) Is a versatile musician,

                  (2) Is highly motivated toward the Coast Guard and demonstrates outstanding efforts to
                      enlist highly qualified musicians for assignment to the Coast Guard Band,

                  (3) Instills and maintains a high spirit of professionalism within the band,

                  (4) Demonstrates outstanding leadership qualities and maintains harmonious
                      relationships within the band, the band members’ superiors, and the general public,

                  (5) Develops and maintains the Coast Guard Band at peak performance at all times, and

                  (6) Although the Coast Guard Band is their prime responsibility, demonstrates efficiency
                      in performing assigned collateral duties.




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6.B.7.e.
634B       Submitting Board Reports

           (1) The board submits its report as described in Article 6.A.5.d. of this Manual to the
               Commandant, through Commander (CG PSC), for approval, modification, or
               disapproval.

           (2) After the Commandant approves the report, Commander (CG PSC) promptly notifies
               the officer concerned of the board’s action.

           (3) Except as this article requires, no one shall disclose selection board proceedings to
               any person not a member of the board.

6.B.8.
143B       Boards to Designate Reserve Officers as Reserve Program
           Administrators

6.B.8.a.
635B       Convening a Board

           As service needs require, Commander (CG PSC) convenes a board to consider reserve
           officers for designation as Reserve Program Administrators (RPAs) and provisional
           RPAs for designation as permanent RPAs.

6.B.8.b.
63B        Board Composition

           The board shall consist of five officers, ADPL and RPA, serving in or above the grade to
           which the board may recommend RPA applicants.

6.B.8.c.
637B       Board Members' Oath

           Each board member shall swear to keep in view both RPA’s special fitness and the Coast
           Guard’s efficiency and to perform the duties imposed without prejudice or partiality.

6.B.8.d.
638B       Information Furnished to Boards

           Commander (CG PSC) shall furnish the board with the following information:

           (1) The number of officers the board may recommend for designation as provisional
               RPAs,

           (2) The names of provisional RPAs eligible for consideration as permanent RPAs, and

           (3) The names and records of all officers eligible for board consideration.

6.B.8.e.
639B       Selection Method

           The board shall carefully consider applicants’ performance of duty, educational
           background, administrative ability, and personal characteristics and select only those



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                  whom it considers fully qualified and will be successful in this occupation. If more fully
                  qualified applicants for designation are available than vacancies, Commander (CG PSC)
                  shall instruct the board to select on a best-qualified basis.

6.B.8.f.
640B              Submitting Board Reports

                  Each board shall submit a report as outlined in Article 6.A.6.c. of this Manual to the
                  Commandant through Commander (CG PSC) for approval. If the board has acted
                  contrary to law or regulation, the Commandant or Commander (CG PSC) shall return the
                  report for revision and resubmission. Commander (CG PSC) notifies applicants as soon
                  as possible after the Commandant has approved the board recommendation.

641B   6.B.8.g.   Designation

                  All selected applicants are initially designated as provisional RPAs. After they complete
                  their two-year active duty requirement, their designation is removed if a board does not
                  select them as permanent RPAs. (See Article 1.B.3.i. of this Manual.)

6.B.9.
14B               Selection Boards for Promoting Chief Warrant Officers
6.B.9.a.
642B              Convening Selection Boards (10 U.S.C. § 573)

                  When service needs require, the Secretary convenes a selection board to recommend
                  eligible active duty warrant officers for promotion.

6.B.9.b.
643B              Board Membership (10 U.S.C. § 573)

                  The board consists of at least five ADPL officers serving in a permanent grade above
                  lieutenant commander. Commander (CG PSC-OPM) may assign warrant officers senior
                  in grade to those under consideration as additional selection board members.

6.B.9.c.
64B               Board Members’ Oath (10 U.S.C. § 573(f))

                  Board members shall comply with Article 3.B.3.f. of this Manual.

6.B.9.d.
645B              Information Furnished to Boards (10 U.S.C. § 576)

                  Commander (CG PSC) furnishes information as indicated in Article 3.B.3.g. of this
                  Manual.

6.B.9.e.
64B               Selection Method

                  The board shall comply with the guidelines found in Articles 3.B.3.j. and 6.A.7. of this
                  Manual.




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6.B.9.f.
647B        Submitting Report

            The board submits a report as described by Articles 3.B.3.j. and 6.A.7. of this Manual,
            with the name of any chief warrant officer it finds unfit or serving unsatisfactorily in their
            present grade, or found not fully-qualified to serve in the next higher grade, with a
            description of the reasons for their findings, for the Commandant’s approval or
            disapproval. If the board has acted contrary to law or regulation, Commander (CG PSC)
            returns the report for revision and resubmission.

6.B.10.
145B        Selection Boards to Continue Active Duty Promotion List Captains on
            Active Duty
6.B.10.a.
648B        Convening a Board

            At most annually, or less often as service needs require, the Secretary may convene a
            board to recommend continuation for active duty ADPL captains who will complete at
            least three years’ service in that grade during the promotion year in which the board
            meets and whom the Secretary has not approved for promotion to rear admiral (lower
            half). The board shall not consider officers subject to a 30- year mandatory retirement
            under 14 U.S.C. § 288 during the promotion year in which the board meets (14 U.S.C. §
            289).

6.B.10.b.
649B        Board Composition

            The continuation board consists of at least six officers in the permanent grade of rear
            admiral (lower half) or rear admiral (14 U.S.C. § 289).

6.B.10.c.
650B        Convening Notice

            Before the continuation board convenes, Commander (CG PSC) notifies the service at
            large of the convening date, the continuation zone the board will consider, officers
            eligible for consideration, and the number of officers the board may recommend for
            continuation (14 U.S.C. § 289(d) and 14 U.S.C. § 253).

6.B.10.d.
651B        Continuation Zone

            Before convening a continuation board under Article 6.B.10.a. of this Manual , the
            Secretary establishes a continuation zone of ADPL captains eligible for consideration for
            continuation on active duty who previously were not placed in a continuation zone
            convened under 14 U.S.C. § 289.

6.B.10.e.
652B        Communicating with the Continuation Board

            Officers in the continuation zone may communicate to the president of the continuation
            board. The provisions of Article 3.A.4.f. of this Manual apply. (14 U.S.C. § 289(d) and
            14 U.S.C. § 253)



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6.B.10.f.
653B           Continuation Board Members' Oath

               Continuation board members shall comply with Article 6.B.1.d. of this Manual. (14
               U.S.C. § 289(d) and 14 U.S.C. § 254)

6.B.10.g.
654B           Information Furnished to Continuation Boards

               Commander (CG PSC) shall furnish the continuation board with the following
               information:

               (1) The names and records of all officers eligible for consideration in the established
                   continuation zone (14 U.S.C. § 289(d) and 14 U.S.C. § 258), and

               (2) The number of officers the board may recommend for continuation on active duty (14
                   U.S.C. § 289(c)). This number shall be no fewer than 50 percent of the number
                   considered.

6.B.10.h.
65B            Selecting the Number of Officers Recommended for Continuation

               (1) The board shall select the number the Secretary directs from the designated
                   continuation zone those officers who in its opinion are best-qualified to continue on
                   active duty (14 U.S.C. § 289(c)).

               (2) When deliberating the board shall adhere to both the general criteria this Article
                   establishes for all personnel boards and the following specific procedures (14 U.S.C.
                   § 289(e)).

                  (a) The board shall divide itself into two equally-sized, or as nearly so as possible,
                      panels with each member on one.

                  (b) Each panel independently considers the records of each officer in the continuation
                      zone, recommends the number of officers the Secretary has directed for
                      continuation, and lists those recommended for continuation.

                  (c) The two panels then meet jointly to compare their recommendations. If both
                      panels recommend an officer for continuation, the board recommends the officer
                      or if neither recommends an officer, the board does not recommend the officer.

                  (d) The board then jointly considers those officers one panel but not the other
                      recommends. A panel may recommend continuing an officer only if at least a
                      majority of the panel members recommends them. The board recommends an
                      officer for continuation only if at least two-thirds of the board members
                      recommends them.




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6.B.10.i.
65B                Submitting Continuation Board Reports

                   (1) The continuation board shall submit a report, described in Article 6.A.6.c. of this
                       Manual, to the Secretary. If the board has acted contrary to law or regulation, the
                       Secretary returns the report for proceedings in revision and resubmission. After final
                       review the Secretary submits the board report for the President’s approval.

                   (2) On Presidential approval, Commander (CG PSC) promptly disseminates the names of
                       the officers the board selected for continuation on active duty to the service at large.

                   (3) Except as this Article requires, no one shall disclose board proceedings to any person
                       not a member of the board. (14 U.S.C. § 289)

6.B.11.
146B               Selection Board to Continue Reserve Program Administrator (RPA)
                   Captains on Active Duty
6.B.11.a.
657B               Convening a Board

                   The Commandant may convene a board annually, or less often as service needs require,
                   to recommend for continuation on active duty those RPA captains who will complete at
                   least three years of service in that grade during the promotion year in which the board
                   meets and who previously were not considered for continuation. The board shall not
                   consider officers subject to mandatory retirements under either 14 U.S.C. § 742 or Article
                   1.C.7.e. of reference (c), Military Separations, COMDTINST M1000.4 (series) during the
                   promotion year in which the board meets. A board normally convenes if:

                   (1) Commander (CG PSC) does not expect a sufficient number of vacancies at captain to
                       cause attrition and provide needed vacancies to meet the strength limitations of RPA
                       captains as described in Article 3.A.6.a. of this Manual, or

                   (2) The needs of the service otherwise require it.

658B   6.B.11.b.   Board Composition

                   A board convened to consider RPA captains for continuation on active duty consists of
                   five or more officers who serve as captain or above who previously have been continued.
                   Three members shall be RPAs, but if a sufficient number of RPAs is not available to
                   satisfy this requirement, Commander (CG PSC) may reduce the number of RPA
                   members to a minimum of one. If no reserve officer serving on active duty is senior to
                   all officers considered for continuation, Commander (CG PSC-OPM) recalls a retired or
                   inactive duty reserve officer senior to all officers the board will consider to active duty to
                   serve on the board.

659B   6.B.11.c.   Convening Notice

                   Before the continuation board convenes, Commander (CG PSC) notifies the service at



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                  large of the convening date, the composition of the continuation zone, and the number of
                  officers the board may recommend for continuation.

6.B.11.d.
60B               Continuation Zone

                  Before convening a continuation board, Commander (CG PSC) establishes a continuation
                  zone of RPA captains who will have completed at least three years’ service in that grade
                  during the promotion year in which the board meets. The zone consists of the most
                  senior RPA captains on active duty eligible but not previously considered for
                  continuation.

6.B.11.e.
61B               Communicating with the Continuation Board

                  Officers in the continuation zone may communicate to the president of the continuation
                  board. Article 3.A.4.f. of this Manual applies.

62B   6.B.11.f.   Continuation Board Members' Oath

                  Continuation board members shall comply with Article 6.B.1.d. of this Manual.

63B   6.B.11.g.   Information Furnished to Continuation Boards

                  Commander (CG PSC) furnishes this information to the continuation board:

                  (1) The names and records of all officers eligible for consideration in the established
                      zone, and

                  (2) The number of officers the board may recommend for continuation on active duty.
                      This number shall be fewer than 100 percent, but not fewer than 50 percent of the
                      number considered.

64B   6.B.11.h.   Selection

                  The board shall select from the designated continuation zone those officers who in its
                  opinion are best-qualified to continue on active duty.

65B   6.B.11.i.   Submitting Continuation Board’s Reports

                  (1) The continuation board submits a report as outlined in Article 6.A.6.c. of this Manual
                      to the Commandant, through Commander (CG PSC). If the board has acted contrary
                      to law or regulation, the Commandant returns the report for revision and
                      resubmission.

                  (2) On the Commandant’s approval, Commander (CG PSC) promptly disseminates the
                      names of the officers the board selected for continuation on active duty the service at
                      large.




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                   (3) Except as this Article requires, no one shall disclose board proceedings to any person
                       not a member of the board.

6.B.12.
147B               Screening, Selection, and Appointment of Officers to the Permanent
                   Commissioned Teaching Staff (PCTS) of the Coast Guard Academy

6.B.12.a.
6B                 Convening a Panel (14 U.S.C. § 188)

                   As service needs require, panels will be convened to consider applicants for appointment
                   as members of the Coast Guard Academy’s Permanent Commissioned Teaching Staff
                   (PCTS). Commander (CG PSC) will solicit applications through an ALCOAST and
                   other publications deemed necessary to broaden the pool of qualified candidates. All
                   applications received will be processed by Commander (CG PSC) to ensure each
                   applicant has submitted all the required information.

67B    6.B.12.b.   Selection Method

                   (1) Initially, applicants will be considered by a panel convened by Commander (CG
                       PSC). Commander (CG PSC), with the concurrence of the Superintendent, shall
                       prepare a panel precept, which will include, but may not be limited to, the following
                       criteria: knowledge in the discipline, teaching/presentation skills, potential for further
                       growth as an educator, scholar, administrator and role model, and ability to contribute
                       to cadet life outside the classroom. The precept will also mandate adherence to the
                       Coast Guard’s Equal Opportunity policy. The panel will evaluate all applicants and
                       will choose the ones they deem best qualified. The panel will then reconvene at the
                       Coast Guard Academy to further evaluate the best qualified applicants through
                       interviews, teaching/presentations, and subject matter expertise demonstrations. In a
                       report to the Superintendent, through the Dean of Academics, the panel will
                       recommend a final list of those candidates determined to be best qualified for the
                       PCTS position. The Superintendent shall recommend a preferred candidate for PCTS
                       to the Commandant via Commander (CG PSC) and the Assistant Commandant for
                       Human Resources. The Superintendent will include a prioritized list of an
                       appropriate number of alternates.

                   (2) The Commandant is the approving official on the selection.

68B    6.B.12.c.   Panel Composition

                   The panel shall consist of five or more members to include: the Associate Dean, the head
                   of the academic department in which the appointment will be made or the respective
                   section chief, an officer from Commander (CG PSC-OPM), a representative from the
                   program manager’s office most closely concerned with the discipline in which the PCTS
                   selectee will teach, and additional members designated by the Superintendent. At least
                   two panel members will be members of the PCTS. Typically, the panel includes at least
                   one faculty member from another academic department. All members of the panel must
                   be senior to the applicants.



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6.B.12.d.
69B                Panel Convening Notice

                   A solicitation message released by Commander (CG PSC) will announce the convening
                   of a panel to fill authorized PCTS vacancies.

6.B.12.e.
670B               Panel Members’ Oath

                   Panel members shall swear or affirm that they will, without prejudice or partiality and
                   having in view both the special fitness of officers and the efficiency of the Coast Guard
                   Academy, perform the duties imposed upon them.

6.B.12.f.
671B               Information Furnished to Panel

                   Commander (CG PSC) shall furnish the service records (if applicant is a military
                   member) and applications of all the qualified candidates responding to the solicitation.

6.B.12.g.
672B               Selection Criteria

                   The PCTS of the Coast Guard Academy exists to support the mission of providing
                   teaching expertise and leadership in the academic division. Members of the PCTS should
                   be models of academic, leadership, and professional excellence. The military component
                   of the PCTS complements the civilian and rotating military components of the faculty.
                   PCTS applicants:

                   (1) Must possess at least a master’s degree in the discipline or other closely aligned
                       discipline associated with the PCTS vacancy,

                   (2) Must demonstrate capacity to complete the terminal degree in a timely manner,

                   (3) Must possess the teaching and presentation skills necessary for success in the
                       classroom and other professional venues (two years of teaching experience is desired
                       but is not required),

                   (4) Must have the potential for growth as a leader, educator, scholar, administrator and
                       role model. Applicants must have the potential to become competitive for the
                       position of academic department head,

                   (5) Must have the desire and ability to contribute to cadet life and development in non-
                       academic areas, and

                   (6) Will normally be in grades O-2 through O-4, if the applicant is already a
                       commissioned officer.

673B   6.B.12.h.   Reports

                   (1) The panel shall submit a report as outlined in Article 6.A.6.c. of this Manual




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               (applicable subparagraphs (1) through (3) and (6)) to Superintendent, Coast Guard
               Academy, through the Dean of Academics, for further consideration. If the panel has
               acted contrary to regulation, the Superintendent will return the report for revision and
               resubmission. The panel will certify that in the opinion of at least a majority of the
               members, the candidates recommended for designation were selected on a best
               qualified basis.

            (2) After reviewing the recommendation of the panel, the Superintendent, Coast Guard
                Academy will forward their preferred candidate to Commandant (CCG) through
                Commander (CG PSC) and Commandant (CG-1).

            (3) When the Commandant approves the report, Commander (CG PSC) shall promptly
                disseminate the name(s) of the individual(s) selected for designation to the PCTS to
                the service at large.

            (4) Except as this Article requires, no one shall disclose panel proceedings to any person
                not a member of the panel.

6.B.12.i.
674B        Plan of Study

            (1) Upon selection for the PCTS, a candidate who does not already hold the terminal
                degree will, in consultation with their Department Head and with due regard for the
                requirements of the academic discipline and the contemplated graduate programs,
                design a plan of study for completion of the degree.

            (2) The plan of study will include processes for selection of graduate programs and
                detailed timetables for the completion of course work and qualifying examinations,
                preparation of the dissertation prospectus, and research and writing of the
                dissertation.

            (3) The plan of study must be approved by the Dean of Academics, who will keep the
                document on file. Timely progress toward completion of the terminal degree, as
                outlined in the plan of study, will be evaluated annually as part of the officer’s regular
                officer evaluation report.

            (4) In consultation with the department head and with the approval of the Dean of
                Academics, a PCTS officer may revise the plan of study if such revision becomes
                necessary during the officer’s course of study.

6.B.12.j.
675B        Probationary Period

            Each person who is selected to the PCTS will normally complete a two-year probationary
            period before being permanently appointed. If an officer has successfully served at the
            Coast Guard Academy for two years or more, the Superintendent may recommend that
            the probationary period be waived. During the probationary period, the officer must
            demonstrate the capacity to complete the terminal degree, the skills of an excellent




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                   teacher, and the willingness to contribute to the professional development of cadets.
                   Following successful completion of the probationary period, the officer shall be sworn
                   into the PCTS. If, at the end of the probationary period, the Superintendent deems the
                   officer has not demonstrated the capacities required above, the officer will not be sworn
                   into the PCTS. not a member of the board.

6.B.13.
147B               Special Selection Boards (SSB)

6.B.13.a.
674B               Purpose

                   A SSB considers one or more commissioned or former commissioned active duty
                   officers for promotion to lieutenant (junior grade) through captain for either of the
                   following reasons (14 U.S.C. §263):

                   (1) An officer considered but not selected for promotion to the next higher grade
                       because of a material error in their record, or

                   (2) An officer not considered and not selected for promotion to the next higher
                       grade because of an administrative error.

6.B.13.b.
674B               General

                   (1) Challenges to the correctness of material contained in an officer’s apparently
                       complete and correct record and which was considered by a regular selection
                       board may be appealed to the Board for the Correction of Military Records
                       (BCMR) in accordance with 33 CFR 52 and Article 5.B. of this Manual.

                   (2) SSBs are governed by the same instructions provided to the selection boards
                       convened under 14 U.S.C. § 251 and are applicable only to those officers that
                       were considered or should have been considered for promotion under that
                       section.

                   (3) A SSB may consider multiple eligible officers of the same pay grade at the same
                       time.

                   (4) Regularly scheduled selection boards may also be convened as SSBs if
                       appropriate. (14 U.S.C. § 263 (h))

                   (5) The term “prior selection board” will mean the selection board the member was
                       not selected for promotion because of material or administrative error,
                       regardless of when that selection board convened.

674B   6.B.13.c.   Requesting a SSB

                   (1) Commander (CG PSC-OPM) shall review reports of selection boards convened
                       in accordance with 14 U.S.C. § 251 to determine whether an officer should be


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               considered for action under this Article. If Commander (CG PSC-OPM)
               determines that a material administrative error occurred in the case of an
               officer(s) or former officer(s), it shall recommend, to the appropriate convening
               authority, that a SSB be convened.

            (2) An officer may submit a request for review to Commander (CG PSC-OPM)
                through his or her chain of command.

            (3) A former officer may submit a request for review directly to Commander (CG
                PSC-OPM).

            (4) A request for review may be submitted in the form of a letter to Commander
                (CG PSC-OPM) containing the following information.

               (a) Officer’s name, rank, and EMPLID;

               (b) Length of service;

               (c) Reason for request including specific facts or circumstances relating to
                   alleged administrative or material error.

            (5) Requests for review must be submitted within one year of the announcement of
                the board results. A commissioned officer or former officer may pursue relief
                through the CG BCMR in accordance with 33 CFR 52 and Article 5.B. of this
                Manual if submitted after one year.

            (6) Barring extenuating circumstances, the convening authority will normally
                convene a SSB within 120 days of the determination of Commander (CG PSC-
                OPM), or decision by a CG BCMR or federal court, that a SSB is warranted.

6.B.13.d.
674B        Convening Authority for a SSB

            Commander (CG PSC) shall be the convening authority for all officers eligible for
            consideration per 14 U.S.C. § 263.

6.B.13.e.
674B        Basis for convening a SSB

            SSBs may be convened pursuant to 14 U.S.C. § 263 to consider or reconsider
            commissioned officers or former commissioned officers for promotion when one or
            more of the following occur:

            (1) An officer was not considered from in or above the promotion zone by a
                regularly scheduled selection board because of administrative error.

            (2) The Secretary determines that a selection board that considered an officer from
                in or above the promotion zone acted contrary to law or made a material error.




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                   (3) The selection board that considered an officer from in or above the promotion
                       zone did not have before it some material information required to be presented
                       to the board by Coast Guard policy.

                   (4) The Coast Guard Board for Correction of Military Records (CG BCMR) or a
                       federal court directs a SSB be convened.

674B   6.B.13.f.   Prohibition for convening a SSB

                   SSBs shall not be convened for the following reasons:

                   (1) The officer’s name was intentionally removed, by Commander, CG PSC, from
                       the list of officers in or above the promotion zone or from the promotion list
                       because the officer’s name was removed from the active duty promotion list.

                   (2) The officer is pending removal from a promotion or recommended list in
                       accordance with 14 U.S.C. § 272, and the removal action was not finalized by the
                       Secretary or the President 30 days before the next regularly scheduled selection
                       board convened to consider officers of his or her grade.

                   (3) The consideration in question involved an officer below the promotion zone.

                   (4) The board did not consider correspondence to the board that was not delivered
                       to CG PSC in accordance with CG PSC direction.

                   (5) The convening authority determines that the error in the officer’s record was
                       immaterial or could have been discovered and corrected prior to board
                       convening.

                      (a) It is the officer’s responsibility to review his or her record before the board
                          convenes and take reasonable steps to correct any errors or notify the board,
                          in writing, of possible administrative deficiencies.

                      (b) The omission of letters of appreciation, commendation, or other
                          commendatory data or awards of the Meritorious Service Medal and below
                          from an officer’s record does not constitute grounds to initiate SSB action
                          under this Article.

                   (6) The officer’s record that the board considered was substantially complete and
                       correct, but the content of which, an officer or former officer contends was
                       materially incorrect.


674B   6.B.13.g.   SSB Composition




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                   (1) ADPL officers: The SSB shall consist of five or more officers on the ADPL who
                       serve in or above the grade to which the board may recommend promoting
                       officers. No officer may serve on two successive boards convened to consider
                       officers of the same grade for promotion. (14 U.S.C. § 252) No officer should
                       have served on the selection board previously convened to consider the officer or
                       former officer being reviewed.

                   (2) RPA officers: A SSB convened to consider an RPA for promotion shall consist of
                       five or more officers serving in or above the highest grade to which the board
                       may recommend officers for promotion. Three members shall be RPAs; if
                       enough RPAs are not available to satisfy this requirement, Commander (CG-
                       PSC-OPM) may reduce the number of RPA members, but the board must have
                       at least one RPA. If no RPA serving on active duty is senior to the officer(s) or
                       former officer(s) under consideration, Commander (CG PSC-OPM) may recall
                       to active duty a retired RPA or Reserve officer or one serving on inactive duty
                       senior to all officers the board will consider to serve on the board. (14 U.S.C. §§
                       276, 728) No officer should have served on the selection board previously
                       convened to consider the officer or former officer being reviewed.

674B   6.B.13.h.   Notice of Convening

                   Before convening the SSB, Commander (CG PSC) will notify the affected officer(s).

674B   6.B.13.i.   Communications to SSBs

                   An officer who is appearing before a SSB may submit communications to the board
                   in accordance with Article 3.A.4.f of this Manual. (14 U.S.C. § 253)

674B   6.B.13.j.   Requirements for SSBs

                   (1) The SSB shall consider the record of an officer or former officer as that record,
                       if corrected, would have appeared to the initial selection board.

                   (2) The corrected record shall be presented within a weighted sample of records,
                       reflecting the Opportunity of Selection of the prior board to include an
                       appropriate number of records from officers of the same grade who were
                       recommended for promotion by the prior selection board along with an
                       appropriate number of records from those officers of the same grade who were
                       not recommended for promotion by the prior selection board.

                   (3) The SSB shall not be told which officer is the affected officer or which officers
                       are being used for weighted sampling.

                   (4) Except for the affected officer(s), the SSB’s findings will not affect the previous
                       selection board’s decision to recommend to promote or not to promote any other
                       officer in the weighted sample of records.




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6.B.13.k.   SSB report

            (1) The SSB shall submit a report, described in Article 6.A.5.d or 6.A.6.c. of this Manual
                as applicable, to the Secretary. If the board has acted contrary to law or regulation, the
                Secretary may return the report for proceedings in revision and resubmission. (14
                U.S.C. § 261(a))


            (2) On approval of the board report, Commander (CG PSC) shall promptly disseminate
                the name(s) of the officer(s) the SSB selected for promotion. (14 U.S.C. § 261(c))

            (3) Except as this Article requires, no one shall disclose board proceedings to any person
                not a member of the board. (14 U.S.C. § 261(d))

6.B.13.l.   Officers Not Considered Due to Administrative Error

            (1) An officer in the grade of commander or below whose record was not reviewed by
                the regularly scheduled selection board because of administrative error will not be
                considered to have failed selection prior to the consideration of the SSB. (14 U.S.C. §
                263(a)(1))

            (2) An officer who is considered for selection by a SSB will be considered to have failed
                selection for promotion if that board does not recommend the officer for promotion.
                (14 U.S.C. § 263(a)(2))

6.B.13.m.   Officers Not Recommended for Promotion Due to Material Error

            (1) An officer in the grade of commander or below whose record was reviewed by the
                regularly scheduled selection board but was not recommended for promotion due to
                material error (i.e., incomplete or erroneous records) will not be considered to have
                failed selection for promotion if the subsequent SSB recommends that officer for
                promotion. (14 U.S.C. § 263(b)(2)(a))

            (2) An officer who is considered for selection by a SSB and is not recommended for
                promotion will be considered to have failed the regularly scheduled selection board
                but will not incur an additional failure of selection as a result of the action of the SSB.
                (14 U.S.C. § 263(b)(2)(b))

6.B13.n.    Officers Recommended for Promotion by an SSB

            (1) An officer placed on a promotion list by a SSB convened under this Article shall be
                appointed, as soon as practicable, to the next higher grade in accordance with the law
                and policies that were applicable to the officer at the time the prior selection board
                convened.




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            (2) The officer shall have, upon such promotion, the same date of rank, the same
                effective date for pay and allowances of that grade, and the same position on the
                active duty promotion list had they been selected by the prior selection board. (14
                U.S.C. § 263(d)(1) and (2))


6.B.14.     Specialty Considered Selections (SCS)

6.B.14.a.   Overview

            (1) Purpose. SCS fulfills a specific Service need by selecting officers possessing a
                particular skill set.

            (2) Legal Authority. The legal authority for this policy is 14 USC § 258.
            P
            (3) Applicability. This policy is applicable only for ADPL lieutenant to captain
                selection boards.

            (4) Other Coast Guard Policies. Officers will follow policy in Coast Guard Officer
                Specialty Management System Manual, COMDTINST M5300.3 (series) for
                earning specialty codes.

6.B.14.b.   Authority to implement SCS

            The Commandant (CCG) will determine:

            (1) if officer specialty codes will be considered during the selection board, and

            (2) The number of officers needed with a particular officer specialty. That total
                number may be greater than the limit allowed in Article 6.B.14.c.(2) of this
                Manual.

6.B.14.c.   Use of SCS

            (1) When SCS is employed the Commandant will provide the selection board with
                guidance on selecting officers possessing a particular officer specialty code to
                meet an existing or anticipated Service need.

            (2) When so directed by the Commandant, the board shall consider officer specialty
                codes. The number selected when specialty is considered a factor in selection
                may not exceed the percentages of 14 U.S.C. § 259 (b) unless such a percentage is
                a number less than one, in which case the board may recommend one officer for
                such placement.

            (3) Any officer selected when specialty is considered during the selection process
                must be the best-qualified to carry out the duties and responsibilities of the
                grade for which they are selected and receive the recommendation of at least a



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               of a board composed of more than five members.

            (4) When directed to use SCS, the board shall recommend at least the required number of
                officers in Article 6.B.14.b.(2) of this Manual, unless:

               a. the board has recommended maximum amount of officers allowed by Article
                  6.B.14.c.(2) of this Manual, or

               b. there are not enough in or above zone officers that meet requirements of both
                  Articles 6.B.14.b.(2) and 6.B.14.c.(3) of this Manual.

6.B.14.d.   Placement on Selection List

            Officers recommended for selection for promotion by this policy shall not lose or gain
            precedence as a result of being recommended, unless otherwise reordered for another
            reason.


6.B.15.     Aviator Evaluation Board

6.B.15.a.   Convening a Board

            A Coast Guard Aviator Evaluation Board will be convened by Commander (CG
            PSC) when necessary to evaluate the performance, potential, and motivation for
            continued service in flight status of certain Coast Guard aviators. The board will
            function in an advisory capacity to the convening authority and will recommend
            appropriate action to ensure only those aviators who can satisfactorily perform the
            duties required are continued in a flying status. The board is not a disciplinary
            agency in any respect; any action resulting from board recommendation is not
            disciplinary in nature, but rather is intended solely to support the safety of flight
            operations. Where events leading to board action also require disciplinary action,
            the commanding officer, whenever possible, should take such action before the
            board is convened; however, it is not required or necessary that the board be
            informed of the action taken.

6.B.15.b.   Reasons for Convening a Board

            Commander (CG PSC) will normally convene an Aviator Evaluation Board within

            senior that any of the following conditions are considered to exist.

            (1) Faulty Judgment. The aviator has demonstrated faulty judgment in flight
                situations. This may be evidenced by serious or repeated violations of flight
                discipline or mishaps involving pilot judgment.

            (2) Lack of Skill. The aviator has demonstrated a lack of general or specific flight
                skills. This may be evidenced by mishaps or near mishaps involving pilot skill,
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               failure to satisfactorily complete all or any part of a prescribed training syllabus,
               or failure to comply with minimum annual flight requirements for reasons
               within the aviato

            (3) Lack of Mental Abilities. The aviator has demonstrated certain habits, traits of
                character, emotional tendencies, lack of mental aptitude, or motivation that
                makes continuing in assigned flying duties questionable.

            (4) Professionally Unfit. The aviator is considered to be professionally unfit for
                flying for any reason not specified above.

            (5) Not Aeronautically Adaptable. The aviator is considered by a military flight
                surgeon not to be aeronautically adaptable.

            (6) Aviation Class A Mishap. An Aviation Evaluation Board is mandatory
                following any aviation operational Class A mishap and will normally be
                convened after the determination that no disciplinary action will be taken.

6.B.15.c.   Board Membership

            A Coast Guard Aviator Evaluation Board will consist of three Coast Guard aviators
            and a military flight surgeon, preferably Coast Guard. The aviator members must
            be senior to the aviator whose performance is under evaluation and should be
            completely familiar with the same air frame. No member will be appointed who is
            considered to be a prospective witness or interested party. The senior aviator will
            act as senior member of the board. Selections normally will be made so as to
            provide representation from the Officer Personnel Management Division (CG PSC-
            OPM); the Office of Aviation Forces, Commandant (CG-711); and the Operational
            Medicine and Medical Readiness Division, Commandant (CG-1121). Other aviators
            will be designated by Commander (CG PSC) as required to complete the board.

6.B.15.d.   Legal Counsel

            Legal counsel is not a requirement for an informal board.

6.B.15.e.   Commanding Officer Preparation for Board

            The most important reason for removing an aviator from flying status is safety, yet
            Reference (k), Safety and Environmental Health Manual, COMDTINST M5100.47
            (series), prohibits the use of a mishap report as evidence for evaluation boards.
            Therefore, documentation must be derived from other sources such as a Major
            Incident Investigation report, a board of investigation, Flight Examining Board
            minutes, notes to the file, evaluation reports, training records, etc. The following
            general guidelines must be followed in preparing for the board.

            (1) Discuss the deficiencies with the aviator involved.

            (2) If the commanding officer is current in the model aircraft flown by the aviator
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               under question, then fly with the aviator and evaluate his or her performance.

            (3) Several members of the Flight Examining Board should evaluate, in writing, the
                aviator's performance over a period of time.

            (4) When an aviator's performance is considered substandard, the commanding
                officer should direct, in writing, that a program or a plan for additional training
                be established with definite objectives outlined.

            (5) Evaluation report comments and marks should coincide with those of the
                                                                                    not an
                aircraft commander (AC), is having difficulties, comments reflecting the

               When the performance of an AC is questioned, then:

               (a) The commanding officer should counsel the aviator and write a
                   memorandum to the file that the aviator has read and signed.

               (b) If the commanding officer revokes the AC designation, training objectives
                   for requalification should be established unless this action is not feasible.

6.B.15.f.   Required Data

            The following material shall be forwarded to Commander (CG PSC) when an
            aviator is to be considered by a board. Board members will be provided with a copy
            of the case file by Commander (CG PSC) in advance of board proceedings.

            (1) The Commanding Officer shall forward the following info:

               (a) A summary of the facts pertinent to the case, including documentation of the


               (b) Witness statements, if applicable.

               (c) Notification in writing from the commanding officer to the officer that he or
                   she is being recommended for an Aviator Evaluation Board with specific
                   references to the reasons for the recommendation.

               (d) Written acknowledgment from the aviator concerned, including a statement
                   that he or she fully understands the purpose of the board.

               (e) A statement from the commanding officer evaluating the individual's
                   capabilities as a Coast Guard aviator.

               (f) The aviator's flight logs, training records, and any pertinent correspondence,
                   such as Aviation Training Center Mobile evaluation, minutes of Unit
                   Standardization Board, etc.


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               (g) Summary of total flight hours, total hours for the previous three months,
                   total hours by model for the previous three months, and the types of aircraft
                   that the aviator is currently qualified to fly.

               (h) An evaluation by a military flight surgeon, preferably Coast Guard.

            (2) In the event of an AEB convened due to a Class A Mishap, the Major Incident
                Investigation (MII) convening authority will forward a copy of the MII report
                once signed by the MII president.

6.B.15.g.   Board Action

            (1) Proceedings. Board proceedings are to be kept informal to permit a free
                exchange of information and development of additional relevant facts.

            (2) Opening Comments/Statements. Sample opening comments and statements to
                witnesses by the senior member will be provided by Commander (CG PSC) for
                each board.

            (3) Questioning. It is essential that the board and the evaluee be given the
                opportunity to cross-examine witnesses. It is also important that the board
                question the evaluee. The evaluee and witnesses should appear in person during
                board proceedings.

            (4) Recommendations. The board shall carefully consider the data in the case file
                and make one or more of the following recommendations:

               (a) Continuation in full flight status.

               (b) Probationary flight status for a definite period.

               (c) Additional training.

               (d) Orders to duty not involving flying.

               (e) In the case of a Reserve officer, retention on or release from active duty.

6.B.15.h.   Board Report and Final Action

            Upon completion, the board will submit all pertinent documents together with its
            findings and recommendations, signed by all members, to Commander (CG PSC)
            for review. When the board is not unanimous in its recommendations, a minority
            report by a dissenting member may be included. Letter notification of final action
            as approved by Commander (CG PSC) will be forwarded to the evaluee via the
            chain of command.




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6.B.15.i.   Restoration to Duty Involving Flying

            Requests for reinstatement must be addressed to Commander (CG PSC-OPM) via
            the chain of command and must be accompanied by a completed Report of Medical
            Examination, DD Form 2808. Regardless of the reason for original removal from
            flight status, an aviator will not normally be considered for reinstatement if flight
            status was terminated more than 18 months prior to initiation of a request for

            experience indicate that he or she cannot be expected to fill an operational flying
            billet satisfactorily. A former Coast Guard aviator will not normally be reinstated
            in flight status when the removal from flight status was a result of any of the
            following:

            (1) Voluntary request.

            (2) Recommendation of an Aviator Evaluation Board.

            (3) Voluntary acceptance of a change in status or entry into a program which does
                not require flight status (e.g., Reserve Program Administrator).

6.B.15.j.   Reassignment upon Termination of Flight Status

            Aviators whose flight status is terminated as a result of actions taken under Chapter
            5 of this Manual will be reassigned to duty or released as required by the needs of
            the Service at that time.

6.B.15.k.   Disciplinary Action

            Situations involving aviators where disciplinary action is indicated must be handled
            in accordance with instructions applicable to all Coast Guard officers. Suspension
            from duty involving flying is not a disciplinary measure. Further, since the action of
            an Aviator Evaluation Board is not of a disciplinary nature, its recommendations do
            not create a bar to disciplinary measures.




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                  RESERVE PROGRAM ADMINISTRATORS (RPA)
A. Overview. This Chapter states policies and standards for designating Coast Guard officers as
   Permanent and Provisional Reserve Program Administrators (RPAs) and removing such
   designations.

   1. Policies and standards for promoting RPAs are stated in Chapter 3 of this Manual.
   2. Policies and standards for RPAs boards for selection for promotion and designation are
      stated in Chapter 6 of this Manual.

   3. Policies and standards for removing RPA designation and subsequent separations are
      stated in Chapter 5 of Reference (c).

   4. Policy and standards in Article 3.B.10. of this Manual do not apply at any time to chief
      warrant officers (CWO) applying for designation as an RPA.
B. Roles and Responsibilities.

   1. Commandant (CG-1) must:
       a. detail officers as RPAs to effectively develop, train, instruct, and administer the Coast
          Guard Reserve (10 U.S.C. § 10211 and § 12501),
       b. be the approving authority to designate officers as provisional and permanent RPAs, and
       c. annually determine the number of officers to be designated as provisional RPAs.

   2. Commandant (CG-133) may grant waivers to policies and standards in this Chapter not
      explicitly delegated to Commander (CG PSC) .
   3. Commander (CG PSC) must:
       a. hold the provisional and permanent designation boards in accordance with Chapter 6 of
          this Manual, and
       b. promulgate additional procedural guidance as necessary.
C. Number and Distribution in Grade.

   1. Overall RPA limits. The total number of permanent RPAs must be maintained at 1.3 times
      the number of RPA coded billets, rounding to the nearest integer. The authorized reserve
      funded general detail billets of lieutenant (junior grade) and above must be included in
      computing the total number of authorized RPAs.

   2. Distribution. Because of their small numbers and uneven distribution by year groups,

       conform to the grade distribution percentages used on the ADPL.



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   3. RPAs Authorized in Grade of Captain. The maximum number of RPA captains must be
      maintained at 1.5 times the number of RPA captain billets, rounding to the nearest integer.
      A continuation board must be convened under Chapter 6 of this Manual to cause attrition
      and provide needed vacancies to meet the strength limitations of RPA captains under this
      Article.
   4. Exception to RPAs Authorized in Grade of Captain. Without further action, the number of
      RPA captains authorized will be increased temporarily to the extent necessary to permit:

      a. Retaining those RPA captains not recommended for continuation but not yet eligible
         for a regular retirement under 10 U.S.C. § 8323.
      b. Promoting all RPAs on the selection list to captain on the dates their running mates are
         promoted. (14 U.S.C. § 726)
      c. The temporary increase provided above is authorized only for as long as is necessary to
         reduce through normal attrition the number of RPA captains to that otherwise
         prescribed.

D. Designation as Provisional RPAs.

   1. Eligibility for consideration. The following Coast Guard officers are eligible at the
      beginning of the promotion year (1JUL) in which they are competing for designation:

      a. Any Reserve or Regular commissioned ensign with at least 12 months time in
         grade.
      b. Any Reserve or Regular commissioned lieutenant (junior Grade).
      c. Any Reserve or Regular commissioned lieutenant with four or fewer years in
         grade.
      d. Any Regular or Reserve F&S or PERS specialty warrant officer serving in the grade of
         W-4, W-3, or who is a W-2 and who will be considered by the W-3 selection board in
         the same promotion year. Warrant officers must have 26 or fewer years time in
         service.

   2. Waivers. Officers who desire a waiver to the eligibility requirements may apply to
      Commander (CG PSC) through their chain of command. Requests may not be
      approved unless the applicant meets critical Service needs. Waivers for the ensign
      time in grade requirement or the W-3 selection board requirement will not be
      considered.

   3. Requirements for consideration. Applicants must follow procedures promulgated by
      Commander (CG PSC).



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 4. Duration of designation offer. At their discretion, the Commandant may withdraw
    the offer of RPA desination if the selectee has not accepted provisional RPA status
    within 60 days from the notification date.

 5. Impact of designation.

    a. Regular officers in the grade of ensign and above and warrant officers must
       resign their Coast Guard commission and accept a commission in the Coast
       Guard Reserve. They are exempt from the Regular to Reserve Board in
       accordance with Article 1.G. of this Manual, but must follow date of rank and
       precedence standards in Article 1.G.4.a. of this Manual.

    b. All warrant officers designated as a provisional RPA will be offered appointments
       as temporary reserve lieutenants with a date of rank as the first day of EAD.

        (1) Temporary reserve lieutenant precedence will be determined by date of rank.
            Precedence will be determined by warrant specialty hierarchy listed in Article
            2.A.2.b. of this Manual for officers with the same date of rank.

        (2) Permanent grade precedence will remain the same as listed in Article 2.A.2.a.
            of this Manual except that they are not considered by an ADPL board.

    c. Temporary reserve lieutenants who receive their commission through the warrant
       to RPA designation program have the option to integrate to permanent reserve
       officer status upon selection by a best-qualified RPA promotion board in their
       temporary status. Officers that elect to integrate are subject to the service
       limitations in Article 1.A.8.a.(1)(a) and 1.A.8.a.(1)(b) of this Manual.

        (1) Officers electing integration are subject to the requirements in Article 1.A.8.b.
            of this Manual.

        (2) Correspondence requesting appointment authority of all officers eleigible for
            integration as permanent reserve officers will be initiated by Commander (CG
            PSC).

    d. Upon the effective date of designation, officers must be added to the RPA
       promotion list and immediately begin serving as provisional RPAs on extended
       active duty (EAD). Officers already on EAD must cancel their existing EAD
       contract and sign a new EAD contract. The two EAD contracts may be signed
       without a break in active duty.

 6. Effective date of designation. The effective date of designation must be the first day
    of EAD.



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   7. Duration of designation. The officer must not be a provisional RPA for more than
      three consecutive years.
E. Designation as Permanent RPAs.

   1. Opportunity for designation. The permanent RPA designation board must select officers on
      a fully qualified basis.

   2. Eligibility for consideration. The officer must be a provisional RPA between their 2 nd and
      3rd anniversary of designation as a provisional RPA.

   3. Effective date of designation. The effective date of designation must be the third
      anniversary of designation as a provisional RPA.

F. Transfer to the ADPL and receiving a Regular commission. At their request and based on
   Service needs, a permanent RPA serving as a lieutenant or higher may request to have their
   RPA designation removed and be transferred to the ADPL.

   1. The RPA must submit this request to, and in accordance with procedures promulgated by,
      Commander (CG PSC).

   2. Commander (CG PSC) must be the approving authority for this request. This authority
      may be delegated.

   3. RPAs who transfer to the ADPL must execute an active duty agreement for up to five
      years to enable them to be considered for selection to the next higher grade.197B




   4. If an ADPL board selects a former RPA for commander or captain, that officer must
      integrate. Those selected to lieutenant commander must meet all requirements of Article
      1.A.8. of this Manual to be eligible for integration.

G. Reversion to CWO grade.

   1. No permanent RPA designated under Article 7.D.1.d. of this Manual will revert back to a
      CWO grade.

   2. A provisional RPA designated under Article 7.D.1.d. of this Manual may request to give
      up their RPA designation and regain their previous commission, specialty, grade, and time
      in grade served immediately prior to being designated as a provisional RPA. Such requests
      will be considered based on needs of the Coast Guard.

   3. Upon reversion to CWO, time as an RPA must be credited towards the 30 years total
      active service. (10 U.S.C. 1305)




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R 131822Z DEC 22 MID200080590740U
FM COMCOGARD PSC WASHINGTON DC
TO ALCGPSC
BT
UNCLAS
ALCGPSC 159/22
SUBJ: PY23 ADPL LIEUTENANT SELECTION BOARD RESULTS
A. Officer Accessions, Evaluations, and Promotions, COMDTINST M1000.3(series)
1. The Secretary, acting for the President, has approved the report of the
selection board convened on 12 September 2022 which recommended the following
officers on the active duty promotion list (ADPL) for promotion to the grade of
lieutenant. Officers selected are listed below in ADPL precedence order:
NO RANK NAME                          UNIT (AS OF BOARD CONCLUSION)
1   LTJG SIEGRIST, RACHEL A.          D11 INTELLIGENCE BR (DRI)
2   LTJG LAMUN, TRENT J.              OL‐HSWL SC FIELD OPS‐NOLA
3   LTJG DEVALK, KAITLYN S.           UNIV OF MARYLAND
4   LTJG HOLBERTON, AYLEEN N.         CGC TYBEE
5   LTJG TWAROG, EVAN J.              MIFC PAC INTEL PLNS & PLCY DI
6   LTJG WADDELL, HANNAH S.           OL‐SFLC‐ALAMEDA CA
7   LTJG KENIS, SAMANTHA N.           CEU MIA CONSTRUCTION SEC A
8   LTJG JEZUIT, JUSTIN W.            CGC STINGRAY
9   LTJG LOEWENSTEIN, JOHN H.         CGC PIKE
10 LTJG JARRETT III, JOHN S.          SEC MARYLAND‐NCR CMD CENTER
11 LTJG DORIS, CARRIE A.              OL‐SFLC‐MIAMI FL
12 LTJG GRIFFIN JR, ROBERT L.         COMMANDANT (CG‐7613)
13 LTJG O'DONNELL, JESSICA E.         SEC NOLA INVESTIGATE DIV
14 LTJG BAIN, CODY A.                 OL‐CGCC‐35 COB‐ALX
15 LTJG COLLINS, ASHLEY D.            MARINE SAFETY CENTER
16 LTJG FOSTER, BRETT A.              CONSTRUCTION SEC
17 LTJG HOULE, DANIEL F.              SEC SAN DIEGO ENFORCEMENT DIV
18 LTJG TALENS, PATRICIANOEMI C.      PLANNING & REAL PROPERTY SEC
19 LTJG CHANG, OLIVIA M.              DOL‐43
20 LTJG CHUNG, BRANDI H.              BASE ALAM MWA DIV (NM)
21 LTJG GROFF, ALEC J.                NAVCEN MAR TFC/TRACK ANALY DI
22 LTJG RILEY, MATTHEW T.             AIRFAC NEWPORT
23 LTJG BALAZS, MIHALY                CGCIS OPS & INVESTIGATIONS DI
24 LTJG BRAZILE, CORNELIEUS L.        COMMANDANT (CG‐9323)
25 LTJG OLSON, LIESL C.               PACAREA (PAC‐544)
26 LTJG BURSELL, STEVEN E.            MSU HOUMA
27 LTJG REYNOLDS, CASEY M.            MSU PORT ARTHUR
28 LTJG WILLIAMS, TYLER S.            SFLC SB ASSET MANAGEMENT SEC
29 LTJG SESSA, PAUL M.                SEC LA/LB INTEL STAFF
30 LTJG POST, JESSE P.                SEC JCKSNVILLE ENFORCEMENT DI
31 LTJG DEAN, BRANDON R.              SEC NEW YORK INSPECTIONS DIV
32 LTJG O'NEAL, MORIAH T.             OL‐SFLC LRE AMS‐ALAMEDA
33 LTJG COZBY, JAMES A.               OL‐FC‐NAV AIR STA PENSACOLA
34 LTJG FIELDS, CHRISTIAN K.          CGC BARANOF
35 LTJG BATCHELDER, JEFFREY P.        AIRFAC CHARLESTON
36 LTJG CATO, MARIAH D.               OL‐CGCC‐36 TMB‐ALX
37 LTJG GONZALEZ, JACOBO              C5ISC AFLOAT PLATFORM SEC




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38    LTJG   GRAFF, BENJAMIN M.          LOYOLA UNIVERSITY (ONLINE)
39    LTJG   OGG, DEVIN J.               BASE HONO ESD OPS DIV (EO)
40    LTJG   YATES, JACOB W.             BASE NOLA ESD OPS DIV (EO)
41    LTJG   MCDONALD, ALLEN J.          ASSET LINE MGMT SECTION
42    LTJG   GRIBBLE, MATTHEW B.         D7 INTELLIGENCE BRANCH (DRI)
43    LTJG   BAGNAL, HOLDEN B.           LDC OFF ACC & TRANSITIONS DEP
44    LTJG   CRISCI, DANIEL A.           TACLET PACAREA LEDET 107
45    LTJG   ESPINOZA, PHILLIP T.        BASIC FLIGHT
46    LTJG   COOPER, TODD J.             ACTIVITIES FAR EAST
47    LTJG   WHITE, CHRISTOPHER J.       TRACEN YKTWN INTL MOBILE TRNG
48    LTJG   PURCELL, PETER J.           CG NORTH PACIFIC RFTC
49    LTJG   LEVESQUE, SARAH N.          CG STA WASHINGTON
50    LTJG   YELVINGTON, JASON R.        SEC NOLA INSPECTIONS DIV
51    LTJG   OINGERANG, EDWARD M.        CGFM/SEC GUAM INCIDENT MGMT
52    LTJG   SEXTON, RYAN A.             SEC PUGET SND CMD CENTER
53    LTJG   DEER, KATHLEEN E.           BASIC FLIGHT
54    LTJG   RAYMOND, JASON C.           TRACEN YKTWN INCID RESP SCH
55    LTJG   MAGNUS, BENJAMIN K.         AIRSTA BORINQUEN
56    LTJG   DIRADO, ROBERT J.           CG SOUTHEAST RFTC
57    LTJG   PERKINS, CHRISTOPHER A.     TRACEN YKTWN RESP TRNG BR
58    LTJG   OLP, MATTHEW C.             SEC HOU/GAL INVESTIGATE DIV
59    LTJG   CROW, JOHN R.               SEC VIRGINIA INVESTIGATE DIV
60    LTJG   FERRELL, DYLAN F.           SEC NORTH BEND AV OPS DIV
61    LTJG   TRUMPER, WILLIAM R.         CG MFPU BANGOR
62    LTJG   LASTER, BRYCE A.            CG STA MONTEREY
63    LTJG   PETERSON, TYLER D.          D14 ENFORCEMENT BR (DRE)
64    LTJG   FEELY, TYLER P.             AIRSTA BORINQUEN
65    LTJG   MAX, VERA M.                SEC MOBILE INSPECTIONS DIV
66    LTJG   REICHELT, COLLIN R.         TACLET PACAREA LEDET 101
67    LTJG   SATTELBERG, DEVIN L.        SEC HMBLDT BAY AV OPS DIV
68    LTJG   BURNS, TIMOTHY J.           CGC COHO
69    LTJG   IMAGANE, JULIE N.           SEC SAN FRAN INSPECTIONS DIV
70    LTJG   KEENAN, THEODORE M.         AIRSTA TRAVERSE CITY
71    LTJG   NEWCOMER, JOHN A.           UNIV OF CALIFORNIA SAN DIEGO
72    LTJG   AVELLA, PAUL A.             MSRT EAST DIRECT ACTION SEC
73    LTJG   LAMACCHIO, ELIJAH M.        SEC SE NEW ENG WTRWAYS MGT DI
74    LTJG   QUINTIN, JULIAN R.          ICC COUNTER NETWORK ACT DIV
75    LTJG   MASSEY, DANIEL J.           SEC MARYLAND‐NCR INVEST DIV
76    LTJG   THOMPSON, MARCUS J.         MSD PORT CANAVERAL
77    LTJG   MILLER, JULIANA M.          AIRSTA MIAMI
78    LTJG   BLOCK, DYLAN H.             AIRSTA CAPE COD
79    LTJG   TRUNCALE, JOHN R.           CG STA FORT LAUDERDALE
80    LTJG   GUNN, BRENDAN W.            AIRSTA SACRAMENTO
81    LTJG   VALLET, TREVOR J.           D14 EXT AFFAIRS STAFF (DE)
82    LTJG   KAROUSOS, MICHAEL A.        SEC HOU/GAL ENFORCEMENT DIV
83    LTJG   MCPHILLIPS IV, TERENCE W.   BASIC FLIGHT
84    LTJG   GOETZ, KYLE A.              SEC ST PETE INSPECTIONS DIV
85    LTJG   BARBER, EVAN R.             SEC PUGET SND INCIDENT MGT DI
86    LTJG   JARVIS III, JESSE B.        AIRSTA HOUSTON
87    LTJG   DURFEE, STEVEN P.           BASIC FLIGHT




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88    LTJG   LEMKE, TRAVIS J.          BASIC FLIGHT
89    LTJG   PROVEAUX, ERICK C.        SEC ST PETE INSPECTIONS DIV
90    LTJG   LAYMAN, TREVOR A.         SEC JUNEAU CMD CENTER
91    LTJG   CASTILLO, DAVID           SEC MIAMI INVESTIGATE DIV
92    LTJG   SEEVERS, CODY W.          CG NORTHEAST RFTC
93    LTJG   BROWN, TRENTON D.         PST CHEMICAL DIV
94    LTJG   GREENFIELD, MARIA R.      SEC NEW YORK WTRWAYS MGT DIV
95    LTJG   EVRETT, JACOB G.          SEC ANCHORAGE CMD CENTER
96    LTJG   BUTTERS, CHRISTOPHER J.   SEC PUGET SND INCIDENT MGT DI
97    LTJG   GANDARA, MICHAEL J.       OPC PRO PANAMA CITY
98    LTJG   VARRICHIONE, MICHAEL S.   SEC CHARLESTON INSPECTIONS DI
99    LTJG   MCCARTY, JULIA C.         SEC MOBILE INVESTIGATE DIV
100   LTJG   PINTO, ANTHONY M.         MSU MORGAN CITY
101   LTJG   OATWAY, STEPHANIE P.      SEC VIRGINIA ENFORCEMENT DIV
102   LTJG   SHERRY, STACIE L.         MSST CAPE COD OPS SPRT DEPT
103   LTJG   WELCH, CHRISTIAN J.       BASIC FLIGHT
104   LTJG   RUSSELL, WILLIAM W.       SEC PUGET SND INSPECTIONS DIV
105   LTJG   KIM, SHERA S.             SEC SAN DIEGO WTRWAYS MGT DIV
106   LTJG   DE LA RIVA, KENDRA M.     MIFC PAC LIVING MAR RESRC SEC
107   LTJG   GILBERT III, GEORGE R.    SEC HOU/GAL INSPECTIONS DIV
108   LTJG   COOK, NICHOLE K.          SEC NEW YORK INSPECTIONS DIV
109   LTJG   WILLIAMS, ANTHONY L.      LANTAREA (LANT‐33)
110   LTJG   LUDLAM, DANIEL W.         SEC SE NEW ENG INTEL STAFF
111   LTJG   SMARZO, JOSHUA E.         SEC LIS INCIDENT MGT DIV
112   LTJG   MULLEN, RIKKILYNN R.      SEC LOWER MISS INCIDENT MGT D
113   LTJG   BAIR, RACHEL P.           SEC CHARLESTON CMD CENTER
114   LTJG   KNIEP, CHRISTIAN H.       BASE KOD HEALTH SVC DIV (HH)
115   LTJG   ATKINSON, COLTON E.       AIRSTA CAPE COD
116   LTJG   LOWE, SAMUEL W.           BASIC FLIGHT
117   LTJG   DANIELS, WALTER P.        BASIC FLIGHT
118   LTJG   HARKRADER, BROOKE M.      CGC MARGARET NORVELL
119   LTJG   BORDEN, KALI K.           CGC EMLEN TUNNELL
120   LTJG   ROSENBERG, MICHAEL L.     MSST SEATTLE OPS DEPT
121   LTJG   BENTON JR, JOHN L.        2003 CYBER PROTECTION TEAM
122   LTJG   HOPPER, IAN M.            AIRSTA CORPUS CHRISTI
123   LTJG   PHILSON, CHEYENNE M.      CG CRYPTOLOGIC UNIT TEXAS
124   LTJG   ZHOU, WILSON              SEC SAN FRAN INVESTIGATE DIV
125   LTJG   CREAMER, TITUS P.         AIRSTA BARBERS PT
126   LTJG   LEE, GYUMIN               VIRGINIA TECH (ONLINE)
127   LTJG   REYBURN, MARSHALL J.      BASIC FLIGHT
128   LTJG   SCHROEDER, VICTORIA J.    SEC MIAMI INSPECTIONS DIV
129   LTJG   TAMINGER, BENJAMIN K.     BASIC FLIGHT
130   LTJG   AMBROSE, SKYE N.          MIFC PAC POLAR & MAR GOV SEC
131   LTJG   BRACHMANN, MICHAEL L.     AIRSTA ELIZABETH CITY
132   LTJG   MURBY, MATTHEW R.         AIRSTA NORTH BEND
133   LTJG   ZHANG, JIAN               CEU MIA CONSTRUCTION SEC A
134   LTJG   GROCE, ZACHARY W.         BASIC FLIGHT
135   LTJG   REMKE, NICHOLAS A.        NORTHWESTERN UNIVERSITY
136   LTJG   JOHNSON, COLIN A.         TRANS FLIGHT‐CNATT
137   LTJG   NADEAU, CHRISTOPHER N.    CGC JOSEPH DOYLE




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138   LTJG   SNEED, KAITLYN E.           AIRSTA ATLANTIC CITY
139   LTJG   GEURTSEN, BENNER A.         MAT KINGS BAY
140   LTJG   HARRIS, ANDREA M.           OL‐SFLC‐CHARLESTON
141   LTJG   FENSTER, COLIN D.           CGCC‐33 NET OPS & SECURITY CT
142   LTJG   GILLESPIE, DANIEL K.        NAVAL POSTGRADUATE SCHOOL
143   LTJG   CHAN, WARREN K.             BASIC FLIGHT
144   LTJG   JENKINS, CAROLINE M.        BOSTON COLLEGE
145   LTJG   NIEDBALA, ANDREW P.         CGC DONALD HORSLEY
146   LTJG   KIM, BRIAN S.               AIRSTA ELIZABETH CITY
147   LTJG   HEISER, MEGAN M.            SEC NOLA INVESTIGATE DIV
148   LTJG   LOGAN, IAN S.               AIRSTA MIAMI
149   LTJG   ATKINSON, ANITA J.          BASIC FLIGHT
150   LTJG   REYNOLDS, HAILYE M.         SEC KEY WEST WTRWAYS MGT DIV
151   LTJG   BROOMFIELD, ALEXANDER P.    OL‐SFLC LRE APM2‐ALAMEDA
152   LTJG   HOGAN, EMILY E.             CGC RICHARD ETHERIDGE
153   LTJG   BECK, JUSTIN M.             CGC SAWFISH
154   LTJG   SIMCO, SHARAYAH N.          CGC JOHN SCHEUERMAN
155   LTJG   PALERMO‐RE, PATRICK M.      BASIC FLIGHT
156   LTJG   GIRALDO TORRES, VALENTINA   CG ACADEMY
157   LTJG   NAGLE, MATTHEW J.           CGC TERN
158   LTJG   KUONG, PHILIP A.            MSRT EAST PREC MARKSMAN DIV
159   LTJG   PSOINAS, LUKAS J.           CGC KIMBALL
160   LTJG   ZELLER, MICHAEL P.          SEC LAKE MICH INCIDENT MGT DI
161   LTJG   JABS, NICHOLAS D.           CGC STRATTON
162   LTJG   BISHOP, MICHAEL J.          MASSACHUSETTS INST OF TECH
163   LTJG   GRANT, MARSHALL C.          COMMANDANT (CG‐OEM‐2)
164   LTJG   STEPHENS, WILLIAM H.        UNIV OF OREGON
165   LTJG   MCCULLA, CHRISTINE C.       CGC CHARLES SEXTON
166   LTJG   CARR, MARY E.               CGC DIAMONDBACK
167   LTJG   DUNAWAY, HUDSON P.          SEC LAKE MICH INTEL STAFF
168   LTJG   GRIFFITT, LANDRY L.         SEC NORTH BEND AV OPS DIV
169   LTJG   BRUMM, RYAN C.              CGC CLARENCE SUTPHIN
170   LTJG   BRUNO JR, STEPHEN J.        OL‐SFLC‐ALAMEDA CA
171   LTJG   FRIEDMAN, JILL M.           1790 CYBER PROTECTION TEAM
172   LTJG   CASTIGLIONE, MICHAEL A.     MSRT WEST CBRNE DIV
173   LTJG   HARRIS, WALTER A.           SEC HOU/GAL INSPECTIONS DIV
174   LTJG   NIEDERMEYER, ANNA F.        BASIC FLIGHT
175   LTJG   PERKINS, JACOB E.           UNIV OF WASHINGTON
176   LTJG   FRANZA, KELLI A.            UNIV OF CALIFORNIA DAVIS
177   LTJG   SCHROEDER, BRYCE C.         TACLET SOUTH LEDET 407
178   LTJG   THOMPSON, LUKE A.           CGC JAMES
179   LTJG   FRYSTAK, NICHOLAS E.        OPC PRO PANAMA CITY
180   LTJG   FRENCH, WILLIAM J.          AIRSTA MIAMI
181   LTJG   JACKSON, ROBERT E.          UNIV OF MICHIGAN
182   LTJG   DURHAM‐YOUNG, KRISTEN A.    UNIV OF CALIFORNIA BERK
183   LTJG   BRANDT III, JOHN J.         CGC CLARENCE SUTPHIN
184   LTJG   LEHENBAUER, ANNIKA E.       CGC BAILEY BARCO
185   LTJG   CASSIDY, RILEY E.           SEC ANCHORAGE INCIDENT MGT DI
186   LTJG   HUGHLEY, KYLA M.            AIRSTA DETROIT
187   LTJG   JACOBSON, CHARLES G.        OL‐SFLC IBCT APM2‐ALAMEDA




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188   LTJG   KLOPFENSTEIN, LANDON W.   BASIC FLIGHT
189   LTJG   SHIBAZAKI, SASHA R.       TEXAS A&M UNIVERSITY
190   LTJG   HARTER, LEAH M.           CGC FORREST REDNOUR
191   LTJG   BOYCE, HANNAH M.          AIRSTA MIAMI
192   LTJG   BALLANTYNE, LIAM P.       AIRSTA PORT ANGELES
193   LTJG   HOLT, OLIVIA R.           BASIC FLIGHT
194   LTJG   MCGOLDRICK, ANNE R.       SEC BOSTON INCIDENT MGT DIV
195   LTJG   WITTROCK, NICHOLAS J.     ATC MOBILE AVIATION OPS DEPT
196   LTJG   HOLFINGER, ALLYSON D.     BASIC FLIGHT
197   LTJG   BOARDMAN, WILLIAM C.      BASIC FLIGHT
198   LTJG   KLINE, LYDIA M.           MIFC PAC TARGETING & WATCH BR
199   LTJG   DILLEY, JACQUELYN S.      MIFC PAC TARGETING & WATCH BR
200   LTJG   BAKER, ZACHARY I.         OPBAT SUPPORT
201   LTJG   CASHIN, COLIN P.          OL‐SFLC‐BOSTON MA
202   LTJG   WIDMEIER, MADELYNN E.     PACAREA (PAC‐33)
203   LTJG   KEARNEY, ALEXANDER L.     CGC BENJAMIN BOTTOMS
204   LTJG   HEPLER, MICHAELA M.       CGC MORAY
205   LTJG   GOLDCAMP, ETHAN M.        CGC NATHAN BRUCKENTHAL
206   LTJG   MAGILL, GARRETT S.        OL‐SFLC‐BOSTON MA
207   LTJG   HOEHLE, CONNOR T.         AIRSTA MIAMI
208   LTJG   EDMONDS, REBECCA P.       CGC JOHN MCCORMICK
209   LTJG   HARPER, NOAH D.           UNIV OF COLORADO
210   LTJG   CROWLEY, CHARLES P.       D1 ENFORCEMENT BR (DRE)
211   LTJG   OH, HELEN S.              SEC SAN FRAN WTRWAYS MGT DIV
212   LTJG   BEHNE, JACOB P.           CGC MIDGETT
213   LTJG   GOSCH, CHRISTIAN H.       CGC STRATTON
214   LTJG   RAYMOND, ALBERTO S.       BASIC FLIGHT
215   LTJG   RODRIGUEZ, DAVID          CGCC‐3 OPERATIONS DEPT
216   LTJG   JOHNSON III, SIGVARD B.   BASIC FLIGHT
217   LTJG   MARANT, ROBERT A.         CGC PABLO VALENT
218   LTJG   BOINAY, NICHOLAS A.       MSU PORT ARTHUR
219   LTJG   YUAN, MOLLY Y.            OL‐SFLC‐SAN PEDRO
220   LTJG   MARZINSKY, CELIA F.       TRACEN YKTWN DESIGN/CONSTR BR
221   LTJG   FORD III, RANDALL L.      CGC DANIEL TARR
222   LTJG   BAEK, JESSICA Y.          BASIC FLIGHT
223   LTJG   MARRIOTT, MICHAEL D.      CGC KUKUI
224   LTJG   MARTINELLI, MICAELA M.    BASIC FLIGHT
225   LTJG   HELWIG, HUSTON A.         OL‐SFLC PB APM2‐NORFOLK VA
226   LTJG   KELLER, JORDAN T.         D9 COMMAND CENTER (DRMC)
227   LTJG   HOWE, RYLEY P.            BASIC FLIGHT
228   LTJG   HAWLEY, ALEXANDER N.      BASIC FLIGHT
229   LTJG   FRICK, MICHAEL A.         BASIC FLIGHT
230   LTJG   LENNON, NINA J.           SEC MOBILE CP/RDNS STF
231   LTJG   WOOLFOLK, NICHOLAS T.     BASIC FLIGHT
232   LTJG   WYLER, ANTHONY S.         SEC NOLA INSPECTIONS DIV
233   LTJG   ISHIDA, KAYLA L.          PACAREA (PAC‐3MF)
234   LTJG   ELLIS, PATRICK T.         TACLET SOUTH LEDET 402
235   LTJG   SODEMANN, CHASSE H.       MSRT WEST DIRECT ACTION SEC
236   LTJG   HALL, ALEXANDER D.        BASIC FLIGHT
237   LTJG   CARTER, ZANE N.           CGC JACOB POROO




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238   LTJG   EVERETT, MACKENZIE L.       AIRSTA HOUSTON
239   LTJG   JAICTIN, CHRISTIAN L.       OL‐SFLC LRE APM2‐ALAMEDA
240   LTJG   BENSON, CADE D.             AIRSTA ATLANTIC CITY
241   LTJG   LLEWELLYN, LEAH L.          BASIC FLIGHT
242   LTJG   JOHNSON, SYDNEY S.          OL‐SFLC LRE SES1‐ALAMEDA
243   LTJG   MCCLUSKY, KENDALL F.        BASIC FLIGHT
244   LTJG   HINDLE, MALIA R.            SEC DEL BAY CMD CENTER
245   LTJG   DEMAIO, DAVID B.            CGC SHRIKE
246   LTJG   BOINAY, CARTER E.           MSU PORT ARTHUR
247   LTJG   BURNHAM, GREGORY G.         CGC HADDOCK
248   LTJG   ROWE, TAYLOR M.             CGC ARGUS
249   LTJG   JUNG, TAEHYUN               CGC HAROLD MILLER
250   LTJG   LARSON, MICAH J.            OL‐SFLC PB APM3‐NORFOLK VA
251   LTJG   MORIN, ANNA G.              CGC ROLLIN FRITCH
252   LTJG   ROSE, DAVID M.              CGC WAESCHE
253   LTJG   MOOLENAAR, JOHANNA L.       SEC NEW YORK ENG/SUPPORT DIV
254   LTJG   CARDINAL, JONATHAN H.       BASE KOD ENG & MGMT DIV (FM)
255   LTJG   ELLIS, JAMES C.             CGC RAYMOND EVANS
256   LTJG   SALMON, SCOTT R.            BASIC FLIGHT
257   LTJG   PARSONS, QUINTIN H.         TACLET PACAREA LEDET 106
258   LTJG   HUDSON, COLE T.             OL‐SFLC‐KEY WEST FL
259   LTJG   AUSTIN, COLE T.             MSRT EAST DIRECT ACTION SEC
260   LTJG   NELTHROPP JR, GARY C.       CONSTRUCTION SEC
261   LTJG   BRIZZI, MELISSA A.          SEC HOU/GAL CMD CENTER
262   LTJG   JONES, MATTHEW N.           MSU TEXAS CITY
263   LTJG   JONES, THOMAS M.            REGIONAL EXECUTION BRANCH
264   LTJG   FITZPATRICK, JAMES T.       BASIC FLIGHT
265   LTJG   ATHANASATOS, STEPHANIE R.   SEC MIAMI INCIDENT MGT DIV
266   LTJG   MCCASLIN, MICHAEL R.        BASIC FLIGHT
267   LTJG   JENKINSON, JARRED W.        CGC STONE
268   LTJG   ANDREWS, CASSIDY F.         LDC OFF ACC & TRANSITIONS DEP
269   LTJG   TURNER, JOSHUA Q.           SEC COL RIVER INSP DIV
270   LTJG   VACCARO, ANNA M.            CGC WALNUT
271   LTJG   GAUSE, MAYA S.              SEC NEW YORK CP/RDNS STF
272   LTJG   REEDER, DUSTIN L.           CGC RICHARD SNYDER
273   LTJG   ORTIZ, ANGELA L.            BASIC FLIGHT
274   LTJG   STEPHANY, BRENDAN J.        NAVCEN MAR SAFETY INFO DIV
275   LTJG   PORTER, JEFFREY E.          CGC SYCAMORE
276   LTJG   BENSON, NOLAN G.            CGCIS RESOURCES & ADMIN BR
277   LTJG   BLEIFUSS, THOMAS C.         CGC SITKINAK
278   LTJG   O'DONNELL, DUGAN M.         CGC MAPLE
279   LTJG   NELSON, WILLIAM C.          CGC JAMES
280   LTJG   SHORT, HAYDEN M.            BASIC FLIGHT
281   LTJG   CERRATO III, RAYMOND J.     CGC STONE
282   LTJG   CARTER, RACHEL H.           BASIC FLIGHT
283   LTJG   DUPREE, JACOB C.            CGC ROBERT YERED
284   LTJG   JOYNER, JAYLA D.            CGC JOHN SCHEUERMAN
285   LTJG   HOVEY, KAREN A.             SEC PUGET SND INCIDENT MGT DI
286   LTJG   JENKINS JR, PERRY R.        CGC WAESCHE
287   LTJG   GOCHNOUR, GRETCHEN A.       D8 COMMAND CENTER (DRMC)




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288   LTJG   WIEGLEB, REID E.             CGC LIBERTY
289   LTJG   GILLILAND, CLAIRE A.         SFLC SB PRGM DEPOT MAINT SEC
290   LTJG   FINN, DANIEL P.              CGC HERIBERTO HERNANDEZ
291   LTJG   WILSON, LUKE M.              CGC WILLIAM TRUMP
292   LTJG   WILHELM, ADAM M.             CGC MUSTANG
293   LTJG   HACKETT, THOMAS A.           BASIC FLIGHT
294   LTJG   RE, ALICEN T.                CGC DOUGLAS DENMAN
295   LTJG   CHAPMAN V, RYLAND O.         PRO GULF COAST
296   LTJG   BYNUM, KRISTINA A.           SEC SAN JUAN INCIDENT MGT DIV
297   LTJG   CONNELLY, ANDREW S.          AIRSTA CORPUS CHRISTI
298   LTJG   KANG, ANDREW K.              D11 ENFORCEMENT BR (DRE)
299   LTJG   GUMBLETON, JOSHUA W.         CGC BERTHOLF
300   LTJG   CARMINE, MATTHEW W.          CGC GLEN HARRIS
301   LTJG   POPE, JOHN M.                MIFC PAC POLAR & MAR GOV SEC
302   LTJG   DAVIS, CHANDON J.            CGC PENOBSCOT BAY
303   LTJG   YAKE, JONATHAN B.            MAT BANGOR
304   LTJG   MORENO, DANIEL S.            C5ISC SHORE PLATFORM SEC
305   LTJG   BOLDRIN, EVAN M.             BASIC FLIGHT
306   LTJG   BRIGHAM, ZACHARY R.          COMMANDANT (CG‐438)
307   LTJG   JACKSON, PATRICK D.          CG MFPU KINGS BAY
308   LTJG   MIRANDA, STEPHANIE L.        D7 WATERWAYS MGMT BR (DPW)
309   LTJG   RITTENHOUSE III, HOWARD A.   COMMANDANT (CG‐933)
310   LTJG   HARVEY, NATHANIEL A.         USS DONALD COOK (DDG 75)
311   LTJG   LAMBERT, JOSHUA L.           BASIC FLIGHT
312   LTJG   HARRINGTON, ALEXANDRIA L.    SEC MIAMI LOGISTICS DEPT
313   LTJG   CHAU, ADRIAN A.              D13 COMMAND CENTER (DRMC)
314   LTJG   SANSONE, RILEY S.            CGC WAESCHE
315   LTJG   GUMBLETON, JOHN P.           OL‐SFLC‐SEATTLE WA
316   LTJG   DELP, BRYAN G.               SEC DEL BAY ENFORCEMENT DIV
317   LTJG   KLAGES, GRIFFIN M.           SEC NOLA INSPECTIONS DIV
318   LTJG   MCCRARY, MAXIMILIAN V.       D13 COMMAND CENTER (DRMC)
319   LTJG   GUILLEN‐BLANFORD, JAMES A.   D11 COMMAND CENTER (DRMC)
320   LTJG   PERKINS, NICHOLAS S.         CGC MIDGETT
321   LTJG   FROSLEE, JULIE M.            OPBAT SUPPORT
322   LTJG   MONTION, LUKAS C.            AIRSTA ASTORIA
323   LTJG   BREARD, THOMAS M.            AIRFAC CHARLESTON
324   LTJG   DUARTE, ALEX                 SEC SAN JUAN INSPECTIONS DIV
325   LTJG   HELMKE, CAROLINA C.          SEC HONOLULU INVESTIGATE DIV
326   LTJG   CUNNINGHAM, KYLE R.          MSST HONO OPS SPRT DEPT
327   LTJG   KELLY, JOHN P.               CGC LAWRENCE LAWSON
328   LTJG   LEFLER, KATHERINE B.         SEC ANCHORAGE INSPECTIONS DIV
329   LTJG   KELLEY, WILLIAM H.           SEC BUFFALO WTRWAYS MGT DIV
330   LTJG   DZURIK, MARTIN P.            SEC LA/LB INSPECTIONS DIV
331   LTJG   FOGARTY, AODHAN P.           ATC MOBILE AVIATION OPS DEPT
332   LTJG   ANDERSON, PETER E.           SEC NOLA INSPECTIONS DIV
333   LTJG   JABLONSKI, NIKITA A.         MSRT EAST WHETSTONE DIV
334   LTJG   WALKER, ELLEN C.             SEC JCKSNVILLE CMD CENTER
335   LTJG   KESICH, MARK F.              MSU HOUMA
336   LTJG   FITZSIMMONS, PATRICK M.      OL‐FC‐NAV AIR STA PENSACOLA
337   LTJG   MARCANO DIAZ, ORLANDO J.     C5ISC MOBILE & CELLULAR BR




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338   LTJG   LOFTON JR, CHARLES T.      C5ISC MOBILE DATA & VOICE‐ALE
339   LTJG   HANSEN, JENNIFER P.        UNIV OF MICHIGAN
340   LTJG   FOLK, BENJAMIN D.          UNIV OF CALIFORNIA BERK
341   LTJG   BANKS, CURTIS T.           OL‐LANT JTF E‐PORTSMOUTH
342   LTJG   MCCLENDON, ZADA S.         SEC MARYLAND‐NCR CP/RDNS STF
343   LTJG   FERGUSON, RUSSELL C.       COMMANDANT (CG‐MSR‐1)
344   LTJG   ANDERSON, GEOFFREY O.      CGC JACOB POROO ALT CREW
345   LTJG   WOLFE, KRYSTAL L.          COMMANDANT (CG‐9335)
346   LTJG   THOMAS JR, DARRYL V.       COMMANDANT (CG‐7D)
347   LTJG   WAIDE, ALEXANDER J.        SEC SAN JUAN ENFORCEMENT DIV
348   LTJG   BOATMAN, RYAN C.           TRACEN YKTWN HEALTH SVCS BR
349   LTJG   CLAY, CHAD E.              TRACEN C MAY HEALTH SVCS BR
350   LTJG   MEEK, BRYAN R.             TRACEN PET HEALTH SVCS BR
351   LTJG   VOLLEN, JACOB M.           TRACEN C MAY HEALTH SVCS BR
352   LTJG   MCCULLARS, ERIC G.         COMMANDANT (CG‐NCC)
353   LTJG   YETZER, NICOLE C.          C5ISC IDENT & ASSET ACCESS MG
354   LTJG   PIETRUSZKA, LISA M.        SFLC LRE SYS AND EQUIP SEC 2
355   LTJG   KORENGEL, KARA I.          MSU PORT ARTHUR
356   LTJG   CARROLL, CLAYTON D.        SEC MOBILE INSPECTIONS DIV
357   LTJG   SACINO, JOHN G.            SEC ST PETE INSPECTIONS DIV
358   LTJG   HAUSSLER, TARNEY K.        SEC NORTH BEND AV OPS DIV
359   LTJG   NELSON, LUCAS H.           ICC CYBER & ACQUISITIONS BR
360   LTJG   DIDIANO, NICHOLAS J.       TACLET SOUTH LEDET 403
361   LTJG   DUPRE, SARAH C.            AST CHEMICAL DIV
362   LTJG   COLUCCI, JOHN R.           CGC HAMILTON
363   LTJG   KIRLIN, ELIZABETH T.       SEC VIRGINIA INSPECTIONS DIV
364   LTJG   NELSON, MARK W.            SEC HOU/GAL INSPECTIONS DIV
365   LTJG   TURNER, RIANA K.           SEC NEW YORK CMD CENTER
366   LTJG   RUBIO, KATHRYN S.          C5ISC PLANNING SUT SEC‐KERN
367   LTJG   HALEY, SAMUEL R.           SEC MOBILE INSPECTIONS DIV
368   LTJG   WILLIAMS, SARAH A.         LANTAREA (LANT‐35)
369   LTJG   MEDINA, JEREMY A.          MSU TEXAS CITY
370   LTJG   TRAVERS, MICHAEL R.        AIRSTA ASTORIA
371   LTJG   MORRISON, SAMUEL L.        SEC PUGET SND INSPECTIONS DIV
372   LTJG   MAES III, RENE F.          SEC SAN DIEGO CMD CENTER
373   LTJG   KIHN, ANDREW J.            MSRT EAST WHETSTONE DIV
374   LTJG   DEINNOCENTIIS, JAMES J.    SEC MIAMI INSPECTIONS DIV
375   LTJG   HARRISON, AMY E.           D1 INTELLIGENCE BR (DRI)
376   LTJG   DOHERTY, BRETT D.          AIRSTA SACRAMENTO
377   LTJG   MORALES‐RIVERA, ANGEL E.   SEC JCKSNVILLE INSPECTIONS DI
378   LTJG   DIGERNESS, COLETTE L.      SEC DEL BAY INSPECTIONS DIV
379   LTJG   EASTMAN, SKYE J.           SEC HONOLULU INSPECTIONS DIV
380   LTJG   SHAVER, RYAN P.            SEC MOBILE INSPECTIONS DIV
381   LTJG   ROMITO, MADELINE K.        SEC ANCHORAGE CMD CENTER
382   LTJG   CARROLL, ANDREW B.         AIRSTA ATLANTIC CITY
383   LTJG   KUPFER, SAMUEL J.          SEC CORPUS CHR INSPECTIONS DI
384   LTJG   STOEHR, CHRISTOPHER H.     BASIC FLIGHT
385   LTJG   MORRISON, DON P.           MSU TEXAS CITY
386   LTJG   CONRAD, GARRETT            SEC DEL BAY INSPECTIONS DIV
387   LTJG   VELANDIA, ALVARO N.        BASIC FLIGHT




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388   LTJG   REDMOND, JEFFREY J.      IPF SOUTH PORTLAND
389   LTJG   YOST, KELLY N.           SEC PUGET SND INSPECTIONS DIV
390   LTJG   ELDRIDGE, BRIAN Z.       AIRSTA TRAVERSE CITY
391   LTJG   OATES, SKYLER S.         SEC SAN FRAN INSPECTIONS DIV
392   LTJG   ONORATO, MITCHELL J.     SEC NEW YORK INSPECTIONS DIV
393   LTJG   HICKS, DARREN M.         SEC CORPUS CHR INSPECTIONS DI
394   LTJG   SHAIKH, ZAIN S.          MSST KB OPS SPRT DEPT
395   LTJG   EDWARDS, ROY T.          LDC OFF ACC & TRANSITIONS DEP
396   LTJG   HARRIS, SARAH M.         SEC SAN FRAN INSPECTIONS DIV
397   LTJG   OSBURN, ZACCARY S.       BASIC FLIGHT
398   LTJG   SMITH, EMILY C.          SEC NEW YORK INSPECTIONS DIV
399   LTJG   TURNER, SHELLEY E.       SEC NOLA INSPECTIONS DIV
400   LTJG   MAREK, CONNER S.         AIRSTA HOUSTON
401   LTJG   STODDARD, ANDREW R.      BASIC FLIGHT
402   LTJG   LEWTER, TIANA R.         LANTAREA (LANT‐35)
403   LTJG   KOSTEK, ANTHONY J.       SEC LIS ENFORCEMENT DIV
404   LTJG   HARRIS, ANTHONY E.       MSU MORGAN CITY
405   LTJG   HOGAN, SCOTT E.          BASIC FLIGHT
406   LTJG   VILLARREAL, MARTHA A.    D8 INTELLIGENCE BR (DRI)
407   LTJG   UNDERWOOD, KALEY D.      SEC KEY WEST ENFORCEMENT DIV
408   LTJG   KING, TRENTON M.         BASIC FLIGHT
409   LTJG   ANSLEY, ELIZABETH T.     MIFC LANT ANALYSIS BR
410   LTJG   ETIENNE, GUERSCHOM       MSU MORGAN CITY
411   LTJG   THOMPSON, LYNETTE K.     SEC JCKSNVILLE INCIDENT MGT D
412   LTJG   CASH, ITZEL L.           C5ISC LONG RANGE SYSTEMS BR
413   LTJG   BANNON, MICHAEL L.       MSU HOUMA
414   LTJG   MASDEU, MATIAS G.        CGCYBER COMMAND
415   LTJG   CAMPBELL, CHRISTIAN S.   PACAREA (PAC‐3MF)
416   LTJG   AGRUSTA, ROBERTO         TACLET PACAREA LEDET 110
417   LTJG   RUBINO, SOPHIA C.        AIRFAC CHARLESTON
418   LTJG   QUESNELL, JACOB D.       SEC NOLA INSPECTIONS DIV
419   LTJG   GARNER, RINARDO S.       SEC HONOLULU ENFORCEMENT DIV
420   LTJG   MAHONEY, JAMES P.        SEC CORPUS CHR INCIDENT MGT D
421   LTJG   VANDER MOLEN, RYAN B.    OL‐SFLC‐BOSTON MA
422   LTJG   GIORGI, BRYANT R.        CGC KATMAI BAY
423   LTJG   FINK, LESTER S.          AIRSTA CORPUS CHRISTI
424   LTJG   HESSE, CHRISTOPHER D.    AIRFAC CHARLESTON
425   LTJG   ZIEBELL, ANDREW S.       AIRSTA CORPUS CHRISTI
426   LTJG   MUENTER, GRANT R.        SEC ANCHORAGE CMD CENTER
427   LTJG   SOBELMAN, MICHAEL B.     SEC SAN DIEGO CMD CENTER
428   LTJG   US, CHRISTOPHER J.       CGC ALEX HALEY
429   LTJG   GOMEZ, NOELLE E.         SEC NOLA INSPECTIONS DIV
430   LTJG   HARRISON, JOHN W.        SEC VIRGINIA INSPECTIONS DIV
431   LTJG   HELLER, SAMUEL N.        SEC PUGET SND INSPECTIONS DIV
432   LTJG   USSEGLIO, THOMAS J.      BASIC FLIGHT
433   LTJG   GRAHAM, NICHOLAS D.      SEC N CAROLINA CMD CENTER
434   LTJG   CULTON, SCOTTI L.        SEC SS MARIE CMD CENTER
435   LTJG   BABIN, LIONEL T.         SEC MIAMI INSPECTIONS DIV
436   LTJG   BAER, JOSHUA S.          COMMCOM OPERATIONS DEPT
437   LTJG   CARR, PAUL S.            OLD DOMINION UNIVERSITY




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438 LTJG GAINER, SAMUEL M.            CGCC‐33 CYBERSECURITY OPS CTR
439 LTJG HIGGINS, JAMIE M.            C5ISC INTEGRATED COMMS SYSTEM
440 LTJG COREANO, JOHN                UNIV OF SAN DIEGO
441 LTJG JORDAN, JENNIFER E.          D5 INTELLIGENCE BR (DRI)
442 LTJG STEWART, RACHEL E.           COMMANDANT (CG‐257)
443 LTJG SCHOEPPNER, BRYAN R.         ICC DRUGS BRANCH
444 LTJG HOFFMAN, CHARLES R.          BASE KET PERS SUPPORT DEPT (P
445 LTJG WILSON, KRISTOFER S.         OL‐(CG‐LGL)‐BOSTON
446 LTJG VEGA MERCADO, JOSE L.        COMMANDANT (CG‐7613)
447 LTJG HUGHES, MARQUICHE O.         COMMCOM LOGISTICS DEPT
448 LTJG ROBIDA, MATTHEW R.           OL‐FC‐NAV AIR STA PENSACOLA
2. Officer selection boards review only officers' records and any communications
from candidates directly to the board. The board is also given a roster of the
eligible candidates listed in alphabetical order. Above and In‐Zone officer
rosters are combined, so the status of the officer is not discernible. Only the
officer portion of a record is viewable by the board.
3. Ref A outlines the In‐Zone Reordering tool available to all ADPL and RPA best
‐qualified promotion boards for ranks O‐3 through O‐6. The board chose to
utilize this tool. The board chose to reorder 11 of those chosen for promotion.
These officers are listed at the top of the list by order of precedence.
4. Promotion statistics for this board are provided below. There are many
variables (e.g., changes in performance, group size, etc.) that will cause
selection rates to fluctuate from year to year among groups. Documented,
sustained high performance is the best way to remain competitive for promotion.
5. Stated opportunity of selection (OOS) In‐Zone: 95%
   a. Actual Selection Rate In‐Zone: (427/472 ‐ 91%)
   b. Actual Selection Rate Above‐Zone: (21/39 ‐ 54%)
   c. Number of officers selected Below‐Zone: N/A
   d. Number of officers selected for In‐Zone Reordering: 11
   e. Approved voluntary separations: 5
6. In‐Zone selection rates by gender:
   a. Female: (120/132 ‐ 94%)
   b. Male: (307/340 ‐ 90%)
7. In‐Zone selection rates by race category:
   a. American Indian/Alaskan Native: (2/2 ‐ 100%)
   b. Asian: (23/29 ‐ 79%)
   c. Black or African American: (26/32 ‐ 81%)
   d. Multi Race: (24/30 ‐ 80%)
   e. Native Hawaiian/Pacific Islander: (3/3 ‐ 100%)
   e. White: (320/345 ‐ 93%)
   f. Declined to respond: (29/31 ‐ 94%)
8. In‐Zone selection rates by ethnic category:
   a. Hispanic: (44/48 ‐ 92%)
   b. Non‐Hispanic: (308/338 ‐ 91%)
   c. Declined Comment: (75/86 ‐ 87%)
9. In‐Zone selection rates by accession source:
   a. Academy: (212/233 ‐ 91%)
   b. Appointment from Enlisted Status: (8/8 ‐ 100%)
   c. Appointment from other source: (68/78 ‐ 87%)
   d. Reserve Grad OCS: (138/152 ‐ 91%)




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   e. Appointment from other Reserve: (1/1 ‐ 100%)
   f. Licensed Officer Merchant Marines: (0/0 ‐ N/A)
10. The board's membership and units are:
NAME                             UNIT
CAPT    Michael E. Campbell      D11 COMMAND CADRE (D)
CDR     Clay D. McKinney         CEU MIAMI‐PRODUCT LINE
CDR     Noel H. Johnson          MSST NY COMMAND STAFF
LCDR    Kristine R. Red Elk      COMMANDANT (CG‐9315)
LCDR    Shea G. Winterberger     CGC HICKORY
LCDR    Alexandra S. Miller      SEC SAN FRAN WTRWAYS MGT DIV
LT      Nicole Y. Kenney         TRACEN YKTWN OP INTEL SCHOOL
LT      George O. Ziworitin      BASE MB ESD OPS DIV (EO)
LT      Matthew A. Martin        OL‐(CG‐721)‐DHS CWMD DC
11. The Commandant's Guidance to Promotion Year 2023 Officer Selection Boards
and Panels is available at the following link:
(Copy and paste the URL below into browser)

https://cglink.uscg.mil/7e87f681

12. The proceedings of the selection board, including its deliberations and
criteria for selection, cannot be disclosed to any person who was not a member
of the board. If there are any questions regarding the board process, please
contact LCDR Christopher Rabalais, Chief, Boards Section, at
Christopher.P.Rabalais@uscg.mil and CWO Timothy Jones at Timothy.R.Jones
@uscg.mil. Questions regarding officer status or precedence should be directed
to LT Michele Natale at Michele.A.Natale@uscg.mil.
13. Release: RDML D. C. Barata, Commander, Personnel Service Center, sends.
14. Internet release is authorized.




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                     )
MICHAEL MARCENELLE, on behalf of                    )
themselves and all others similarly situated,       )
                                                    )       Case No. 4:22-cv-00825-P
                       Plaintiffs,                  )
v.                                                  )
                                                    )
ALEJANDRO N. MAYORKAS, in his official              )
capacity as Secretary of Homeland Security, et al., )
                                                    )
                       Defendants.                  )


            DECLARATION OF VICE ADMIRAL (RETIRED) WILLIAM LEE

       Pursuant to 28 U.S.C. § 1746, I, William Lee, under penalty of perjury declare as follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I retired from active duty service in the Coast Guard in 2016. I served in the Coast

Guard for nearly 36 years, and retired as a 3-star Vice Admiral. I still maintain contact with many

active duty service members of various ranks and remain generally aware of how the Coast Guard

currently functions including in making personnel decisions as described in this declaration.

       3.      During my career, I held numerous command, operational, and staff positions. The

Coast Guard as a whole is divided into two area commands: the Atlantic Area and the Pacific Area.

In my final assignment, I served as the Commander of the Coast Guard Atlantic Area. In this role,

I was the operational commander for all Coast Guard missions from the Rocky Mountains to the

Arabian Gulf. More than 100 ships, more than half of the Coast Guard’s aircraft, and around two

thirds of the Coast Guard’s operational personnel fell under my command. By law, the Coast

Guard may have no more than five Vice Admirals at a time. I reported directly to the Commandant

of the Coast Guard.
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       4.      I am aware that the Coast Guard has rescinded its vaccine mandate and has issued

some related guidance. I am also aware that the Coast Guard has directed that all adverse

paperwork such as CG-3307s documenting noncompliance with the vaccine mandate be removed

from service members’ records.

       5.      In my opinion, these moves, even if promptly and properly enacted without causing

further harm, are not sufficient to halt all ongoing harms objecting service members are facing and

will face during their careers in the Coast Guard.

       6.      The Coast Guard is much smaller than other United States’ military services, having

less than 50,000 active and reserve service members. As a result, the Coast Guard is a tight-knit

community. Commanders, and particularly admirals, spend their careers working closely together

and attending professional military education. I frequently consulted my peers to collaborate on

leadership decisions.

       7.      Some of the most important leadership decisions I made in the Coast Guard were

personnel decisions, which I believe are generally made in substantially the same way as when I

was in the Coast Guard. As a commander, I consulted with other officers to determine best

candidates for prestigious leadership positions and promotions based on a candidate’s “service

reputation.” These conversations helped us commanders foster our most talented personnel by

ensuring assignments were made with a comprehensive view of a candidate’s performance and

character. Like other commanders, I often advocated for promising officers and enlisted members

to my peer commanders by “putting a good word in for them.” On the other hand, like other

commanders, I also provided frank insights to my peers when, in my professional military

judgment, a candidate was not qualified for a position. Moreover, when a service member

transferred out of my unit, like other commanders, I would regularly contact the gaining unit to

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pass on my leadership insights, including the person’s strengths, weaknesses, and any disciplinary

issues I had encountered during my period of supervision.

          8.    As another example of how “service reputation” affects a member’s career, the

Coast Guard uses promotion boards to select eligible candidates for promotion to higher ranks or

for command. The boards are comprised of officers who are senior in rank to the candidate. For

junior ranks with many candidates, selections are based primarily on the candidates’ record. For

higher ranks, however, there are fewer candidates and therefore a greater likelihood that a board

member personally knows a candidate. When this happens, it is my experience that a board

member will advocate for or caution against the candidate based on his or her personal knowledge

of the candidate.

          9.    In other words, selection boards frequently consider material beyond just the

candidate’s performance records. This extra information often has a direct effect on the selection

or nonselection of a candidate.

          10.   As a result, even if all documentation of a service member’s religious

accommodation request and any subsequent punishments are completely expunged from a service

member’s record, the member’s service reputation may still be tainted with concrete, predictable

harms to their career because selection board members may share personal knowledge of a

candidates’ failure to comply with what many in the Coast Guard still consider to be “a lawful

order.”

          11.   Coast Guard commanders and service members as a whole are required to abide by

and to respect any civil-court order that declares unlawful a Coast Guard order or policy.

          12.   I am aware that courts have entered orders specifically recognizing the unlawful

treatment of religious objectors to the vaccine mandate in all of the other service branches—Navy,

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Air Force, Marines, and Army—but to my knowledge no court has specifically recognized the

unlawful treatment of religious objectors in the Coast Guard.

       13.     In my opinion, the Coast Guard’s persistent assertion that its COVID-19

vaccination mandate was a “lawful order,” especially given the absence of a court order

specifically recognizing the unlawful treatment of religious objectors in the Coast Guard,

perpetuates the harm to service reputation of religious objectors. Based on conversations I have

had with admirals still on active duty, many in Coast Guard leadership have regarded these service

members as disobeying a lawful order since the mandate went into effect.              From recent

conversations I have had with those admirals, Coast Guard leadership still considers these service

members to have disobeyed a lawful order, even where no such documentation currently exists in

their records. Their opinion of these service members has not changed, despite Congress passing

a law to halt the DoD’s mandate, and the Coast Guard rescinding the mandate, lifting restrictions

on unvaccinated personnel, and removing adverse records.

       14.     With the Coast Guard maintaining that the mandate was a lawful order, and absent

a court order, I believe there is a very strong likelihood that institutional memory of a service

member’s noncompliance will harm the service reputation of religious objectors, resulting in fewer

opportunities and fewer promotions.

       15.     This declaration comes with considerable personal angst, for I find myself at odds

with the institution that I love, and with current leaders whom I admire and respect. I do not

believe that any of them would purposely perpetrate and/or advocate for any action that they did

not perceive was legal, necessary, and in the best interest of the service. However, while I

recognize that the service is making efforts to expunge some records, the remaining issue, i.e., the

legality of the order itself, remains to be resolved. The itinerate complexities surrounding this

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R 091811Z JAN 23 MID600052595748U
FM COMDT COGARD WASHINGTON DC
TO ALCOAST
BT
UNCLAS
ALCOAST 009/23
SSIC 1600
SUBJ: COVID-19: MANDATING COVID-19 VACCINATION FOR MILITARY
MEMBERS UPDATE
A. COMDT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
B. COMDT COGARD WASHINGTON DC 072247Z SEP 21/ALCOAST 315/21
1. The President signed the National Defense Authorization Act
(NDAA) for Fiscal Year 2023 on December 23, 2022, which includes
a provision directing the Secretary of Defense to rescind the
mandate that members of the Armed Forces be vaccinated against
COVID-19. The Department of Defense (DOD) rescinded its mandate
on January 6, 2023.
2. In alignment with the DOD, REFs (A) and (B) are cancelled.
Effective immediately, the Coast Guard is stopping all involuntary
administrative separations that resulted from violations of the
lawful general orders to become vaccinated against COVID-19
included within REFs (A) and (B).
3. Further guidance on other administrative actions, including PCS
and TDY transfer policies for unvaccinated members, is forthcoming.
4. Questions regarding this ALCOAST may be directed to Office of
Military Personnel Policy (CG-133) at:
HQS-PolicyandStandards@uscg.mil.
5. ADM Steven Poulin, Vice Commandant (VCG), sends.
6. Internet release is not authorized.




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                                     SECRETARY OF DEFENSE


                                                                                            2023□
                                     1000 DEFENSE PENTAGON


                                                                                                B
                                    WASHINGTON, DC 20301 - 1000
                                                                                 JAN 10


    MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
                   COMMANDERS OF THE COMBATANT COMMANDS
                   DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

    SUBJECT: Rescission of August 24, 2021 and November 30, 2021 Coronavirus Disease 2019
             Vaccination Requirements for Members of the Armed Forces

           I am deeply proud of the Department's work to combat the coronavirus disease 2019
    (COVID-19). Through your leadership, we have improved the health of our Service members
    and the readiness of the Force, and we have provided life-saving assistance to the American
    people and surged support to local health care systems and agencies at all levels of government.
    The Department has helped ensure the vaccination of many Americans, while simultaneously
    providing critical and timely acquisition support for life-saving therapeutics, tests, and treatments
    for COVID-19. We have demonstrated the ability to support and defend the Nation under the
    most trying of circumstances.

            The Department wi.ll continue to promote and encourage COVID-19 vaccination for all
    Service members. The Department has made COVID-19 vaccination as easy and convenient as
    possible, resulting in vaccines administered to over two million Service members and 96 percent
    of the Force-Active and Reserve - being fully vaccinated. Vaccination enhances operational
    readiness and protects the Force. All commanders have the responsibility and authority to
    preserve the Department's compelling interests in mission accomplishment. This responsibility
    and authority includes the ability to maintain military readiness, unit cohesion, good order and
    discipline, and the health and safety of a resilient Joint Force.

            On December 23, 2022 the James M. Inhofe National Defense Authorization Act
    (NDAA) for Fiscal Year (FY) 2023 was enacted. Section 525 of the NDAA for FY 2023
    requires me to rescind the mandate that members of the Armed Forces be vaccinated against
    COVID-19, issued in my August 24, 2021 memorandum, "Mandatory Coronavirus Disease 2019
    Vaccination of Department of Defense Service Members." I hereby rescind that memorandum.
    I also hereby rescind my November 30, 2021 memorandum, "Coronavirus Disease 2019
    Vaccination for Members of the National Guard and the Ready Reserve."

            No individuals currently serving in the Armed Forces shall be separated solely on the
    basis of their refusal to receive the COVID-19 vaccination if they sought an accommodation on
    religious, administrative, or medical grounds. The Military Departments will update the records
    of such individuals to remove any adverse actions solely associated with denials of such
    requests, including letters of reprimand. The Secretaries of the Military Departments will further
    cease any ongoing reviews of current Service member religious, administrative, or medical
    accommodation requests solely for exemption from the COVID-19 vaccine or appeals of denials
    of such requests.




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            Religious liberty is a foundational principle of enduring importance in America,
    enshrined in our Constitution and other sources of Federal law. Service members have the right
    to observe the tenets of their religion or to observe no religion at all, as provided in applicable
    Federal law and Departmental policy. Components shall continue to apply the uniform standards
    set forth in DoD Instruction 1300.17, "Religious Liberty in the Military Services."

             Other standing Departmental policies, procedures, and processes regarding
    immunizations remain in effect. These include the ability of commanders to consider, as
    appropriate, the individual immunization status of personnel in making deployment, assignment,
    and other operational decisions, including when vaccination is required for travel to, or entry
    into, a foreign nation.

           For Service members administratively discharged on the sole basis that the Service
    member failed to obey a lawful order to receive a vaccine for COVID-19, the Department is
    precluded by law from awarding any characterization less than a general (under honorable
    conditions) discharge. Former Service members may petition their Military Department's
    Discharge Review Boards and Boards for Correction of Military or Naval Records to
    individually request a correction to their personnel records, including records regarding the
    characterization of their discharge.

           The Under Secretary of Defense for Personnel and Readiness shall issue additional
    guidance to ensure uniform implementation of this memorandum, as appropriate.

           The Department's COVID-19 vaccination efforts will leave a lasting legacy in the many
   lives we saved, the world-class Force we have been able to field, and the high level of readiness
   we have maintained, amidst difficult public health conditions. Our efforts were possible due,
   first and foremost, to the strength and dedication of our people. I remain profoundly greatful to
   the men and women of the Department of Defense for their efforts to protect our Force, the
   Department of Defense community, and to aid the American people.




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R 111557Z JAN 23 0,'8
FM COMDT COGARD WASHINGTON DC
TO ALCOAST
BT
                                                                                      A
UNCLAS
ALCOAST 012/23
SSIC 1600
SUBJ: COVID-19: MANDATING COVID-19 VACCINATION FOR MILITARY
MEMBERS UPDATE
A. COMDT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
B. COMDT COGARD WASHINGTON DC 072247Z SEP 21/ALCOAST 315/21
1. The President signed the National Defense Authorization Act
(NDAA) for Fiscal Year 2023 on December 23, 2022, which includes a
provision directing the Secretary of Defense to rescind the mandate
that members of the Armed Forces be vaccinated against COVID-19.
The Department of Defense (DOD) rescinded its mandate on
January 10, 2023.
2. In alignment with the DOD, REFs (A) and (B) are cancelled.
Effective immediately, the Coast Guard is stopping all involuntary
administrative separations that resulted from violations of the
lawful general orders to become vaccinated against COVID-19 included
within REFs (A) and (B).
3. Further guidance on other administrative actions, including PCS
and TDY transfer policies for unvaccinated members, is forthcoming.
4. Questions regarding this ALCOAST may be directed to Office of
Military Personnel Policy (CG-133) at:
HQS-PolicyandStandards@uscg.mil.
5. ADM Steven Poulin, Vice Commandant (VCG), sends.
6. Internet release is not authorized.




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   R 2520522 JAN 23 MID200080683541U

   FM COMCOGARD PSC WASHINGTON DC
                                                                             D     1

   TO ALCGPSC

   BT
   UNCLAS
   ALCGPSC 012/23

   SUBJ: CANCELLATION OF COVID-19 ADMINISTRATIVE MEASURES
   A. ALCGPSC 016/22
   B. ALCGPSC 104/21
   C. ALCOAST 012/23

   1. References A. and B. are hereby canceled.

   2. Questions or concerns regarding the cancellation of these COVID-19
   Administrative Measures should be addressed to the applicable CG PSC or
   FORCECOM Division.

   3. Additional personnel guidance regarding the implementation of reference C.
   will be published SEPCOR.

   4. RDML David Barata, Commander, Personnel Service Center, sends.

   5. Internet release not authorized.




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      2613292 JAN 23 MID200080685332U
      ALCGOFF 005/23
      SUBJ: RESCISSION OF COVID-19 VACCINATION MANDATE - GUIDANCE FOR ACTIVE DUTY OFFICERS
                                                                                                      D         2
      A. ALCOAST 012/23
      8. OFFICER ACCESSIONS, EVALUATIONS, AND PROMOTIONS, COMDTINST Ml000.3 (series)
      C. ALCGPSC 012/23
      D. ALCGPSC 016/22
      E. ALCGPSC 104/21
      1. Purpose: Ref A. prohibits the involuntary administrative separation of members based solely on
      their refusal of the COVID-19 vaccination. Consistent with the intent of ref A., this ALCGOFF provides
      guidance to units and the officer corps .
      2. CG PSC-OPM contacted all officers pending board action to consider involuntary separation based
      solely on their refusal of the COVID-19 vaccination and notified them that the pending board action has
      been cancelled. Officers who elected to separate in lieu of board action have also been contacted and
      separations based solely on their refusal of the COVID-19 vaccination have been cancelled. Any officer
      who was issued a notification of intent to initiate board action based solely on their refusal of the
      COVID-19 vaccination and has not been contacted by CG PSC-OPM should immediately contact CG PSC-
      OPM-1 (Separations) at HQS-SMB-PSC-OPM-1-Separations@uscg.mil.
      3. Assignments:
      A. Ref C. cancels all assignment and training restrictions imposed by refs D. and E.
      B. Members who remain unvaccinated against COVID-19 are no longer prohibited from executing
      Permanent Change of Station orders.
      C. Members who had a pending separation in lieu of special board action for remaining unvaccinated
      against COVID-19 are encouraged to contact their Assignment Officer for career counseling regarding
      Assignment Year 2023.
      4. Any future actions stemming from ref A. will be announced and promulgated SEPCOR.
      5. Commands with questions or concerns regarding this guidance should be directed to the POCs
      below:
      A. Boards, Promotions, and Separations: CDR David Ratner at David .W.Ratner@uscg.mil or (202) 795-
      6438.
      8. Assignments: CDR Todd Behney at Todd.M.Behney@uscg.mil or (202) 795-6425.
      C. OERs: CDR Kellee Nolan at Kellee.M.Nolan@uscg.mil or (202) 795-6468.
      6, CAPT P. J. Dougan, Chief, Officer Personnel Management Division, CG Personnel Service Center,
      sends.
      7. Internet release not authorized.




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   R 2520572 JAN 23 MID200080683568U

   FM COMCOGARD PSC WASHINGTON DC

   TO ALCGENL
                                                                            □     3

   BT
   UNCLAS
   ALCGENL 013/23

   SUBJ: RESCISSION OF COVID-19 VACCINATION MANDATE - INITIAL GUIDANCE FOR ACTIVE
   DUTY ENLISTED MEMBERS
   A. ALCOAST 012/23
   B. Enlistments, Evaluations, and Advancements, COMDTINST M1000.2 (series)
   C. ALCGPSC 012/23
   D. ALCGPSC 016/22
   E. ALCGPSC 104/21

   1. Purpose: Reference A. prohibits the involuntary administrative separation of
   members based solely on their refusal of the COVID-19 vaccination. Consistent
   with the intent of reference A. and in consideration of processes governing
   active duty enlisted assignments and advancements, this ALCGENL provides
   initial guidance to commands with particular focus on retaining unvaccinated
   members, facilitating their participation in Assignment Year 2023 (AY23), and
   preserving their advancement eligibility. Additional guidance will be
   promulgated when available.

   2. Retention.
   A. CG PSC-EPM contacted all members with unexecuted Separation Authorizations
   (SEPAUTHs) based solely on their refusal of the COVID-19 vaccination to inform
   them that they will no longer be separated, barring a separate request for
   voluntary separation from the member.   Commands who believe they have a member
   issued a SEPAUTH based solely on their refusal of the COVID-19 vaccination who
   has not been contacted by CG PSC-EPM should immediately contact CG PSC-EPM-1
   (Separations) at HQS-SMB-CGPSC-EPM-1-Separations@uscg.mil.
   B. Over 200 involuntary administrative separation packages based solely on a
   member's refusal of the COVID-19 vaccination pend final disposition. CG PSC-EPM
   will return all involuntary administrative separation packages based solely on
   a member's refusal of the COVID-19 vaccination to the originating command with
   no action taken.
   C. Documentation of a member's failure to comply with COVID-19 vaccination
   mandate alone will not render the member ineligible to reenlist or extend. All
   other reenlistment and extension requirements contained in reference B. remain
   applicable.

   3. Assignments.
   A. Reference C. cancels all assignment, boards and panels, and training
   restrictions imposed by references D. and E.
   B. Members who remain unvaccinated against COVID-19 are no longer prohibited
   from executing Permanent Change of Station orders.




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   C. Members who are tour complete in AY23 and who remain unvaccinated against
   COVID-19 are encouraged to contact their Assignment Officer for career
   counseling if they have not done so already.

   4. Advancements.
   A. A member's refusal of the COVID-19 vaccination alone does not require the
   withholding of advancement. Commands withholding the advancement of members on
   the 2023 Advancement Eligibility List based solely on the member's refusal of
   the COVID-19 vaccination shall remove the withholding and CG PSC-EPM will
   authorize advancement via a future Enlisted Personnel Advancement Announcement.
   B. Members whose advancement was withheld on the now expired 2022 Advancement
   Eligibility List are encouraged to compete in the 2023 SWE or Master Chief
   Advancement Panel (MCAP) if they meet all other advancement eligibility
   requirements.
   C. Commands having awarded a mark of "Not Recommended" based solely on a
   member's refusal of the COVID-19 vaccination shall submit a Commanding
   Officer's Recommendation Change (CORC) Enlisted Employee Review (EER) to ensure
   the member's eligibility to compete in the 2023 SWE or MCAP.
   D. Reference B. contains guidance on removing the withholding of advancement and
   submitting CORC EERs. Commands seeking additional clarity on policies governing
   EERs may submit an email to HQS-SMB-CGPSC-EPM-3-Evaluations@uscg.mil.
   E. Commands are reminded that the SWE and MCAP Eligibility Date for
   participation in the 2023 SWE and MCAP is 01 February 2023.
   F. Members must report any Personnel Data Extract (PDE) discrepancies to their
   administrative office or SPO and verify the online PDE reflects a status of
   "eligible." If the online PDE is not correct, contact PPC (ADV) prior to the
   PDE correction period deadline. The correction period deadline for the May 2023
   SWE is 01 April 2023. All EER CORCs must be submitted to EPM-3 on or before 01
   April 2023 with an effective date of 1 February 2023. Given the proximity of
   SWE and MCAP Eligibility Date and the PDE correction period, commands are
   encouraged to engage with the CG PSC-EPM-1 Advancement Branch early if they
   believe more time is needed to meet advancement eligibility requirements.
   Commands seeking additional clarity on policies governing advancement
   eligibility may submit an email to HQS-SMB-CGPSC-EPM-1-Advancements@uscg.mil.

   5. Commands wtth questions or concerns regarding this guidance should be
   directed to the POCs below:
   A. Separations/Reenlistments: CAPT(s) Evelynn Samms at Evelynn.B.Samms@uscg.mil
   or (202) 795-6565.
   B. Assignments: CAPT(s) Tony Migliorini at Anthony.R.Migliorini@uscg.mil or
   (202) 795-6596.
   C. Evaluations: CDR(s) La'Shanda Hawkins at Lashanda.R.Hawkins@uscg.mil or (202)
   795-6388.

   6. CAPT J. A. Carter, Chief, Enlisted Personnel Management Division, CG
   Personnel Service Center, sends.

   7. Internet release not authorized.




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R 2615192 JAN 22
FM COMCOGARD PSC WASHINGTON DC
TO ALCGPSC
BT
                                                                         D    4
UNCLAS
26 JAN 22
ALCGPSC 016/22
SUBJ: PCS TRANSFERS FOR MEMBERS UNVACCINATED AGAINST COVID-19
A. ALCOAST 305/21
B. ALCOAST 315/21
C. ALCOAST 352/21
D. ALCOAST 420/21
E. ALCOAST 446/21
F. ALCGPSC 104/21
1. As the COVID-19 pandemic continues, the safety and welfare of our entire
workforce remains a top priority to ensure mission readiness. References (a)
thru (c) directed the vaccination of all members. References (d} and (e)
provided additional guidance regarding the execution of this direction.
Reference (f) established the implementation guidelines for the administrative
risk mitigation and leadership measures announced in reference (c). This
ALCGPSC establishes administrative risk mitigation measures for Permanent
Change of Station (PCS) orders.
2. Subject to needs of the Service, service members who refuse full vaccination
are ineligible to execute PCS orders. This direction does not apply to members
who are receiving PCS orders based on Separation Authorizations for separations
that will be completed by 1 October 2022, or members who have a current COVID
-19 vaccination medical exemption or approved religious accommodation.
3. The term "fully vaccinated" is currently defined in reference (a), but may
be updated as the pandemic progresses. Temporary medical exemptions will be
considered "current" for purposes of execution of PCS orders as long as they do
not expire prior to departure from the unit.
4. Servicing Personnel Offices and Personnel and Admin Shops are directed to
amend all unexecuted PCS orders and include in all future PCS orders the
following statement: "Subject to the needs of the Service, service members who
refuse full vaccination are ineligible to execute PCS orders."
4. Questions regarding this direction may be addressed to:
A. OPM: CAPT Catherine Carabine (Catherine.T.Carabine@uscg.mil};
B. RPM: LCDR Cecilia Williams {Cecilia.R.Williams@uscg.mil);
C. EPM: LT Charles Collins {Charles.V.Collins@uscg.mil).
5. Released by RDML S. N. Gilreath, Commander, Personnel Service Center.
The Service Center for our Most Important Resource - Our People.
6. Internet release not authorized.




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     Case 4:22-cv-00825-P Document 67-4 Filed 02/07/23                  Page 2 of 5 PageID 1390
                                                                                      Page I of 4


    R 07 OCT 21
    UNCLAS //NOl500//
    ALCGPSC 104/21

    SUBJ: EXECUTION OF COVID-19 ADMINISTRATIVE RISK MITIGATION AND LEADERSHIP
    MEASURES

    A.       COMDT COGARD WASHINGTON DC 211530Z SEP 21/ALCOAST 352/21
    B.       COMDT COGARD WASHINGTON DC 012247Z SEP 21/ALCOAST 315/21
    C.       COMOT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
    O.       MILITARY ASSIGNMENTS ANO AUTHORIZED ABSENCES, COMDTINST MlOOO.BA
    1 . This ALCGPSC establishes the implementation guidelines for the administrative
    risk mitigation and leadership measures announced in ref (al to achieve
    compliance with the COVI0-19 vaccine mandate established in refs (bl and (c),
    The unprecedented effect of COVID-19 and commensurate continued health risk
    presented to and by unvaccinated personnel predicate the need to implement
    these tools. The administrative risk mitigation measures described in
    paragraphs 3-5 will remain in place regardless of whether a members request for
    religious accommodation or medical exemption is pending or approved. Members
    with an approved medical exemption or religious accommodation may, however,
    request exceptions to these measures on a case-by-case basis. Members should
    make these requests for exceptions through their chain of command, to POCs from
    FORCECOM for paragraphs 3-4 and flight school las noted in paragraph 51, and
    PSC for paragraph 5 , POCs are listed in paragraph 8.

    2. For the purpose of this message, unvaccinated members refers to personnel yet
    to commence a COVID-19 vaccination regimen. Per ref (cl, members are
    considered fully vaccinated two weeks after the last required dose of a FDA
    -approved COVI0-19 vaccine, a COVI0-19 vaccine administered under the FOA's
    Emergency Use Authorization, or a COVID-19 vaccine on the World Health
    Organization Emergency Use Listing.

    3. Administrative Risk Mitigation Measure A School Eligibility: Only fully
    vaccinated members are permitted to attend A School or permitted to put their
    name on an A School list. PSC-EPM-2 or PSC-RPM-2, as appropriate, will not
    issue orders to A School for members who are not fully vaccinated and are
    currently on an A School list. Additionally, PSC-EPt-1-2 or PSC-RPM-2, as
    appropriate, will cancel A School orders for all members who are not fully
    vaccinated; commands shall direct these members not to execute orders to A
    School . Commands with active duty members who are not fully vaccinated but who
    are already en route to A School, will direct these members to return to their
    unit. Commands shall request that PSC-EPM-2 place the returned member into a
    medical"hold status by sending an e-mail to PSC-EPM-2 at HQS-SHB-CGPSC-EPM
    -ASCHOOLREQUESTS@uscg.mil. Commands with Reservists who are not fully vaccinated
    and who were en route to A school should likewise order them to return to their
    unit. Reservists will not be placed in a medical hold status, because this
    requires reserve members to be placed in an active duty pay status awaiting
    medical treatment. Members who have already commenced travel to A School, but
    are directed to return to their unit, may use their initial travel order number
    to process travel claims for both their departure and return trips.

    a. (Active Duty Only) PSC-EPM-2 will query data in the Medical Readiness
    Reporting system {MRRS) maintained by Coast Guard clinics to determine the
    vaccination status of members who are awaiting orders to A School; those
    members who are not fully vaccinated will be placed in a medical hold status.
    If a member who is on medical hold becomes fully vaccinated, the command should
    update their status in MRRS and then request PSC-EPM-2 change their medical
    hold status by sending an email to PSC-EPM-2 Non-Rate Assignments at HQS-SMB
    -CGPSC-EPM-ASCHOOLREQUESTS@uscg.mil.




    https://cg.portal.uscg.mil/library/gcneralmessages/General%20Mcssages/GENMSG202 l/...   1/12/2023




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    b. (Ready Reserve Only) PSC-RPM-2 will query data in MRRS to determine
    vaccination status for those members who are awaiting orders to A School. PSC
    -RPM-2 will cancel A School orders for members who are not fully vaccinated and
    notify commands of the cancellation. Ready Reserve members who are not fully
    vaccinated will not be placed in a medical hold status, because this requires
    reserve members to be placed in an active duty pay status awaiting medical
    treatment. Commands will retain ADCON of these members until provided further
    direction.
    4. Administrative Risk Mitigation Measure         C School Eligibility:     Details in
    this section apply to all C Schools.

    a. Only fully vaccinated members are authorized to attend C Schools. Members
    who are not fully vaccinated will have their orders cancelled by the Education
    and Training Quota Command (ETQCJ. Commands with members who are not fully
    vaccinated but are already en route to C Schools, will direct those members to
    return to their unit. In this case, members who have already commenced travel
    to C Schools but are directed to return to their unit, may use their initial
    travel order number to process travel claims for both their departure and
    return trips.

    b. Updated Restriction of Movement (ROM) Policy: Effective immediately, the
    FORCECOM Home ROM for Training (HT-ROM) policy no longer applies to CG courses,
    however members are still required to follow policies prescribed by the
    Department of Defense or other government agencies when attending training at
    those facilities.

    c. The current status of all FORCECOM Readiness Activities (AIA Activities,
    Exercise Support Activities, and Class "A" and "C" schools) are updated
    regularly, and can be found on the ETQC Portal site at: https
    ://cg.portal.uscg.mil/units/fo rcecom/ETQC/SitePages/Home.aspx.

    5. Administrative Risk Mitigation Measure - Consideration for Advanced
    Education and Senior Education and Fellowship Programs.

    a. Advanced education and senior education and fellowship panels will only
    consider personnel who are fully vaccinated, or those who will be fully
    vaccinated {as defined by paragraph 2. above) by 22 November 2021. For the
    purposes of this message, advanced education programs include, but are not
    limited to, post graduate education (including Senior Education and Fellowship
    Programs), specialized degrees, and flight school. Reserve Senior Education
    and Fellowship Programs include, but are not limited to, the Reserve Component
    National Security Course (RCNSC), the Joint Combined Warfighter School Hybrid
    (JCWS-HJ, and the Reserve Masters of Science in Strategic Intelligence (MSSI).

    b. Any active duty or reserve officer or enlisted member who has orders to
    attend, but is not currently enrolled in an advanced education program will
    have their orders cancelled unless they are fully vaccinated prior to
    attending, but in any event not later than 22 November 2021. Members who are
    not fully vaccinated, or those who will not be fully vaccinated (as defined by
    paragraph 2. above) by 22 November 2021, and who have not received orders will
    not be issued orders and will be removed as the primary candidate or from
    alternate candidate pools, as appropriate. PSC-EPM, OPM, or RPM, as
    appropriate, will validate a members vaccination status through MRRS. The
    applicable Assignment Officer will notify members of removal from a program.

     c. Orders for Ready Reserve members to participate in education opportunities
     are typically generated by the local unit. PSC-RPM-2 will contact Commands to
     ensure that units know not to create orders for candidates who are not fully




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    vaccinated, or those who will not be fully vaccinated las defined by paragraph
    2. above) by 22 November 2021.

    6. Leadership Commanding Officer, Officer-in-Charge, Full-Time Command Master
    Chief, Command Senior Chief, and Command Chief (Gold and Silver Badge)
    positions:

    a. Officers requesting assignment to command positions listed in Section
    1.r.1.a. of ref (d) must be fully vaccinated against COVID-19 . Prior to
    issuing orders to command in AY22, PSC-OPM and PSC-RPM, as applicable, will
    verify the vaccination status of officer applicants in MRRS to ensure that
    officer applicants are fully vaccinated. The applicable Assignment Officer
    will notify officer applicants who have been removed from consideration.

    Ill Unvaccinated members who successfully screened for 0-6, 0-5, and CWO
    commands, who are not fully vaccinated by 16 November 2021 will be removed from
    consideration and only allowed to compete for general duty assignments in
    AY22. Those who have an approved medical exemption or religious accommodation,
    or are awaiting the final determination for either, remain eligible for command
    assignment.

    (21 Junior Command Screening Panel (JCSP): OPM will verify a members COVID-19
    vaccination status through NRRS prior to JCSP convening, and if applicable, a
    members request for a medical exemption or religious accommodation.
    Unvaccinated members who successfully screened for JCSP commands, who are not
    fully vaccinated by 16 November 2021 will be removed from consideration and
    only allowed to compete for general duty assignments in AY22. Those who have an
    approved medical exemption or religious accommodation, or are awaiting the
    final determination for either, remain eligible for command assignment .

    b. Enlisted (Active Duty and Ready Reserve): PSC-EPM-2 or PSC-RPl1-2, as
    applicable, will verify the COVID-19 vaccination status of members in MRRS
    prior to issuing orders to Officer-in-Charge or full-time Command Master Chief,
    Command Senior Chief, or Command Chief positio ns in AY22. Unvaccinated members
    who successfully screened for these opportunities, but who are not fully
    vaccinated by 16 November 2021 will be removed from consideration and only
    allowed to compete for general duty assignments in AY22. Those who have an
    approved medical exemption or religious accommodation, or are awaiting the
    final determination for either, remain eligible for command
    assignment. Members will be notified of their removal from consideration for
    these assignments by the applicable Assignment Officer.

    7. Leadership Measures - Relief for Cause (RFC): Consistent with paragraph 6
    of ref (a), the loss of confidence in the judgment and ability of members
    serving as a Commanding Officer, Officer-in-Charge, or full-time Command Master
    Chief, Command Senior Chief, or Command Chief is grounds for a temporary and/or
    permanent RFC due to unsatisfactory conduct. Officers with temporary RFC
    authority should consult the appropriate CG PSC division Poe before initiating
    RFC action: Regular officers - CAPT Catherine Carabine (Catherlne.T.Carabine
    @uscg.mil); Reserve officers and enlisted LCDR Cecilla Williams
    (Cecilia.R.Williams@uscg.mil); Regular enlisted - LT Charles Collins
    (Charles.V.Collins@uscg.mil).

    B.      Points of Contact:
         a. PSC-OPM:     CAPT Catherine Carabine, 1202) 795-6426, or Catherine.T.Carabine
             @uscg.mil .
         b. PSC-EPM: LCDR Mil:e Deal, (202) 795-6516, or Michael.A.Deal~uscg.mil.
         c. PSC-RPM: CDR Andy Younkle, (202) 795-6501, or Andrew.R . Younkle@uscg .mil.
         d . FORCECOM: LCDR Mike Thompson, Education and Training Quo ta l~anageme nt
             Center(ETQC) Commanding Officer, (757)756-5340 or Michael . g.thompson




    https://cg.portal.uscg.mil/library/generalmcssagcs/General%20Mcssages/GENMSG202 l/•..   1112/2023




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         @uscg.mil.

    9. Additional information on the execution of administrative risk mitigation
    and leadership measures for the enlisted workforce can be found on the PSC-EPM
    -2 Portal Site at PSC-EPM - COVID19 Vacclnation Notification (uscg.mill.

    10. Released by: RDML Shannon Gilreath, Commander, Personnel Service Center,
    sends. PSC The Service Center for our most important resource our People.

    11, Internet release not authorized.




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                                              Commandant                                 2100 2nd Street, SW – Stop 7907
      U.S. Department o ~ -                   United States Coast Guard                  Washington, DC 20593-7801
      Homeland Security •~                                                               Staff Symbol: CG-1
                                                                                         Phone: (202) 475-5422
     United States
     Coast Guard
                                                                                         1070


      MEMORANDUM
                        Dr. Donna Mischell   Digitally signed by Dr. Donna
                                             Mischell Navarro
                        Navarro              Date: 2023.02.04 09:21:08 -05'00'

       From:   Dr. D. M. Navarro, SES                                            Reply to CAPT A. Williams
               Acting CG-1                                                       Attn of: 202-475-5422

       To:     CG PSC

       Subj:   CORRECTING MILITARY RECORDS (COVID-19)

       Ref:    (a) COMDT COGARD WASHINGTON DC 111557Z JAN23/ALCOAST 012/23

      1. Subsequent to reference (a), CG PSC shall remove all CG-3307 (P&D-41(series)),
      administrative remarks referencing the Coast Guard’s COVID-19 vaccine requirement from
      active duty and reserve service members’ personnel data records.

      2. The order of priority for removal of CG-3307s shall be as follows:
         a. all members going before a board or panel (not later than 1 Jul 2023),
         b. all members who return to active duty or Selected Reserve will have their records
            corrected at that time,
         c. members who have requested correction,
         d. all remaining members (not later than 31 Dec 2023).

      3. For service record-keeping purposes, CG PSC shall document who was discharged in
      association with the Coast Guard’s COVID-19 vaccine requirement. The documentation should
      include the basis for discharge, discharge characterization, reenlistment code, and date of
      discharge.

      4. Guidance for separated members will be provided via separate correspondence.

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                         DEPUTY SECRETARY OF DEFENSE
                               1010 DEFENSE PENTAGON
                              WASHINGTON , DC 20301 - 1010




                                                                            FEB 2 4 2023
MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
               COMMANDERSOFTHECOMBATANT COMMANDS
               DEFENSE AGENCY AND DOD FIELD ACTIV rTY DIRECTORS

SUBJECT: Guidance for Implementing Rescission of August 24, 2021 and ovember 30, 2021
         Coronavirus Disease 20 19 Vaccination Requirements for Members of the Armed
         Forces

         In today' s rapidly changing global security environment, vaccines continue to play a
critical role in assuring a ready and capable force that is able to rapidly deploy anywhere in the
world on short notice. Department leadership is committed to ensuring the safety of our Service
members and wi ll continue to promote and encourage vaccinations for all Service members
along with continued use of other effective mitigation measures. This includes monitoring
changing public health conditions, relevant data, and geographic risks; and updating policies and
processes as required to maintain the strategic readiness of our forces and our ability to defend
national security interests around the globe.

       This memorandum provides additional guidance to ensure uniform implementation of
Secretary of Defense Memorandum, " Rescission of the August 24, 2021 and ovember 30, 202 1
Coronavirus Disease 20 19 Vaccination Requirements fo r Members of the A rmed Forces,"
January 10, 2023 (January 10, 2023 memorandum).

        As required by section 525 of the James M. lnhofe National Defense Authorization Act
for Fiscal Year 2023, the January 10, 2023 memorandum rescinded the August 24, 202 1 and
November 30, 202 1 Secretary of Defense mandates that members of the Armed Forces be
vaccinated against the corona.virus disease 2019 (COV TD- 19) and thereby also rendered all DoD
Component policies, directives, and guidance implementing those vaccination mandates as no
longer in effect as of January 10, 2023 . These include, but are not limited to, any COVID-1 9
vaccination requirements or related theater entry requirements and any limitations on
deployability of Service members who are not vaccinated against COVID-1 9.

         DoD Component policies, directives, and guidance have not been operative since the
January 10, 2023 memorandum was issued, regardless of the status of the DoD Component
conforming guidance. DoD Component heads shall formally rescind any such policies,
d irectives, and guidance as soon as possible, if they have not done so already. DoD Component
heads shall certify to the Under Secretary of Defense for Personnel and Readiness in writing that
these actions have been completed no later than March 17, 2023 .

       The January 10, 2023 memorandum recognizes that other standing Departmental policies,
procedures, and processes regarding immunizations remain in effect, including the ability of
commanders to consider, as appropriate, the individual immunization status of personnel in
making deployment, assignment, and other operational decisions, such as when vaccination is



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required for travel to, or entry into, a foreign nation. Thi s continues to be the case, in accordance
with the guidance below.

        The Department's Foreign Clearance Guide will be updated to reflect that DoD personnel
must continue to respect any applicable foreign nation vaccination entry requirements, including
those for COVID-19. Other than to comply with DoD Foreign Clearance Guidance, DoD
Component heads and commanders will not require a Service member or group of Service
members to be vaccinated against COVID-1 9, nor consider a Service member' s COVID-19
immunization status in making deployment, assignment, and other operational decisions, absent
establishment of a new immunization requirement in accordance with the process described
below. It is my expectation that any requests to the Assistant Secretary of Defense for Health
Affairs (ASD(HA)) for approval to initiate mandatory immunizations of personnel against
COVID-19 will be made judiciously and only when justified by compelling operational needs
and will be as narrowly tailored as possible.

         Department of Defense Instruction (Do DI) 6205.02, " DoD Immunization Program ,"
July 23, 2019, will be updated as follows to establish a process requiring the Secretary of a
Military Department, the Director of a Defense Agency or DoD Field Activity that operates
medical clinics, or the Commandant of the Coast Guard, to submit a request for approval to
initiate, modify, or terminate mandatory immunizations of personnel. Effective immediately, I
direct the following action:

        Paragraph 2. 11. ofDoDI 6205.02 is revised by adding a new subsection g. , which will
read:

        "Submit requests to the ASD(HA) for approval to initiate, modify, or terminate
        mandatory immunizations of personnel and voluntary immunizations of other eli gible
        beneficiaries determined to be at risk from the effects of deliberately released biological
        agents or naturally occurring infectious di seases of military or national importance."

         The Commander of a Combatant Command must submit a request for approval to
initiate, modify, or terminate mandatory immunizations of personnel through the Joint Staff,
consistent with existing processes specified in DoDI 6205.02.

        The Director of Administration and Management will make the revision directed above
as a conform ing change to the version of DoDI 6205.02 published on the DoD Issuances
website.




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R 2720432 FEB 23 MID200080757493U
FM COMCOGARD PSC WASHINGTON DC
TO ALCGPSC
BT
UNCLAS
ALCGPSC 024/23
SUBJ: CORRECTING MILIITARY RECORDS (COVID-19)
REF: (a) COMDT COGARD WASHINGTON DC 111557ZJAN23/ALCOAST 012/23
1. In accordance with reference (a), Personnel Service Center (PSC) is taking
action to remove all CG-3307 Administrative Remarks Entries related to the
COVID-19 vaccination mandate from the Coast Guard Military Human Resources
Record for members currently serving on Active Duty or in the Reserve
Component. The estimated completion date of this task is 31 March 2023.
2. Members whose military record still contains a CG-3307 related to the COVID
-19 vaccination mandate after 31 March 2023 should contact their P&A shop to
request removal.
3. Members who anticipate going before a board or panel in CY 2023 are
encouraged to review their personnel record in iPERMS and work proactively with
their P&A shop to ensure timely removal.
4. Procedures for requesting action on other personnel records that reference
the COVID-19 vaccination mandate will be promulgated SEPCOR.
5. Released by: CAPT R. E. Dash, Acting Commander, Personnel Service Center,
sends.
6. Internet release authorized.




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